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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al.,1                             Case No. 24-12480 (LSS)

                                   Debtors.                      (Jointly Administered)


                                            AFFIDAVIT OF SERVICE

       I, Engels Medina, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

       On April 21, 2025, at my direction and under my supervision, employees of Kroll caused
the following documents to be served via first class mail on the Supplemental Notice Parties
Service List attached hereto as Exhibit A:

             Debtors’ Motion for Entry of an Order (I) Authorizing Franchise Group Intermediate V,
              LLC to Enter into and Perform Its Obligations Under the Asset Purchase Agreement, (II)
              Approving the Sale of Certain Assets Free and Clear of All Claims, Liens, Rights, Interests,
              and Encumbrances, (III) Approving the Assumption and Assignment of Executory
              Contracts and Unexpired Leases, and (IV) Granting Related Relief, a copy of the modified
              version attached hereto as Exhibit B


1
    The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach, Virginia 23456.
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      Notice of Filing of Amended Schedule 1 to the Sale Order [Docket No. 1293]
       (the “Amended Schedule 1 to the Sale Order”)
      On April 21, 2025, at my direction and under my supervision, employees of Kroll caused
the Amended Schedule 1 to the Sale Order to be served (1) by the method set forth on Core/2002
Service List attached hereto as Exhibit C, and (2) via first class mail on the Affected Contract
Counterparties Service List attached hereto as Exhibit D.

Date: April 29, 2025
                                                                    /s/ Engels Medina
                                                                     Engels Medina
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on April 29, 2025, by Engels Medina, proved to me on
the basis of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                               2                                   SRF 87796
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                                                                             Exhibit A
                                                               Supplemental Notice Parties Service List
                                                                     Served via first class mail

 ADRID                         NAME                                             ADDRESS                                   CITY      STATE POSTAL CODE     COUNTRY
30347431 Abigail Oxenreiter                              ADDRESS ON FILE
30347432 Academy Locksmith                               4887 E La Palma Ave.                                    Anaheim            CA   92807
29783825 Ackerman Law Firm, PA                           3300 Shopton Road                                       Charlotte          NC   28217
30347433 Adform                                          255 Centre St, 7th Floor                                New York           NY   10013
30347434 AIDP                                            19535 East Walnut Drive South                           City of Industry   CA   91748
30347435 Airship Group, Inc.                             548 Market St., Suite 698370                            San Francisco      CA   94104-5401
30347436 Aloft Secaucus Meadowlands                      460 HARMON MEADOW BLVD                                  Secaucus           NJ   07094

30347437 AN USA Holdings, LLC                            Aaron Heidebreicht, 5601 Democracy Drive                Plano              TX   75024
30347438 Applied Food Sciences, Inc.                     675-B Town Creek Road                                   Kerrville          TX   78028

30347440 Arizona Custom Blends Manufacturing LLC         2130 South Industrial Park Avenue                       Tempe              AZ   85282
30347441 Atlantic Candy Company                          115 Whetstone Place, Greg West                          SAINT AUGUSTINE    FL   32086
30347442 Axonify Inc.                                    450 Phillip St.                                         Waterloo           ON   N2L 5J2        Canada
30347443 BakeWorks                                       5600 NE 121st Ave. Suite T1                             Vancouver          WA   98682
30347444 Beehive Botanicals, Inc.                        16297 W Nursery Rd                                      Hayward            WI   54843-7138
30347445 Best Formulations LLC                           17758 Rowland Street                                    City of Industry   CA   91748
30347446 Betty Lou's                                     750 SW Booth Bend Rd.                                   McMinnville        OR   97128
                                                         Contrada Fureria Zona Industriale Ovest, Piano Tavola
30347447 Bionap S.r.l                                    Belpasso                                                Catania                 95032          Italy
30347448 Biorginal Food & Science Corp                   102 Melville Street                                     Saskatoon          SK   S7J 0R1        Canada
30347449 Biovation Labs                                  2323 3600 W., Craig Rich                                West Valley City   UT   84119
30347450 Blackhawk Network, Inc.                         6220 Stoneridge Mall Road                               Pleasanton         CA   94588
29625574 Bloomreach, Inc.                                82 Pioneer Way                                          Mountain View      CA   94041
30347451 Botanic Healthcare                              100 Corporate Drive, Suite 205                          Lebanon            NJ   08833
30347452 Buckeye Business Products                       3830 Kelley Avenue                                      Cleveland          OH   44114
30347453 C.I. Nutreo                                     1307 Person St.                                         Durham             NC   27703
30347454 Capsoil Foodtech                                355 9th St.                                             Winter Garden      FL   34787
30347455 Captek                                          Kevin Tully, 16218 Arthur Street                        Cerritos           CA   90703
30347456 CAPTEK Softgel International, Inc.              Kevin Tully, 16218 Arthur Street                        Cerritos           CA   90703
30347457 Cardlytics                                      675 Ponce de Leon Ave NE, Suite 4100                    Atlanta            GA   30308
30347458 Carlson Capital, L.P.                           2100 McKinney Ave                                       Dallas             TX   75201
30347459 CataBoom Technologies, LLC                      2100 N. Greenville Avenue, Suite 400                    Richardson         TX   75082

30347460 Christopher Ryszard Gregory Tomaszewski         Nectaris Limited, 27 High Street, Horley                Surrey                  RH6 7BH        United Kingdom

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 ADRID                                        NAME                                     ADDRESS                               CITY     STATE POSTAL CODE      COUNTRY
30347461 ChromaDEx                                              1735 Flight Way, Suite 200                            Tustin          CA    92782
30347462 CI&T, Inc                                              90 Nassau St.                                         Princeton       NJ    08542
30347463 Click to Fill, Inc.                                    821 Dawsonville Hwy, Ste 250337                       Gainesville     GA    30501-2636
                                                                THE POPPY BUILDING, 8 BREWHOUSE YARD- 2ND
29628730 Concrete Media Ltd.                                    FLOOR                                                 LONDON                EC14DJ        United Kingdom
30347464 Converge Technology Solutions                          130 Technology Parkway                                Norcross        GA    30092-2908

30347465 Cosby Village, LLC                                     Main Street Homes, 15871 City View Drive              Midlothian      VA    23113
30347466 Courtyard Secaucus                                     455 Harmon Meadow Boulevard                           Secaucus        NJ    07094
30347467 Creative Link                                          7503 Linder Way                                       Galena          OH    43021
30347468 Crescent Electric Supply Company                       7750 Dunleith Dr.                                     East Dubuque    IL    61025-1357
30347469 Crimson Blue Brand Consulting LLC                      10113 WOODFERN WAY                                    Cincinnati      OH    45242
30347470 Crystal Hoshaw                                         ADDRESS ON FILE
30347471 Danisco                                                925 Page Mill Road                                    Palo Alto       CA    94304

29628812 DataDome Solutions Inc                                 1411 Broadway 16th Floor, C/O ORBISS                  New York        NY    10018
30347472 David Segarra                                          ADDRESS ON FILE
30347473 DayTwo Ltd.                                            16 Hasadot St.                                        Adanim                4592500       Israel
30347474 Denvi Tech Inc.                                        8 The Green                                           Dover           DE    19901
30347475 Derrick I. Mitchell                                    ADDRESS ON FILE

30347476 DHL eCommerce Solutions                                2700 South Commerce Parkway, Suite 300                Weston          FL    33331
30347477 Dr. Sarah Jamison                                      ADDRESS ON FILE
29628087 Drink LMNT, Inc.                                       Will Rossiter, 1150 Central Avenue                    Naples          FL    34102
30347478 Dst Foods Inc.                                         109 State Rt 23                                       Franklin        NJ    07416-2005
         Ebates Performance Marketing, Inc. d/b/a Rakuten
30347479 Rewards                                                300 Mission Street                                    San Francisco   CA    94111
30347480 Eddie Avila                                            ADDRESS ON FILE

30347481 Efficient Air                                          275 Belgrave-Gembrook Road, Emerald                   Victoria        VIC   3782          Australia

30347482 Efficient Collaborative Retail Marketing               27070 Miles Rd, Suite A                               Solon           OH    44139
29792762 EHP Labs LLC                                           Ross Allsop, 482 E 1900 N North                       OGDEN           UT    84414
         Elevate Nutraceuticals, LLC dba Elevate Health
30347483 Sciences, LLC                                          3421 S. Sierra Vista Way                              Provo           UT    84606

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 ADRID                              NAME                                          ADDRESS                                CITY       STATE POSTAL CODE    COUNTRY
29606625 Empire   Freight Logistics                        6567 Kinne Road                                       DeWitt             NY    13214
30347484 Engagement Agents                                 24 Eugene St.                                         Hamilton           ON    L8H2R3      Canada
30347485 Engelke Construction Solutions LLC                2927 Nationwide Parkway                               Brunswick          OH    44212
30347486 Epic West USA LLC                                 211 E 7TH ST, STE 620                                 AUSTIN             TX    78701
30347487 EUKAAI CORPORATION                                660 California St                                     San Francisco      CA    94108
30217910 FacilitySource, LLC.                              PO BOX 846847                                         Los Angeles        CA    90084
30347488 Farmacia del Fener.                               C/ Bonaventura Riberaygua, 2                          Andorra la Vella         AD500       Andorra
30347489 Five9, Inc.                                       3001 Bishop Drive, Suite 350                          San Ramon          CA    94583
30347490 FL Supplements                                    10301 Commerce Pkwy                                   Miramar            FL    33025
30347491 Flavor Insights                                   4795 Industrial Way                                   Benicia            CA    94510
29605515 flexEngage, Inc.                                  7803 BLUE QUAIL LANE                                  Orlando            FL    32835
30347492 Florida Supplement, L.L.C.                        Ray Martinez, 10301 Commerce Pkwy                     Miramar            FL    33025
30347493 Fluent, LLC                                       300 Vesey Street, 9th Floor                           New York           NY    10282
30347494 Folkes Electrical Construction Co., Inc.          206 HALEY ROAD                                        Ashland            VA    23005
29495357 Force Factor Brands LLC                           Michael Brandow, 24 School St.                        BOSTON             MA    02108
30347495 Fred Meyer Stores, Inc.                           3800 SE 22ND Ave                                      Portland           OR    97202-2999
30347496 Fridays Health                                    17322 Murphy Ave.                                     Irvine             CA    92614
30347497 Genopalate                                        10437 W Innovation Dr                                 Milwaukee          WI    53226
30347498 Givaudan Flavors Corporation                      1199 Edison Drive                                     Cincinnati         OH    45216

30347499 Global Impex                                      1719 Logix Office Tower, Logix City Center            Noida              UP   201301       India

30347500 Global Mail, Inc. dba DHL eCommerce Solutions     2700 South Commerce Parkway, Suite 300                Weston             FL   33331
30347501 GoodRx, Inc                                       2701 Olympic Blvd                                     Santa Monica       CA   90404
30347502 Gorilla Mind LLC                                  Mike Stoneberg, 391 N Ancestor Pl                     Boise              ID   83704
30347503 Gotham Technology, LLC                            5 PARAGON DRIVE, SUITE 103                            Montvale           NJ   07645
30347504 Grontvedt Biotech AS                              Havneveien 1                                          Uthaug                  7142         Norway
30347505 Gummi World                                       370 N Juniper Dr, Ste 10                              Chandler           AZ   85226
30347506 Habit LLC                                         985 3rd Street                                        OAKLAND            CA   94607
29627993 Herbaland Naturals Inc.                           13330 Maycrest Way                                    Richmond           BC   V6V2J7       Canada
30347507 Hormel Foods Corporation                          1 Hormel Place                                        Austin             MN   55912-3680
29603620 HP Inc.                                           11311 CHINDEN BLVD, MS 305                            BOISE              ID   83714-0021
29629106 ICON International Inc.                           107 Elm Street, 15th Floor                            Stamford           CT   06902
30347508 ID.me, Inc                                        8280 Greensboro Drive, Suite 800                      Tysons Corner      VA   22102
30347509 iHerb, LLC                                        17400 Laguna Canyon Rd, Suite 400                     Irvine             CA   92618

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 ADRID                                        NAME                                      ADDRESS                              CITY       STATE POSTAL CODE     COUNTRY

30347510 ILS Gummies, LLC aka Innovative Gummies                350 Cypress Drive, Suite 300                          Mckinney          TX   75071
30347511 Impact Tech, Inc.                                      223 E. De La Guerra St.                               Santa Barbara     CA   93101
30347512 Infostretch Corporation DBA Apexon                     c/o Apexon, 101 Carnegie Center                       Princeton         NJ   08540
29605637 Infratech Solutions LLC                                200 W JACKSON BLVD, SUITE 1250                        Chicago           IL   60606

30347513 Innovactiv                                             120 Montée Industrielle-et-Commerciale                Rimouski          QC   G5M 1B1        Canada
30347514 Innovative Labs Group, LLC                             85 COMMERCE DRIVE                                     Hauppauge         NY   11788

30347515 Interstate Premier Facility Services Provider          508 Prudential Road, Suite 100                        Horsham           PA   19044

30347516 ION Labs, INC. (DBA ION Nutritional Labs)              5459 115th AVENUE NORTH                               Clearwater        FL   33760

30347517 JAK Diversified II dba Multi-Pak Packaging             241 Clinton Road West                                 Caldwell          NJ   07006
30347518 James Goldman                                          ADDRESS ON FILE
30347519 Just Born                                              1300 Stefko Blvd                                      Bethlehem         PA   18017
30347520 Kairos Partners, LLC                                   6997 Redansa Drive                                    Rockford          IL   61108
30347521 Khaki Group, LLC (Hapi Gig)                            3510 Old Milton Pkwy, Suite A                         ALPHARETTA        GA   30005
30347522 Kohls                                                  N56 W17000 Ridgewood Drive                            Menomonee Falls   WI   53051

30347523 KontractOne LLC                                        Two Prudential Plaza, 180 N. Stetson Street           Chicago           IL   60601
29629282 Korber Supply Chain US, Inc                            Dept Ch 17044                                         Palatine          IL   60055-7091

30347524 Korn Ferry                                             WILLIS TOWER, 233 SOUTH WACKER DRIVE, SUITE #700 Chicago                IL   60606
30347525 Kyowa Hakko Bio Co., Ltd                               600 Third Ave.                                   New York               NY   10016
30347526 Levo Health                                            220 W 7TH AVENUE, SUITE 210                      Tampa                  FL   33602
30347527 LGC Science, Inc                                       1745 Alysheba Way, Suite 160                     Lexington              KY   40509

29627679 Life Extension                                         Cheryl, 3600 West Commercial Blvd.                    FORT LAUDERDALE FL     33309
30347528 LNS Hydro LLC                                          1314 E Las Olas Blvd, Ste 2450                        Fort Lauderdale FL     33301
29629364 Loyalty 360                                            PO BOX 54407                                          Cincinnati      OH     45254
30347529 LUMIFI CYBER, Inc.                                     1475 N Scottsdale Rd, STE 410                         Scottsdale      AZ     85257
30347530 Macrocap Labs                                          975 Bennett Dr                                        Longwood        FL     32750




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                                                                METROPOLITAN TELECOMMUNICATIONS, P.O. BOX
30347531 Manhattan Telecommunications Corp                      9660                                                  Manchester       NH   03108
30347532 McKinsey & Company, Inc.                               55 East 52nd Street                                   New York         NY   10022
30347533 Measured, Inc.                                         1801 Rockmoor Ave                                     Austin           TX   78703
30347534 Meridian IT Inc.                                       9 Parkway North, Suite 500                            Deerfield        IL   60015

30347535 Milk Specialties Company dba Milk Specialties Global   Mark Labine, 7500 Flying Cloud Drive                  Eden Prairie     MN   55344
30347536 MUD/WTR, Inc.                                          2515 Main St                                          Santa Monica     CA   90405-3517
30347537 Natural Food Certifiers Inc.                           80 Broad Street, 5th Floor                            New York         NY   10004

30347538 Natural Wellness Now Health Products Inc.              23551 132nd Ave                                       Maple Ridge      BC   V4R2S6           Canada
                                                                2901 W. Bluegrass Blvd.
30347539 Nature's Sunshine Products Inc                         Suite 100                                             Lehi             UT   84043
30347540 Navistone                                              DEPT CH 10731                                         Palatine         IL   60055-0731

30347541 NCC Group Software Resilience (NA) LLC                 650 California St, Ste 2950                           San Francisco    CA   94108-2747
30347542 Nelsons Bach USA Ltd.                                  customer service, 21 High Street                      North Andover    MA   01845

29629518 Nestle USA, Inc                                        Attn: Accounting Operations, 445 State Street         Fremont          MI   49413

30347543 Newark Liberty International Airport Marriott          Newark Liberty International Airport, 1 Hotel Road    Newark           NJ   07114
30347544 Nexira SAS                                             15 Somerset St                                        Somerville       NJ            08876
30347545 Nickolas Armstrong                                     ADDRESS ON FILE
30347546 North American Reishi DBA Nammex                       926 Joe Road                                          Roberts Creek    BC       V0N 2W6 Canada
29604363 NOW Foods                                              244 Knollwood Drive, Suite 300                        Bloomingdale     IL   60108
30347547 Nulixir Inc                                            8609 Cross Park Drive                                 Austin           TX   78754
30347548 Nutracode                                              P.O. Box 21124                                        Lehigh Valley    PA   18002
30347549 Nutrashure Distribution                                21 Corie Court                                        Port Jefferson   NY   11777
30347550 Nutritics Limited                                      22 Town Center Plaza                                  Dublin                            Ireland

30347551 Nutritional PL, Inc.                                   Gene Tracy, 1610 W. Whispering Wind Drive             PHOENIX          AZ   85085
30347552 Old Dominion Mechanical LLC                            9954 Mayland Dr, SUITE 2150                           Richmond         VA   23233
29784878 OnDemand Resources, LLC                                5863 Free Union Rd                                    Free Union       VA   22940
30347553 One Up Innovations, Inc.                               2745 Bankers Industrial Dr.                           Atlanta          GA   30360

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30347554 Onward   Robotics, Inc                         250 48th St                                           Pittsburgh      PA    15201
30347555 OpenLoop Health                                317 6th Ave., Ste 400                                 Des Moines      IA    50309
30347556 Orbis                                          1055 Corporate Center Drive                           Oconomowoc      WI    53066
30347557 Origin Meals LLC                               337 2nd ST NE                                         Hopkins         MN 55343
30347558 Oriol Segarra                                  ADDRESS ON FILE
29791907 Osgood Bank                                    275 W Main Street, P.O. Box 69                        Osgood          OH   45351
30347559 Outbrain                                       39 WEST 13TH STREET, 3RD FLOOR                        New York        NY   10011
30347560 Overtime Sports, Inc.                          20 Jay Street Suite 600                               Brooklyn        NY   11201
30347561 PBO SKINCARE, Revive Collagen                  85 Great Portland Street                              London               W1W 7LT        United Kingdom
29604464 Perfect Shaker                                 369 Lang Blvd                                         Grand Island    NY   14072
30347562 Pharma-Natural, Inc.                           14500 NW 60th Ave, Building 7F                        Miami Lakes     FL   33014
30347563 Phynova                                        Office 3, 2 Brookhill Way, Banbury                    Oxfordshire          OX16 3ED       United Kingdom
30347564 Planet Fitness World Headquarters              26 Fox Run Road                                       Newington       NH   03801
30347565 Post Square Shopping Center, LLC               1091 Lynwood Blvd                                     Nashville       TN   37215-4539
30347566 Pristine Bay LLC dba Vianda Life               9898 Windisch Road                                    West Chester    OH   45069
30347568 Pro Form vendor #6676                          5325 Industrial Way                                   Benicia         CA   94510
30347567 Pro Form vendor #6676 and 5133                 5325 Industrial Way                                   Benicia         CA   94510
30347569 Proform Laboratories                           5001 Industrial Way                                   Benicia         CA   94510
30347570 Pure Distribution US, LLC                      Caryn Gurthie, PO Box 790066                          ST LOUIS        MO   63179-0066
30347571 PWA Acquisition Corp.                          11275 US Hwy 98, Suite 6304                           Miramar Beach   FL   32550
30347572 Rakuten                                        800 Concar Drive, Suite 175                           San Mateo       CA   94402

30347573 Raw Sports, LLC                                Jeffrey Edward Delbow, Interim CFO, 904 Basenji Curve Shakopee        MN   55379
29630278 Raymond Werres Corporation                     807 EAST SOUTH STREET                                 Frederick       MD   21701
30347574 Reflection Software                            900 S FRONTENAC ST                                    Aurora          IL   60504
30347575 Reliance Company, Inc.                         3rd Floor, Maker Chambers                             Mumbai          MH   400 021        India
29604674 REM3DY Health Ltd                              3 Bevan Way, Unit 2 Alpha Business                    Smethwick            B661BZ         United Kingdom
30347576 Residence Inn by Marriott                      10400 Fernwood Road                                   Bethesda        MD   20817
30347577 Riot Games, Inc.                               12333 W. Olympic Blvd.                                Los Angeles     CA   90064
29604750 RSM US LLP                                     5155 Paysphere Circle                                 Chicago         IL   60674
30347578 Ryse Up Sports Nutrition                       Nicholas Stella, 631 Industry Way                     Prosper         TX   75078
30347579 S3G Technology LLC                             18 PR, PO Box 805                                     Alief           TX   77411
29603918 Sage Software, Inc.                            14855 COLLECTIONS CENTER DRIVE                        Chicago         IL   60693
30232708 Segarra Business Group                         Attn: Oriol Segarra, Urb Belair #125                  Guaynabo        PR   00969
30347580 Segarra Business Group, LLC                    Attn: Oriol Segarra, P.O. Box 192388                  San Juan        PR   00919

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 ADRID                          NAME                                                 ADDRESS                               CITY       STATE POSTAL CODE     COUNTRY
30347581 Sensapure, Inc.                                     1945 S Fremont Dr                                     Salt Lake City     UT    84104-4223
30347582 SGS North America Inc.                              400 Broadacres Dr                                     Bloomfield         NJ    07003-3156
30347583 Shipped.com Corporation                             500 Dry Valley Rd, F207                               Cookeville         TN    38506
30347584 ShopRunner, Inc.                                    350 N LaSalle Dr., Ste 600                            Chicago            IL    60654

30347585 Simpler Postage, Inc. d/b/a EasyPost                Attn: Minisoft, 39120 Argonaut Way #460               Fremont            CA   94538
30347586 Sodexo Operations LLC                               915 Meeting Street                                    North Bethesda     MD   20852
30347587 Soft Gel Technologies, Inc.                         6982 Bandini Blvd                                     Los Angeles        CA   90040
29606275 Spartan Race Inc.                                   234 CONGRESS STREET, 5TH FLOOR                        Boston             MA   02110

30347588 Stanley Convergent Security Solutions, Inc.         DEPT CH 10651                                         PALATINE           IL   60055
30347589 Summit Rx                                           56 New Hook Rd                                        Bayonne            NJ   07002
30347590 Suning.com                                          No. 1, Suning Avenue, Xuanwu District                 Nanjing, Jiangsu        210042         China
30347591 Super Duty Fans                                     PO BOX 1119                                           Pilot Point        TX   76258
30347592 Supranaturals, LLC                                  1356 Spring Creek Pl.                                 Springville        UT   84663
30347593 Suresh Marhatta                                     ADDRESS ON FILE
29623292 SVF Riva Annapolis, LLC                             515 South Flower Street                               Los Angeles        CA   90071

30347594 Swapopolis Inc. d/b/a Engagement Agents             24 Eugene St.                                         Hamilton           ON   L8H2R3         Canada
30347595 Synergy CHC Corp.                                   865 Spring Street                                     Westbrook          ME   04092
30347596 Taboola                                             28 WEST 23RD STREET, 5TH FLOOR                        New York           NY   10010
29604599 Team Red, White & Blue, Inc.                        PO Box 74497                                          Atlanta            GA   30374-4947
30347597 The Futures Company                                 1300 Environ Way                                      Chapel Hill        NC   27517
30347598 The Kroger Co.                                      1014 Vine Street                                      Cincinnati         OH   45202-1100
30347599 Thermal Kitchen LLC                                 811 Fentress Court                                    Daytona Beach      FL   32117
30347600 Thermo Pak                                          360 Balm Ct                                           Wood Dale          IL   60191

30347601 ThermoLife International, LLC aka ThermoLife        1334 E Chandler Blvd. #5-D76                          PHOENIX            AZ   85048
30347602 Three Phase Electric                                21410 N 15TH LANE, #112                               Phoenix            AZ   85027
30347603 Threo Tech LLC                                      19535 E. Walnut Dr. South                             City of Industry   CA   91748
30347604 Tishcon                                             Lisa Martinson, P.O. BOX 1899                         SALISBURY          MD   21802
         TLI Pool Distribution, LTD d/b/a All-freight Pool
30347605 Distribution Services                               900 8th St                                            Wichita Falls      TX   76301-6801
30347606 Towns Sports International, LLC                     399 Executive Boulevard                               Elmsford           NY   10523
29785400 Transplace Texas, LP                                3010 Gaylord Parkway                                  Frisco             TX   75034

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                                                                               Exhibit A
                                                                 Supplemental Notice Parties Service List
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 ADRID                             NAME                                             ADDRESS                               CITY        STATE POSTAL CODE     COUNTRY
30347607 Triple B Forwarders, Inc.                         1511 Glenn Curtiss St.                                  Carson             CA    90746
30347608 Trolley House Refreshments Inc.                   8501 Sanford Drive                                      Richmond           VA    23228
30347609 Truemed                                           1800 E 4th S                                            Austin             TX    78702

30347610 TSI                                               No.2, Jinxiu Road, Shi Zhuang Industry Park, Jiangyin   Jiangsu Province        214446         China
29606468 Ultimate Logistics, Inc.                          13 E EASY STREET                                        Bound Brook        NJ   08805
30347611 Unigen                                            2121 South State Street                                 Tacoma             WA   98405
30347612 Unipharm S.A.C.                                   Avenida Pablo Carriquirry 222 URB                       EL Palomar                             Peru
30347613 US Pharmatech Inc.                                7210 W Post Rd, Ste 100                                 Las Vegas          NV   89113
30347614 USP Brokerage                                     2251 Lynx Ln, Ste 5                                     Orlando            FL   32804-4729
30347615 Utah Corporation                                  160 East 300 South                                      Salt Lake City     UT   84111
30347616 Utica Foods                                       18 Sidney Circle                                        Kenilworth         NJ   07033
30347617 Validatoin and Compliance Institute               835 Asa Gray Drive                                      Ann Arbor          MI   48105
30347618 Valley Stream Green Acres LLC                     2034 Green Acres Mall                                   Valley Stream      NY   11581
29785443 Vaswani                                           75 CARTER DRIVE                                         Edison             NJ   08817
30347619 Veeva Systems Inc.                                4280 Hacienda Drive                                     Pleasanton         CA   94588
30347620 Vega US LLC                                       21500 Biscayne Blvd, Ste 600                            Aventura           FL   33180-1256
30347621 Vibes Media, LLC                                  300 W Adams St 7th Floor                                Chicago            IL   60606
29778123 Vindicia Inc                                      400 Concar Dr. 2nd Floor                                San Mateo          CA   94402
29778125 Vireo Systems, INC.                               305 Williams Avenue                                     Framingham         TN   37115
30347622 Virun, Inc                                        1750 N. 8th St                                          Colton             CA   92324
30347623 Vita Vida Limitada                                197 Kingston Road                                       Epsom, Surrey           KT19 0AB       United Kingdom

30347624 Vital Pharmaceuticals, Inc., d/b/a Bang Energy    1600 North Park Drive, Suite 600                        Weston             FL   33326
30347625 Vitality Works                                    Gregg Gibson, 8409 Washington St. NE                    ALBUQUERQUE        NM   87113
29627700 Vitamin Angels                                    PO Box 42029                                            SANTA BARBARA      CA   93140

         Vitamin Shoppe Vietnam Join Stock Company for
30347626 Socialist Republic of Vietnam                     N0. 13 Ly Thai To, Ly Thai To Ward                      Ha Noi City                            Vietnam
30347627 Vitaquest                                         Ashley Hromnak, 8 Henderson Drive                       West Caldwell      NJ   07006
30347628 Vitaquest International LLC                       Ashley Hromnak, 8 Henderson Drive                       West Caldwell      NJ   07006
29785481 Walmart Inc.                                      702 SW 8th Street                                       Bentonville        AR   72716
29778159 Wellnext LLC                                      1301 Sawgrass Corporate Parkway                         New Albany         FL   33323

30347629 Wellsync                                          821 Dawsonville Highway, Suite 250 - #337               Gainseville        GA   30501

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                                                                             Exhibit A
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 ADRID                           NAME                                             ADDRESS                             CITY       STATE POSTAL CODE     COUNTRY
30347630 Werres Corporation                              807 East South Street                                 Frederick         MD    21701
29606529 Wesley Kraker Enterprises Inc                   5050 Poplar Avenue, Suite 900                         Memphis           TN    38157
30347631 Western Botanicals FL, LLC                      1137 Guernsey Street                                  Orlando           FL    32804
30347632 WH Steven Creek LLC                             101 California St, Ste 950                            San Francisco     CA    94111

30347633 Workplace Environments - Cayman Islands         Unit 5B 1 Nexus Way                                   George Town            Ky1-1003       Grand Cayman
30347634 W-T Group, LLC                                  2675 Pratum Avenue                                    Hoffman Estates   IL   60192
30347635 YOGTI, Inc.                                     9-2266 Drew Road                                      Mississauga       ON   L5S 1B1        Canada
30347636 ZenDesk                                         1019 Market Street                                    San Francisco     CA   94103
30347637 Ziff Davis, LLC                                 360 Park Avenue South, 17th Floor                     New York          NY   10010




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )   Chapter 11
                                                          )
    FRANCHISE GROUP, INC., et al., 1                      )   Case No. 24-12480 (LSS)
                                                          )
                             Debtors.                     )   (Jointly Administered)
                                                          )
                                                          )   Hearing Date: May 6, 2025, at 11:30 a.m. (ET)
                                                          )   Obj. Deadline: April 29, 2025, at 4:00 p.m. (ET)

                   DEBTORS’ MOTION FOR ENTRY OF
              AN ORDER (I) AUTHORIZING FRANCHISE GROUP
           INTERMEDIATE V, LLC TO ENTER INTO AND PERFORM
       ITS OBLIGATIONS UNDER THE ASSET PURCHASE AGREEMENT,
     (II) APPROVING THE SALE OF CERTAIN ASSETS FREE AND CLEAR
    OF ALL CLAIMS, LIENS, RIGHTS, INTERESTS, AND ENCUMBRANCES,
  (III) APPROVING THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (IV) GRANTING RELATED RELIEF




1     The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
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        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

as follows in support of this motion (the “Motion”): 2

                                              Relief Requested

        1.       The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Sale Order”):           (a) authorizing and approving the Debtors’ entry into and

performance under that certain asset purchase agreement, in the form attached to the Sale Order as

Exhibit 1 (together with all schedules, exhibits, and ancillary documents related thereto, as

amended, modified, or supplemented from time to time, the “APA”), whereby Debtor Franchise

Group Intermediate V, LLC (“Franchise Group Intermediate” or the “Seller”) has agreed to sell,

transfer, convey, assign, and deliver to TVS Buyer, LLC (the “Buyer,” and together with Franchise

Group Intermediate, the “Parties”), and the Buyer has agreed to purchase, acquire, accept, and

assume the Purchased Assets and the Assumed Liabilities from the Seller (including all actions

taken or required to be taken in connection with the implementation and consummation of the

APA, the “Sale”); (b) authorizing and approving the sale of the Purchased Assets and the Assumed

Liabilities to the Buyer free and clear of any and all Encumbrances, other than Permitted

Encumbrances and Assumed Liabilities; (c) authorizing the assumption and assignment of the

Purchased Contracts and the Purchased Leases; and (d) granting related relief.

                                          Jurisdiction and Venue

        2.       The United States District Court for the District of Delaware has jurisdiction over

this matter pursuant to 28 U.S.C. § 1334, which was referred to the United States Bankruptcy

Court for the District of Delaware (the “Court”) under 28 U.S.C. § 157 and the Amended Standing


2   Capitalized terms used but not defined in this Motion have the meanings ascribed to them in the APA, the Final
    DIP Order, the Bidding Procedures (each as defined herein), or the Seventh Amended Joint Chapter 11 Plan of
    Franchise Group, Inc. and Its Debtor Affiliates [Docket No. 1233].


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Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012.     The Debtors confirm their consent, pursuant to rule 9013-1(f) of the

Local Rules of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), to the entry of a final order by the Court in connection with this Motion to the extent that

it is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

       3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.       The statutory bases for the relief requested herein are sections 105(a), 363, and 365

of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rules 2002,

6004, and 6006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Local Rules 2002-1, 6004-1 and 9013-1.

                                           Background

       5.       On November 3, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. A detailed description of the Debtors,

their businesses, and the facts and circumstances giving rise to the Debtors’ chapter 11 cases is set

forth in the Declaration of David Orlofsky in Support of Debtors’ Chapter 11 Petitions and First

Day Pleadings [Docket No. 15] (the “First Day Declaration”), which is incorporated herein by

reference.

       6.       The Debtors are operating their businesses and managing their properties as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.                       On

November 5, 2024, the Court entered an order [Docket No. 88] authorizing the procedural

consolidation    and    joint   administration   of   these   chapter    11   cases    pursuant    to

Bankruptcy Rule 1015(b) and Local Rule 1015-1. On November 19, 2024, the United States



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Trustee for the District of Delaware (the “U.S. Trustee”) appointed an official committee of

unsecured creditors [Docket No. 188] (the “Creditors’ Committee”). On January 15, 2025, the

Debtors appointed a fee examiner [Docket No. 747] (the “Fee Examiner”).

        7.       On December 11, 2024, the Court entered the Final Order (I) Authorizing the

Debtors to (A) Obtain Senior Secured Priming Superpriority Postpetition Financing and (B) Use

Cash Collateral, (II) Granting Liens and Providing Claims with Superpriority Administrative

Expense Status, (III) Granting Adequate Protection to the Prepetition Secured Parties,

(IV) Modifying the Automatic Stay, and (V) Granting Related Relief [Docket No. 414]

(the “Final DIP Order”). Under the Final DIP Order, the Debtors were authorized on a final basis

to enter into and perform under that certain Senior Secured Super-Priority Priming Term Loan

Debtor-In-Possession Credit Agreement dated as of November 7, 2024 (as amended, modified, or

supplemented from time to time, the “DIP Credit Agreement”). 3

                                              The Proposed Sale

        8.       As described more fully in the First Day Declaration, leading up to the

Petition Date, the Debtors explored a wide array of strategic and operational measures to better

position the Debtors for sustainable growth and improve their strained liquidity position. In

addition to engaging in extensive negotiations with their key lender constituents on the terms of a

potential out-of-court transaction, the Debtors explored various strategic transactions to monetize




3   Pursuant to section 6.05(k) of the DIP Credit Agreement and paragraph 8(b) of the Final DIP Order, the Debtors
    are not permitted to sell, transfer, lease, or otherwise dispose of any assets, including any Equity Interests (as
    defined in the DIP Credit Agreement) owned by the Debtors, unless such Disposition (as defined in the DIP Credit
    Agreement) is made in connection with a Sufficient Bid (as defined in the DIP Credit Agreement) or otherwise
    with the prior written consent of the Required Supermajority Lenders (as defined in the DIP Credit Agreement).
    At the request of the Buyer and the applicable Debtors, the Required Supermajority Lenders have consented to
    the Sale, as further described herein.


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their core business segments, including The Vitamin Shoppe (“TVS”), the Debtors’

market-leading, omni-channel, specialty retailer and wellness lifestyle company.

       9.      Prior to the Petition Date, in April 2023, the Debtors retained Jefferies LLC

(“Jefferies”) to gauge market interest and undertake a broad search for any potential buyers in

connection with a potential sale of TVS. In January 2024, Jefferies launched a formal marketing

and sale process, which included contacting 34 parties—22 financial buyers and 12 strategic

buyers—executing 17 non-disclosure agreements (“NDAs”) and engaging with the 17 parties

under NDA with respect to a potential going concern sale of TVS. Despite these efforts, no

actionable proposals were received. In parallel, the Debtors’ liquidity position continued to

tighten, and it became clear that achieving a comprehensive, value-maximizing out-of-court

transaction on the timeline required was not feasible.

       10.     To that end, on November 1, 2024, the Debtors and the Ad Hoc Group entered into

a Restructuring Support Agreement which, among other things, memorialized the Ad Hoc Group’s

support for a sale process in chapter 11 for the purpose of identifying a value-maximizing

transaction with a bidder or series of bidders. As more fully described in the bidding procedures

approved by the Court on December 16, 2024 [Docket No. 444] (the “Bidding Procedures”), the

Debtors, in consultation with the Ad Hoc Group and with the assistance of Ducera Partners LLC

(“Ducera”), the Debtors’ investment banker, commenced a formal marketing process

(the “Marketing Process”) on November 4, 2024, in search of such a bidder or bidders for a sale

of certain of the Debtors’ business segments, including TVS, pursuant to section 363 of the

Bankruptcy Code.

       11.     In connection with the Marketing Process, with respect to TVS, Ducera solicited

interest from 208 parties—185 financial sponsors and 23 strategic buyers—and executed 59 NDAs


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in connection therewith. 4 Over the next several months, the Debtors continued to engage with

multiple parties in interest, including the Buyer. As of the February 3, 2025 Bid Deadline, no

Qualified Bids were submitted. The Buyer did, however, submit a revised indication of interest.

On February 12, 2025, the Debtors filed the Notice of Cancellation of Auction [Docket No. 961]

cancelling any potential auction and adjourning any potential sale hearing indefinitely.

Nonetheless, the Debtors continued conversations with certain parties in interest, including a

robust, ongoing dialogue with the Buyer, over the next several weeks regarding the terms of a

potential going concern sale of TVS. After weeks of extensive, arm’s-length negotiations, the

Parties entered into the APA on April 15, 2025. Pursuant to the APA, the Buyer will purchase the

Purchased Assets free and clear of any Encumbrances (other than Assumed Liabilities and

Permitted Encumbrances) in exchange for, among other things, (a) the assumption of the Assumed

Liabilities and (b) a cash payment of $193.5 million (the “Purchase Price”), subject to the

post-closing adjustment process as set forth in the APA.

        12.      The Debtors determined, in an exercise of their business judgment, that a

transaction with the Buyer on the terms set forth in the APA was value maximizing for the Debtors

and their estates. Among other things, the sale represents the highest or otherwise best offer for

the Purchased Assets. Additionally, the TVS business was not growing and failing to meet the

Debtors’ profitability targets. Selling TVS will allow management to focus their efforts on the

Debtors’ other business lines, and specifically on implementing a long-term, value-maximizing

business plan for its other business segments.                 The APA provides for, and the Ancillary


4   On December 19, 2024, Greenhill & Co., investment banker to the Freedom Lender Group, provided Ducera with
    a list of 59 additional parties—44 financial sponsors and 15 strategic buyers—requesting that Ducera solicit
    interest from these parties in connection with the Marketing Process. Ducera promptly solicited interest from 51
    of the 59 parties and executed 5 NDAs in connection therewith, allowing such parties to receive access to the data
    room and confidential information memorandum.


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Agreements include, a Transition Services Agreement that will ensure the continuation of key

services previously performed by the Debtors, which in turn will significantly diminish the impact

of the Sale on the Debtors’ customers during these chapter 11 cases. For these reasons, the Sale

aligns with the Debtors’ business objectives and is in the best interest of the Debtors, their estates,

and their stakeholders.

          13.      The Debtors and their advisors do not believe that the cost and delay inherent in a

public auction or additional marketing of the Purchased Assets would be outweighed by any

marginal increase to the Sale proceeds, if any, particularly in light of the benefits to the Debtors,

their estates, and all stakeholders if the Sale is approved. The Debtors, in their reasonable business

judgment, believe that the Sale is necessary to preserve and support their core business. Approval

of the Sale on the terms set forth herein and in the APA represents the most value-maximizing path

to divesting the Purchased Assets for fair consideration for the benefit of all stakeholders in these

chapter 11 cases.

          14.      The Debtors therefore believe that entering into the APA and consummating the

Sale is fair, reasonable, represents a sound exercise of the Debtors’ business judgment, and is the

best available option to maximize value for the Debtors and all stakeholders.

                                         Summary of Key Sale Terms

          15.      The following chart summarizes the material terms and conditions of the APA: 5

    Provision               Summary Description
    Parties                 Seller: Franchise Group Intermediate V, LLC
                            Buyer: TVS Buyer, LLC
    Purchased Assets        “Purchased Assets” means all rights, title and interests of Seller or its Subsidiaries in and
                            to all of the assets, properties, interests, rights and Claims of Seller and its Subsidiaries

5     This summary is provided for the convenience of the Court and parties in interest and describes, generally, the
      terms contained in the APA. To the extent there is any conflict between this summary and the APA, the APA
      shall govern in all respects. Capitalized terms used in the following summary shall have the meanings ascribed
      to them in the APA.


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    Provision              Summary Description
                           related to, or used in connection with, the Business (other than the Excluded Assets),
                           including the following assets related to, or used in connection with, the Business, in each
                           case free and clear of any Encumbrances (other than Permitted Encumbrances and Assumed
                           Liabilities).
                           See APA, Art. II § 2.1.1.
    Excluded Assets        Notwithstanding anything to the contrary in the APA or in any Ancillary Agreement,
                           (a) Buyer shall not acquire the Excluded Assets, including any Contract (including Leases)
                           set forth on Section 2.1.2 of Seller Disclosure Schedules (each such Contract or Lease,
                           an “Excluded Contract”), (b) the Purchased Assets shall not include the Excluded Assets,
                           and (c) Seller shall retain the Excluded Assets following the Closing.
                           See APA, Art. II § 2.1.2.
    Date, Time, and        Pursuant to the terms and subject to the conditions of the APA, the closing of the
    Place of Sale          Transactions (the “Closing”) shall take place by telephone conference and electronic
                           exchange of documents, at 10:00 a.m. local time, on the third (3rd) Business Day following
                           satisfaction of all conditions (other than those that by their terms are to be satisfied or taken
                           at the Closing) set forth in Article 6 (or, to the extent permitted by applicable Law, waived
                           by the Party entitled to the benefits thereof), or such other time and place as the Parties may
                           mutually agree to in writing (such date of the Closing being hereinafter referred to as
                           the “Closing Date”); provided, that, in no event shall the Closing occur prior to
                           May 15, 2025 without the prior written consent of Buyer.
                           See APA, Art. II § 2.4.
    Purchase Price         Upon the terms and subject to the conditions of the APA, in consideration of the
                           conveyances contemplated under Section 2.1, Buyer shall at the Closing, pay to Seller an
                           amount equal to the Estimated Cash Purchase Price, less the Deposit (together with any and
                           all investment interest thereon, if any, that is released to Seller), by wire transfer of
                           immediately available funds to the account designated by Seller by Notice to Buyer, such
                           Notice to be provided at least five (5) Business Days prior to the Closing Date (such
                           amount, the “Closing Payment”).
                           See APA, Art. II § 2.3.1(a).
                           “Estimated Cash Purchase Price” means an amount equal to (a) the Base Cash Purchase
                           Price, 6 plus (b) the amount by which the Estimated Net Working Capital Amount is greater
                           than the Target Net Working Capital Amount (if any), less (c) the amount by which the
                           Target Net Working Capital Amount is greater than the Estimated Net Working Capital
                           Amount (if any) less (d) the Estimated Assumed Indebtedness; provided, that in any and all
                           events, the Base Cash Purchase Price is inclusive of the Deposit.
                           See APA, Art. I.
    Conditions             Conditions to Obligations of Buyer and Seller. The obligations of Buyer and Seller to
    Precedent of Sale      complete the Transactions are subject to the satisfaction or waiver (if permitted by
                           applicable Law) at or prior to the Closing of the following conditions:
                           6.1.1    No Illegality or Law. There shall not be in effect any applicable Law that enjoins
                           or prohibits the Transactions.

                           6.1.2    Bankruptcy Orders. The Bankruptcy Court shall have entered the Sale Order and
                           the Sale Order shall be a Final Order.




6     The Base Cash Purchase Price is $193.5 million.


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Provision              Summary Description
                       6.1.3   Regulatory Approvals. Any waiting period (including any extension thereof) or
                       approvals applicable to the consummation of the Transactions under the HSR Act shall
                       have expired or been terminated (and the Laws set forth on Section 6.1.3 of Seller
                       Disclosure Schedules shall have expired or been terminated and any agreement with a
                       Governmental Authority not to consummate the Transactions).

                       See APA, Art. VI § 6.1.

                       There are also Conditions to Obligations of Buyer and Conditions to Obligations of Seller.
                       See APA, Art VI § 6.2, 6.3.
Deadline for the       11:59 p.m. (Eastern Time) on May 15, 2025 (unless further extended upon mutual
Approval of the Sale   agreement by Buyer and Seller in writing (email to counsel being sufficient)).
                       See APA, Art. VIII § 8.1.3.
Executory Contracts    Section 2.7.1 of Seller Disclosure Schedules sets forth a true and complete list, as of the
and Leases to be       date of entry into the APA, of (a) all executory Contracts which require expenditures made
Assumed and            or to be made by Seller or payments or amounts received or to be received by Seller in
Assigned               excess of $100,000 in the twelve (12) months prior to the date hereof and unexpired Leases
                       to which any Seller is a party (excluding the Excluded Contracts), including Seller’s
                       proposed Cure Costs associated with each such Contract and unexpired Lease set forth
                       therein, and (b) the Purchased Contracts and Purchased Leases as of the date of entry into
                       the APA.
                       From and after the date hereof until 3:00 P.M. (Eastern Time) on May 4, 2025, Buyer may,
                       in its sole discretion, (a) add any Contract or any Lease listed on Section 2.7.1 of Seller
                       Disclosure Schedules (or otherwise used in connection with the Business) to the schedule
                       of Purchased Contracts and Purchased Leases, (b) remove from the schedule of Purchased
                       Contracts and Purchased Leases any Contract listed on Section 2.7.1 of Seller Disclosure
                       Schedules and instead designate such Contract for rejection effective on and as of the
                       Closing or (c) remove from the schedule of Purchased Contracts and Purchased Leases any
                       Lease listed on Section 2.7.1 of Seller Disclosure Schedules and instead designate such
                       Lease for rejection effective on and as of the Closing; provided, that in the immediately
                       preceding clauses (a), (b), and (c), Buyer shall not be able to add any Contract or Lease to
                       the schedule of Purchased Contracts and Purchased Leases if such Contract or Lease is
                       associated with a Store already in the active process of Closing. The schedule of Purchased
                       Contracts and Purchased Leases shall be (and shall be deemed) modified or supplemented
                       to reflect the additions or removals, as applicable, of Leases and Contracts that are
                       (i) designated for assumption and assignment or (ii) designated for rejection, each as set
                       forth in Section 2.7.2 of the APA.
                       See APA, Art. II § 2.7.1.–2.7.2.

Assumed Liabilities    Upon the terms and subject to the conditions of the APA, at the Closing, Seller shall (or
                       shall cause its applicable Subsidiaries to) assign to Buyer and Buyer shall assume from
                       Seller or its applicable Subsidiaries and agree to pay and discharge when due, only the
                       following Liabilities of Seller and its Subsidiaries (other than the Excluded Liabilities)
                       arising out of the conduct of the Business or the ownership of the Purchased Assets or the
                       Business, in each case, immediately following the Closing (collectively, the “Assumed
                       Liabilities”):
                       (a)     all Liabilities arising under the Purchased Contracts and the Purchased Leases that
                               become due from and after, solely to the extent relating to facts, occurrences or
                               other circumstances first arising after, the Closing;

                       (b)     (i) the “current liabilities” of the Business to the extent set forth in the Net Working



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                            Capital Amount and (ii) the accounts payable, arising from the ownership of the
                            Purchased Assets or the conduct or operation of the Business from and after the
                            Closing;

                       (c)      all Liabilities (i) arising from the employment or termination of any Continuing
                                Employees and currently engaged independent contractors whenever incurred or
                                arising, including, any wages, salaries, commissions, or normal course bonuses or
                                incentive obligations with respect to the Continuing Employees, and (ii) with
                                respect to any accrued and unused paid time off and sick time accrued prior to the
                                Closing by any Continuing Employee to the extent permitted by applicable Law to
                                the extent set forth in the Net Working Capital Amount (including any amounts
                                required to be paid out by Seller under applicable law, which amounts shall be
                                timely reimbursed to Seller by Buyer following the Closing);

                       (d)      all Liabilities for Transfer Taxes;

                       (e)      all Liabilities arising from the sale of merchandise pursuant to product warranties,
                                product returns and rebates from and after the Closing, in each case solely to the
                                extent arising out of the Purchased Contracts;

                       (f)      all Liabilities for gift cards, store credits, customer loyalty programs, and gift
                                certificates validly issued by Seller and/or its Subsidiaries prior to the Closing
                                Date; and

                       (g)      (i) all Liabilities for Taxes with respect to the Purchased Assets, the Assumed
                                Liabilities, the Business, or the Continuing Employees with respect to any taxable
                                period (or portion thereof) beginning after the Closing Date and (ii) all Liabilities
                                for Transfer Taxes pursuant to Section 5.3.2 (such Taxes described in prongs
                                (i) and (ii), the “Assumed Taxes”);

                       (h)      all Liabilities arising for the Plans set forth on Section 2.1.1(w) of Seller Disclosure
                                Schedules from and after Closing; and

                       (i)      all Liabilities for Assumed Indebtedness (including the Liabilities set forth in
                                Exhibit H attached hereto with respect to (and not taking into account any caps or
                                amounts set forth in) clause (a) through (h) in the definition of Assumed
                                Indebtedness) and which shall include, for the avoidance of doubt, the Tax Reserve
                                Liabilities.

                       See APA, Art. II § 2.2.1.
Excluded Liabilities   “Excluded Liabilities” means all Liabilities of Seller or any of its Subsidiaries of whatever
                       nature, whether presently in existence or arising or asserted hereafter (other than the
                       Assumed Liabilities), including, without limiting the generality of the foregoing, the
                       following: (a) Excluded Taxes; (b) all Liabilities arising out of, resulting from, or relating
                       to any Excluded Assets; (c) all (i) indebtedness for borrowed money of the Debtors’ (other
                       than the Assumed Indebtedness) and (ii) other indebtedness set forth on Section 1.1.2(c) of
                       Seller Disclosure Schedules; (d) fees, costs and expenses incurred in connection with the
                       Chapter 11 Cases or the Transactions (except as otherwise contemplated by this
                       Agreement); (e) except, in each case, with respect to any Liabilities specifically assumed
                       by Buyer pursuant to Section 5.12, (i) any transaction, change of control, success, retention
                       or stay bonuses, severance, bonus incentive, or deferred compensation payments or other
                       similar payments or obligations payable to any current or former employee, officer, director
                       or other individual service provider of Seller or its Subsidiaries (including the Business


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                    Employees) under each Plan, policy, program, agreement, arrangement, or Contract
                    sponsored or maintained by Seller or its Subsidiaries or to which Seller or its Subsidiaries
                    is a party (including in connection with or arising out of the consummation of the
                    Transactions (except as excluded pursuant this clause (e), including any “double-trigger”
                    severance or other payments or obligations payable in combination with any other event)),
                    (ii) other than Liabilities assumed by Buyer pursuant to Section 2.2.1(c), any outstanding
                    and unpaid bonus, commission or incentive obligations in respect of any current or former
                    employee, officer, director or other individual service provider of Seller or its Subsidiaries
                    (including the Business Employees), (iii) other than payments required to be made by Buyer
                    to Seller pursuant to the Transition Services Agreement, all Liabilities at any time arising
                    under, pursuant to or in connection with each Plan and any other benefit or compensation
                    plan, program, policy, agreement, arrangement, or Contract, in each case, at any time
                    sponsored, maintained, contributed to or required to be contributed to by Seller or any of
                    its Affiliates or under or with respect to which Seller or any of its Affiliates has (or has had)
                    any Liability (including on account of an ERISA Affiliate), including Liabilities arising
                    under Title IV of ERISA or on account of any violation of COBRA, (iv) all Liabilities
                    relating to or arising out of the employment or termination of employment of (A) any
                    Business Employee who becomes a Continuing Employee with respect to periods of
                    employment or termination of employment with Seller or its Subsidiaries prior to the
                    Closing (but excluding in respect of any (1) Liabilities assumed pursuant to Section 2.2.1(c)
                    and (2) severance obligations for any Continuing Employee caused directly by any actions
                    taken by Buyer or at the direction of Buyer after the Closing), (B) any former employees of
                    Seller or its Subsidiaries (including any former employees of the Business) and Business
                    Employees who do not become Continuing Employees with respect to periods of
                    employment or termination of employment with Seller or its Subsidiaries, and (C) any
                    applicant for employment with Seller or its Subsidiaries at any time prior to the Closing,
                    including any Claims in respect of hiring, promotion, compensation, overtime, bonuses,
                    commissions, workers’ compensation or disability, vacation, sick pay or paid time off, other
                    employee benefits to which any such employees may be entitled as a result of his or her
                    employment by Seller or its Subsidiaries, and any other terms and conditions of
                    employment, (v) all Liabilities arising out of or relating to Claims by any agents or
                    independent contractors of, and who provide personal services to, Seller or its Subsidiaries
                    with respect to any Claims or personal injuries sustained in connection with the retention
                    of such Person by Seller or any of its Subsidiaries, including workers’ compensation or
                    disability, regardless of when such claim is made or asserted; (f) except for the accrued and
                    unpaid accounts payable of the Business reflected on Exhibit E attached hereto (and
                    included as part of Net Working Capital), all accrued and unpaid accounts payable of the
                    Business as of the Closing Date, including legal expenses accrued but unpaid as of the
                    Closing Date related to any Litigation to which Seller or its Subsidiaries are party, in each
                    case, whether invoiced before or after Closing; (g) all Cure Costs required to be paid
                    pursuant to section 365 of the Bankruptcy Code in connection with the assumption and
                    assignment of the Purchased Assets, including the Purchased Contracts and the Purchased
                    Leases as finally determined by the Bankruptcy Court (provided, that, in no event shall
                    Buyer be liable for any Cure Costs); (h) any pending or threatened Litigation with respect
                    to any events, acts or circumstances occurring prior to the Closing; and (i) any Liabilities
                    set forth on Section 1.1.2(i) of Seller Disclosure Schedules.
                    See APA Art. I § 1.1.
                    Excluded Liabilities. Notwithstanding anything to the contrary in the APA or any Ancillary
                    Agreement, neither Buyer nor any of its Affiliates shall assume, nor shall they be or become
                    responsible for, any Excluded Liabilities or any Liabilities of Seller or any of its
                    Subsidiaries, other than the Assumed Liabilities. For greater certainty, the Excluded
                    Liabilities shall remain the sole obligation and responsibility of Seller and its Subsidiaries.



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                        See APA Art. II § 2.2.

Sale of Property Free   Except as set forth in Section 3.1.7(a) of Seller Disclosure Schedules, Seller has good and
and Clear of            valid title to, a valid leasehold interest in or the right to use, all of the Purchased Assets that
Leasehold Interest,     is necessary for Seller to operate the Business in all material respects. Upon the entry and
License, or Other       effectiveness of the Sale Order, Seller will have the power and right to sell, assign, transfer,
Right                   convey and deliver, as the case may be, to Buyer the Purchased Assets, free and clear of all
                        Encumbrances other than Permitted Encumbrances and Assumed Liabilities. Other than
                        Encumbrances that will be released upon the entry and effectiveness of the Sale Order,
                        Seller owns or has rights to, and upon delivery to Buyer at the Closing will transfer to
                        Buyer, good title to or a valid leasehold interest in all of the Purchased Assets, free and
                        clear of all Encumbrances, except for Permitted Encumbrances and Assumed Liabilities.
                        See APA, Art. III § 3.1.7(a).
Buyer Expense           The Buyer may terminate the APA if certain conditions are met:
Reimbursement               (a) if there is a material breach of the Sale Order or the APA by the Seller such that
                                the conditions of Closing set forth in Section 6.2.1 or Section 6.2.2 would not be
                                satisfied and the breach is not cured within twenty (20) days following Notice of
                                such breach by the Buyer, then the APA will be terminated;
                            (b) if (a) the Bankruptcy Court has not approved and entered the Sale Order prior to
                                11:59 p.m. (Eastern Time) on May 15, 2025 (unless further extended upon mutual
                                agreement by Buyer and Seller in writing (email to counsel being sufficient)),
                                (b) following entry of the Sale Order if such Sale Order is not a Final Order (unless
                                such Final Order requirement is waived by Seller and Buyer in their respective
                                discretion) within fourteen (14) days of entry of the Sale Order, or (c) the
                                Bankruptcy Court enters any Order materially inconsistent with the Sale Order or
                                the consummation of this Agreement and such order is not reversed, modified or
                                amended to the satisfaction of Buyer within thirty (30) days; provided, that the
                                right to terminate this Agreement under this Section 8.1.3 shall not be available to
                                Buyer if Buyer failed to fulfill any material obligation under this Agreement and
                                such failure is the cause of, or resulted in, such stay, reversal, modification,
                                amendment or vacation;
                            (c) if Seller seeks to have the Bankruptcy Court enter an order (or consents to or does
                                not oppose entry of an order) (a) dismissing the Chapter 11 Cases or converting
                                the Chapter 11 Cases into cases under chapter 7 of the Bankruptcy Code,
                                (b) appointing a trustee, receiver or other Person responsible for operation or
                                administration of Seller or its business or assets, or a responsible officer for Seller,
                                or an examiner with enlarged powers relating to the operation or administration of
                                Seller or its business or assets (each, an “Appointee”); provided, that Appointee
                                shall not include any chief restructuring officer that has been or that may be
                                appointed by Seller and authorized by the Bankruptcy Court in the Chapter 11
                                Cases, or (c) if Seller files any stand-alone plan of reorganization or liquidation,
                                in each case, that does not contemplate consummation of the Transactions (or
                                announces support of any such plan filed by any other party);
                            (d) if (a) the Bankruptcy Court enters any Final Order that would reasonably be
                                expected to prevent, impede or materially delay the consummation of the
                                Transactions in accordance with the terms of this Agreement or (b) any creditor of
                                Seller obtains a final and unstayed Order of the Bankruptcy Court granting relief
                                from the automatic stay to foreclose on any material portion of the Purchased
                                Assets; or




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                               (e) if Seller fails to file the Sale Motion within five (5) Business Days after execution
                                   of this Agreement.
                            If the Buyer terminates due to any of the above circumstances, within three (3) Business
                            Days of such termination, Buyer shall receive reimbursement from Seller (by wire transfer
                            of immediately available funds to the account designated by Buyer by Notice to Seller) for
                            Buyer’s reasonable fees, costs, expenses in an amount not to exceed $3,000,000 (the “Buyer
                            Expense Reimbursement”).
                            See APA, Art. VIII § 8.1.
      6004(h) and 6004(d)   In order to close the Sale prior to the Outside Date, the Seller seeks a waiver of the stay
      Waivers               imposed by Bankruptcy Rules 6004(h) or 6006(d).

      Local Rule
      6004-1(b)(iv)(O)

                                          Basis for Relief Requested

I.          The Sale Is a Sound Exercise of the Debtors’ Business Judgment, Is Appropriate
            Pursuant to Bankruptcy Rule 6004(f), and Should be Approved.

            16.      Section 363(b) of the Bankruptcy Code provides that “[t]he [debtor in possession],

  after notice and a hearing, may use, sell or lease, other than in the ordinary course of business,

  property of the estate.” In determining whether to authorize the use, sale, or lease of property of

  the estates under section 363 of the Bankruptcy Code, “courts require the debtor to show that a

  sound business purpose justifies such actions.” In re Montgomery Ward Holding Corp., 242 B.R.

  147, 153 (Bankr. D. Del. 1999); see, e.g., In re ICL Holding Co., Inc., 802 F.3d 547, 551 (3d Cir.

     2015). The “sound business purpose” test requires a debtor to establish that: “(1) a sound business

     purpose [for the sale] exists; (2) the [total consideration] is fair; (3) the debtor has provided

     adequate and reasonable notice; and (4) the purchaser has acted in good faith.” In re Decora

     Indus., Inc., No. 00-4459 (JJF), 2002 WL 32332749, at *2 (D. Del. May 20, 2002) (citing

     In re Del. & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991)); see also In re Exaeris, Inc.,

     380 B.R. 741, 744 (Bankr. D. Del. 2008). The Debtors submit that the Sale satisfies each of these

     elements.

            •     A sound business purpose for the Sale exists. The Debtors submit that the proposed

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             Sale is a sound exercise of the Debtors’ business judgment. Among other things, the
             Purchased Assets were not meeting the Debtors’ profitability targets. The value
             generated by the Sale therefore outweighs any potential future benefits of maintaining
             the Purchased Assets. Consummating the Sale on the terms set forth in the APA will
             allow the Debtors to maximize the value of the Debtors’ estates. Further, the Debtors
             are able to consummate the Sale with minimal disruption to customer operations. To
             that end, the APA contemplates, and the Ancillary Agreements include, a Transition
             Services Agreement that provides for the smooth transition of operational and financial
             information, which in turn maintains the continuity of customer operations.

       •     The total consideration is fair. After engaging in good-faith, arm’s-length
             negotiations, the Parties agreed on the applicable purchase price in cash for the
             Purchased Assets, which totals approximately $193.5 million in cash consideration
             (subject to the Net Adjustment Amount) plus the assumption of certain Assumed
             Liabilities. The $193.5 million in cash will be increased or decreased by the Net
             Adjustment Amount prior to payment in accordance with the terms and conditions set
             forth in the APA. The Debtors and their advisors analyzed the Purchase Price and
             (a) concluded it measured favorably against comparable transactions and
             (b) determined that further marketing of the Purchased Assets would be unlikely to
             yield additional value. The value generated by the Sale outweighs any benefits of
             maintaining the Purchased Assets.

       •     The Debtors have provided adequate and reasonable notice. The Debtors have
             provided adequate and reasonable notice to all interested persons—the Debtors, with
             the assistance of Ducera, solicited interest from 208 parties through the Marketing
             Process as of the date hereof, and only the Buyer submitted a viable bid worthy of
             pursuit. This robust level of marketing, combined with the sustained interest from the
             Buyer and the strength of the terms of the Sale, reflects the comprehensiveness of the
             marketing of the Purchased Assets and demonstrates that notice was provided to all
             parties in interest.

       •     The Buyer has acted in good faith. As more fully described herein, the Buyer is an
             unaffiliated third party acting for bona fide commercial purposes. The Debtors agreed
             to sell the Purchased Assets to the Buyer following a fair and extensive negotiation
             process.

       17.      Once a debtor articulates a valid business justification, then the burden of rebutting

the “strong presumption . . . that the agreement at issue was negotiated in good faith and in the

best interests of the estate” falls to parties opposing the transaction. In re Filene’s Basement,

No. 11-13511 (KJC), 2014 WL 1713416, at *12 (Bankr. D. Del. Apr. 29, 2014); see also

In re Integrated Res., Inc., 147 B.R. 650, 656 (S.D.N.Y. 1992), appeal dismissed, 3 F.3d 49



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(2d Cir. 1993). Thus, if a debtor satisfies the business judgment rule, the transaction in question

should be approved under section 363(b)(1) of the Bankruptcy Code.

       18.     Moreover, Bankruptcy Rule 6004(f)(1) authorizes a debtor to sell estate property

outside of the ordinary course of its business by private sale or public auction. Courts generally

afford debtors in possession broad discretion in determining the manner in which estate property

is sold. See, e.g., In re Bakalis, 220 B.R. 525, 531 (Bankr. E.D.N.Y. 1998). Sales by a debtor

outside of the ordinary course of business are appropriate where the debtor demonstrates that the

sale is permissible pursuant to section 363 of the Bankruptcy Code. See In re Stephens Indus.,

Inc., 789 F.2d 386, 390 (6th Cir. 1986) (holding a debtor may sell property via private sale “when

a sound business purpose dictates such action”); In re Schipper, 933 F.2d 513 (7th Cir. 1991)

(approving private real estate sale by debtor when purchase price was the same as independent

appraisal); In re Woodscape Ltd. P’ship, 134 B.R. 165, 174 (Bankr. D. Md. 1991) (noting that,

with respect to sales of estate property, “[t]here is no prohibition against a private sale . . . and

there is no requirement that the sale be by public auction.”); In re Paper Corp. of Am., 138 F.Supp.

29 (S.D.N.Y. 1956) (holding that the trustee’s inability to sell the property after “many months . .

. was sufficient to warrant the private sale.”); see also In re Blue Coal Corp., 168 B.R. 553, 564

(M.D. Penn. 1994) (“[A] larger measure of discretion is available to the court in considering

whether a private bid should be approved or confirmed.”).

       19.     Selling the Purchased Assets is in the best interests of the Debtors’ estates and

should be approved. The Debtors believe that a public auction for the Purchased Assets would

require the Debtors’ estates to incur substantial additional costs and create undue delay and would

not result in any incremental value. A sale of the Purchased Assets under the terms and conditions

of the APA—as opposed to a lengthy public auction process—will allow the Debtors to avoid


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   incurring additional operating and lease expenses associated with the retail locations, thereby

      preserving value for the Debtors’ estates and all stakeholders. Additionally, the Debtors believe

      that the Buyer is uniquely positioned to fully appreciate the value in the Purchased Assets, and

      that, despite a robust prepetition marketing process and subsequent postpetition marketing efforts,

      it is unlikely that another purchaser would come forward within a reasonable time frame with a

      higher or otherwise better offer. The Debtors believe that the Sale comports with the long-term

   strategic initiatives of the Debtors and is value-maximizing. Accordingly, the Debtors have

      determined that entry into the APA and consummation of the Sale is in the best interests of their

      estates and all stakeholders.

             20.     Courts in this jurisdiction have authorized sales pursuant to section 363 of the

      Bankruptcy Code. See, e.g., In re Sunpower Corp., No. 24-11649 (CTG) (Bankr. D. Del. Aug. 29,

   2024) (authorizing a private sale of certain of the debtors’ assets without bidding procedures or an

   auction); In re MVK FarmCo LLC, No. 23-11721 (LSS) (Bankr. D. Del. Mar. 11, 2024) (same);

   In re Armstrong Flooring, Inc., No. 22-10426 (MFW) (Bankr. D. Del. Mar. 27, 2023) (same); In re

      Indep. Pet Partners Holdings, LLC, No. 23-10153 (LSS) (Bankr. D. Del. Feb. 24, 2023); and In

   re Boy Scouts of Am., No. 20-10343 (LSS) (Bankr. D. Del. Apr. 22, 2022) (same).

II.          The Sale Free and Clear of Liens and Other Interests Is Authorized by Section 363(f)
             of the Bankruptcy Code.

             21.     Section 363(f) of the Bankruptcy Code authorizes a debtor to sell assets free and

   clear of liens, claims, interests, and encumbrances if:

                     (1)     applicable non-bankruptcy law permits sale of such property
                             free and clear of such interests;

                     (2)     such entity consents;




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               (3)     such interest is a lien and the price at which such property is
                       to be sold is greater than the aggregate value of all liens on
                       such property;

               (4)     such interest is in bona fide dispute; or

               (5)     such entity could be compelled, in a legal or equitable
                       proceeding, to accept a money satisfaction of such interest.

Because these requirements are listed in the disjunctive, the Debtors only need to satisfy one of

the five requirements to permit the Purchased Assets to be sold “free and clear” of liens and

interests. See In re Kellstrom Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002). The Debtors

submit that each lien or interest in the Purchased Assets, except with respect to any Assumed

Liabilities or Permitted Encumbrances, satisfies at least one of the five conditions of section 363(f)

of the Bankruptcy Code. The Debtors further submit that any interest that will not be an Assumed

Liability or Permitted Encumbrance satisfies at least one of the five conditions of section 363(f)

of the Bankruptcy Code, and that any such interest will be adequately protected by either being

paid in full at the time of closing or by attaching to the net proceeds of the Sale, subject to any

claims and defenses the Debtors may possess with respect thereto.

       22.     Importantly, the requisite DIP Lenders and Prepetition First Lien Lenders under the

DIP Facility and the First Lien Term Loan Facility consented to the Sale on the condition that,

among other things, (a) the DIP Liens and the Prepetition First Lien Liens attach to the proceeds

of the Sale with the same validity, force, and effect that such DIP Liens and Prepetition First Lien

Liens had prior to the Sale, subject to any claims and defenses the Debtors and their estates may

possess with respect thereto, and (b) the proceeds of the Sale shall be distributed in accordance

with the DIP Credit Agreement and the Final DIP Order. Further, to the extent any prepetition

secured lenders have a prepetition security interest in and liens upon the Purchased Assets, these

creditors can be compelled to accept a monetary satisfaction of their interests or are adequately


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   protected by having their claims that constitute interests in the Purchased Assets, if any, attach to

   the proceeds of the Sale with the same priority that existed immediately prior to the closing. Thus,

   section 363(f)(5) of the Bankruptcy Code is satisfied and any existing interests in the Purchased

   Assets will be adequately protected through attachment to the proceeds of the Sale. See In re Katy

   Indus., No. 17-11101 (KJC), 2017 WL 5434578, at *5 (Bankr. D. Del. 2017) (finding that holders

   of liens against property sold free and clear of all liens are “adequately protected by having their

   Encumbrances, if any, attach to the cash proceeds of the Sale attributable to the Purchased Assets

   in which such holder alleges an Encumbrance”); see also MacArthur Co. v. Johns-Manville Corp.,

   837 F.2d 89, 94 (2d Cir. 1988) (“It has long been recognized that when a debtor’s assets are

   disposed of free and clear of third-party interests, the third party is adequately protected if his

   interest is assertable against the proceeds of the disposition.”).

              23.     Accordingly, the Debtors request that the Purchased Assets be transferred to the

   Buyer free and clear of liens, claims, and encumbrances, other than Assumed Liabilities and

   Permitted Encumbrances, with any such liens, claims, and encumbrances attaching to the net sale

   proceeds realized from the Sale.

III.          The Buyer Is a Good-Faith Purchaser and Is Entitled to the Full Protection of
              Section 363(m) of the Bankruptcy Code.

              24.     Section 363(m) of the Bankruptcy Code provides that “[t]he reversal or

       modification on appeal of an authorization under subsection (b) or (c) of this section of a sale or

       lease of property does not affect the validity of a sale or lease under such authorization to an entity

       that purchased or leased such property in good faith[.]” Although good faith is not specifically

       defined in the Bankruptcy Code, one court has stated that the “[g]ood faith of a purchaser is shown

       by the integrity of his conduct during the course of the sale proceedings . . . A purchaser’s good

       faith is lost by fraud, collusion between the purchaser and other bidders or the trustee, or an attempt

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to take grossly unfair advantage of other bidders.” In re Gucci, 126 F.3d 380, 390 (2d Cir. 1997)

(internal quotations omitted). Within the Third Circuit, a good faith purchaser is one who

purchases assets for value and in good faith. See In re Abbotts Dairies of Pa., 788 F.2d 143, 147

(3d Cir. 1986). “The requirement that a purchaser act in good faith . . . speaks to the integrity of

his conduct in the course of the sale proceedings. Typically, the misconduct that would destroy a

purchaser’s good faith status at a judicial sale involves fraud, collusion between the purchaser and

other bidders or the trustee, or an attempt to take grossly unfair advantage of other bidders.” In re

Abbotts Dairies of Pa., 788 F.2d at 147.

       25.     The Debtors submit that the Buyer is a “good faith purchaser” within the meaning

of section 363(m) of the Bankruptcy Code and that the APA is a good faith agreement on

arms’-length terms entitled to the protections of section 363(m) of the Bankruptcy Code. All

Parties were represented by competent counsel and all negotiations in connection with the APA

and the Sale contemplated therein were conducted on an arm’s-length, good-faith basis. There is

no indication of fraud or any improper insider dealing. Further, the consideration to be received

by the Debtors for the Purchased Assets pursuant to the APA is substantial, fair, and reasonable

under the circumstances.

       26.     The Sale was evaluated and approved by the Debtors in consultation with their

advisors and the Ad Hoc Group, the Freedom Lender Group, and the Creditors’ Committee.

Additionally, the Buyer and the Debtors are wholly unrelated, share no officers, directors,

shareholders, incorporators, employees, or economic interests—other than as embodied in the

Sale—in common, and the Buyer is not an “insider” as that term is defined in section 101(31) of

the Bankruptcy Code. Accordingly, the Debtors request that the Court enter an order entitling the

APA and the Parties to the Sale to the full protections of section 363(m) of the Bankruptcy Code.


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IV.        The Assumption and Assignment of the Purchased Contracts and Purchased Leases
           Should Be Approved.

      A.   The Assumption and Assignment of the Purchased Contracts and the Purchased
           Leases Reflects the Debtors’ Reasonable Business Judgment.

           27.     Assumption and assignment of the Purchased Contracts and Purchased Leases in

  connection with the Sale reflects the Debtors’ sound business judgment. Section 365 of the

  Bankruptcy Code authorizes a debtor to assume and/or assign their executory contracts and

  unexpired leases, subject to the approval of the court, provided that the defaults under such

  executory contracts and unexpired leases are cured and adequate assurance of future performance

  is provided. A debtor’s decision to assume or reject an executory contract or unexpired lease must

  only satisfy the “business judgment rule” and will not be subject to review unless such decision is

  clearly an unreasonable exercise of such judgment. See, e.g., Grp. of Inst’l Invrs. v. Chicago,

  Milwaukee, St. Paul & Pacific Ry. Co., 318 U.S. 523 (1943) (applying section 77(b) of the

  Bankruptcy Act, predecessor to section 365 of the Bankruptcy Code, and rejecting the test of

  whether an executory contract was burdensome in favor of whether rejection is within a debtor’s

   business judgment); Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36, 40 (3d Cir.

   1989) (describing deference to a debtor’s business judgment as “breathing space afforded [to] the

   debtor to consider whether to reject or assume executory contracts under the [Bankruptcy] Code.”);

   In re S.A. Holding Co., LLC, 357 B.R. 51, 56 (Bankr. D.N.J. 2006) (applying the business judgment

   test in determining whether to approve a contract rejection); In re Cent. Jersey Airport Servs., LLC,

   282 B.R. 176, 183 (Bankr. D.N.J. 2002) (“Although the [Bankruptcy Code] does not provide the

   standard to be applied in determining the propriety of the [debtor’s] decision [to assume or reject

   a contract], most Circuits, including the Third Circuit have adopted the business judgment test.”).




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       28.     Here, the Court should approve the decision to assume and assign the

Purchased Contracts and the Purchased Leases in connection with the Sale as a sound exercise of

the Debtors’ business judgment. The Purchased Contracts and Purchased Leases—which include,

among other things, customer and supplier contracts, real property leases, intellectual property

agreements, and liabilities related thereto—are necessary to manage the day-to-day operations of

the Purchased Assets, and the assumption and assignment of the Purchased Contracts and the

Purchased Leases are therefore essential to inducing the best offer for the Purchased Assets. The

assumption and assignment of the Purchased Contracts and the Purchased Leases is necessary and

appropriate under the circumstances in connection with the Sale, is integral to the Debtors’ overall

restructuring efforts, and the Buyer has demonstrated that it can reasonably carry on the obligations

under the Purchased Contracts and the Purchased Leases. Importantly, the counterparties to the

Purchased Contracts and the Purchased Leases will be treated fairly and equitably, as all existing

defaults under the Purchased Contracts and the Purchased Leases will be promptly cured by the

Debtors as described below. Accordingly, the Debtors submit that the assumption of the Purchased

Contracts and the Purchased Leases and their assignment to the Buyer should be approved as a

sound exercise of the Debtors’ business judgment.

B.      Defaults Under the Purchased Contracts and Purchased Leases will be Cured in
        Connection with the Sale.

       29.     Upon finding that a debtor has exercised its business judgment in determining that

assuming an executory contract or unexpired lease is in the best interest of its estate, courts must

then evaluate whether the assumption meets the requirements of section 365(b) of the Bankruptcy

Code. Specifically, before assumption will be permitted, a debtor must (a) cure existing defaults

or provide adequate assurance that cure will promptly occur, (b) compensate any party to the

agreement that has suffered actual pecuniary loss as a result of default or provide adequate

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assurance of prompt compensation to the injured party, and (c) provide adequate assurance of

future performance under the agreement. In re Carlisle Homes, Inc., 103 B.R. 524, 538 (Bankr.

D.N.J. 1988); see also Cinicola v. Scharffenberger, 248 F.3d 110, 120 (3d Cir. 2001) (“Before an

executory contract may be assigned, the trustee first must assume the contract and ‘adequate

assurance of future performance’ of the contract must be provided.”). This section “attempts to

strike a balance between two sometimes competing interests, the right of the contracting non debtor

to get the performance it bargained for and the right of the debtor’s creditors to get the benefit of

the debtor’s bargain.” Id. (quoting In re Bon Ton Restaurant & Pastry Shop, Inc., 53 B.R. 789,

803 (Bankr. N.D. Ill. 1985)).

       30.     Here, the statutory requirements of section 365(b)(1)(A) of the Bankruptcy Code

will promptly be satisfied because the applicable Debtor or Debtors will cure all defaults associated

with, or required to properly assume and assign, the Purchased Contracts and the Purchased Leases

on, prior to, or after the Closing Date, as applicable, in accordance with the terms of the APA. The

Debtors believe that if any defaults exist that must be cured, such cure will be achieved fairly,

efficiently, properly, and consistently with the Bankruptcy Code. In conjunction with or following

consummation of the Sale, the applicable Debtor or Debtors will pay all identified and outstanding

obligations under the Purchased Contracts and the Purchased Leases and will perform all of their

undisputed prepetition obligations in connection with the assumption and assignment of any

Purchased Contract and the Purchased Lease.

       31.     Further, the Purchased Contracts and the Purchased Leases and the related amounts

required to cure all defaults or other obligations thereunder pursuant to section 365 of the

Bankruptcy Code are listed on Schedule 1 of the Sale Order (as may be amended or modified from

time to time, the “Cure Schedule,” and the related costs, collectively, the “Cure Costs”). On the


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date hereof, the applicable Debtor or Debtors will serve each non-Debtor counterparty to a

Purchased Contract or Purchased Lease with the Motion, the Sale Order, and the Cure Schedule,

notifying such counterparty (a) that the Purchased Contract or the Purchased Lease may be

assumed and assigned to the Buyer in connection with the Sale and (b) of the proposed Cure Cost

associated with the relevant Purchased Contract or Purchased Lease. Objections to the proposed

assumption and assignment of a Purchased Contract or Purchased Lease (including with respect to

the proposed Cure Cost) must (i) be in writing, (ii) comply with the Bankruptcy Code, the

Bankruptcy Rules, and the Local Rules, (iii) state, with specificity, the legal and factual bases

thereof, including the Cure Cost that the counterparty believes is required to cure defaults under

the relevant Purchased Contract or Purchased Lease if different from the Cure Cost set forth in

Schedule 1, and (iv) be filed with the Court (contemporaneously with a proof of service) by no

later than (A) April 29, 2025 (which shall be no less than 14 days after the date of notice) or (B) for

any Purchased Contract or Purchased Lease added to Schedule 1 after April 15, 2025, 14 days after

service of the notice to such Purchased Contract or Purchased Lease counterparty (each,

an “Assignment Objection”).

       32.     If a counterparty to a Purchased Contract or Purchased Lease fails to properly and

timely file and serve an Assignment Objection in accordance with paragraph 31 of this Motion,

the counterparty shall be forever barred from asserting any objection with regard to the assumption

or assignment of its Purchased Contract or Purchased Lease, as applicable, and notwithstanding

anything to the contrary in the Purchased Contract or Purchased Lease or any other document, the

Cure Costs set forth in the Cure Schedule shall be the only amount necessary to cure outstanding

defaults under the applicable Purchased Contract or Purchased Lease under section 365 of the

Bankruptcy Code.


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       33.     In the event of a dispute between the applicable Debtor or Debtors and a

counterparty to any Purchased Contract or Purchase Lease with respect to a Cure Cost for which

there is an unresolved objection, the Seller proposes that it will promptly pay the appropriate

amount, on the date that is five (5) Business Days after the date on which: (a) the applicable

Debtor or Debtors reach agreement on the amount of the cure with the applicable counterparty; or

(b) the Court has entered an order fixing such amount. The applicable Debtor or Debtors propose

that any Cure Costs be satisfied pursuant to the APA. For the avoidance of doubt, the Debtors are

not seeking to impair any cure claims.

       34.     Similarly, the requirement of section 365(b)(1)(C) of the Bankruptcy Code—

adequate assurance of future performance—is also satisfied here. “The phrase ‘adequate assurance

of future performance,’ adopted from section 2-609(1) of the Uniform Commercial Code, is to be

given a practical, pragmatic construction based upon the facts and circumstances of each case.

Although no single solution will satisfy every case, the required assurance will fall considerably

short of an absolute guarantee of performance.” Carlisle Homes, 103 B.R. at 538 (internal citations

omitted). Among other things, adequate assurance may be given by demonstrating the assignee’s

financial health and experience in managing the type of enterprise or property assigned. See In re

Filene’s Basement, 2014 WL 1713416, at *12 (holding that a contract could be assigned because

the assignee had the financial ability to perform the contract obligations going forward and would

not fail to perform the contract’s obligations at risk of losing a significant investment);

In re Bygaph, Inc., 56 B.R. 596, 605–06 (Bankr. S.D.N.Y. 1986) (holding that adequate assurance

of future performance is present where a prospective assignee has the financial resources and has

expressed a willingness to devote sufficient funding to a business to give it a strong likelihood of

succeeding).


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            35.     Here, the Buyer is a well-capitalized, sophisticated private investment firm

     primarily focused on businesses in transition. The Debtors evaluated the financial wherewithal of

     the Buyer before finalizing the APA (e.g., financial credibility, willingness, and ability of the

     Buyer to perform under executory contracts and unexpired leases). The Buyer has demonstrated

     such financial wherewithal, willingness, and ability to perform under the Purchased Contracts and

  the Purchased Leases. As such, the Buyer is equipped to step into the Debtors’ position as operator

  of the Purchased Assets.

V.          The Buyer Expense Reimbursement Has a Sound Business Purpose and Should be
            Approved.

            36.     The Debtors are also seeking approval of the Buyer Expense Reimbursement under

 section 8.1 of the APA. Specifically, if, prior to the Closing Date, the Buyer terminates the APA in

  accordance with sections 8.1.2, 8.1.3, 8.1.4, 8.1.8, or 8.1.9 of the APA, then, within three (3) Business

  Days of such termination, the Buyer shall receive reimbursement from the Seller for its reasonable

  fees, costs, and expenses in an amount not to exceed $3 million in accordance with the applicable

  terms and conditions of the APA. Bid protections are a normal and necessary component of

 significant sales conducted in chapter 11 to protect the potential buyer from circumstances where

 a debtor determines not to proceed with the signing and closing of the sale. See In re Integrated

 Res. Inc., 147 B.R. 650, 659–61 (S.D.N.Y. 1992) (“break-up fees can be necessary to discharge

  the directors’ duties to maximize value . . . [and] ensure that a bidder does not retract its bid”)

  (emphasis in original); In re Hupp Indus., 140 B.R. 191, 194 (Bankr. N.D. Ohio 1997) (without

  any reimbursement, “bidders would be reluctant to make an initial bid for fear that their first bid

  will be shopped around for a higher bid from another bidder who would capitalize on the initial

  bidder’s…due diligence”); In re 995 Fifth Ave. Assocs., 96 B.R. 24, 28 (Bankr. S.D.N.Y. 1989)

  (finding that bidding incentives may be “legitimately necessary to convince a white knight to enter

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the bidding by providing some form of compensation for the risks it is undertaking”) (citations

omitted).

        37.     As a result, courts regularly approve such buyer protections in connection with

proposed bankruptcy sales where a proposed fee or reimbursement provides a benefit to the estate.

See In re Energy Future Holdings Corp., 904 F.3d 298 (3d Cir. 2018) (holding that “[T]he

allowability of break-up fees. . . depends upon the requesting party’s ability to show that the fees

[a]re actually necessary to preserve the value of the estate.”) (citing In re O’Brien Envtl. Energy,

Inc., 181 F.3d 527, 535 (3d Cir. 1999)) (alterations in original); In re Reliant Energy Channelview

LP, 594 F.3d 200, 206 (3d Cir. 2010) (same).

        38.     The Debtors submit that the Buyer Expense Reimbursement is amply justified,

within the Debtors’ business judgment, and in the best interests of the Debtors’ estates and their

creditors.    The Debtors believe, and the Buyer has represented that, the Buyer Expense

Reimbursement is a material inducement for the Buyer’s commitment to purchase the Purchased

Assets. The Sale, including the Buyer Expense Reimbursement, has been thoroughly negotiated,

and the Debtors were able to achieve other material concessions from the Buyer in exchange for

providing the Buyer Expense Reimbursement.

        39.     Additionally, the benefits provided by the Sale and the Transactions will far

outweigh the potential costs associated with the Buyer Expense Reimbursement, especially since

the Buyer Expense Reimbursement will only be paid to the extent that the APA is terminated by

the Buyer in accordance with section 8.1 of the APA. Accordingly, the Debtors believe that the

Buyer Expense Reimbursement is reasonable and appropriate under the circumstances of the Sale.

As such, the Debtors respectfully request that the Court approve the Buyer Expense

Reimbursement.


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VI.          Relief Under Bankruptcy Rules 6004(h) and 6006(d) is Appropriate.

             40.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

      of property . . . is stayed until the expiration of fourteen days after the entry of the order, unless

      the court orders otherwise.” Additionally, Bankruptcy Rule 6006(d) provides that an “order

      authorizing the trustee to assign an executory contract or unexpired lease . . . is stayed until the

      expiration of fourteen days after the entry of the order, unless the court orders otherwise.” The

      Debtors request that the Sale Order be effective immediately upon its entry by providing that the

      14-day stays under Bankruptcy Rules 6004(h) and 6006(d) are waived.

             41.     The purpose of Bankruptcy Rules 6004(h) and 6006(d) is to provide sufficient time

  for an objecting party to appeal before an order can be implemented. In re Filene’s Basement,

   2014 WL 1713416, at *14; see Advisory Committee Notes to Fed. R. Bankr. P. 6004(h) and

   6006(d). Although Bankruptcy Rules 6004(h) and 6006(d) and the Advisory Committee Notes

   are silent as to when a court should “order otherwise” and eliminate or reduce the 14-day stay

   period, the leading treatise on bankruptcy suggests that the 14-day stay should be eliminated to

   allow a sale or other transaction to close immediately “where there has been no objection to

   procedure.” See 10 Collier on Bankruptcy ¶ 6004.11, ¶ 6004.04 (16th rev. ed. 2014). Furthermore,

   if an objection is filed and overruled, and the objecting party informs the court of its intent to

   appeal, the stay may be reduced to the amount of time actually necessary to file such appeal. See

   id.; In re Filene’s Basement, 2014 WL 1713416, at *14 (reducing the stay to seven days from the

   date of entry of the sale order).

             42.     Time is of the essence in closing the Sale and the Transactions, and the Seller and

  the Buyer seek to close the Sale as soon as practicable to maximize the value received for the

  Purchased Assets and reduce the accrual of administrative expenses relating to such assets.



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Additionally, there is no credible basis for concluding that a delay in the Sale would result in a

higher or otherwise better offer for the Purchased Assets, and absent the relief requested in this

Motion, the closing process would likely be delayed, thereby placing the consummation of the

Sale in jeopardy. Accordingly, the Debtors hereby request that the Court waive the 14-day stay

period under Bankruptcy Rules 6004(h) and 6006(d).

                                       Reservation of Rights

       43.     Notwithstanding anything to the contrary herein, nothing contained in this Motion

or any actions taken pursuant to any order granting the relief requested by this Motion (including

any payment made in accordance with any such order), is intended as or shall be construed or

deemed to be: (a) an implication or admission as to the amount of, basis for, or validity of any

particular claim against the Debtors under the Bankruptcy Code or other applicable

non-bankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s rights to dispute

any particular claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission, or finding that any particular claim is an administrative expense

claim, other priority claim, or otherwise of a type specified or defined in this Motion or any order

granting the relief requested by this Motion; (e) a request or authorization to assume, adopt, or

reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (g) a waiver or limitation of the

Debtors’ or any other party in interest’s claims, causes of action, or other rights under the

Bankruptcy Code or any other applicable law.




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                                              Notice

       44.     The Debtors will provide notice of this Motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the Creditors’ Committee; (c) counsel to the ABL

Lenders; (d) counsel to the Ad Hoc Group of First Lien Lenders; (e) counsel to the Second Lien

Term Loan Lenders; (f) counsel to the HoldCo Lenders; (g) counsel to the DIP Agent; (h) counsel

to the DIP Lenders; (i) counsel to the Buyer; (j) all parties to the Purchased Contracts and

Purchased Leases to be assumed and assigned in connection with the Sale; (k) all known holders

of Encumbrances secured by the Purchased Assets; and (l) any party that is entitled to notice

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.



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       WHEREFORE, the Debtors request entry of the Sale Order, substantially in the form

attached hereto as Exhibit A, (a) granting the relief requested herein and (b) granting such other

relief as the Court deems appropriate under the circumstances.

Dated: April 15, 2025
Wilmington, Delaware

 /s/ Allison S. Mielke
  YOUNG CONAWAY STARGATT &                        KIRKLAND & ELLIS LLP
  TAYLOR, LLP                                     KIRKLAND & ELLIS INTERNATIONAL LLP
  Edmon L. Morton (Del. No. 3856)                 Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Matthew B. Lunn (Del. No. 4119)                 Nicole L. Greenblatt, P.C. (admitted pro hac vice)
  Allison S. Mielke (Del. No. 5934)               Derek I. Hunter (admitted pro hac vice)
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                 mlunn@ycst.com
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                                                  Email:         mark.mckane@kirkland.com

 Co-Counsel to the Debtors                        Co-Counsel to the Debtors
 and Debtors in Possession                        and Debtors in Possession
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )    Chapter 11
                                                          )
    FRANCHISE GROUP, INC., et al.,1                       )    Case No. 24-12480 (LSS)
                                                          )
                             Debtors.                     )    (Jointly Administered)
                                                          )
                                                          )    Hearing Date: May 6, 2025, at 11:30 a.m. (ET)
                                                          )    Obj. Deadline: April 29, 2025, at 4:00 p.m. (ET)

                 NOTICE OF DEBTORS’ MOTION FOR ENTRY
              OF AN ORDER (I) AUTHORIZING FRANCHISE GROUP
            INTERMEDIATE V, LLC TO ENTER INTO AND PERFORM
        ITS OBLIGATIONS UNDER THE ASSET PURCHASE AGREEMENT,
     (II) APPROVING THE SALE OF CERTAIN ASSETS FREE AND CLEAR
    OF ALL CLAIMS, LIENS, RIGHTS, INTERESTS, AND ENCUMBRANCES,
  (III) APPROVING THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (IV) GRANTING RELATED RELIEF

        PLEASE TAKE NOTICE that, on April 15, 2025, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an Order
(I) Authorizing Franchise Group Intermediate V, LLC to Enter into and Perform its Obligations
Under the Asset Purchase Agreement, (II) Approving the Sale of Certain Assets Free and Clear of
All Claims, Liens, Rights, Interests, and Encumbrances, (III) Approving the Assumption and

1     The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
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Assignment of Executory Contracts and Unexpired Leases, and (IV) Granting Related Relief
(the “Motion”) with the United States Bankruptcy Court for the District of Delaware
(the “Court”).2

        PLEASE TAKE FURTHER NOTICE that, as contemplated under the APA, certain of
the Debtors’ executory contracts and unexpired leases (including, without limitation, any and all
amendments, modifications, side letters, memoranda of understanding, documents incorporated
by reference, attachments, and exhibits thereto) (each, a “Purchased Contract” or a “Purchased
Lease,” as applicable) listed on Schedule 1 to the Sale Order will be assumed or assumed and
assigned on, prior to, or after the Closing Date of the Sale without the need for any further notice
to or action, order, or approval of the Court pursuant to section 365 of the Bankruptcy Code.

     PLEASE TAKE FURTHER NOTICE THAT YOU MAY BE RECEIVING THIS
NOTICE BECAUSE THE DEBTORS’ RECORDS REFLECT THAT YOU MAY BE A
PARTY TO A PURCHASED CONTRACT OR PURCHASED LEASE THAT WILL BE
ASSUMED AND ASSIGNED PURSUANT TO THE SALE. THEREFORE, YOU ARE
ADVISED TO CAREFULLY REVIEW SCHEDULE 1 TO THE SALE ORDER, THE APA,
AND THE INFORMATION CONTAINED IN THIS NOTICE.

       PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in
Motion must: (a) be in writing; (b) comply with the Bankruptcy Code, the Bankruptcy Rules, and
the Local Rules; (c) state, with specificity, the legal and factual bases thereof, including the Cure
Cost that the counterparty believes is required to cure defaults under the relevant Purchased
Contract or Purchased Lease if different from the Cure Cost set forth in Schedule 1 to the Sale
Order, if applicable; (d) be filed with the Court by no later than 4:00 p.m. (prevailing Eastern
Time) on April 29, 2025 (which shall be no less than 14 days after the date of notice); and (e) be
served upon the Objection Notice Parties (as defined below).

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the assumption and
assignment of the Purchased Contracts or Purchased Leases must: (a) be in writing; (b) comply
with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules; (c) state, with specificity,
the legal and factual bases thereof, including the Cure Cost that the counterparty believes is
required to cure defaults under the relevant Purchased Contract or Purchased Lease if different
from the Cure Cost set forth in Schedule 1 to the Sale Order, if applicable; (d) be filed with the
Court by no later than 4:00 p.m. (prevailing Eastern Time) on May 3, 2025 (which shall be no
less than 14 days after the date of notice); and (e) be served upon the Objection Notice Parties (as
defined below).

        PLEASE TAKE FURTHER NOTICE that a timely filed and properly served objection
to the assumption and assignment of a Purchased Contract or Purchased Lease will only reserve
the counterparty’s rights relating to the Purchased Contract or the Purchased Lease, as applicable,


2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
    Seventh Amended Joint Chapter 11 Plan of Franchise Group, Inc. and Its Debtor Affiliates [Docket No. 1233],
    as applicable.


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but will not be deemed to constitute an objection to the relief generally requested in the Motion
with respect to the approval of the Sale.

       PLEASE TAKE FURTHER NOTICE that if a counterparty to a Purchased Contract or
Purchased Lease fails to properly and timely file and serve an objection in accordance with the
Motion and this notice, the counterparty shall be forever barred from asserting any objection with
regard to the assumption and assignment of its Purchased Contract or Purchased Lease, as
applicable, and notwithstanding anything to the contrary in the Purchased Contract or Purchased
Lease or any other document, the Cure Costs set forth on Schedule 1 to the Sale Order shall be the
only amount necessary to cure outstanding defaults under the applicable Purchased Contract or
Purchased Lease under section 365 of the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that the objection notice parties are:
(a) co-counsel for the Debtors, (i) Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY
10022, Attn: Joshua A. Sussberg, P.C. (jsussberg@kirkland.com), Nicole L. Greenblatt, P.C.
(nicole.greenblatt@kirkland.com), and Derek I. Hunter (derek.hunter@kirkland.com), Brian J.
Nakhaimousa          (brian.nakhaimousa@kirkland.com),         and       Maddison      Levine
(maddison.levine@kirkland.com); and (ii) Young Conaway Stargatt & Taylor, LLP, Rodney
Square, 1000 North King Street, Wilmington, DE 19801, Attn: Edmon L. Morton, Esq.
(emorton@ycst.com) and Matthew B. Lunn, Esq. (mlunn@ycst.com); (b) counsel to the Creditors’
Committee, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, P.O. Box
8705, Wilmington, DE 19899, Attn: Bradford J. Sandler, Esq. (bsandler@pszjlaw.com) and Colin
R. Robinson, Esq. (crobinson@pszjlaw.com), and 780 Third Avenue, 34th Floor, New York, NY
10017, Attn: Robert J. Feinstein, Esq. (rfeinstein@pszjlaw.com), Alan J. Kornfeld, Esq.
(akornfeld@pszjlaw.com), and Theodore S. Heckel, Esq. (theckel@pszjlaw.com); (c) the U.S.
Trustee, J. Caleb Boggs Federal Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington,
DE 19801, Attn: Timothy J. Fox, Esq. (timothy.fox@usdoj.gov); (d) counsel to the DIP Agent,
Seward & Kissel LLP, One Battery Park Plaza, New York, NY 10004, Attn: Gregg Bateman, Esq.
(bateman@sewkis.com), Sagar Patel, Esq. (patel@sewkis.com), and Michael Danenberg,
Esq.(danenberg@sewkis.com); (e) counsel to the DIP Lenders and Ad Hoc Group, (i) Paul
Hastings LLP, 200 Park Avenue, New York, NY 10166, Attn: Jayme Goldstein, Esq.
(jaymegoldstein@paulhastings.com), Jeremy Evans, Esq. (jeremyevans@paulhastings.com), and
Isaac Sasson, Esq. (isaacsasson@paulhastings.com), and (ii) Landis Rath & Cobb LLP, 919 N.
Market Street Suite 1800, Wilmington, DE 19317, Attn: Adam G. Landis, Esq.
(landis@lrclaw.com) and Matthew McGuire, Esq. (mcguire@lrclaw.com); (f) counsel to the ABL
Lenders, Latham & Watkins LLP, 1271 Avenue of the Americas, New York, NY 10020, Attn:
Jennifer Ezring, Esq. (Jennifer.Ezring@lw.com), James Ktsanes, Esq. (James.Ktsanes@lw.com)
and Andrew Sorkin, Esq. (andrew.sorkin@lw.com); (g) counsel to the Second Lien Lenders,
White & Case LLP, 200 S Biscayne Blvd, Miami, FL 33131, Attn: Thomas Lauria, Esq.
(tlauria@whitecase.com), and 111 S. Wacker Dr., Suite 5100, Chicago, IL 60606, Attn: Bojan
Guzina, Esq. (bojan.guzina@whitecase.com); and (h) counsel to the HoldCo Lenders at the
address set forth in (g) above, and (m) the Fee Examiner, Don F. Oliver (dfr.dfo@gmail.com),
Direct Fee Review LLC, 24A Trolley Square, #1225, Wilmington, Delaware, 19806 (collectively,
the “Objection Notice Parties”).




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        PLEASE TAKE FURTHER NOTICE that a hearing at which the Court will consider
the Motion and approval of the Sale will commence on May 6, 2025, or as soon thereafter as
counsel may be heard, before the Honorable Laurie Selber Silverstein, United States Bankruptcy
Judge for the District of Delaware, 824 Market Street, Courtroom #2, Sixth Floor, Wilmington,
Delaware 19801. Only objections made in writing and timely filed will be considered by the Court
at such hearing. If you fail to respond in accordance with this notice, the Court may grant the relief
demanded by the Motion without further notice or hearing.

         PLEASE TAKE FURTHER NOTICE that copies of the Motion and other related
documents may be obtained: (a) by visiting the Debtors’ restructuring website:
https://cases.ra.kroll.com/FRG and clicking the link on the left-hand side of the website landing
page titled “Plan and Disclosure Statement;” (b) upon written request to the Debtors’ solicitation
agent, Kroll Restructuring Administration LLC (the “Solicitation Agent”), at Franchise Group,
Inc. Solicitation Processing Center, c/o Kroll Restructuring Administration LLC, 850 3rd Avenue,
Suite 412, Brooklyn, NY 11232; (c) by contacting the Solicitation Agent via telephone at (844)
285-4564 (U.S./Canada toll free) or +1 (646) 937-7751 (International); or (d) for a fee, from the
Bankruptcy Court’s website, www.deb.uscourts.gov (a PACER account is required). A PACER
login and password can be obtained through the PACER Service Center at https://www.pacer.gov.

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Dated: April 19, 2025
Wilmington, Delaware

 /s/ Allison S. Mielke
  YOUNG CONAWAY STARGATT &                     KIRKLAND & ELLIS LLP
  TAYLOR, LLP                                  KIRKLAND & ELLIS INTERNATIONAL LLP
  Edmon L. Morton (Del. No. 3856)              Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Matthew B. Lunn (Del. No. 4119)              Nicole L. Greenblatt, P.C. (admitted pro hac vice)
  Allison S. Mielke (Del. No. 5934)            Derek I. Hunter (admitted pro hac vice)
  Shella Borovinskaya (Del. No. 6758)          601 Lexington Avenue
  Rodney Square                                New York, New York 10022
  1000 North King Street                       Telephone:     (212) 446-4800
  Wilmington, Delaware 19801                   Facsimile:     (212) 446-4900
  Telephone:      (302) 571-6600               Email:         joshua.sussberg@kirkland.com
  Facsimile:      (302) 571-1253                              nicole.greenblatt@kirkland.com
  Email:         emorton@ycst.com                             derek.hunter@kirkland.com
                 mlunn@ycst.com
                 amielke@ycst.com              - and -
                 sborovinskaya@ycst.com
                                               KIRKLAND & ELLIS LLP
                                               KIRKLAND & ELLIS INTERNATIONAL LLP
                                               Mark McKane, P.C. (admitted pro hac vice)
                                               555 California Street
                                               San Francisco, California 94104
                                               Telephone:     (415) 439-1400
                                               Facsimile:     (415) 439-1500
                                               Email:         mark.mckane@kirkland.com

 Co-Counsel to the Debtors                     Co-Counsel to the Debtors
 and Debtors in Possession                     and Debtors in Possession
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                         Exhibit A

                    Proposed Sale Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )        Chapter 11
                                                              )
    FRANCHISE GROUP, INC., et al., 1                          )        Case No. 24-12480 (LSS)
                                                              )
                             Debtors.                         )        (Jointly Administered)
                                                              )
                                                              )        Re: Docket No. [●]

               ORDER (I) AUTHORIZING FRANCHISE GROUP
          INTERMEDIATE V, LLC TO ENTER INTO AND PERFORM ITS
         OBLIGATIONS UNDER THE ASSET PURCHASE AGREEMENT,
     (II) APPROVING THE SALE OF CERTAIN ASSETS FREE AND CLEAR
    OF ALL CLAIMS, LIENS, RIGHTS, INTERESTS, AND ENCUMBRANCES,
  (III) APPROVING THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (IV) GRANTING RELATED RELIEF

             Upon the Debtors’ Motion for Entry of an Order (I) Authorizing Franchise Group

Intermediate V, LLC to Enter into and Perform its Obligations Under the Asset Purchase

Agreement, (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens, Rights,



1     The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
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Interests, and Encumbrances, (III) Approving the Assumption and Assignment of Executory

Contracts and Unexpired Leases, and (IV) Granting Related Relief (the “Motion”) 2 of the

above-captioned debtors and debtors in possession (collectively, the “Debtors”), for entry of an

order (this “Sale Order”): (a) authorizing and approving the Debtors’ entry into and performance

under the APA, substantially in the form attached hereto as Exhibit 1; (b) authorizing and

approving the sale of the Purchased Assets free and clear of any and all mortgages, liens (statutory

or otherwise, including as defined in section 101(37) of the Bankruptcy Code), claims, licenses,

sublicenses, pledges, security interests, charges, hypothecations, restrictions (including restrictions

on transfer or use), claims of ownership, leases, subleases, options, rights of use or possession,

preferences, encroachments, restrictive covenants, rights of first offer or refusal, title or survey

defects,   or other encumbrances             or similar restrictions          of any       kind    (collectively,

the “Encumbrances”), except Permitted Encumbrances and Assumed Liabilities; (c) authorizing

the assumption and assignment of the Purchased Contracts and the Purchased Leases; and

(d) granting related relief, all as more fully set forth in the Motion; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was referred to the Court under

28 U.S.C. § 157 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and this Court having found that this

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court

may enter a final order consistent with Article III of the United States Constitution; and this Court



2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion, the
    APA, the Seventh Amended Joint Chapter 11 Plan of Franchise Group, Inc. and Its Debtor Affiliates
    [Docket No. 1233], or the Final Order (I) Authorizing the Debtors to (A) Obtain Senior Secured Priming
    Superpriority Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing Claims
    with Superpriority Administrative Expense Status, (III) Granting Adequate Protection to the Prepetition Secured
    Parties, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief [Docket No. 414] (the “Final DIP
    Order”), as applicable.


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  having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

  U.S.C. §§ 1408 and 1409; and this Court having found that sufficient cause exists for the relief set

  forth herein; and this Court having found that the relief requested in the Motion is in the best

  interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

  found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

  appropriate under the circumstances and no other notice need be provided; and this Court having

  reviewed the Motion and having heard the statements in support of the relief requested therein, at

  a hearing before this Court (the “Sale Hearing”); and this Court having determined that the legal

  and factual bases set forth in the Motion and at the Sale Hearing establish just cause for the relief

  granted herein; and upon all of the proceedings had before this Court; and after due deliberation

  and sufficient cause appearing therefor, it is HEREBY FOUND, CONCLUDED, AND

  DETERMINED THAT:

I.          Jurisdiction, Venue, and Final Order.

            1.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

  Standing Order of Reference from the United States District Court for the District of Delaware,

  dated February 29, 2012.

            2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

            3.      The statutory predicates for the relief requested in the Motion are sections 105(a),

  363, and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rules

  2002-1, 6004-1, and 9013-1.

            4.      This Sale Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

     Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), any other applicable Bankruptcy Rules

     or Local Rules, and to any extent necessary under Bankruptcy Rule 9014 and rule 54(b) of the

 Federal Rules of Civil Procedure, as made applicable by Bankruptcy Rule 7054, the Court
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       expressly finds that there is no just reason for delay in the implementation of this Sale Order,

       waives any stay, and expressly directs entry of judgment as set forth herein.

              5.      The findings and conclusions set forth herein constitute the Court’s findings of fact

       and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding

       pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of fact constitute

       conclusions of law, they are adopted as such. To the extent any of the following conclusions of

       law constitute findings of fact, they are adopted as such.

 II.          Notice of the APA, the Sale, and the Sale Hearing.

              6.      As evidenced by the affidavits of service filed with the Court [Docket Nos. 685,

    735, 907, and 1008, due, proper, timely, adequate, and sufficient notice of, and a reasonable

   opportunity to object or otherwise be heard regarding, the Motion, the APA, the Sale, the Sale

    Hearing, this Sale Order, the assumption and assignment of the Purchased Contracts and the

   Purchased Leases, and the Cure Schedule (as defined herein) was provided to all parties entitled

    thereto in accordance with sections 102(1), 363, and 365 of the Bankruptcy Code, Bankruptcy

   Rules 2002, 6004, 6006, 9007, and 9014, and Local Rules 2002-1(b) and 6004-3. No other or

    further notice of, other opportunity to object to, or other opportunity to be heard regarding the

    Motion or the entry of this Sale Order need be given to any entity.

III.          Disclosures.

              7.      The disclosures made by the Debtors in the Motion and related documents filed

    with the Court concerning the Sale are sufficient under the circumstances.

IV.           Good Faith of the Debtors and the Buyer.

              8.      The Sale and the Transactions, including, but not limited to, the marketing and sale

       process engaged in by the Debtors and the Buyer and entry into the APA, are non-collusive, in

    good faith, from arm’s-length bargaining positions, and substantively and procedurally fair to all

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 parties in interest. Neither the Debtors nor the Buyer have engaged in any conduct that would

 cause or permit the APA or the Sale to be avoided, or for any costs or damages to be imposed,

 under section 363(n) of the Bankruptcy Code.

            9.       As further described in the Motion and as demonstrated by (a) any testimony and

     other evidence proffered or adduced at the Sale Hearing, if any, and (b) the arguments and

     representations of counsel made on the record at the Sale Hearing, if any, substantial marketing

     efforts and a competitive sale process were conducted and, among other things, (i) the Buyer in no

     way induced or caused any chapter 11 filing by the Debtors, (ii) all payments to be made by the

     Buyer in connection with the Sale have been disclosed, and (iii) the Buyer recognized that the

     Debtors were free to deal with any other party interested in acquiring the Purchased Assets. The

     Buyer is consummating the Sale in good faith and is a “good faith purchaser” within the meaning

     of section 363(m) of the Bankruptcy Code and is not an “insider” of any Debtor (as defined under

     section 101(31) of the Bankruptcy Code). The Buyer has proceeded in good faith in all respects

     in connection with the Sale. The Buyer is therefore entitled to all of the protections afforded under

  section 363(m) of the Bankruptcy Code.

V.          Highest or Otherwise Best Offer.

            10.      The Debtors have adequately marketed the Purchased Assets and the marketing

 process with respect to the Purchased Assets afforded a full, fair, and reasonable opportunity for

 any person or entity to make a higher or otherwise better offer to purchase the Purchased Assets.

 The APA, including the form and total consideration to be realized by the Seller under the APA,

 (a) constitutes the highest and best offer for the Purchased Assets, (b) is fair and reasonable, and

 (c) is in the best interests of the Debtors, their estates, their creditors, and all other parties in

 interest. No other person, entity, or group of entities has presented, and it is unlikely that any

 entity or group of entities would present in a reasonable time frame, a higher or otherwise better
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  offer to purchase the Purchased Assets, including the Permitted Encumbrances and Assumed

  Liabilities, for greater economic value and/or on better terms to the Debtors’ estates than the Buyer.

VI.      Business Justification; Fiduciary Duties.

         11.      Good and sufficient reasons for approval of the Motion, the APA, and the

  Transactions to be consummated in connection therewith have been articulated by the Debtors,

  and the relief requested in the Motion is in the best interests of the Debtors, their estates, their

  creditors, and other parties in interest. The Debtors have demonstrated both (a) good, sufficient,

  and sound business purposes and justifications and (b) compelling circumstances for the Sale

  outside of the ordinary course of business, pursuant to section 363(b) of the Bankruptcy Code,

  outside of a chapter 11 plan, in that, among other things, the immediate consummation of the Sale

  to the Buyer is necessary and appropriate to maximize the value of the Debtors’ assets and estates.

  The Debtors’ decision to enter into the APA and pursue and consummate the Sale constitutes a

  proper exercise of the fiduciary duties of the Debtors and their respective directors, managers, and

  officers. The Sale must be approved and consummated promptly to maximize the value of the

  Debtors’ estates. Time is of the essence in consummating the Sale. Given all of the circumstances

  of these chapter 11 cases and the adequacy and fair value of the Purchase Price, the proposed Sale

  constitutes a reasonable and sound exercise of the Debtors’ business judgment and should be

  approved. The consummation of the Sale and the assumption and assignment of the Purchased

  Contracts and the Purchased Leases are legal, valid, and properly authorized under all applicable

  provisions of the Bankruptcy Code, including, without limitation, sections 105(a), 363(b), 363(f),

  363(m), and 365 of the Bankruptcy Code, and all of the applicable requirements of such sections

  have been complied with in respect of the Sale. The Debtors have demonstrated that it is an

  exercise of their sound business judgment to assume and assign the Purchased Contracts and the

  Purchased Leases to the Buyer in connection with the consummation of the Sale, and the
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   assumption and assignment of the Purchased Contracts and the Purchased Leases is in the best

   interests of the Debtors, their estates, their creditors, and other parties in interest, subject to the

   requirements applicable to any Disputed Contracts (as defined below) set forth in this Sale Order

   and in the APA. The Purchased Contracts and the Purchased Leases being assigned to the Buyer

   are an integral part of the Sale and, accordingly, their assumption and assignment is reasonable

   and an enhancement to the value of the Debtors’ estates. Because the entry into the APA and the

   consummation of the Sale and the Transactions constitute the exercise by the Debtors of sound

   business judgment, the Debtors, their respective members, managers, officers, directors,

   employees, advisors, professionals, or agents shall have or incur no liability to the estates or any

   holder of a claim against or interest in the Debtors for any act or omission in connection with,

   related to, or arising out of the negotiations of the APA or the consummation of the Sale and the

    Transactions contemplated thereunder, other than liability of the Debtors arising out of or relating

    to any willful misconduct or fraud, in each case as determined by a court of competent jurisdiction.

VII.          No Fraudulent Transfer.

              12.      The total consideration provided by the Buyer to the Seller pursuant to the APA for

       the Purchased Assets (a) is fair and reasonable, (b) is the highest or otherwise best offer for the

       Purchased Assets, and (c) constitutes reasonably equivalent value and fair consideration under the

       Bankruptcy Code, the Uniform Fraudulent Transfer Act, the Uniform Fraudulent Conveyance Act,

       and under the laws of the United States, any state, territory, possession, the District of Columbia,

       and any foreign country and may not be avoided under section 363(n) of the Bankruptcy Code or

       any other applicable law. The APA was not entered into, and the Sale is not being consummated,

       for the purpose of hindering, delaying, or defrauding creditors of the Debtors under the Bankruptcy

       Code or under the laws of the United States, any state, territory, possession thereof, or the District



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       of Columbia, or any other applicable law. Neither the Debtors nor the Buyer has entered into the

       APA or is consummating the Sale with any fraudulent or otherwise improper purpose.

VIII.         No Merger.

              13.      Neither the Buyer nor any of its affiliates are a mere continuation of the Seller or

    any other Debtor or their estates and there is no continuity of enterprise or common identity

    between the Buyer or any of its affiliates, on the one hand, and the Seller or any other the Debtors,

    on the other hand. Neither the Buyer nor any of its affiliates are holding themselves out to the

    public as a continuation of the Seller or any other Debtor. Neither the Buyer nor any of its affiliates

    are successors to the Seller or any other Debtor or their estates by reason of any theory of law or

    equity, and the Sale does not amount to a consolidation, merger, or de facto merger of the Buyer

    or any of its affiliates with or into Seller or any other Debtor.

 IX.          Binding Agreement.

              14.      The APA is a valid and binding contract between the Seller and the Buyer and shall

    be enforceable pursuant to its terms. The APA and the Sale itself, and the consummation thereof,

    shall be specifically enforceable against and binding upon (without posting any bond) the Debtors,

    their estates, and any chapter 7 or chapter 11 trustee appointed with respect to any of the Debtors,

    and shall not be subject to rejection or avoidance by the foregoing parties or any other person. The

    terms and provisions of the APA and this Sale Order shall be binding in all respects upon, and

    shall inure to the benefit of, the Debtors, their affiliates, their estates, all creditors of and holders

    of equity interests in any Debtor, any holders of Encumbrances (whether known or unknown) in,

    against, or on all or any portion of the Purchased Assets, all counterparties to the Purchased

    Contracts and the Purchased Leases, the Buyer, designees, successors, and assigns of the Buyer,

    the Purchased Assets, and any trustees, examiners, or receivers, if any, subsequently appointed in

    any of the Debtors’ chapter 11 cases or upon the conversion of any of the Debtors’ cases to a case
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  under chapter 7 of the Bankruptcy Code (collectively, the “Bound Parties”). The provisions of

  this Sale Order and the terms and provisions of the APA shall survive the entry of any order that

  may be entered confirming or consummating any chapter 11 plan of the Debtors, dismissing these

  chapter 11 cases, or converting these chapter 11 cases to cases under chapter 7 of the Bankruptcy

  Code. The rights and interests granted pursuant to this Sale Order and the APA shall continue in

  these or any superseding cases and shall be binding upon the applicable Bound Parties and their

  respective successors and permitted assigns including, without limitation, any trustee, party, entity,

  or other fiduciary hereafter appointed as a legal representative of the Debtors under chapter 7 or

  chapter 11 of the Bankruptcy Code. Any trustee appointed for the Debtors under any provision of

  the Bankruptcy Code, whether the Debtors are proceeding under chapter 7 or chapter 11 of the

  Bankruptcy Code, shall be authorized and directed to perform under the APA and this Sale Order

  without the need for further order of the Court.

X.          No Sub Rosa Plan.

            15.     The Sale and the Transactions do not constitute a sub rosa chapter 11 plan. The

     consummation of the Sale outside of a chapter 11 plan pursuant to the APA neither impermissibly

     restructures the rights of the Debtors’ creditors nor impermissibly dictates the terms of a

     chapter 11 plan for any of the Debtors.

XI.         Validity of Transfer.

            16.     The APA was not entered into for the purpose of hindering, delaying, or defrauding

  creditors under the Bankruptcy Code or under the laws of the United States, any state, territory,

  possession, the District of Columbia, or any foreign country. None of the Debtors or the Buyer is

  entering into the Transactions fraudulently for the purpose of statutory or common law fraudulent

  conveyance or fraudulent transfer claims.



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       17.     The applicable Debtor or Debtors are the sole and lawful owners of the Purchased

Assets. The Purchased Assets constitute property of the Debtors’ estates, DIP Collateral, and

Prepetition First Lien Collateral, and good title thereto is vested in the Debtors’ estates within the

meaning of section 541(a) of the Bankruptcy Code. Pursuant to section 363(f) of the Bankruptcy

Code, the transfer of the Purchased Assets to the Buyer will be, as of the Closing Date, a legal,

valid, and effective transfer of the Purchased Assets, which transfer vests or will vest the Buyer

with all right, title, and interest of the applicable Debtor or Debtors to the Purchased Assets free

and clear of all Encumbrances relating to, accruing, or arising any time prior to the Closing Date,

in each case, other than any Assumed Liabilities or Permitted Encumbrances.

       18.     Subject to the entry of this Sale Order, the Seller: (a) has full requisite corporate or

other organizational power and authority to execute, deliver, and perform its obligations under the

APA and all other documents contemplated thereby; and (b) has taken all requisite corporate or

other organizational action and formalities necessary to authorize and approve the execution,

delivery, and performance of its obligations under the APA and to consummate the Sale, including

as required by its organizational documents, and, upon execution thereof, the APA and the related

documents were or will be duly and validly executed and delivered by the Seller and enforceable

against the Seller in accordance with their terms and, assuming due authorization, execution, and

delivery thereof by the other parties thereto, constituted, or will constitute, a valid and binding

obligation of the Seller. No government, regulatory, or other consents or approvals, other than

those expressly provided for in the APA, the Restructuring Support Agreement, the Final DIP

Order, and the DIP Credit Agreement, were required for the execution, delivery, and performance

by the Seller of the APA or the consummation of the Sale and Transactions contemplated thereby.




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       No consents or approvals of the Seller, other than those expressly provided for in the APA, this

       Sale Order, or the DIP Credit Agreement are required for the Seller to consummate the Sale.

XII.          Section 363(f) of the Bankruptcy Code is Satisfied.

              19.    The conditions of section 363(f) of the Bankruptcy Code have been satisfied in full

   such that, other than the Assumed Liabilities and Permitted Encumbrances, the Sale and any

   purchase of the Purchased Assets will be free and clear of any Encumbrances.

              20.    The Buyer would not have entered into the APA and would not consummate the

   Transactions if (a) the sale and/or transfer of the Purchased Assets to the Buyer was not free and

   clear of all Encumbrances (other than Assumed Liabilities and Permitted Encumbrances) or (b) the

   Buyer would, or in the future could, be liable for any such Encumbrances (other than Assumed

   Liabilities and Permitted Encumbrances).

              21.    The applicable Debtor or Debtors may transfer or sell the Purchased Assets free

   and clear of all Encumbrances (other than Assumed Liabilities and Permitted Encumbrances)

   because, in each case, one or more of the standards set forth in section 363(f)(1)–(5) of the

   Bankruptcy Code has been satisfied. Subject to the terms and conditions of this Sale Order, all

   holders of Encumbrances (except to the extent that such Encumbrances are Permitted

   Encumbrances or Assumed Liabilities) are adequately protected by either (a) having their

   Encumbrances, if any, in each instance against the Debtors, their estates, or the Purchased Assets,

   attach to the net cash proceeds of the Purchase Price ultimately attributable to the Purchased Assets

   in which such creditor alleges Encumbrances in the same order of priority, with the same validity,

   force, and effect that such Encumbrances had prior to the Sale, subject to any claims and defenses

   the Debtors and their estates may possess with respect thereto, or (b) fall within one or more of the

   other subsections of section 363(f) of the Bankruptcy Code.



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               22.     Those holders of Encumbrances who did not object or who withdrew their

     objections to the Motion are deemed to have consented pursuant to section 363(f)(2) of the

     Bankruptcy Code.

XIII.          Cure Costs and Adequate Assurance of Future Performance.

               23.     Under the circumstances, the Debtors have demonstrated that assuming and

     assigning the Purchased Contracts and the Purchased Leases in connection with the Sale is an

     exercise of their sound business judgment, and that such assumption and assignment is in the best

     interests of the Debtors’ estates, for the reasons set forth in the Motion and this Sale Order.

     Assumption and assignment of the Purchased Contracts and the Purchased Leases to the Buyer is

     necessary and appropriate under the circumstances, is integral to the Debtors’ overall restructuring

     efforts, and the Buyer has demonstrated that it can reasonably carry on the obligations under the

     Purchased Contracts and the Purchased Leases.

               24.     The assumption and assignment of the Purchased Contracts and the Purchased

     Leases listed in the APA pursuant to the terms of this Sale Order is integral to the APA, does not

     constitute unfair discrimination, and is in the best interests of the Debtors and their estates, their

     creditors, and all other parties in interest, and represents a reasonable exercise of sound and prudent

        business judgment by the Debtors. Subject to the terms and conditions of the APA, the applicable

        Debtor or Debtors shall, (a) to the extent necessary, cure or provide adequate assurance of cure, of

        any default existing prior to the Closing Date with respect to the Purchased Contracts and the

     Purchased Leases within the meaning of sections 365(b)(1)(A) and 365(f)(2)(A) of the Bankruptcy

     Code, and (b) to the extent necessary, provide compensation or adequate assurance of

     compensation to any party for any actual pecuniary loss to such party resulting from a default prior

     to the date hereof with respect to the Purchased Contracts and the Purchased Leases within the

        meaning of sections 365(b)(1)(B) and 365(f)(2)(A) of the Bankruptcy Code. The applicable
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Debtor’s or Debtors’ promise to pay or otherwise cure all defaults or other obligations of the

applicable Debtor or Debtors under the Purchased Contracts and the Purchased Leases arising or

accruing prior to the Closing Date, or otherwise required to be paid pursuant to section 365 of the

Bankruptcy Code in connection with the assumption and assignment of the Purchased Contracts

and the Purchased Leases that are listed on Schedule 1 attached hereto (as may be amended or

modified from time to time, the “Cure Schedule,” and the related costs, collectively, the “Cure

Costs”) in accordance with the terms of the APA and the Buyer’s promise to perform the

obligations under the Purchased Contracts and the Purchased Leases shall constitute adequate

assurance of future performance within the meaning of sections 365(b)(1)(C) and 365(f)(2)(B) of

the Bankruptcy Code to the extent that any such assurance is required and not waived by the

counterparties to such Purchased Contracts and Purchased Leases.

       25.     On, prior to, or after the Closing Date, as applicable, the applicable Debtor or

Debtors shall pay the Cure Costs for the Purchased Contracts and the Purchased Leases and cure

any and all other defaults and breaches under the Purchased Contracts and the Purchased Leases

to the extent required under section 365 of the Bankruptcy Code; provided, however, that the

applicable Debtor or Debtors shall not pay any Cure Costs on account of any Purchased Contract

or Purchased Lease for which there is an unresolved objection by a non-Debtor counterparty to the

Cure Costs or other dispute as to the assumption or assignment of such Contract or Lease (such

contract or lease, a “Disputed Contract” or “Disputed Lease”). With respect to each Purchased

Contract or Purchased Lease that is a Disputed Contract or Disputed Lease, on the date that is

five Business Days after the date on which (a) the Cure Costs with respect to such Purchased

Contract or Purchased Lease have been consensually agreed or (b) the Court has entered an order

fixing such Cure Costs, or as soon as reasonably practical thereafter, the applicable Debtor or


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   Debtors shall pay such Cure Costs, upon which such Purchased Contracts and/or Purchased

   Leases, as applicable, shall be deemed assumed by the applicable Debtor or Debtors and assigned

   to the Buyer.

          26.      Under the circumstances, the Debtors have demonstrated that assuming and

   assigning the Purchased Contracts and the Purchased Leases in connection with the Sale as of the

   Closing Date is an exercise of their sound business judgment, and that such assumption and

   assignment is in the best interests of the Debtors’ estates, for the reasons set forth in the Motion

   and on the record at the Sale Hearing, including, without limitation, because the assumption and

   assignment of the Purchased Contracts and the Purchased Leases in connection with the Sale is a

   material component to the overall consideration provided by the Buyer and will maintain the

   ongoing business operations of the Debtors, limit the losses of counterparties to Purchased

   Contracts and Purchased Leases, and maximize the distribution to creditors of the Debtors.

          27.      The assignment of the Purchased Contracts and the Purchased Leases is necessary

   and appropriate under the circumstances in connection with the Sale, is integral to the Debtors’

   overall restructuring efforts, and the Buyer has demonstrated that it can reasonably carry on the

   obligations under the Purchased Contracts and the Purchased Leases.

XIV.      Compelling Circumstances for an Immediate Sale.

          28.      Good and sufficient reasons for approval of the APA and the Sale have been

   articulated. The relief requested in the Motion is in the best interests of the Debtors, their estates,

   their creditors, and other parties in interest. The Debtors have demonstrated both (a) good,

   sufficient, and sound business purposes and justifications for approving the APA and

   (b) compelling circumstances for the Sale outside the ordinary course of business, pursuant to

   section 363(b) of the Bankruptcy Code before, and outside of, a chapter 11 plan, in that, among

   other things, the immediate consummation of the Sale with the Buyer is necessary and appropriate
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   to maximize the value of the Debtors’ estates and the Sale will provide the means for the Debtors

   to maximize distributions to creditors.

              29.    The Debtors have articulated good and sound business reasons for waiving the stay

   otherwise imposed by Bankruptcy Rules 6004(h), 6006(d), and 7062.

XV.           Buyer Expense Reimbursement.

              30.    Approval of the Buyer Expense Reimbursement in an amount not to

   exceed $3 million, solely to the extent contemplated in the APA, is in the best interests of the

   Debtors’ estates and their creditors. The Buyer Expense Reimbursement is: (a) commensurate to

   the real and substantial benefits conferred upon the Debtors’ estates by the Buyer; (b) reasonable

   and appropriate in light of (i) the size and nature of the Sale contemplated by the APA, (ii) the

   commitments that have been made by the Buyer, and (iii) the efforts that have been expended by

      the Buyer; and (c) an essential inducement to, and condition of, the Buyer’s entry into the APA.

      As such, the Debtors’ agreement to pay the Buyer Expense Reimbursement solely to the extent

       contemplated in and subject to the terms of the APA is a valid exercise of the Debtors’ business

      judgment.

XVI.          Consent and Waiver.

              31.    Section 6.05(k) of the DIP Credit Agreement and paragraph 8(b) of the Final DIP

      Order provide that the Debtors are not permitted to sell, transfer, lease, or otherwise dispose of any

      assets, including any Equity Interests (as defined in the DIP Credit Agreement) owned by the

      Debtors, unless such Disposition (as defined in the DIP Credit Agreement) is made in connection

      with a Sufficient Bid (as defined in the DIP Credit Agreement) or otherwise with the prior written

      consent of the Required Supermajority Lenders (as defined in the DIP Credit Agreement).

      Additionally, section 8.12 of the DIP Credit Agreement, section 8.12 of the Prepetition First Lien

      Credit Agreement, and paragraph 28 of the Final DIP Order provide that (a) the DIP Agent or its
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designee (in each case, acting at the direction of the Required DIP Lenders) has the unqualified

right to credit bid up to the full amount of the DIP Obligations in any sale of all or any portion of

the DIP Collateral, and (b) the Prepetition First Lien Agent or its designee (in each case, acting at

the direction of Prepetition First Lien Lenders constituting “Required Lenders” under, and as

defined in, the Prepetition First Lien Credit Agreement) has the unqualified right to credit bid up

to the full amount of the Prepetition First Lien Secured Obligations in any sale of all or any portion

of the Prepetition First Lien Collateral.

       32.     At the request of the Buyer and the applicable Debtors, on April 15, 2025, the DIP

Agent, acting at the direction of the Required DIP Lenders, the Prepetition First Lien Agent, acting

at the direction of the Required Lenders, the DIP Lenders (constituting Required Supermajority

Lenders under the DIP Credit Agreement), and the Prepetition First Lien Lenders (constituting

Required Lenders under the Prepetition First Lien Credit Agreement) executed and delivered to

the Buyer a consent and waiver agreement (the “Consent and Waiver Agreement”), pursuant to

which, among other things, and subject to the terms and conditions therein, (a) the Required

Supermajority Lenders consented to the Sale pursuant to section 6.05(k) of the DIP Credit

Agreement and paragraph 8(b) of the Final DIP Order and (b) the Required DIP Lenders under the

DIP Credit Agreement and the Required Lenders under the Prepetition First Lien Credit

Agreement agreed to waive the applicability of section 8.12 of the DIP Credit Agreement,

section 8.12 of the Prepetition First Lien Credit Agreement, and paragraph 28 of the Final DIP

Order in connection with the Sale; provided that (i) the DIP Liens and the Prepetition First Lien

Liens attach to the proceeds of the Sale with the same priority as existed prior to the Sale and retain

the same validity, force, and effect that existed prior to the Sale and (ii) the proceeds of the Sale

shall be distributed in accordance with the DIP Credit Agreement and the Final DIP Order.


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            33.        The Consent and Waiver Agreement is a material component to the overall

  consideration provided by the Seller to the Buyer and is appropriate under the circumstances of

  the Sale. The Buyer would not have entered into the APA without the Consent and Waiver

  Agreement, thereby adversely affecting the Debtors, their estates, and their creditors. The Consent

  and Waiver Agreement was thus a material inducement to the Buyer agreeing to (a) enter into the

  APA, (b) purchase the Purchased Assets for the Purchase Price, and (c) consummate the Sale and

  the Transactions.

  NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

I.          General Provisions.

            1.         The Motion is granted and approved to the extent indicated herein, and entry into

  and performance under, and in respect of, the APA, and the consummation of the Sale

  contemplated thereby, is authorized and approved as set forth in this Sale Order.

            2.         All objections to the Motion or the relief requested therein that have not been

     withdrawn, waived, or settled as announced to the Court at the Sale Hearing (the full record of

     which is incorporated herein by reference) or by stipulation filed with the Court, and all

     reservations of rights included in such objections, are hereby denied and overruled on the merits

     with prejudice. Those parties who did not object or who withdrew their objections to the Motion

     are deemed to have consented pursuant to section 363(f)(2) of the Bankruptcy Code to the relief

     granted herein.

            3.         Notice of the Motion and Sale Hearing was adequate, appropriate, fair, and

     equitable under the circumstances and complied in all respects with section 102(1) of the

     Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007, 9008, and 9014.




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II.           Approval of the APA.

              4.      The APA, all other instruments and documents related thereto or contemplated

  thereby, and all of the terms and conditions thereof, are hereby approved pursuant to sections

  105(a), 363, and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006.

              5.      Pursuant to sections 363(b) and 363(f) of the Bankruptcy Code, the Debtors are

      authorized and empowered to take any and all actions necessary or appropriate to (a) perform,

      consummate, implement, and close the Sale pursuant to and in accordance with the terms and

      conditions of, and as contemplated in, the APA and this Sale Order and (b) execute and deliver,

      perform under, consummate, implement, and fully close the APA, including the assumption and

      assignment to the Buyer of the Purchased Contracts and the Purchased Leases, together with all

      other additional instruments and documents that may be necessary or desirable to implement the

      APA and the Sale, without any further corporate action or order of the Court.

              6.      Subject only to the restrictions set forth in this Sale Order and the APA, the Debtors

      and the Buyer are hereby authorized to take any and all actions as may be necessary or desirable

      to implement the Sale, and any actions taken by the Debtors and/or the Buyer necessary or

      desirable to implement the Sale prior to the date of this Sale Order, are hereby approved and

      ratified.

              7.      This Sale Order and the terms and provisions of the APA shall be binding in all

      respects upon the Bound Parties. The APA shall not be subject to rejection or avoidance by the

      Debtors, their estates, their creditors, their equity holders, or any trustees, examiners, or receivers.

      Any trustee appointed in these cases (including a chapter 7 trustee, if applicable) shall be and

      hereby is authorized to operate the businesses of the Debtors to the fullest extent necessary to

      permit compliance with the terms of this Sale Order. This Sale Order and the APA shall inure to



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       the benefit of the Debtors, their estates and creditors, the Buyer, and the respective successors and

       assigns of each of the foregoing (including the Buyer’s designees).

III.          Transfer of the Purchased Assets.

              8.      Subject only to the terms of this Sale Order, pursuant to sections 105(a), 363, and

    365 of the Bankruptcy Code, the Debtors are authorized to transfer the Purchased Assets to the

       Buyer in accordance with the terms of the APA. Such transfer shall constitute a legal, valid,

   binding, and effective transfer of all such Purchased Assets and shall vest the Buyer with title to

       the Purchased Assets. Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the

       Purchased Assets shall be sold free and clear of all Encumbrances of any kind or nature

   whatsoever, other than Permitted Encumbrances and Assumed Liabilities. Any and all valid and

   perfected Encumbrances shall attach to the net proceeds of the Sale ultimately attributable to the

   property against or in which such Encumbrances are asserted, subject to the terms thereof, after

   application of the net proceeds in accordance with this Sale Order, with the same validity, force,

   and effect, and in the same order of priority, which such Encumbrances had prior to the Sale,

   subject to any rights, claims, and defenses the Debtors or their estates, as applicable, may possess

   with respect thereto.

              9.      The Debtors are hereby authorized to take any and all actions necessary to

   consummate the APA, including any actions that otherwise would require further approval by

   shareholders, members, or their board of directors, as the case may be, without the need of

   obtaining such approvals.

              10.     The sale of the Purchased Assets to the Buyer pursuant to the APA and the

   consummation of the Transactions do not require any consents other than as specifically provided

   for in the APA, the Restructuring Support Agreement, the Final DIP Order, and the DIP Credit

   Agreement. Each and every foreign and domestic federal, provincial, territorial, state, and local
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governmental agency or department is hereby authorized to accept any and all documents and

instruments necessary and appropriate to consummate the Transactions. A certified copy of this

Sale Order may be filed with the appropriate clerk or recorded with the recorder of any state,

county, province, or local authority to act to cancel any of the Encumbrances, and any other

encumbrances of record, except for the Permitted Encumbrances and Assumed Liabilities.

        11.     If any person or entity that has filed statements or other documents or agreements

evidencing Encumbrances on or in all or any portion of the Purchased Assets (other than statements

or documents with respect to Permitted Encumbrances or Assumed Liabilities) has not delivered,

or refused to deliver, to the Debtors, in proper form for filing and executed by the appropriate

parties, termination statements, instruments of satisfaction, releases of liens and easements, and

any other documents necessary for the purpose of documenting the release of all Encumbrances

which the person or entity has or may assert with respect to all or any portion of the Purchased

Assets, the Debtors and the Buyer are hereby authorized, on behalf of the Debtors, to execute and

file such statements, instruments, releases, and other documents on behalf of such person or entity

with respect to the Purchased Assets. The Debtors and the Buyer are each authorized to file a copy

of this Sale Order in any court where the person or entity filed the statements, documents, or

agreements evidencing such Encumbrances, which, upon filing, shall be conclusive evidence of

the release and termination of all such Encumbrances.

        12.     This Sale Order is and shall be binding upon and govern the acts of all persons and

entities, including, without limitation, all filing agents, filing officers, title agents, title companies,

recorders of mortgages, recorders of deeds, registrars of deeds, administrative agencies,

governmental departments, secretaries of state, foreign or domestic federal, state, provincial,

territorial, and local officials, and all other persons and entities who may be required by operation


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      of law, the duties of their office, or contract, to accept, file, register, or otherwise record or release

      any documents or instruments, or who may be required to report or insure any title or state of title

      in or to any lease, and each of the foregoing persons and entities is hereby directed to accept for

      filing any and all of the documents and instruments necessary and appropriate to consummate the

      Transactions, including the Sale. The Purchased Assets are sold free and clear of any reclamation

      rights.

                13.   Except for as provided in the APA and this Sale Order, after the Closing Date, the

   Debtors shall have no further liability with respect to the Purchased Assets, and any claims,

   whether administrative or otherwise, relating to or arising from such Purchased Assets after the

   Closing Date asserted against the Debtors shall be deemed disallowed.

IV.             Assumption and Assignment of Purchased Contracts and Purchased Leases.

                14.   The applicable Debtor or Debtors are hereby authorized and directed in accordance

  with sections 105(a), 363, and 365 of the Bankruptcy Code to (a) assume and assign to the Buyer,

  in accordance with the terms of the APA and this Sale Order, the Purchased Contracts and the

  Purchased Leases identified on Exhibit 1 to this Sale Order (as may be amended or modified from

      time to time in accordance with the terms of this Sale Order and the APA) free and clear of all

      Encumbrances (other than the Assumed Liabilities and Permitted Encumbrances) effective as of

      the Closing Date or such other date after the Closing Date, subject to the terms of the APA and

      this Sale Order, or as otherwise provided by a separate order of this Bankruptcy Court, and

      (b) execute and deliver to the Buyer such documents or other instruments as the Buyer deems may

      be necessary to assign and transfer the Purchased Contracts and the Purchased Leases to the Buyer.

                15.   With respect to the Purchased Contracts and the Purchased Leases:                  (a) the

      applicable Debtor or Debtors may assume each of the Purchased Contracts and the Purchased

      Leases in accordance with section 365 of the Bankruptcy Code; (b) the applicable Debtor or
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Debtors may assign each of the Purchased Contracts and the Purchased Leases to the Buyer in

accordance with sections 363 and 365 of the Bankruptcy Code, this Sale Order, and the APA, and

any provisions in any of the Purchased Contracts and the Purchased Leases that prohibit or

condition the assignment of such Purchased Contracts and Purchased Leases or allow the party to

such Purchased Contract and Purchased Lease to terminate, recapture, impose any penalty,

condition renewal or extension, or modify any term or condition upon the assignment of such

Purchased Contract and Purchased Lease, constitute unenforceable anti-assignment provisions

which are void and of no force and effect; (c) subject to the applicable Debtor’s or Debtors’

payment of Cure Costs, all other requirements and conditions under sections 363 and 365 of the

Bankruptcy Code for the assumption by the applicable Debtor or Debtors and assignment to the

Buyer of each Purchased Contract and Purchased Lease have been satisfied; and (d) the Purchased

Contracts and the Purchased Leases shall be transferred and assigned to, and following the Closing

Date, or such other date after the Closing Date, as applicable, remain in full force and effect for

the benefit of, the Buyer, notwithstanding any provision in any such Purchased Contract or

Purchased Lease (including those of the type described in sections 365(b)(2) and 365(f) of the

Bankruptcy Code) that prohibits, restricts, or conditions, or that purports to prohibit, restrict, or

condition, such assignment or transfer and, pursuant to section 365(k) of the Bankruptcy Code, the

Debtors shall be relieved from any further liability with respect to the Purchased Contracts and

Purchased Leases after such assumption and assignment to the Buyer.

       16.     Assignment Objections were to be filed with the Court, or will be filed with the

Court, by no later than (a) April 29, 2025, or (b) for any Purchased Contract or Purchased Lease

added to Schedule 1 after April 15, 2025, 14 days after service of the notice to such Purchased

Contract or Purchased Lease counterparty. If a counterparty to a Purchased Contract or Purchased


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Lease failed to properly and timely file and serve an Assignment Objection in accordance with the

Motion, the counterparty is hereby forever barred from asserting any objection with regard to the

assumption or assignment of its Purchased Contract or Purchased Lease, as applicable, and

notwithstanding anything to the contrary in the Purchased Contract or the Purchased Lease or any

other document, the Cure Costs set forth in the Cure Schedule shall be the only amount necessary

to cure outstanding defaults under the applicable Purchased Contract or Purchased Lease under

section 365 of the Bankruptcy Code. If no Assignment Objection has been filed, or an Assignment

Objection has been properly filed but has been resolved by the parties or determined by the Court,

this Sale Order shall serve as approval of the assumption and assignment of the applicable

Purchased Contract or Purchased Lease to the Buyer without need for a further notice of order. If

an Assumption Objection has been properly filed with respect to a Purchased Contract or

Purchased Lease and is not resolved by the parties or determined by the Court prior to the Closing

Date, the Seller’s assumption and assignment of such Purchased Contract or Purchased Lease shall

be subject to the requirements applicable to Disputed Contracts set forth in the APA.

       17.     The pendency of a dispute relating to a particular Purchased Contract and

Purchased Lease shall not delay the assumption and assignment of any other Purchased Contract

and Purchased Lease or the Closing. Upon the effective date of the assignment of any Purchased

Contract and Purchased Lease, in accordance with sections 363 and 365 of the Bankruptcy Code,

the Buyer shall be fully and irrevocably vested in all right, title, and interest of each Purchased

Contract and Purchased Lease. To the extent provided in the APA, the Debtors shall cooperate

with, and take all actions reasonably requested by, the Buyer to effectuate the foregoing.

       18.     Each Purchased Contract and Purchased Lease counterparty is deemed to have

consented to the assumption and assignment of such Purchased Contract and Purchased Lease, as


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applicable, and the Buyer shall be deemed to have demonstrated adequate assurance of future

performance with respect to each such Purchased Contract and Purchased Lease pursuant to

sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code.

       19.     Upon the applicable Debtor’s or Debtors’ assignment of the Purchased Contracts

and Purchased Leases to the Buyer under the provisions of this Sale Order, any additional orders

of this Court, and the applicable Debtor’s or Debtors’ payment of any Cure Costs pursuant to the

terms hereof or the APA, no default shall exist under any Purchased Contract and Purchased Lease,

and no counterparty to any Purchased Contract and Purchased Lease shall be permitted (a) to

declare a default under such Purchased Contract and Purchased Lease or (b) to otherwise take

action against the Debtors, the Reorganized Debtors, or the Buyer as a result of any Debtors’

financial condition, bankruptcy, or failure to perform any of its obligations under the relevant

Purchased Contract and/or Purchased Lease, as applicable. Each non-Debtor party to a Purchased

Contract and Purchased Lease hereby is forever barred, estopped, and permanently enjoined from

(i) asserting against the Debtors or the Buyer, or the property of any of them, any default or Claim

arising out of any indemnity obligation or warranties for acts or occurrences arising prior to or

existing as of the Closing Date, or, against the Buyer, any counterclaim, defense, setoff, or any

other Claim asserted or assertable against the Debtors and (ii) imposing or charging against the

Buyer or its affiliates any rent accelerations, assignment fees, increases, or any other fees as a

result of the applicable Debtor’s or Debtors’ assumption and assignment of the Purchased

Contracts and the Purchased Leases to the Buyer. Any provision in any Purchased Contract or

Purchased Lease that purports to declare a breach, default, or termination as a result of a change

of control of the Purchased Assets is hereby deemed unenforceable under section 365(f) of the

Bankruptcy Code. To the extent that any counterparty to a Purchased Contract and/or Purchased


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Lease was notified of the Cure Costs (or the absence thereof) and failed to object to such Cure

Costs (or the absence thereof) with respect to a Purchased Contract and/or Purchased Lease, as

applicable, such counterparty shall be deemed to have consented to such Cure Costs (or the absence

thereof) and is deemed to have waived any right to assert or collect or enforce any Cure Costs that

may arise or have arisen prior to or as of the Closing.

       20.     On the Closing Date, or such other date after the Closing Date as provided in this

Sale Order and the APA, the Buyer shall be deemed to be substituted for the applicable Debtor as

a party to the applicable Purchased Contract and Purchased Lease and the applicable Debtors shall

be relieved, pursuant to section 365(k) of the Bankruptcy Code, from any further liability under

the Purchased Contract and the Purchased Lease. There shall be no rent or other payment

accelerations, assignment fees, increases, or any similar fees, costs, or expenses charged to the

Debtors or to the Buyer as a result of the assumption and assignment of the Purchased Contracts

and the Purchased Leases.

       21.     All counterparties to the Purchased Contracts and Purchased Leases shall cooperate

and expeditiously execute and deliver, upon the reasonable requests of the Buyer, and shall not

charge the Debtors or the Buyer for any instruments, applications, consents, or other documents

that may be required or requested by any public authority or other party or entity to effectuate the

applicable transfers in connection with the Sale.

       22.     For the avoidance of doubt, any amendments to the Purchased Leases entered into

by the Debtors prior to the Closing Date that provide that such amendment shall be effective upon

the assumption of such amendment pursuant to a chapter 11 plan shall be deemed effective as of

the assumption of such Purchased Lease pursuant to the terms of this Sale Order and the APA.




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              23.     The assumption and assignment of each of the Purchased Contracts and Purchased

       Leases is made in good faith under sections 363(b) and 363(m) of the Bankruptcy Code and is

       entitled to the protections thereof.

 V.           Buyer Expense Reimbursement.

              24.     The Buyer Expense Reimbursement is appropriate under the circumstances and is

       hereby approved. The Debtors, in an exercise of their reasonable business judgment and their

      fiduciary duties, are hereby authorized to pay the Buyer Expense Reimbursement in accordance

      with the APA without further order of this Court solely to the extent required pursuant to

      section 8.1 of the APA.

VI.           Use of Proceeds.

              25.     Notwithstanding anything to the contrary set forth herein, in accordance with the

   Final DIP Order, the DIP Loan Documents, the Prepetition ABL Loan Documents, the Prepetition

   ABL Intercreditor Agreement, and the Prepetition First Lien Loan Documents, on the Closing

   Date, the Debtors shall transfer, or cause to be transferred, the proceeds generated from the Sale

      of (a) the Purchased Assets constituting ABL Priority Collateral or ABL Priority DIP Collateral to

      the Prepetition ABL Agent for permanent application against the Prepetition ABL Secured

      Obligations (including the ABL Adequate Protection Claims, if any) and (b) all other Purchased

      Assets to the DIP Agent for permanent application against the DIP Obligations.

VII.          Prohibition of Actions Against the Buyer.

              26.     All persons and entities that are presently, or on the Closing Date may be, in

      possession of some or all of the Purchased Assets to be sold, transferred, or conveyed to or by the

      Buyer pursuant to the APA are hereby directed to surrender possession of those portions of the

      Assets to the Buyer on the Closing Date. Subject to the terms, conditions, and provisions of this

      Sale Order, all persons and entities are hereby forever prohibited and enjoined from taking any

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    action that would adversely affect or interfere with the ability of the applicable Debtor or Debtors

    to sell and/or transfer the Purchased Assets to the Buyer in accordance with the terms of the APA

    and this Sale Order.

           27.     To the maximum extent permitted by law, in accordance with the APA, the Buyer

    shall be authorized, as of the Closing Date, to operate under any license, permit, registration, and

    governmental authorization or approval (collectively, the “Licenses”) of the applicable Debtor or

    Debtors with respect to the Purchased Assets and the Sale. To the extent the Buyer cannot operate

    under any Licenses in accordance with the previous sentence, such Licenses shall be in effect while

    the Buyer, with assistance from the Debtors, works promptly and diligently to apply for and secure

    all necessary government approvals for new issuance of Licenses to the Buyer.

           28.     Notwithstanding anything in this Sale Order, subject to section 525(a) of the

    Bankruptcy Code, no governmental unit (as defined in section 101(27) of the Bankruptcy Code)

    or any representative thereof may revoke, suspend any right, license, trademark, or other

    permission relating to the use of the Purchased Assets sold, transferred, or conveyed to the Buyer

    on account of the filing or pendency of these chapter 11 cases, the conduct of the Sale, or the

    consummation of the Transactions.

VIII.      Other Provisions.

           29.     The Debtors and the DIP Agent are authorized to prepare and file, execute, and

    deliver any applicable UCC termination statement or other release documentation pursuant to this

    Sale Order.

           30.     This Sale Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

    Notwithstanding the applicability of any of Bankruptcy Rules 6004(h), 6006(d), 7062, 9014, or

    any other provisions of the Bankruptcy Rules or the Local Rules stating the contrary, the terms and

    provisions of this Sale Order shall be immediately effective and enforceable upon its entry, any
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applicable stay of the effectiveness and enforceability of this Sale Order is hereby waived, and the

Debtors and the Buyer are authorized to close the Sale immediately upon entry of this Sale Order.

         31.   The failure to specifically include any particular provision of the APA in this

Sale Order shall not diminish or impair the effectiveness of such provision, it being the intent of

the Court that the APA be authorized and approved in their entirety; provided that this Sale Order

shall govern if there is any inconsistency between such agreements, as applicable, and this Sale

Order.

         32.   The APA and any related documents or other instruments may, with the consent of

the Required DIP Lenders under the DIP Credit Agreement and the Required Lenders under the

Prepetition First Lien Credit Agreement (such consents not to be unreasonably withheld), be

modified, amended, or supplemented by the parties thereto and in accordance with the terms

thereof, without further order of the Court.

         33.   During the pendency of these chapter 11 cases, the Court shall retain exclusive

jurisdiction to, among other things, interpret, implement, and enforce the terms and provisions of

this Sale Order and the APA, all amendments thereto and any waivers and consents thereunder,

and each of the agreements executed in connection therewith to which any Debtor is a party or

which has been assigned by the applicable Debtor or Debtors to the Buyer, and to adjudicate, if

necessary, any and all disputes concerning or relating in any way to the Sale, including, but not

limited to, retaining jurisdiction to: (a) compel delivery of the Purchased Assets to the Buyer;

(b) interpret, implement, and enforce the provisions of this Sale Order; and (c) protect the Buyer

against any Encumbrances (other than the Assumed Liabilities or Permitted Encumbrances) with

respect to the applicable Debtor or Debtors or the Purchased Assets of any kind or nature

whatsoever, attaching to the proceeds of the Sale.


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        34.     Notwithstanding the relief granted in this Sale Order and any actions taken pursuant

to such relief, nothing in this Sale Order shall be deemed: (a) an implication or admission as to

the amount of, basis for, or validity of any particular claim against the Debtors under the

Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other

party in interest’s rights to dispute any particular claim on any grounds; (c) a promise or

requirement to pay any particular claim; (d) an implication, admission, or finding that any

particular claim is an administrative expense claim, other priority claim or otherwise of a type

specified or defined in this Sale Order or the Motion or any order granting the relief requested by

the Motion; (e) a request or authorization to reject any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) an admission by the Debtors as to the validity, priority,

enforceability, or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; (g) a waiver or limitation of the Debtors’, or any other party in interest’s,

claims, causes of action, or other rights under the Bankruptcy Code or any other applicable law;

(h) a rejection of any agreement, contract, lease, program, or policy under section 365 of the

Bankruptcy Code; (i) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens; (j) a waiver of the obligation of any party in

interest to file a proof of claim; or (k) to otherwise affect the Debtors’ rights under section 365 of

the Bankruptcy Code to reject any executory contract or unexpired lease.

        35.     The Debtors, including their respective officers, employees, and agents, and the

Buyer are authorized to take all actions necessary to effectuate the relief granted pursuant to this

Sale Order in accordance with the Motion.


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       36.     To the extent this Sale Order is inconsistent with any prior order or pleading filed

in these chapter 11 cases related to the Motion, the terms of this Sale Order shall govern.

       37.     The headings in this Sale Order are for purposes of reference and shall not limit or

otherwise affect the meaning of the Sale Order.




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              ASSET PURCHASE AGREEMENT


                        by and between


         FRANCHISE GROUP INTERMEDIATE V, LLC


                              and


                      TVS BUYER, LLC


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                                 ASSET PURCHASE AGREEMENT

         ASSET PURCHASE AGREEMENT (this “Agreement”) is made and executed as of
April 15, 2025 (the “Execution Date”), by and between Franchise Group Intermediate V, LLC,
a Delaware limited liability company (“Seller”), and TVS Buyer, LLC, a Delaware limited
liability company (“Buyer”). Seller and Buyer may be referred to herein individually as a “Party”
and collectively as the “Parties.” Capitalized terms used herein and not otherwise defined will
have the meaning set forth in Article 1.

                                           RECITALS

       WHEREAS, Seller and its Subsidiaries are engaged in the Business;

       WHEREAS, on November 3, 2024, Seller and certain of its Affiliates (collectively, the
“Debtors”) commenced cases (the “Chapter 11 Cases”) by filing voluntary petitions for relief
under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended,
the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”);

       WHEREAS, Seller desires to sell, transfer, convey, assign and deliver to Buyer, and
Buyer desires to purchase, acquire, accept and assume from Seller, the Purchased Assets and the
Assumed Liabilities, in each case upon the terms and subject to the conditions hereinafter set
forth;

        WHEREAS, the Purchased Assets and the Assumed Liabilities are assets and liabilities
of Seller and its Subsidiaries which are to be sold, transferred, conveyed, assigned and delivered
and purchased, acquired, accepted and assumed pursuant to the Sale Order and this Agreement,
free and clear of all Encumbrances and Liabilities except the Assumed Liabilities and the
Permitted Encumbrances, which Sale Order will include the authorization for the assumption and
assignment of certain executory contracts and unexpired leases and liabilities thereunder under
section 365 of the Bankruptcy Code, all in the manner and on the terms and subject to the
conditions set forth herein and in accordance with other applicable provisions of the Bankruptcy
Code;

       WHEREAS, in connection with entering into this Agreement, Buyer received the Secured
Party Deliverables; and

        WHEREAS, in connection with entering into this Agreement, an aggregate amount equal
to $15,000,000 in cash shall be deposited by Buyer on its behalf as a “good faith deposit” (the
“Deposit”) by wire transfer of immediately available funds to the Escrow Agent, to be held in
escrow in accordance with the terms of that certain Escrow Agreement (as amended, restated,
amended and restated, supplemented, or modified from time to time in accordance with its terms,
the “Deposit Escrow Agreement”), by and among Buyer, Seller and the Escrow Agent. The
Deposit shall not be subject to any lien, attachment, trustee process, or any other judicial process
of any creditor of any Seller or Buyer and shall be applied against payment of the Purchase Price
on the Closing Date or otherwise distributed or returned according to the terms of this Agreement
and Deposit Escrow Agreement, as applicable.



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        NOW, THEREFORE, in consideration of the mutual benefits to be derived from this
Agreement, the representations, warranties, conditions, agreements and promises contained
herein and other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Parties, intending to be legally bound, hereby agree as follows:

                                          ARTICLE 1
                                         DEFINITIONS

       1.1   Certain Defined Terms. As used herein, the following terms shall have the
following meanings:

        “Accounting Firm” means (a) a nationally recognized independent accounting firm
mutually acceptable to Buyer and Seller, or (b) if Buyer and Seller are unable to agree on a
mutually agreeable nationally recognized independent accounting firm, each of Buyer and Seller
shall select a nationally recognized independent accounting firm and such two accounting firms
shall designate a third nationally independent public accounting firm that neither presently is, nor
in the past one (1) year has been, engaged by any Party or its Affiliates.

       “Accounting Policies” has the meaning set forth on Exhibit J attached hereto.

        “Accounts Receivable” means all amounts (whether current or non-current) related to the
Purchased Assets that constitute, as of the Closing, accounts receivable, notes receivable and other
rights or indebtedness due and owed by any Third Party to Seller or any of its Subsidiaries and
related to the Business, in each case, whether billed or unbilled, recorded or unrecorded, written
off or not written off.

        “Affiliate” means, with respect to a Person, any other Person that, directly or indirectly,
through one or more intermediaries, controls, is controlled by or is under common control with
such first Person, and a Person shall be deemed to be controlled by another Person if controlled
in any manner whatsoever that results in control in fact by that other Person (or that other Person
and any Person or Persons with whom that other Person is acting jointly or in concert), whether
directly or indirectly.

        “Agreement” has the meaning set forth in the Preamble (as amended, restated, amended
and restated, supplemented, or modified from time to time in accordance with its terms), and
includes all schedules and exhibits hereto, and all instruments amending, restating, amending and
restating, supplementing, modifying, or otherwise confirming this Agreement.

       “Allocation” has the meaning set forth in Section 2.3.2.

       “Ancillary Agreements” means the Bill of Sale, the Deposit Escrow Agreement, the
Domain Name Transfer Agreement, the Lease Assignment, the Trademark Assignment
Agreement, the Transition Services Agreement and any other agreements, certificates and other
instruments delivered, given or contemplated pursuant to this Agreement.

       “Anti-Corruption Laws” has the meaning set forth in Section 3.1.17.




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        “Antitrust Laws” means the Sherman Act of 1890, the Clayton Act of 1914, the Federal
Trade Commission Act of 1914, the HSR Act and all other federal, state and foreign statutes,
rules, regulations, orders, decrees and other Laws and Orders that are designed or intended to
prohibit, restrict or regulate actions having the purpose or effect of monopolization or restraint of
trade or lessening competition through merger or acquisition.

       “Appointee” has the meaning set forth in Section 8.1.4.

       “Apportioned Obligations” has the meaning set forth in Section 5.3.2(b).

       “Artificial Intelligence Systems” has the meaning set forth in Section 3.1.8(j).

        “Associated Person” means, with respect to a Person, any of such Person’s former,
current and future Affiliates, incorporators, financing sources, consultants, equity holders,
members, stockholders, shareholders, controlling Persons, Representatives, managers, general or
limited partners or assignees (or any former, current or future Affiliates, incorporators, financing
sources (including the Debt Financing Sources), consultants, equity holders, members,
stockholders, shareholders, controlling Persons, Representatives, managers, general or limited
partners or assignees of any of the foregoing).

        “Assumed Indebtedness” means in connection with the Business, and without
duplication, the aggregate amounts of any of the following types of indebtedness set forth in
Exhibit H attached hereto: (a) any obligation in respect of any Purchased Contract classified as a
capital or finance lease or required to be capitalized in accordance with GAAP, (b) the Tax
Reserve Liability Amount, (c) fifty percent (50%) of all Liabilities for gift cards store credits,
customer loyalty programs, and gift certificates validly issued by Seller and/or its Subsidiaries
prior to the Closing Date, (d) fifty percent (50%) of all Liabilities for unclaimed property balance
related to gift cards, store credits, customer loyalty programs, and gift certificates validly issued
by Seller and/or its Subsidiaries prior to the Closing Date, (e) fifty percent (50%) of all Liabilities
(other than the immediately preceding clause (d)) for unclaimed property liabilities (including,
escheat unclaimed property, unclaimed property (i.e., Accounts Payable, unclaimed property and
cash on accounts)), (f) obligations of the types referred to in the preceding clauses (a) through (e)
of any other Person secured by any Encumbrances on any assets, even though such Person has
not assumed or otherwise become liable for the payment thereof, (g) all accrued interest thereon
and all penalties (including any penalties, expenses, premiums, make-whole, breakage costs or
similar liabilities related to the repayment or pre-payment thereof), fees and premiums associated
with the repayment of the obligations described in clauses (a) through (f) or (h) any indebtedness
not taken into account in the immediately preceding clause (a) through (g), in each case that is
associated with a Purchased Asset and/or an Assumed Liability.

       “Assumed Liabilities” has the meaning set forth in Section 2.2.1.

       “Assumed Taxes” has the meaning set forth in Section 2.2.1(g).

        “Avoidance Actions” means those actual and/or potential claims and causes of action
under sections 502(d) and 544 through 553 of the Bankruptcy Code, or any other avoidance
actions under the Bankruptcy Code or any analogous state law.



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       “Bank Accounts” has the meaning set forth in the definition of Excluded Assets.

       “Bankruptcy Code” has the meaning set forth in the Recitals.

       “Bankruptcy Court” has the meaning set forth in the Recitals.

        “Bankruptcy Rules” means (a) the Federal Rules of Bankruptcy Procedure, (b) any local
rules of the Bankruptcy Court, and (c) any chambers rules of the Bankruptcy Court.

       “Base Cash Purchase Price” means $193,500,000.

       “Bill of Sale” means the Bill of Sale and Assignment and Assumption Agreement, in
substantially the form attached hereto as Exhibit A.

       “Business” means the business and operations of Seller and its Subsidiaries as of the
Closing that are related to its Vitamin Shoppe segment.

         “Business Day” means any day other than Saturday, Sunday or a day on which banking
institutions in New York, New York are permitted or obligated by Law to remain closed.

       “Business Employee” means an individual employed by Seller or any of its Subsidiaries
who is (a) a Store Employee, or (b) providing services primarily in connection with the Business.

        “Business Internet Properties” means all Internet Properties used or held for use in
connection with the Business and operated by or on behalf of Seller or any of its Affiliates,
including the Internet domain names and Social Media Accounts listed on Section 3.1.8(b) of
Seller Disclosure Schedules, together with (a) all site maps, templates, style guides, design
materials and content (including any text, fonts, colors, cascading style sheets (CSS), layouts,
video, images, graphics and e-mail templates) made available thereon, (b) all content, including
blog content, posted on the foregoing Internet Properties, and (c) any documentation, information
and other materials used or held for use in connection with any of the foregoing.

       “Buyer” has the meaning set forth in the Preamble.

       “Buyer 401(k) Plan” has the meaning set forth in Section 5.12.6.

       “Buyer Benefit Plans” has the meaning set forth in Section 5.12.5.

       “Buyer Expense Reimbursement” has the meaning set forth in Section 8.1.2.

       “Buyer’s Knowledge” or “Knowledge of Buyer” means Michael A. Niegsch and
Clayton Lechleiter in each case after reasonable inquiry of applicable direct reports.

        “Buyer Related Person” means Buyer, each of its Affiliates, and each of Buyer’s and its
Affiliates’ respective equity holders, stockholders, shareholders, officers, directors, employees,
partners, members, managers, agents, attorneys, representatives, successors and permitted assigns
(including the Business from and after the Closing).

       “Buyer Tax Benefits” has the meaning set forth in Section 2.1.1(t).


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        “Cash” means with respect to the Business, the aggregate amount of all cash and cash
equivalents determined in accordance with GAAP, including bank or other financial institution
deposits, marketable securities, short-term investments and checks, wire transfers and ACHs
received by not yet posted (net of any overdrafts and checks written, or wire transfers or ACHs
initiated by the Business but not yet cleared), excluding (a) Restricted Cash associated with the
Transferred Stores, (b) Store Cash, and (c) credit card receivables.

        “Cash Purchase Price” means an amount equal to (a) the Base Cash Purchase Price, less
(b) the Net Working Capital Shortfall (if any), plus (c) the Net Working Capital Surplus (if any)
less (d) the Assumed Indebtedness; provided, that in any and all events, the Base Cash Purchase
Price is inclusive of the Deposit.

       “Chapter 11 Cases” has the meaning set forth in the Recitals.

        “Claims” mean, collectively, all rights, claims (as that term is defined in section 101(5)
of the Bankruptcy Code), causes of action, rights of recovery (including rights of indemnity,
warranty rights, rights of contribution, rights to refunds and rights to reimbursement) and rights
of set-off, in each case, whether class, individual or otherwise in nature, under contract or in law
or in equity, known or unknown, contingent or matured, liquidated or unliquidated and all rights
and remedies with respect thereto.

       “Closing” has the meaning set forth in Section 2.4.

       “Closing Date” has the meaning set forth in Section 2.4.

       “Closing Payment” has the meaning set forth in Section 2.3.1(a).

       “Closing Statement” has the meaning set forth in Section 2.8(a).

       “COBRA” has the meaning set forth in Section 3.1.9(c).

       “Code” means the U.S. Internal Revenue Code of 1986, as amended.

       “Confidentiality Agreement” means that certain Amended and Restated Confidentiality
Agreement, effective as of November 11, 2024, by and between Franchise Group, Inc. and
Performance Investment Partners, LLC and that certain joinder agreement, dated as of February
19, 2025, by and between Kingswood Capital Management, L.P. and Performance Investment
Partners, LLC.

       “Consenting First Lien Lenders” means, collectively, as of the relevant time, those First
Lien Lenders that are party to the Restructuring Support Agreement.

       “Continuing Employee Transfer Date” has the meaning set forth in Section 5.12.10.

       “Continuing Employees” has the meaning set forth in Section 5.12.2.

       “Contract” means any executory contract, agreement, obligation, lease, sublease, license,
sublicense, regulatory license, undertaking, engagement, sales order, purchase order, instrument


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or other commitment, whether written or oral, that is binding on any Person or any part of its
property under applicable Law.

       “Contracting Party” has the meaning set forth in Section 7.2.1.

        “control,” “controlled by” and “under common control with” mean, when used with
respect to any specified Person, (a) the possession, directly or indirectly, of the power to direct
the management or policies of that Person, directly or indirectly, whether through the ownership
of securities, by trust, by contract, or otherwise or (b) the ownership, directly or indirectly, of
more than 50% of the voting securities or other ownership interest of a business entity (or, with
respect to a limited partnership or other similar entity, its general partner or controlling entity).

       “Copyrights” has the meaning set forth in the definition of Intellectual Property.

       “Cure Costs” shall mean the Liabilities that must be paid or otherwise satisfied to cure
all of Debtors’ monetary defaults under the Purchased Contracts or the Purchased Leases
necessary for such assumption and assignment to Buyer, in each case, pursuant to section 365 of
the Bankruptcy Code, as provided herein and in the Sale Order (provided, that in no event shall
Buyer be liable for any Cure Costs).

       “Data Privacy Laws” means any Law concerning the collection, use, analysis, retention,
storage, protection, transfer, disclosure, disposal or Processing of Personal Information.

        “Debt Commitment Letters” means, collectively, the executed debt commitment letters
dated as of the date hereof, provided to Buyer from each of (a) Wells Fargo Bank, N.A. and (b)
Blue Torch Capital LP (or each of their respective Affiliates or other “Commitment Parties”
referred to therein), together with all related term sheets, including all exhibits, schedules and
annexes, and all fee letters and engagement letters delivered in connection therewith, in each case
as amended, restated, amended and restated, supplemented, or modified from time to time in
accordance with its terms.

        “Debt Financing” means the debt financing incurred or intended to be incurred pursuant
to the Debt Commitment Letters.

        “Debt Financing Sources” means the entities that have committed to provide or arrange
or otherwise entered into agreements in connection with all or any part of the Debt Financing in
connection with the Transactions, including the parties to any joinder agreements, indentures or
credit agreements entered pursuant thereto or relating thereto, together with their respective
Affiliates, and their and their respective Affiliates’ officers, directors, managers, members,
employees, agents, advisors, consultants and representatives and their respective successors and
assigns.

       “Debtors” has the meaning set forth in the Recitals.

       “Deposit” has the meaning set forth in the Recitals.

       “Deposit Escrow Agreement” has the meaning set forth in the Recitals.



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       “Determination Time” means 12:01 A.M. (Eastern Time) on the Closing Date.

        “DIP Financing Order” means the Final Order (I) Authorizing the Debtors to (A) Obtain
Senior Secured Priming Superpriority Postpetition Financing and (B) Use Cash Collateral,
(II) Granting Liens and Providing Claims with Superpriority Administrative Expense Status,
(III) Granting Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the
Automatic Stay, and (V) Granting Related Relief [Docket No. 414], entered by the
Bankruptcy Court on December 11, 2024.

       “Disputed Contract” has the meaning set forth in Section 5.8.6.

       “Disputed Item” has the meaning set forth in Section 2.8(e).

      “Distribution Centers” means the distribution centers of Seller located at (a) 112 The
Vitamin Shoppe Way, Ashland, VA 23005 and (b) 925 N. 127th Ave, Avondale, AZ 85323.

        “Domain Name Transfer Agreement” means the Domain Name Transfer Agreement,
in substantially the form attached hereto as Exhibit B.

        “Employee Equipment” means all mobile phones, computers, and related peripherals
owned by Seller or its Subsidiaries and used by any Continuing Employee as of immediately prior
to the Closing in connection with the Business, if any.

       “Employment Matters” has the meaning set forth in Section 5.12.9.

        “Encumbrance” means any mortgage, lien (statutory or otherwise, including as defined
in section 101(37) of the Bankruptcy Code), Claim, license, sublicense, pledge, security interest,
charge, hypothecation, restriction (including restrictions on transfer or use), claim of ownership,
lease, sublease, option, right of use or possession, preference, encroachment, restrictive covenant,
right of first offer or refusal, title or survey defect, or other encumbrance or similar restriction of
any kind.

       “Enforceability Exceptions” has the meaning set forth in Section 3.1.2.

        “Environmental Laws” means all Laws concerning pollution, public or worker health or
safety (as it pertains to exposure to Hazardous Materials), or protection of the environment.

       “Equity Commitment Letter” has the meaning set forth in Section 3.2.6(a).

       “Equity Financing” has the meaning set forth in Section 3.2.6(a).

       “Equity Investors” means (a) Kingswood Capital Opportunities Fund III, L.P. and
(b) Kingswood Capital Opportunities Fund III-A, L.P.

       “Equity Securities” means, (a) if a Person is a corporation, shares of capital stock of such
corporation and, if a Person is a form of entity other than a corporation, ownership interests in
such entity, whether membership interests or partnership interests, or (b) other securities directly




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or indirectly convertible into, exercisable or exchangeable for or measured by reference to, any
securities described in the immediately preceding clause (a).

        “ERISA” means the Employee Retirement Income Security Act of 1974.

        “ERISA Affiliate” means any corporation, partnership, limited liability company, sole
proprietorship, trade, business or other Person that, together with Seller is or at any time was
treated as a single employer under section 414(b), (c), (m) or (o) of the Code or section
4001(a)(14) or 4001(b)(1) of ERISA.

       “Escrow Agent” means Citibank, N.A., together with its permitted successors and
assigns.

        “Estimated Assumed Indebtedness” has the meaning set forth in Section 2.8(a).

        “Estimated Cash Purchase Price” means an amount equal to (a) the Base Cash Purchase
Price, plus (b) the amount by which the Estimated Net Working Capital Amount is greater than
the Target Net Working Capital Amount (if any), less (c) the amount by which the Target Net
Working Capital Amount is greater than the Estimated Net Working Capital Amount (if any) less
(d) the Estimated Assumed Indebtedness; provided, that in any and all events, the Base Cash
Purchase Price is inclusive of the Deposit.

        “Estimated Net Working Capital Amount” has the meaning set forth in Section 2.8(a).

        “Excluded Assets” means the following assets, property, rights and interests of Seller and
its Subsidiaries (in each case excluding any Purchased Assets): (a) all Cash; (b) all refunds,
rebates, abatements, credits, deposits, prepayments, overpayments, or other recovery for Taxes,
Claims for refunds or rights to receive refunds from any Taxing Authority with respect to any and
all Taxes paid or to be paid by Seller or any of its Subsidiaries or with respect to the Purchased
Assets, the Business, Assumed Liabilities, or Business Employees (including any and all Taxes
paid or to be paid by any of Seller’s Subsidiaries or with respect to the Purchased Assets, the
Business, Assumed Liabilities, or Business Employees and including any other Tax assets
(including any net operating or other losses, credits, carryforwards and other Tax attributes)),
together with any refund of interest due thereon or penalty rebate arising therefrom, for any Tax
period (or portion thereof) (in each case, other than Buyer Tax Benefits); (c) (i) any legal or
beneficial interest in the capital stock and other Equity Securities of Seller, its Subsidiaries or any
other Person, and (ii) the corporate or other entity charter, qualifications to conduct business as a
foreign corporation or other form of business entity, arrangements with registered agents relating
to foreign qualifications, taxpayer and other identification numbers, Tax Returns and other tax
records, seals, minute books, stock transfer books, and similar organizational documents of Seller
or any of its Subsidiaries; (d) all Excluded Items; (e) all Excluded Contracts; (f) all rights of Seller
under this Agreement and the Ancillary Agreements; (g) except for the insurance policies
described in Section 2.1.1(s), all insurance policies and all rights and benefits of any nature with
respect thereto, including all insurance recoveries thereunder and rights to assert Claims with
respect to such insurance recoveries, including any directors and officers liability insurance
policies; (h) (i) all Claims against current and former directors and officers of Seller and its
Subsidiaries; and (ii) Claims or causes of action pursuant to 11 U.S.C. §§ 544, 547 and 548 and



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all state law equivalents, other than Claims or causes of action pursuant to 11 U.S.C. §§ 544, 547
and 548 (and all state law equivalent) against or in respect of go-forward trade, vendors and/or
landlords of Seller or its Subsidiaries; (i) except for the Plans described in Section 2.1.1(w) of
Seller Disclosure Schedules, the sponsorship of, and all assets, properties and rights (including
all trusts, insurance policies and administrative services contracts related thereto) related to any
Plan and any other benefit or compensation plan, program, policy, agreement, arrangement or
Contract at any time maintained, sponsored, participated in, contributed to (or required to be
contributed to) by Seller or any of its Affiliates or under or with respect to which Seller or any of
its Affiliates has (or has had) any liability or obligation, including on account of an ERISA
Affiliate; (j) any intangible assets, including Intellectual Property, that are not used in any manner
in the Business, and which are not necessarily for use by Buyer in connection with the Business;
(k) any Permit set forth on Section 2.1.1(d) of Seller Disclosure Schedules to the extent not
assignable or transferable shall remain subject to the terms and conditions of the Transition
Services Agreement; (l) all assets, cash and properties located or held at any of the Non-
Transferred Stores, including all Inventory and store fixtures located or held at any of the Non-
Transferred Stores; and (m) all bank accounts of Seller and its Subsidiaries related to the Business,
including those set forth on Section 3.1.22 of Seller Disclosure Schedules, (the “Bank
Accounts”), each of which Bank Accounts shall remain subject to the terms and conditions of the
Transition Services Agreement.

       “Excluded Benefits” has the meaning set forth in Section 5.12.2.

       “Excluded Contract” has the meaning set forth in Section 2.1.2.

        “Excluded Items” means any and all (a) books, documents, records, files and other items
prepared in connection with or relating to the negotiation and consummation of the Chapter 11
Cases or any of Transactions or otherwise prepared in connection with the divestiture of any of
the assets, properties, contracts, rights or interests of any of the Debtors in connection with the
Chapter 11 Cases, including all (i) bids received from Third Parties (and related analyses) relating
to the Business, (ii) confidentiality, joint defense or similar agreements with prospective
purchasers of the Business, (iii) strategic, financial or Tax analyses relating to the divestiture of
the Purchased Assets, the Assumed Liabilities and the Business, (iv) presentations or minutes
relating to any of the meetings of Debtors’ board of directors or committees thereof, including
materials relating to strategic alternatives, including the Transactions and (v) presentations or
other materials relating to discussion with Seller’s lenders or key constituents or counterparties;
and (b) all personnel records (including all human resources and other records), whether or not
held by Seller or any of its Subsidiaries and whether or not relating to employees (other than the
Continuing Employees) of Seller or any of its Subsidiaries.

       “Excluded Liabilities” means all Liabilities of Seller or any of its Subsidiaries of
whatever nature, whether presently in existence or arising or asserted hereafter (other than the
Assumed Liabilities), including, without limiting the generality of the foregoing, the following:
(a) Excluded Taxes; (b) all Liabilities arising out of, resulting from, or relating to any Excluded
Assets; (c) all (i) indebtedness for borrowed money of the Debtors’ (other than the Assumed
Indebtedness) and (ii) other indebtedness set forth on Section 1.1.2(c) of Seller Disclosure
Schedules; (d) fees, costs and expenses incurred in connection with the Chapter 11 Cases or the
Transactions (except as otherwise contemplated by this Agreement); (e) except, in each case, with


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respect to any Liabilities specifically assumed by Buyer pursuant to Section 5.12, (i) any
transaction, change of control, success, retention or stay bonuses, severance, bonus incentive, or
deferred compensation payments or other similar payments or obligations payable to any current
or former employee, officer, director or other individual service provider of Seller or its
Subsidiaries (including the Business Employees) under each Plan, policy, program, agreement,
arrangement, or Contract sponsored or maintained by Seller or its Subsidiaries or to which Seller
or its Subsidiaries is a party (including in connection with or arising out of the consummation of
the Transactions (except as excluded pursuant this clause (e), including any “double-trigger”
severance or other payments or obligations payable in combination with any other event)),
(ii) other than Liabilities assumed by Buyer pursuant to Section 2.2.1(c), any outstanding and
unpaid bonus, commission or incentive obligations in respect of any current or former employee,
officer, director or other individual service provider of Seller or its Subsidiaries (including the
Business Employees), (iii) other than payments required to be made by Buyer to Seller pursuant
to the Transition Services Agreement, all Liabilities at any time arising under, pursuant to or in
connection with each Plan and any other benefit or compensation plan, program, policy,
agreement, arrangement, or Contract, in each case, at any time sponsored, maintained, contributed
to or required to be contributed to by Seller or any of its Affiliates or under or with respect to
which Seller or any of its Affiliates has (or has had) any Liability (including on account of an
ERISA Affiliate), including Liabilities arising under Title IV of ERISA or on account of any
violation of COBRA, (iv) all Liabilities relating to or arising out of the employment or termination
of employment of (A) any Business Employee who becomes a Continuing Employee with respect
to periods of employment or termination of employment with Seller or its Subsidiaries prior to
the Closing (but excluding in respect of any (1) Liabilities assumed pursuant to Section 2.2.1(c)
and (2) severance obligations for any Continuing Employee caused directly by any actions taken
by Buyer or at the direction of Buyer after the Closing), (B) any former employees of Seller or its
Subsidiaries (including any former employees of the Business) and Business Employees who do
not become Continuing Employees with respect to periods of employment or termination of
employment with Seller or its Subsidiaries, and (C) any applicant for employment with Seller or
its Subsidiaries at any time prior to the Closing, including any Claims in respect of hiring,
promotion, compensation, overtime, bonuses, commissions, workers’ compensation or disability,
vacation, sick pay or paid time off, other employee benefits to which any such employees may be
entitled as a result of his or her employment by Seller or its Subsidiaries, and any other terms and
conditions of employment, (v) all Liabilities arising out of or relating to Claims by any agents or
independent contractors of, and who provide personal services to, Seller or its Subsidiaries with
respect to any Claims or personal injuries sustained in connection with the retention of such
Person by Seller or any of its Subsidiaries, including workers’ compensation or disability,
regardless of when such claim is made or asserted; (f) except for the accrued and unpaid accounts
payable of the Business reflected on Exhibit E attached hereto (and included as part of Net
Working Capital), all accrued and unpaid accounts payable of the Business as of the Closing Date,
including legal expenses accrued but unpaid as of the Closing Date related to any Litigation to
which Seller or its Subsidiaries are party, in each case, whether invoiced before or after Closing;
(g) all Cure Costs required to be paid pursuant to section 365 of the Bankruptcy Code in
connection with the assumption and assignment of the Purchased Assets, including the Purchased
Contracts and the Purchased Leases as finally determined by the Bankruptcy Court (provided,
that, in no event shall Buyer be liable for any Cure Costs); (h) any pending or threatened Litigation




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with respect to any events, acts or circumstances occurring prior to the Closing; and (i) any
Liabilities set forth on Section 1.1.2(i) of Seller Disclosure Schedules.

        “Excluded Tax Returns” means Tax Returns (or any portion of any Tax Return) and
other books and records related to (a) Taxes that are not primarily related to the Purchased Assets
or (b) any income Tax Returns of Seller or its Affiliates.

        “Excluded Taxes” means any (a) Taxes of Seller (or any Affiliates or subsidiaries of
Seller) (other than as expressly provided in this Agreement), (b) Taxes arising out of, relating to
or with respect to Excluded Assets or Excluded Liabilities, and (c) Taxes arising out of, relating
to or with respect to the Business, the Purchased Assets or the Assumed Liabilities with respect
to any taxable period ending on or before the Closing Date and the portion of any Straddle Period
through and including the Closing Date (allocated in accordance with Section 5.3.2(b)).

       “Execution Date” has the meaning set forth in the Preamble.

       “Final Assumed Indebtedness” has the meaning set forth in Section 2.8(f).

       “Final Net Working Capital” has the meaning set forth in Section 2.8(f).

        “Final Order” shall mean an Order or judgment of the Bankruptcy Court entered by the
clerk of the Bankruptcy Court or such other court on the docket in the Chapter 11 Cases or the
docket of such other court, which has not been modified, amended, reversed, vacated or stayed
and as to which (a) the time to appeal, petition for certiorari, or move for a new trial, reargument
or rehearing has expired and as to which no appeal, petition for certiorari or motion for new trial,
reargument or rehearing shall then be pending or (b) if an appeal, writ of certiorari new trial,
reargument or rehearing thereof has been sought, such order or judgment of the applicable
Bankruptcy Court, or other court of competent jurisdiction shall have been affirmed by the highest
court to which such Order was appealed, or certiorari shall have been denied, or a new trial,
reargument or rehearing shall have been denied or resulted in no modification of such order, and
the time to take any further appeal, petition for certiorari or move for a new trial, reargument or
rehearing shall have expired, as a result of which such order shall have become final in accordance
with Rule 8002 of the Federal Rules of Bankruptcy Procedure or a similar rule of such other court
of competent jurisdiction; provided, that, with respect to the Bankruptcy Court, the possibility
that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under
the Bankruptcy Rules, may be (but for the avoidance of doubt has not been) filed relating to such
order, shall not cause such order not to be a Final Order.

       “Final Post-Closing Statement” has the meaning set forth in Section 2.8(f).

       “Financial Statements” has the meaning set forth in Section 3.1.18(a).

      “First Lien Credit Agreement” has the meaning set forth in the definition of First Lien
Lenders.

       “First Lien Lenders” means, collectively, beneficial holders of, or investment advisors,
sub-advisors or managers of discretionary funds, accounts or sub-accounts that beneficially hold,
any claim on account of prepetition first lien loans arising under or pursuant to (a) that certain


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First Lien Credit Agreement, dated as of March 10, 2021 (the “First Lien Credit Agreement”),
among Franchise Group, Inc., as lead borrower, the other borrowers and guarantors party thereto,
Wilmington Trust, National Association (as successor to JPMorgan Chase Bank, N.A.), as agent,
and the lenders party thereto from time to time, as amended, restated, amended or restated,
supplemented, or otherwise modified from time to time or (b) the other Loan Documents as
defined in the First Lien Credit Agreement.

       “Fraud” means, an actual and intentional misrepresentation of fact with respect to the
making of the representations and warranties set forth in this Agreement, any of the Ancillary
Agreements, or in any certificates delivered pursuant hereto or thereto with the intent to deceive
another Person or to induce that Person to enter into this Agreement, any of the Ancillary
Agreements, or in any certificates delivered pursuant hereto or thereto and requires (a) a false
representation, (b) knowledge that such representation is false, (c) an intention to induce the
Person to whom such representation is made to act or refrain from acting in reliance upon it, and
(d) caused such Party to suffer a loss by reason of such reliance. “Fraud” should not include
constructive fraud, negligent misrepresentation, recklessness or equitable claim (including unjust
enrichment).

       “GAAP” means United States generally accepted accounting principles, consistently
applied from time to time.

        “Governmental Authority” means (a) any governmental or public department, central
bank, court, minister, governor-in-council, cabinet, commission, tribunal, board, bureau, agency,
commissioner or instrumentality or other regulatory or administrative authority, whether
international, multinational, national, federal, provincial, state, municipal, local, or other; (b) any
subdivision or authority of any of the above; (c) any stock exchange; (d) any arbitral body (public
or private); and (e) any quasi-governmental or private body exercising any regulatory,
expropriation or taxing authority under or for the account of any of the above.

       “Hazardous Materials” means any materials, substances or wastes for which Liability or
binding standards of conduct may be imposed pursuant to any Environmental Laws, including
any petroleum products or byproducts, asbestos or asbestos-containing materials, polychlorinated
biphenyls, per- and polyfluoroalkyl substances, lead, toxic mold or radioactive materials.

      “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
amended, and the rules and regulations promulgated thereunder.

       “Inactive Business Employee” has the meaning set forth in Section 5.12.4.

       “Independent Contractors” has the meaning set forth in Section 3.1.10(b).

        “Intellectual Property” means all of the following: (a) Patents; (b) copyrights and other
equivalent rights in works of authorship (published or unpublished), including all data
compilations, website content, advertising collateral, and promotional materials, designs, moral
rights (or other similar rights) and all other rights associated therewith, copyright registrations,
applications and renewals in connection therewith, together with all translations, adaptations,
derivations, and combinations thereof (“Copyrights”); (c) designs, design registrations, and
design registration applications; (d) trademarks, names, trade names, business names, corporate


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names, domain names, Social Media Accounts, website names and world wide web addresses,
common law trademarks, unregistered trademarks, service marks, trade dress and logos, slogans,
and other designations of source or origin, and all goodwill related to the foregoing, and all
applications, registrations, and renewals in connection therewith (“Trademarks”); (e) rights in
computer programs and software (whether in source code, object code, html code, executable
code, or other form), whether or not copyrightable, algorithms, databases, compilations and data,
technology supporting the foregoing, and all documentation thereto, including user manuals,
developer notes, comments, annotations, and training materials, related to any of the foregoing,
and all version updates, corrections, enhancements, and modifications thereto; (f) rights in trade
secrets and all other confidential information, know-how, inventions, improvements, processes,
formulae, recipes, models, techniques, plans, ideas, concepts, designs, drawings, specifications,
business, manufacturing and production processes and techniques, technical data and information,
scientific and technical data or information, and methodologies, customer and supplier lists,
pricing and cost information, and business and marketing plans and proposals, and all other
information that derives economic value from not being generally known (“Trade Secrets”); (g)
Internet domain names, URLs, internet protocol addresses, Social Media Accounts, websites and
all content provided in the foregoing (“Internet Properties”); (h) registrations and applications
for any of the foregoing; (i) all goodwill associated or arising in connection with the forgoing;
(j) all other intellectual property or proprietary rights of any kind or nature arising under any
jurisdiction; (k) all rights of publicity, including the right to use the name, voice, likeness,
signature and biographies of real persons, together with all goodwill related thereto; (l) all other
similar proprietary rights; and (m) all copies and tangible embodiments thereof (in whatever form
or medium).

       “Interim Financial Statements” has the meaning set forth in Section 5.17.

        “Interim Period” means the period commencing immediately after the execution and
delivery of this Agreement on the Execution Date and ending on the earlier of (a) Closing and
(b) the termination of this Agreement.

       “Internet Properties” has the meaning set forth in the definition of Intellectual Property.

         “Inventory” means (a) all inventories relating to the Business which are owned by Seller
or its Subsidiaries and which are on hand at the Transferred Stores, Distribution Centers, or in
transit thereto, as of the Determination Time (including all inventories that Seller or any of its
Subsidiaries buys back from their franchisees), and (b) constituent inventory (including any raw
materials, work in process inventory or finished good inventory) to the extent owned by Seller or
its Subsidiaries and related to the Business. Notwithstanding the foregoing, “Inventory” shall not
include: (i) goods which belong to sublessees or concessionaires of Seller or its Subsidiaries or
(ii) goods held by Seller or its Subsidiaries on memo, on consignment, or as bailee, with respect
to Purchased Products held by manufacturers thereof, with respect to Purchased Products held by
manufacturers thereof.

       “IRS” means the Internal Revenue Service or any successor Governmental Authority.

       “IT Systems” means all software, computer hardware, servers, networks, platforms,
peripherals, and similar or related items of automated, computerized, or other information


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technology networks and systems (including telecommunications networks and systems for voice,
data and video) owned, leased, licensed, or used (including through cloud-based or other third-
party service providers) by Seller or its Subsidiaries.

       “Joint Written Instructions” has the meaning set forth in Section 8.2.5.

       “Latest Balance Sheet” means the most recent balance sheet included in the Financial
Statements.

        “Law” means any (a) applicable national, supranational, domestic or foreign, federal,
state, provincial or local statute, law (including the common law), act, treaty, code, constitution,
ordinance, Order, decree, rule, ruling, directive, determination, decision, opinion, administrative
interpretation, regulation, or by-law, and (b) any other policy, guideline, notice, protocol or
requirement having the force of law of any Governmental Authority, in each case as in effect
from time to time.

       “Lease” means all rights and interests of Seller or its Subsidiaries for all unexpired leases,
subleases, licenses, or other rights to use or occupy real property, and any amendments,
supplements, concessions, options, extension letters, assignments, termination agreements,
subordination agreements and nondisturbance agreements and guaranties related to the foregoing.

       “Lease Assignment” means the Lease Assignment and Assumption Agreement, in
substantially the form attached hereto as Exhibit D.

       “Leased Real Property” has the meaning set forth in Section 2.1.1(i).

         “Liability” means any debt, loss, liability, obligation, commitment, claim, damage,
demand, fine, judgment, deficiency, fee, charge, cost, expense, expenditure, Tax, or penalty,
whether absolute or contingent, accrued or unaccrued, asserted or unasserted, known or unknown,
fixed or contingent, matured or unmatured, direct or indirect, determined or determinable or
otherwise (including all adverse reactions, recalls, product and packaging complaints or other
liabilities), whether arising under any Law, Order, Contract or otherwise and without regard to
when sustained, incurred or asserted or when the relevant events occurred or circumstances
existed.

       “Litigation” means any claim, action, charge, complaint, audit, investigation,
examination, inquiry, arbitration, mediation, hearing, proceeding, suit (whether civil, criminal,
administrative, or investigative or appellate proceeding), warning letter, or notice of violation by
or before any Governmental Authority.

       “Look-Back Date” means August 21, 2023.

       “Material Adverse Effect” means any event, result, effect, occurrence, state of facts,
circumstance, development, condition or change, that, individually or in the aggregate, (a) has
had or would reasonably be expected to have a material adverse effect on the business, results of
operations, assets, liabilities or condition (financial or otherwise) of the Business or the Purchased
Assets and the Assumed Liabilities, taken as a whole or (b) would reasonably be expected to
prevent or materially impair or delay the ability of Seller to consummate the Closing; provided,


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however, that in the case of the foregoing clause (a) only, none of the following shall be deemed
(individually or in combination) to constitute, or shall be taken into account in determining
whether there has been, a “Material Adverse Effect”: (i) general political or economic conditions
or conditions affecting the capital or financial markets generally, including the worsening of any
existing conditions or changes affecting the availability or cost of financing; (ii) conditions
generally affecting any industry or industry sector in which Seller and its Subsidiaries operate or
compete; (iii) any change in accounting requirements, applicable Laws or the enforcement,
implementation or interpretation thereof; (iv) any hostility, act of war, sabotage, terrorism or
military actions, or any escalation of any of the foregoing; (v) any hurricane, flood, tornado,
earthquake, pandemic, epidemic, disease, outbreak, public health crisis or other natural disaster
or force majeure event; (vi) this Agreement, the Transactions or the Chapter 11 Cases, including
the public announcement thereof or the impact of such announcement or pendency on the
relationship of Seller and its Subsidiaries with any supplier, distributor, customer, partner,
franchisee or similar relationship or any loss of employees resulting therefrom; (vii) the failure of
Seller and its Subsidiaries to achieve any financial projections, predictions, forecasts or estimates
of revenues for any period (provided, that the underlying causes of such failure shall not be
excluded unless otherwise excluded pursuant to this definition); (viii) any act or omission of Seller
or any of its Subsidiaries required by the terms of this Agreement or at the request (or with the
consent) of Buyer; (ix) (A) the commencement or pendency of the Chapter 11 Cases, (B) any
objections in the Bankruptcy Court to (1) this Agreement, any Ancillary Agreement or the
Transactions, (2) the reorganization of Seller or any of its Subsidiaries or (3) the assumption or
rejection of any Purchased Contract otherwise in compliance with this Agreement, or (C) any
Order of the Bankruptcy Court or any actions or omissions of Seller or its Subsidiaries required
to be taken (or not taken) to comply therewith; (x) actions taken by Buyer or its Affiliates with
respect to the Transactions or the financing thereof or any breach by Buyer of this Agreement;
(xi) any act or omission by Seller or any of its Subsidiaries required to be taken pursuant to the
terms of the DIP Financing Order; and (xii) any change in the market price, credit rating or trading
volume of Seller’s or any of its Subsidiaries’ stock or other securities or any change affecting the
ratings or the ratings outlook for Seller or any of its Subsidiaries (provided, that the underlying
factors contributing to any such change shall not be excluded unless such underlying factors
would otherwise be excluded from the definition of Material Adverse Effect); except, in the case
of clauses (i) through (v), to the extent that any such event, result, effect, occurrence, state of
facts, circumstance, development, condition or change has a disproportionate and adverse effect
on the Purchased Assets and Assumed Liabilities, taken as a whole, relative to other Persons
operating businesses similar to the Business.

        “Material Contracts” has the meaning set forth in Section 3.1.19(a).

        “Mobile Platform” means all consoles, certificates, profiles, identifiers, files, keys, API,
and any other information, documentation or materials necessary or useful for maintaining user
accessibility to the mobile Software applications made available through the Apple App Store or
the Google Play Store by or on behalf of Seller in connection with the Business, as necessary or
useful for Buyer to provide notice and redirection to users through such application in a manner
controlled by Buyer at and following Closing, together with (a) all administrator usernames,
passwords and credentials used to access, use, manage, maintain or renew such consoles,
certificates, profiles, identifiers, files or keys, and (b) all site maps, templates, style guides, design



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materials and content (including any text, fonts, colors, cascading style sheets (CSS), layouts,
video, images and graphics) with respect thereto or made available thereon.

       “Multiemployer Plan” has the meaning set forth in Section 3.1.9(c).

       “Net Adjustment Amount” has the meaning set forth in Section 2.8(b).

        “Net Working Capital Amount” means, without duplication, (a) the aggregate dollar
amount of the “current assets” of the Business that constitute Purchased Assets (provided, that,
with respect to Taxes solely to the extent apportioned to the Pre-Closing Tax Period in accordance
with Section 5.3.2(b)) minus (b) the aggregate dollar amount of the “current liabilities” of the
Business that constitute Assumed Liabilities (provided, that, with respect to Taxes solely to the
extent apportioned to the Pre-Closing Tax Period in accordance with Section 5.3.2(b)), measured
as of the Determination Time, in each case calculated in accordance with the Accounting Policies.
Notwithstanding anything to the contrary, Net Working Capital Amount shall not be calculated
with respect to any Taxes except for Apportioned Obligations, which shall (i) be apportioned in
accordance with Section 5.3.2(b), (ii) shall not include any contingent Taxes, Tax reserves or
uncertain Taxes, and (iii) shall be calculated consistently with Section 5.3.4. Net Working Capital
Amount shall exclude Assumed Indebtedness, the Tax Reserve Liabilities, Cure Costs, Cash,
Restricted Cash, shall include Store Cash and shall reflect only the line items of the “current
assets” and the “current liabilities” of the Business as set forth on Exhibit E.

       “Net Working Capital Shortfall” has the meaning set forth in Section 2.8(b).

       “Net Working Capital Surplus” has the meaning set forth in Section 2.8(b).

       “Non-Recourse Persons” has the meaning set forth in Section 7.2.1.

       “Non-Transferred Store” has the meaning set forth in Section 4.6.

       “Notice” has the meaning set forth in Section 9.2.1.

       “Objection Notice” has the meaning set forth in Section 2.8(e).

       “Offer Employees” has the meaning set forth in Section 5.12.2.

       “Offer List Deadline” has the meaning set forth in Section 5.12.2.

        “Open Source Software” means any software that is licensed pursuant to (a) any license
that is a license now or in the future approved by the Open Source Initiative and listed at
http://opensource.org/licenses, which licenses include all version of the GNU General Public
License (GPL), the GNU Lesser General Public License (LGPL), the GNU Affero GPL (AGPL),
the MIT license, the Eclipse Public License, the Common Public License, the CDDL, the Mozilla
Public License (MPL), the Artistic License, the Netscape Public License, the Sun Community
Source License (SCSL), and the Sun Industry Standards License (SISL); (b) any license to
software that is considered “free” or “open source software” by the Open Source Foundation or
the Free Software Foundation; or (c) any reciprocal license, in each case whether or not source
code is available or included in such license.


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        “Order” means any judicial, arbitral, administrative, ministerial, departmental or
regulatory writ, judgment, edict, directive, adjudication, decree, injunction, ruling, order,
decision, award or other binding obligation, pronouncement, determination or similar action taken
by, or applied by, any Governmental Authority (in each case, whether temporary, preliminary or
permanent).

        “Ordinary Course” means, with respect to an action taken by a Person, that such action
is taken in the ordinary course of the normal day-to-day operations of such Person, taking into
account the Chapter 11 Cases, consistent with past practice.

        “Organizational Documents” means, as applicable, (a) the certificate or articles of
incorporation, formation, organization, limited partnership or association, (b) any charter or
similar document adopted or filed in connection with the creation, formation or organization of a
Person, (c) the bylaws or any similar governing document adopted in connection with the
creation, formation or organization of a Person, (d) the operating agreement or limited liability
company agreement of a limited liability company or limited partnership agreement of a limited
partnership, (e) any similar organizational documents or instruments of any other type of foreign
or domestic entity and (f) any amendment or modification to any of the foregoing.

       “Outside Date” means July 15, 2025.

      “Owned Intellectual Property” means all Intellectual Property owned or purported to be
owned by Seller or any of its Subsidiaries and related to the Business.

       “Party” or “Parties” has the meaning set forth in the Preamble.

       “Patents” means all inventions (whether patentable or unpatentable and whether or not
reduced to practice), invention disclosures, discoveries, all improvements thereto, and all issued
patents and patent applications, provisional patent applications, together with all counterparts
claiming priority therefrom, and all applications for reissues, industrial designs, or invention
disclosures in any country or supranational jurisdiction, and any substitutions, divisionals,
continuations, continuations-in-part, reissues, renewals, confirmations, re-examinations,
extensions, and supplementary protection certificates and all application sharing common
technical specifications.

       “Payee” has the meaning set forth in Section 5.3.1(a).

       “Payer” has the meaning set forth in Section 5.3.1(a).

       “Payments” has the meaning set forth in Section 5.3.1(a).

       “PCI DSS” means the Payment Card Industry Data Security Standard.

        “Permit” means with respect to any Person, any permit, license, grant, authorization,
consent, registration, certificate, franchise, certification, variance, exemption, Order or approval
or similar authorization of any Governmental Authority having jurisdiction over such Person.




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        “Permitted Encumbrance” means any (a) Encumbrance for utilities and Taxes not yet
due or delinquent or for those Taxes being contested in good faith by appropriate proceedings
and, in each case, for which appropriate reserves have been established in accordance with GAAP
or the nonpayment of which is permitted or required by applicable bankruptcy Law;
(b) Encumbrance imposed by Law that does not or would not be reasonably expected to materially
detract from the current value of, or materially interfere with the present use and enjoyment of,
any Purchased Asset subject thereto or affected thereby in the Ordinary Course; (c) non-exclusive
licenses of Intellectual Property granted in the Ordinary Course; (d) mechanics’, materialmen’s,
carriers’, workmen’s, warehouseman’s, repairmen’s, landlords’ and similar Encumbrances
granted or which arise in the Ordinary Course for amounts which are not due and payable; (e)
Encumbrances on the Leased Real Property in favor of the landlord of such Leased Real Property,
whether contractual, statutory or otherwise; (f) matters that would be disclosed by a title
commitment, or current and accurate survey of each parcel of Leased Real Property, in each case,
that would not, individually or in the aggregate, reasonably be expected to materially detract from
the property and/or the value thereof or in any way prohibit use of the property for its current
purposes; (g) Encumbrances expressly contemplated by, or that are removed or released by
operation of, the Sale Order; and (h) Encumbrances disclosed on Section 1.1.3 of Seller
Disclosure Schedules.

       “Person” means any individual, partnership, limited partnership, limited liability
partnership, limited liability company, unlimited liability company, joint stock company, joint
venture, syndicate, sole proprietorship, corporation, unincorporated association, trust, trustee,
executor, administrator or other legal personal representative, or any other legal entity, including
a Governmental Authority, and pronouns have a similarly extended meaning.

        “Personal Information” means all data and information that identifies, relates to,
describes, is reasonably capable of being associated with, or could reasonably be linked, directly
or indirectly to a particular individual or otherwise is subject to any applicable Data Privacy Laws
related to the privacy or security of information associated with an individual.

        “Personal Property” means all tangible personal property relating to the Business that is
owned or used by Seller and/or its Subsidiaries, including apparatus, materials, furniture, fixtures,
supplies, parts, equipment, computers, servers, machinery, vehicles, rolling stock, and other
tangible property.

        “Personnel Records” means the following current employment and current personnel
information with respect to each Continuing Employee, in each case, to the extent permitted by
applicable Law: salary, wage grade, job description, variable compensation targets, performance
documentation, training and continuing education records, business and personal mailing
addresses and telephone numbers, any employment, confidentiality, restrictive covenants and/or
intellectual property assignment agreements, employee handbook and policy acknowledgments,
and any other employment-related agreements, acknowledgements and authorizations, Family
and Medical Leave Act (or similar) records, disability accommodation records, workplace injury
records, internal or external complaints by or concerning such Continuing Employee, Forms I-9
(Employment Eligibility Verification) related to such Continuing Employee; provided, that
Personnel Records shall not include any medical records.



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        “Plan” means each “employee benefit plan” within the meaning of section 3(3) of ERISA
(whether or not subject to ERISA) and each other stock purchase, stock option, restricted stock,
phantom stock, equity or equity-based, employment, consulting, termination, severance,
retention, stay-on, change-of-control, bonus, incentive, deferred compensation, retirement,
supplemental retirement, retiree medical or life insurance, and any other plan, policy, program,
agreement, arrangement or Contract providing compensation or benefits, in each case, whether
written or oral, and (a) with or covering (including eligibility to participate) any Business
Employee (or the dependent or beneficiary thereof) to which Seller or any of its Subsidiaries or
Affiliates is a party, or (b) that is maintained, sponsored or contributed to by Seller or any of its
Subsidiaries or Affiliates for the benefit of any Business Employee, or to which Seller or any of
its Subsidiaries or Affiliates has or could reasonably be expected to have any Liability.

        “Post-Closing Statement” has the meaning set forth in Section 2.8(c).

        “Post-Closing Tax Period” has the meaning set forth in Section 5.3.2(b).

        “Pre-Closing Tax Period” has the meaning set forth in Section 5.3.2(b).

        “Privacy Policies” has the meaning set forth in Section 3.1.8(o).

        “Processing” shall mean any operation or set of operations which is performed on
Personal Information, whether or not by automatic means, such as collection, recording,
organization, storage, access, storage, distribution, adaptation or alteration, retrieval, consultation,
use, disclosure by transmission, dissemination, transfer or otherwise making available, alignment
or combination, blocking, erasure or destruction.

        “Public Statement” has the meaning set forth in Section 5.2.

        “Purchase Price” means the Cash Purchase Price, plus the Assumed Liabilities.

        “Purchased Assets” has the meaning set forth in Section 2.1.1.

        “Purchased Books and Records” means all books and records data, databases,
taxonomies (including all Tax books records, Tax Returns and related workpapers or other
documents, but excluding Excluded Tax Returns), documents and files collected, held or used in
connection with the Business of Seller and its Subsidiaries, including (to the extent collected, held
or used in connection with the Business) all (a) vendor and supplier lists and associated
information, (b) customer data, together with all data held or collected in connection therewith
(in any data field), including all contact information, demographic information, transaction and
usage histories, registry information, loyalty program data (including with respect to customer
participation, loyalty tiers, reward balances and other information) and gift card information
(including with respect to usage, cards issued and balances), (c) customer opt-out or opt-in lists,
(d) current customer models, segmentation, life time value, share of wallet, probability to shop
and next product to buy, and other customer-based analyses or reports, (e) blog content, social
media content, analytics (including data relating to Internet Properties) visitor data, product
review and user-generated content (including images, text, video and all other content), (f) other
cost, pricing and sales data, (g) other information incorporated in or relating to any other
Purchased Asset (including the development, maintenance, use or operation thereof), and (h)


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usernames, passwords and credentials used to access, use, manage, maintain or renew any of the
foregoing.

       “Purchased Contracts” has the meaning set forth in Section 2.1.1(a).

        “Purchased Intellectual Property” means the Intellectual Property licensed to Seller or
its Subsidiaries under the Purchased Contracts, and all other Owned Intellectual Property.

       “Purchased Leases” has the meaning set forth in Section 2.1.1(i).

        “Purchased Products” means the products that are formulated and supplied by a third-
party to Seller and its Subsidiaries’ with Seller’s branding as of the Closing.

       “Representatives” means a Party’s officers, directors, employees, agents, attorneys,
accountants, consultants, advisors, financing sources and other representatives.

         “Restricted Cash” shall mean all cash held in escrow or as a security or other deposit,
held for or on behalf of any person, deposited with any person, or if usage of, or access to, cash
is restricted by Law, Contract, or otherwise, and/or if such cash is restricted in any manner
whatsoever, then including the amount of the fees, costs, expenses, interest, penalties, reductions,
withholdings, and/or Taxes or other levies imposed on, and/or related to, removing any
restrictions and/or limitations on the use, or repatriation, of such cash.

       “Restructuring Support Agreement” means the Restructuring Support Agreement,
dated as of November 1, 2024, inclusive of all exhibits and schedules thereto, by and among the
Debtors, the Consenting First Lien Lenders, and any other Person that may become a party to
such agreement pursuant to its terms, as the same may be amended, amended and restated,
supplemented or otherwise modified from time to time in accordance with its terms.

       “Sale Hearing” means the hearing conducted by the Bankruptcy Court to approve the
Transactions.

       “Sale Motion” has the meaning set forth in Section 5.8.1.

       “Sale Order” has the meaning set forth in Section 5.8.1.

       “Sanctioned Country” means any of Cuba, Iran, North Korea, Syria, and the Crimea
region or so-called Donetsk People’s Republic or Luhansk People’s Republic regions in Ukraine.

         “Sanctioned Person” means any Person with whom dealings are restricted or prohibited
under any Sanctions, including (a) any Person identified in any list of Sanctioned Persons
maintained by (i) the U.S. Department of Treasury, Office of Foreign Assets Control or the U.S.
Department of State, (ii) His Majesty’s Treasury of the United Kingdom, (iii) the United Nations
or (iv) the European Union, (b) any Person located, organized, or resident in, organized in, or a
Governmental Authority or government instrumentality of, any Sanctioned Country and (c) any
Person directly or indirectly 50% or more owned or controlled by a Person described in clause
(a) or (b).



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       “Sanctions” means all applicable Laws concerning economic sanctions.

       “Secured Party Deliverables” means a written waiver and consent executed by the
Required Lenders under and as defined in the First Lien Credit Agreement and the Required
Supermajority Lenders under as defined in the DIP Credit Agreement (as defined in the DIP
Financing Order) in the form of Exhibit I attached hereto.

       “Seller” has the meaning set forth in the Preamble.

       “Seller 401(k) Plan” has the meaning set forth in Section 5.12.6.

        “Seller Disclosure Schedules” means the disclosure schedules of Seller delivered by
Seller pursuant to this Agreement.

       “Seller Expense Reimbursement” has the meaning set forth in Section 8.2.5.

       “Seller Insurance Coverage” has the meaning set forth in Section 5.13.

        “Seller’s Knowledge” or “Knowledge of Seller” means the actual knowledge of any one
of Andrew Laurence, Eric Seeton, Andrew Kaminsky and Tiffany McMillan-McWaters, in each
case after reasonable inquiry of applicable direct reports and without personal liability on the part
of any of them, other than Fraud.

        “Seller Related Person” means Seller, its Affiliates, and each of Seller’s and its
Affiliates’ respective equity holders, stockholders, shareholders, officers, directors, employees,
partners, members, managers, agents, attorneys, representatives, heirs, trustees, trust
beneficiaries, successors and permitted assigns.

       “Seller Software” has the meaning set forth in Section 3.1.8(a).

       “Seller Source Code” has the meaning set forth in Section 3.1.8(k).

        “Social Media Accounts” means social media profiles, accounts, addresses and handles
(including those made available through Facebook, X.com, YouTube, TikTok, or similar
platforms).

         “Software” means all software, software platforms, computer programs, operating
systems, applications, firmware, user interfaces, application programming interfaces, and other
code, including all related source code, object code, application programming interfaces, data
files, databases, protocols, specifications, and all documentation relating to any of the foregoing.

       “Store Cash” has the meaning set forth in Section 2.1.1(u).

        “Store Employee” means an individual employed by Seller or any of its Subsidiaries who
is providing services at one of the Stores or Distribution Centers.

       “Store Threshold” has the meaning set forth in Section 4.6.

       “Store Transfer Date” has the meaning set forth in Section 5.12.2.


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        “Stores” means the retail store locations leased by Seller and/or its Subsidiaries that are
set forth on Section 1.1.4 of Seller Disclosure Schedules.

        “Straddle Period” means any taxable period that includes but does not end on the Closing
Date.

        “Subsidiary” means, with respect to any Person, any entity of which at least a majority
of the securities or ownership interests having by their terms voting power to elect a majority of
the board of directors or other Persons performing similar functions is directly or indirectly owned
or controlled by such Person or by one or more of its respective Subsidiaries, or is under common
control with such Person. The term “Subsidiary” shall include all Subsidiaries of such Subsidiary.

        “Target Net Working Capital Amount” means $139,840,437.00.

        “Tax Laws” has the meaning set forth in Section 2.3.2.

       “Tax Reserve Liabilities” means any and all sales and use Taxes imposed with respect
operations of the Business in any taxable period (or portion thereof) ending on or before the
Closing Date.

        “Tax Reserve Liability Amount” means $4,200,000.00.

        “Tax Reserve Liability Proceedings” has the meaning set forth in Section 5.3.6.

        “Tax Return” means any return, declaration, report, election, notice, filing, claim for
refund, information return or statement relating to Taxes, including any schedule or attachment
thereto, filed or maintained, or required to be filed or maintained, in connection with the
calculation, determination, assessment or collection of any Tax and includes any amended returns
required as a result of examination adjustments made by the IRS or other Taxing Authority.

        “Taxes” means any and all taxes, charges, fees, customs, levies, duties, excises,
premiums, imposts, required deposits or other assessments of any kind whatsoever and however
denominated, including all federal, state, local or foreign net income, capital gains, gross income,
gross receipt, property, franchise, sales, use, excise, withholding, payroll, employment, social
security, worker’s compensation, unemployment, occupation, capital stock, transfer, registration,
recording, gains, windfall profits, environmental, net worth, asset, transaction and other taxes,
and any interest, penalties, fines or additions to tax with respect thereto, imposed upon any Person
by any Taxing Authority or other Governmental Authority under applicable Law.

        “Taxing Authority” means any Governmental Authority or any quasi-governmental body
exercising tax regulatory authority.

       “Third Party” means any Person other than Seller, Buyer and their respective Affiliates
and permitted successors and assigns.

        “Top Suppliers” has the meaning set forth in Section 3.1.20.

        “Trade Secrets” has the meaning set forth in the definition of Intellectual Property.


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       “Trademark Assignment Agreement” means the Trademark Assignment Agreement, in
substantially the form attached hereto as Exhibit C.

       “Trademarks” has the meaning set forth in the definition of Intellectual Property.

      “Transactions” means the transactions contemplated by this Agreement and the Ancillary
Agreements.

       “Transfer Taxes” has the meaning set forth in Section 5.3.2(a).

       “Transferred Stores” means the Stores or the Distribution Centers that become
designated for assumption and assignment in accordance with Section 2.7.2.

        “Transition Services Agreement” means the transition services agreement substantially
in the form attached hereto as Exhibit G.

       “U.S.” or “United States” means the United States of America.

       “Vitamin Shoppe Marks” has the meaning set forth in Section 5.15.

      “WARN Act” means the Worker Adjustment and Retraining Notification Act of 1988, as
amended, or any similar Laws.

       “Willful Breach” shall mean (a) Fraud or (b) a deliberate act or a deliberate failure to act,
in each case, in material breach of a covenant set forth in this Agreement or any Ancillary
Agreement.

        1.2     Construction. Except where the context otherwise requires, wherever used, the
singular includes the plural, the plural the singular, the use of any gender shall be applicable to
all genders and the word “or” is used in the inclusive sense (and/or). The captions of this
Agreement are for convenience of reference only and in no way define, describe, extend or limit
the scope or intent of this Agreement or the intent of any provision contained in this Agreement.
The terms “include,” “includes” and “including” mean “include, without limitation,” “includes,
without limitation” and “including, without limitation,” respectively, and do not limit the
generality of any description preceding such term. The language of this Agreement shall be
deemed to be the language mutually chosen by the Parties and no rule of strict construction shall
be applied against either Party. Unless otherwise specified or where the context otherwise
requires, (a) references in this Agreement to any Article, Section, Schedule or Exhibit are
references to such Article, Section, Schedule or Exhibit of this Agreement; (b) references in any
Section to any clause are references to such clause of such Section; (c) “hereof,” “hereto,”
“hereby,” “herein” and “hereunder” and words of similar import when used in this Agreement
refer to this Agreement as a whole and not to any particular provision of this Agreement;
(d) references to a Person are also to its successors and permitted assigns; (e) references to a Law
include any amendment or modification to such Law and any rules or regulations issued
thereunder, in each case, as in effect at the relevant time of reference thereto; (f) references to any
agreement, instrument or other document in this Agreement refer to such agreement, instrument
or other document as originally executed or, if subsequently amended, replaced or supplemented
from time to time, as so amended, replaced or supplemented and in effect at the relevant time of


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reference thereto; (g) “extent” in the phrase “to the extent” means the degree to which a subject
or other thing extends, and such phrase does not mean simply “if”; (h) all references to “made
available” means, when used with respect to any document or other item of information, that such
document or other item of information was provided or made available to Buyer in the “virtual
data room” prepared by Seller to which Buyer has been provided access prior to the date hereof;
(i) references to monetary amounts are denominated in United States Dollars and all references
to “$” shall be deemed to refer to United States dollars; and (j) references to “reasonable best
efforts” with respect to the Parties or their respective Affiliates means the efforts that a
commercially reasonable Person desirous of achieving a result would use in similar circumstances
to achieve that result as expeditiously as reasonably practicable. The Parties have participated
jointly in the negotiation and drafting of this Agreement and in the event an ambiguity or question
of intent or interpretation arises, this Agreement shall be construed as if drafted jointly by the
Parties and no presumption or burden of proof shall arise favoring or disfavoring any Party (or
any Affiliate thereof) by virtue of the authorship of any of the provisions of this Agreement. The
headings of the sections and paragraphs of this Agreement have been inserted for convenience of
reference only and will in no way restrict or otherwise modify any of the terms or provisions of
this Agreement.

                                  ARTICLE 2
                    SALE AND PURCHASE OF ASSETS; LIABILITIES

       2.1     Sale of Purchased Assets.

                        2.1.1 Purchase and Sale of Purchased Assets. Upon the terms and subject
to the conditions of this Agreement and the Ancillary Agreements, at and effective as of the
Closing, and pursuant to sections 105, 363 and 365 of the Bankruptcy Code, Seller shall (or shall
cause its applicable Subsidiaries to), sell, transfer, convey, assign and deliver to Buyer, and Buyer
shall purchase, acquire and accept from Seller (or such Subsidiaries), all rights, title and interests
of Seller or its Subsidiaries in and to all of the assets, properties, interests, rights and Claims of
Seller and its Subsidiaries related to, or used in connection with, the Business (other than the
Excluded Assets), including the following assets related to, or used in connection with, the
Business (collectively, the “Purchased Assets”), in each case free and clear of any Encumbrances
(other than Permitted Encumbrances and Assumed Liabilities):

                      (a)    all rights and interests of Seller or its Subsidiaries under the
Contracts set forth in Section 2.7.1 of Seller Disclosure Schedules, which Section of Seller
Disclosure Schedules may be modified at the request of Buyer, up to 3:00 P.M. (Eastern Time)
on May 4, 2025 or as otherwise set forth in Section 2.7.2 (such Contracts, the “Purchased
Contracts”);

                       (b)     the Purchased Books and Records;

                      (c)     the Purchased Intellectual Property and the Business Internet
Properties, and the Mobile Platform, including all rights of action associated therewith;

                       (d)     all Permits that are listed on Section 2.1.1(d) of Seller Disclosure
Schedules, to the extent assignable or transferable;



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                        (e)     all Inventory;

                      (f)     to the extent available and in existence as of the date hereof and the
Closing, all advertising, marketing, sales and promotional materials samples, artwork,
photography, images, videos, copy, catalogues, labels, brand books, style guides, retailer
presentations, drawings, recordings and similar material, and any other printed or written material
showing the heritage of any Trademarks, in each case used in connection with the Business;

                        (g)     all fax numbers and telephone numbers;

                        (h)     all pre-paid expenses and security deposits associated with the
Transferred Stores;

                       (i)    all rights and interests of Seller or its Subsidiaries under the Leases
set forth in Section 2.7.1 of Seller Disclosure Schedules, which Section of Seller Disclosure
Schedules may be modified at the request of Buyer, up to 3:00 P.M. (Eastern Time) on May 4,
2025 or as otherwise set forth in Section 2.7.2 hereto (such real property, the “Leased Real
Property,” and such Leases, the “Purchased Leases”);

                        (j)     the Purchased Products;

                      (k)     to the extent permitted by Law and applicable employment or
privacy policies communicated to Continuing Employees, copies of Seller’s Personnel Records
with respect to the Continuing Employees;

                        (l)     all Personal Property;

                        (m)     all Accounts Receivable;

                       (n)    all goodwill of Seller as a going concern and any goodwill related
to the Business, the Purchased Assets and the Assumed Liabilities;

                        (o)     all rights of Seller under any non-disclosure or confidentiality, non-
compete, non-interference or non-solicitation agreements with current and former employees and
agents of Seller or with third parties, in each case, related to the Purchased Assets or the Business
(or any portion thereof);

                        (p)     all rights of publicity, personality rights and similar rights relating
to, used in (or held for use in) or arising out of, the sale or marketing of any products or services
of the Business;

                      (q)     all Avoidance Actions against any of Seller’s vendors, suppliers,
customers or trade creditors with whom Buyer continues to conduct business in regard to the
Purchased Assets after the Closing and any of their Affiliates;

                        (r)     all Employee Equipment;




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                        (s)    the insurance policies set forth on Section 2.1.1(s) of Seller
Disclosure Schedules;

                       (t)   any Tax attributes that transfer to Buyer by automatic operation of
Law as a result of Buyer acquiring the Purchased Assets and any Tax refunds solely to the extent
such refunds relate to Assumed Taxes (“Buyer Tax Benefits”);

                      (u)    any cash on hand (whether in a cash register, safe, deposit box) at
a Transferred Store (“Store Cash”);

                       (v)     all unexpired transferrable warranties, indemnities or guarantees
from any third party related to the other Purchased Assets or Assumed Liabilities;

                        (w)    the Plans set forth on Section 2.1.1(w) of Seller Disclosure
Schedules; and

                        (x)    any Restricted Cash associated with the Transferred Stores.

                       2.1.2 Excluded Assets. Notwithstanding anything to the contrary in this
Agreement or in any Ancillary Agreement, (a) Buyer shall not acquire the Excluded Assets,
including any Contract (including Leases) set forth on Section 2.1.2 of Seller Disclosure
Schedules (each such Contract or Lease, an “Excluded Contract”), (b) the Purchased Assets
shall not include the Excluded Assets, and (c) Seller shall retain the Excluded Assets following
the Closing.

                        2.1.3 Retention of Rights. Notwithstanding anything to the contrary in
this Agreement or any Ancillary Agreement, Seller retains, on behalf of itself and its Affiliates, a
right to retain copies of all or any part of all documentation that Seller delivers to Buyer pursuant
to this Agreement as may be reasonably necessary to exercise its or its Affiliates’ respective rights
or perform its or its Affiliates’ respective obligations under this Agreement or any Ancillary
Agreement, for purposes of administration of the Chapter 11 Cases, and for purposes of
complying with Law.

       2.2     Liabilities.

                       2.2.1 Assumed Liabilities. Upon the terms and subject to the conditions
of this Agreement, at the Closing, Seller shall (or shall cause its applicable Subsidiaries to) assign
to Buyer and Buyer shall assume from Seller or its applicable Subsidiaries and agree to pay and
discharge when due, only the following Liabilities of Seller and its Subsidiaries (other than the
Excluded Liabilities) arising out of the conduct of the Business or the ownership of the Purchased
Assets or the Business, in each case, immediately following the Closing (collectively, the
“Assumed Liabilities”):

                       (a)   all Liabilities arising under the Purchased Contracts and the
Purchased Leases that become due from and after, solely to the extent relating to facts,
occurrences or other circumstances first arising after, the Closing;




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                      (b)    (i) the “current liabilities” of the Business to the extent set forth in
the Net Working Capital Amount and (ii) the accounts payable, arising from the ownership of the
Purchased Assets or the conduct or operation of the Business from and after the Closing;

                       (c)    all Liabilities (i) arising from the employment or termination of any
Continuing Employees and currently engaged independent contractors whenever incurred or
arising, including any wages, salaries, commissions, or normal course bonuses or incentive
obligations with respect to the Continuing Employees and (ii) with respect to any accrued and
unused paid time off and sick time accrued prior to the Closing by any Continuing Employee to
the extent permitted by applicable Law to the extent set forth in the Net Working Capital Amount
(including any amounts required to be paid out by Seller under applicable Law, which amounts
shall be timely reimbursed to Seller by Buyer following the Closing);

                       (d)     all Liabilities for Transfer Taxes;

                        (e)    all Liabilities arising from the sale of merchandise pursuant to
product warranties, product returns and rebates from and after the Closing, in each case solely to
the extent arising out of the Purchased Contracts;

                      (f)     all Liabilities for gift cards, store credits, customer loyalty
programs, and gift certificates validly issued by Seller and/or its Subsidiaries prior to Closing
Date; and

                        (g)   (i) all Liabilities for Taxes with respect to the Purchased Assets, the
Assumed Liabilities, the Business, or the Continuing Employees with respect to any taxable
period (or portion thereof) beginning after the Closing Date and (ii) all Liabilities for Transfer
Taxes pursuant to Section 5.3.2 (such Taxes described in the immediately preceding clause (i)
and clause (ii), the “Assumed Taxes”);

                      (h)     all Liabilities arising for the Plans set forth on Section 2.1.1(w) of
Seller Disclosure Schedules from and after Closing; and

                        (i)    all Liabilities for Assumed Indebtedness (including the Liabilities
set forth in Exhibit H attached hereto with respect to (and not taking into account any caps or
amounts set forth in) clause (a) through (h) in the definition of Assumed Indebtedness) and which
shall include, for the avoidance of doubt, the Tax Reserve Liabilities.

                        2.2.2 Excluded Liabilities. Notwithstanding anything to the contrary in
this Agreement or any Ancillary Agreement, neither Buyer nor any of its Affiliates shall assume,
nor shall they be or become responsible for, any Excluded Liabilities or any Liabilities of Seller
or any of its Subsidiaries, other than the Assumed Liabilities. For greater certainty, the Excluded
Liabilities shall remain the sole obligation and responsibility of Seller and its Subsidiaries.

       2.3     Consideration.

                     2.3.1 Purchase Price. Upon the terms and subject to the conditions of this
Agreement, in consideration of the conveyances contemplated under Section 2.1, Buyer shall:



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                        (a)    at the Closing, pay to Seller an amount equal to the Estimated Cash
Purchase Price, less the Deposit (together with any and all investment interest thereon, if any, that
is released to Seller), by wire transfer of immediately available funds to the account designated
by Seller by Notice to Buyer, such Notice to be provided at least five (5) Business Days prior to
the Closing Date (such amount, the “Closing Payment”); and

                       (b)     at the Closing, assume the Assumed Liabilities.

                        2.3.2 Allocation of Consideration. Buyer shall allocate the Purchase
Price (including the Assumed Liabilities or other amounts treated as part of the purchase price for
U.S. federal income Tax purposes, to the extent properly taken into account under applicable tax
laws “Tax Laws”), among the Purchased Assets in accordance with Section 1060 of the Code,
all other applicable Tax Laws and the methodology set forth in Section 2.3.2 of Seller Disclosure
Schedules (the “Allocation”) as soon as commercially practicable, but no later than forty-five
(45) days following the determination of the final Purchase Price, and shall deliver to Seller a
copy of such Allocation promptly after such determination for Seller’s review, comment and
consent (such consent not to be unreasonably withheld, conditioned or delayed). If Seller delivers
a written objection within thirty (30) days after receipt of the draft Allocation proposed by Buyer,
then Buyer and Seller shall negotiate in good faith to resolve any such objection, and, if Seller
and Buyer cannot resolve such dispute within thirty (30) days of Buyer’s receipt of Seller’s
objection, then the Accounting Firm shall resolve such dispute, with the costs of such resolution
to be allocated by such accounting firm between Buyer and Seller based upon the percentage of
the aggregate contested amount submitted to such accounting firm that is ultimately awarded to
Buyer, on the one hand, or Seller on the other hand, such that Buyer bears a percentage of such
costs and expenses equal to the percentage of the contested amount awarded to Seller and Seller
bears a percentage of such costs and expenses equal to the percentage of the contested amount
awarded to Buyer, and the resolution of such dispute shall be final and binding on the Parties.
Buyer and Seller (and their respective Affiliates) agree to file their respective IRS Form 8594 and
all federal, state and local Tax Returns in accordance with the Allocation and agree not to take
any position inconsistent with the Allocation in any Tax Return, in any refund claim, in any
litigation or otherwise, except as otherwise required by a “determination” as defined in Section
1313(a) of the Code (or corresponding provision of state or local law). To the extent of any
adjustment to the Purchase Price, Buyer shall revise the Allocation in accordance with this Section
2.3.2, including the methodology set forth in Section 2.3.2 of Seller Disclosure Schedules.

        2.4    Closing. Pursuant to the terms and subject to the conditions of this Agreement, the
closing of the Transactions (the “Closing”) shall take place by telephone conference and
electronic exchange of documents, at 10:00 a.m. local time, on the third (3rd) Business Day
following satisfaction of all conditions (other than those that by their terms are to be satisfied or
taken at the Closing) set forth in Article 6 (or, to the extent permitted by applicable Law, waived
by the Party entitled to the benefits thereof), or such other time and place as the Parties may
mutually agree to in writing (such date of the Closing being hereinafter referred to as the “Closing
Date”); provided, that, in no event shall the Closing occur prior to May 15, 2025 without the prior
written consent of Buyer.

       2.5      No Offset. Buyer’s obligations under this Article 2 shall not be subject to offset,
reduction, netting or recoupment.


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        2.6     Deposit. At Closing, Buyer and Seller shall deliver Joint Written Instructions to
the Escrow Agent to release the Deposit (together with any and all investment interest thereon, if
any) to Seller in accordance with the Deposit Escrow Agreement.

       2.7     Assumption/Rejection of Certain Contracts and Leases; Non-Assignment.

                       2.7.1 Section 2.7.1 of Seller Disclosure Schedules sets forth a true and
complete list, as of the date hereof, of (a) all executory Contracts which require expenditures
made or to be made by Seller or payments or amounts received or to be received by Seller in
excess of $100,000 in the twelve (12) months prior to the date hereof and unexpired Leases to
which any Seller is a party (excluding the Excluded Contracts), including Seller’s proposed Cure
Costs associated with each such Contract and unexpired Lease set forth therein, and (b) the
Purchased Contracts and Purchased Leases as of the date hereof.

                         2.7.2 From and after the date hereof until 3:00 P.M. (Eastern Time) on
May 4, 2025, Buyer may, in its sole discretion, (a) add any Contract or any Lease listed on
Section 2.7.1 of Seller Disclosure Schedules (or otherwise used in connection with the Business)
to the schedule of Purchased Contracts and Purchased Leases, (b) remove from the schedule of
Purchased Contracts and Purchased Leases any Contract listed on Section 2.7.1 of Seller
Disclosure Schedules and instead designate such Contract for rejection effective on and as of the
Closing or (c) remove from the schedule of Purchased Contracts and Purchased Leases any Lease
listed on Section 2.7.1 of Seller Disclosure Schedules and instead designate such Lease for
rejection effective on and as of the Closing; provided, that in the immediately preceding clauses
(a), (b), and (c), Buyer shall not be able to add any Contract or Lease to the schedule of Purchased
Contracts and Purchased Leases if such Contract or Lease is associated with a Store already in
the active process of Closing. The schedule of Purchased Contracts and Purchased Leases shall
be (and shall be deemed) modified or supplemented to reflect the additions or removals, as
applicable, of Leases and Contracts that are (i) designated for assumption and assignment or
(ii) designated for rejection, each as set forth in this Section 2.7.2.

                       2.7.3 Seller shall as promptly as reasonably practicable, but in any event
upon assumption of any Purchased Contract or Purchased Lease under this Section 2.7, pay all
Cure Costs (if any) in connection therewith (or as otherwise required).

                        2.7.4 Notwithstanding the foregoing and anything herein to the
contrary, a Contract or Lease shall not be assigned to, or assumed by, Buyer or its designee
hereunder to the extent that such Contract or Lease (a) is terminated by a Seller (pursuant to,
and in accordance with, the terms and conditions set forth herein) or the counterparty thereto, or
terminates or expires by and in accordance with its terms, on or prior to the Closing Date and is
not continued or otherwise extended upon assumption, or (b) requires a consent or authorization
from a Governmental Authority (other than, and in addition to, that of the Bankruptcy Court) in
order to permit the sale or transfer to Buyer or its designee of the applicable Seller’s rights under
such Contract or Lease, and such consent or authorization has not been obtained prior to the
Closing. In the event that any Purchased Contract or Purchased Lease is deemed not to be
assigned pursuant to clause (b) of this Section 2.7.4, the Closing shall nonetheless occur and,
thereafter, through the earlier of (i) such time as such consent or authorization is obtained, (ii)
twelve (12) months following the Closing (or the remaining term of such Contract or Lease or


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the closing of the Chapter 11 Cases, if shorter) and (iii) the date on which the Bankruptcy Court
enters an order confirming the Debtors’ chapter 11 plan on the docket of the Chapter 11 Cases,
Seller and Buyer shall (A) use reasonable best efforts to secure such consent or authorization as
promptly as practicable after the Closing, and (B) cooperate in good faith to allow Buyer or its
designee to perform the services thereunder on Seller’s behalf, in all cases, without infringing
upon the legal rights of any third party, including by good faith cooperation with any lawful and
commercially reasonable arrangement reasonably proposed by Buyer, including subcontracting,
licensing or sublicensing to Buyer any or all of any Seller’s rights and obligations with respect
to any such Contract or Lease, under which (1) Buyer shall obtain (without infringing upon the
legal rights of such third party or violating any Law) the economic rights and benefits under
such Contract or Lease with respect to which the consent and/or authorization has not been
obtained, and (2) Buyer shall assume any related burden (net of the amount of any related Tax
benefit obtained by Seller or its Affiliates) and obligation (including performance) with respect
to such Contract or Lease. Upon satisfying all such requisite consent or authorization
requirements applicable to such Contract or Lease after the Closing, such Contract or Lease shall
promptly be assumed and assigned to Buyer in accordance with the terms of this Agreement.

       2.8     Cash Purchase Price.

                         (a)     At least two (2) Business Days before the Closing, Seller shall
prepare and deliver to Buyer a written statement (the “Closing Statement”) setting forth in
reasonable detail its good faith estimate of (i) Net Working Capital Amount, as of the
Determination Time (the “Estimated Net Working Capital Amount”), (ii) the Assumed
Indebtedness, as of the Closing (the “Estimated Assumed Indebtedness”), and (iii) based upon
the immediately preceding clause (i) and clause (ii), the resulting Estimated Cash Purchase Price.
Seller will prepare the Closing Statement and all items included therein consistent with this
Agreement (including the definitions herein) and the Accounting Policies, which statement shall
be substantially in the form of Exhibit E attached hereto (in the case of the Estimated Net Working
Capital Amount) and Exhibit H attached hereto (in the case of the Estimated Assumed
Indebtedness). During the period after the delivery of the Closing Statement and prior to the
Closing Date, Buyer shall have an opportunity to review the Closing Statement and Seller shall
provide Buyer and its Representatives reasonable access during normal business hours to all
properties, books and records relating thereto and the officers and other employees and advisors
of Seller and its Affiliates, in each case, to the extent reasonably necessary to assist Buyer and its
Representatives in their review of the Closing Statement; provided, that such access shall be in a
manner that does not interfere with the normal business operations of Seller and its Subsidiaries.
Seller shall in good faith consider any questions or comments received from Buyer regarding the
Closing Statement; provided, that, to the extent that Buyer and Seller disagree as to any one or
more items, then with respect to such item, the amount of such item set forth in the Closing
Statement sent by Seller shall be used for purposes of calculating the Estimated Cash Purchase
Price; provided, however, that, Buyer’s acceptance of the Estimated Cash Purchase Price as
proposed by Seller (or as otherwise agreed by Buyer and Seller pursuant to this Section 2.8(a))
will not be deemed to waive or otherwise impair any rights of Buyer relating to its preparation of
the Post-Closing Statement and the adjustments to the Estimated Cash Purchase Price or the Cash
Purchase Price pursuant to this Agreement, or waive, limit or otherwise modify any of its rights
or remedies under this Agreement.



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                        (b)     Subsequent to the Closing and subject to this Section 2.8 (as
applicable), the Estimated Cash Purchase Price shall be increased (if the Net Adjustment Amount
is positive) or decreased (if the Net Adjustment Amount is negative) by the absolute value of the
Net Adjustment Amount (which may be negative or positive); provided, that if the absolute value
of the Net Adjustment Amount is less than or equal to 500,000.00, the Net Adjustment Amount
shall be deemed to be zero ($0). “Net Adjustment Amount” means an amount equal to the net
result of (i) the amount by which Final Net Working Capital exceeds the Estimated Net Working
Capital Amount (if any) (the “Net Working Capital Surplus”), less (ii) the amount by which the
Estimated Net Working Capital Amount exceeds the Final Net Working Capital (if any) (the “Net
Working Capital Shortfall”), plus (iii) the amount (if any) by which Estimated Assumed
Indebtedness exceeds Final Assumed Indebtedness, less (iv) the amount (if any) by which Final
Assumed Indebtedness exceeds Estimated Assumed Indebtedness.

                         (c)     As soon as reasonably practicable, but no later than thirty (30) days
after the Closing Date, Buyer shall (i) prepare a statement of (A) the calculation of Net Working
Capital Amount, as of the Determination Time, (B) the Assumed Indebtedness, as of the Closing,
and (C) based upon the immediately preceding clause (A) and clause (B) (and taking into account
the Net Adjustment Amount, including the limitation set forth in the proviso in the first sentence
of Section 2.8(b)), the resulting Cash Purchase Price as if (and solely for this purpose) such Net
Working Capital Amount is the Final Net Working Capital and such Assumed Indebtedness is
the Final Assumed Indebtedness (the “Post-Closing Statement”), and (ii) deliver the Post-
Closing Statement to Seller. The Post-Closing Statement shall be prepared in good faith consistent
with this Agreement (including the definitions herein) and the Accounting Policies, which
statement shall be substantially in the form of Exhibit E attached hereto (in the case of the Net
Working Capital Amount) and Exhibit H attached hereto (in the case of the Assumed
Indebtedness). The Parties agree that (1) in determining the Final Net Working Capital, the Final
Assumed Indebtedness, and the related adjustment contemplated by this Section 2.8(c), no Party
will be permitted to introduce judgments, accounting methods, policies, principles, practices,
procedures, assumptions, conventions, categorizations, definitions, techniques (including in
respect of management’s exercise of judgment), classifications or estimation methodologies
different than those set forth in the Accounting Policies, and (2) the Post-Closing Statement shall
not include any purchase accounting or other adjustment arising out of the consummation of the
Transactions and shall not be impacted by any changes requested by Buyer between the Closing
and the delivery of the Post-Closing Statement. Without the prior consent of Seller pursuant to
this Section 2.8, Buyer shall not have the right to modify the Post-Closing Statement or any items
or amounts set forth therein after Buyer delivers the Post-Closing Statement to Seller. If Buyer
does not deliver the Post-Closing Statement to Seller within thirty (30) days after the Closing
Date, Seller (acting in its sole discretion) may elect by written notice to Buyer to deem the Closing
Statement as the Final Post-Closing Statement that is final, binding and non-appealable by the
Parties.

                       (d)     In connection with the review of the Post-Closing Statement by
Seller, Buyer shall provide Seller and its Representatives with reasonable access to the books and
records, personnel and facilities of the Business (in each case upon reasonable advance notice in
writing and during normal business hours in a manner that does not unreasonable interfere with
the Business). Furthermore, Seller shall have the right to review the work papers of Buyer
underlying or utilized in preparing the Post-Closing Statement and the calculation of the Cash


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Purchase Price set forth therein; provided, however, that the independent accountants of the
Business, if any, shall not be obligated to make any such work papers available to Seller unless
and until Seller has signed a customary confidentiality agreement relating to such access to such
work papers in form and substance reasonably acceptable to such independent accountants.

                        (e)     Within fourteen (14) days after its receipt of the Post-Closing
Statement, Seller shall inform Buyer in writing either (i) that the Post-Closing Statement is
acceptable or (ii) of any objection to the Post-Closing Statement, setting forth in reasonable detail
the basis for such objection and the specific adjustment to amounts, determinations and
calculations set forth on the Post-Closing Statement that Seller believes should be made, including
specific dollar amounts of adjustments necessary (an “Objection Notice”). If an Objection Notice
is timely delivered within such fourteen (14) day period, Buyer and Seller shall negotiate in good
faith to resolve each dispute raised therein (each, a “Disputed Item”). Any amounts that are not
a Disputed Item on the Objection Notice shall be final, conclusive, binding and non-appealable
on the Parties. If Buyer and Seller, notwithstanding such good faith efforts, fail to resolve any
Disputed Item within five (5) days after Seller timely delivers an Objection Notice or such longer
period of time as the Parties may mutually agree in writing, then Buyer and Seller shall jointly
engage the Accounting Firm to resolve only any remaining Disputed Items as soon as practicable
thereafter (but in any event, within ten (10) days after engagement of the Accounting Firm or such
longer period as the Accounting Firm may reasonably require), which resolution must be in
writing and set forth in reasonable detail the basis therefor; provided, that, all negotiations and
discussions between Buyer and Seller regarding the matters specified on the Objection Notice
shall (unless otherwise agreed to in writing by Buyer and Seller) be governed by Rule 408 of the
U.S. Federal Rules of Evidence and any comparable applicable state rule of evidence. The
amounts, determinations and calculations (or any component thereof) contained in the Post-
Closing Statement shall become final, conclusive, binding and non-appealable on the Parties at
the following times:

              i.   in the event that Seller has informed Buyer in writing that the Post-Closing
                   Statement is acceptable pursuant to this Section 2.8(e), the date on which Seller
                   so informs Buyer (in which case such amounts, determinations and
                   calculations (or any component thereof) shall be as set forth in the Post-
                   Closing Statement delivered or deemed to be delivered pursuant to Section
                   2.8(c));

             ii.   in the event that Seller does not deliver an Objection Notice to Buyer pursuant
                   to this Section 2.8(e) within fourteen (14) days after receipt of the Post-Closing
                   Statement, on the next Business Day following the expiration of such period
                   (in which case such amounts, determinations and calculations (or any
                   component thereof) shall be as set forth in the Post-Closing Statement
                   delivered pursuant to Section 2.8(c));

            iii.   in the event that Seller has delivered an Objection Notice to Buyer pursuant to
                   this Section 2.8(e), the date of an agreement in writing by Buyer and Seller
                   that such amounts, determinations and calculations (or any component thereof)
                   that are the subject of such Objection Notice, together with any modifications
                   thereto agreed to by Buyer and Seller, are final, conclusive, binding and non-


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                   appealable (in which case such amounts, determinations and calculations (or
                   any component thereof) shall be as agreed upon by Buyer and Seller); and

            iv.    in the event that Buyer and Seller engage the Accounting Firm to resolve any
                   remaining Disputed Items pursuant to this Section 2.8(e), the date on which
                   the Accounting Firm issues its written resolution of such Disputed Items (in
                   which case such amounts, determinations and calculations (or any component
                   thereof) shall be as resolved by the Accounting Firm pursuant to this Section
                   2.8(e) with respect to all Disputed Items submitted to the Accounting Firm,
                   and shall otherwise be as set forth in the Post-Closing Statement delivered
                   pursuant to Section 2.8(c), together with any modifications thereto agreed to
                   by Buyer and Seller).

                        (f)    At such time determined in accordance with this Section 2.8, the
Post-Closing Statement as so agreed (or deemed agreed) or determined shall be the “Final Post-
Closing Statement” for purposes of this Agreement, and shall be final, conclusive, binding and
non-appealable (absent fraud, willful misrepresentation or mathematical or manifest error and
such determination may be entered and enforced in accordance with Section 9.1.2) on the Parties
and shall be used for the adjustment of the Cash Purchase Price, if any, pursuant to Section 2.8(i).
The statements of (i) Net Working Capital as of the Determination Time set forth in the Final
Post-Closing Statement shall be the “Final Net Working Capital” for purposes of this
Agreement and (ii) Assumed Indebtedness as of the Closing set forth in the Final Post-Closing
Statement shall be the “Final Assumed Indebtedness” for purposes of this Agreement.

                         (g)     In resolving any Disputed Item, the Accounting Firm (i) shall act
as an expert and not as an arbitrator, (ii) shall be bound by the provisions of this Section 2.8(g),
(iii) shall not assign a value to any Disputed Item greater than the greatest value claimed for such
Disputed Item or less than the smallest value for such Disputed Item claimed by either Buyer in
the Post-Closing Statement or Seller in the Objection Notice, (iv) shall limit its determination to
each unresolved Disputed Item, (v) shall make its determination based solely on presentations by
Buyer and Seller which are in accordance with the guidelines and procedures set forth in this
Agreement and not on the basis of independent review; provided, that, the Accounting Firm may
make reasonable requests for additional information from Buyer and Seller, (vi) may not consider
for any purpose, any settlement discussions or settlement offer(s) made by or on behalf of either
Seller or Buyer unless otherwise agreed in writing by Seller and Buyer, and (vii) shall have
exclusive jurisdiction over any disputes arising out of or relating to the calculation of, and any
adjustments to, the Closing Payment; provided, that upon the determination of the Accounting
Firm, such determination may be entered and enforced in any court of competent jurisdiction in
accordance with Section 9.1.2.

                        (h)    For purposes of complying with this Section 2.8, Buyer and Seller
shall furnish to each other and to the Accounting Firm such work papers and other documents and
information relating to the Disputed Items as the Accounting Firm may require and that are
available to the Party (or its independent public accountants) from whom such documents or
information are requested. The Accounting Firm shall deliver its determination of the Disputed
Items to Buyer and Seller in writing, together with a reasonable basis for its determination of each
Disputed Item. In no event shall either Party engage in ex parte communications with the


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Accounting Firm with respect to any Disputed Item until the Accounting Firm issues its final
determination of the Disputed Items. The fees and expenses of the Accounting Firm incurred
pursuant to this Section 2.8 shall be allocated between Buyer and Seller in inverse proportion to
their success on the unresolved Disputed Items, i.e., (i) Buyer shall be responsible for that portion
of the fees and expenses multiplied by a fraction, the numerator of which is the aggregate Dollar
value of the Disputed Items submitted to the Accounting Firm that are resolved against Buyer (as
finally determined by the Accounting Firm) and the denominator of which is the total Dollar value
of the Disputed Items so submitted and (ii) Seller shall be responsible for the remaining amount
of fees and expenses. In the event of any dispute regarding such allocation, the Accounting Firm
shall determine the allocation of its fees and expenses as between Buyer and Seller in accordance
with such allocation methodology, such determination to be final and binding on both Buyer and
Seller. Except as otherwise set forth in Section 2.8(b) and this Section 2.8(h), the fees and
expenses of Seller and its Representatives incurred in connection with the Post-Closing Statement
and any Disputed Items shall be borne by Seller, and the fees and expenses of Buyer and its
Representatives incurred in connection with the Post-Closing Statement and any Disputed Items
shall be borne by Buyer.

                       (i)     If the Cash Purchase Price (as finally determined in the Final Post-
Closing Statement): (A) is less than the Estimated Cash Purchase Price and the Net Adjustment
Amount is not deemed to be zero ($0), then within three (3) Business Days after the Cash Purchase
Price is finally determined in the Final Post-Closing Statement, Seller shall repay to Buyer an
amount equal to the difference between the Cash Purchase Price and the Estimated Cash Purchase
Price by wire transfer of immediately available funds to the bank accounts designated by Buyer
in writing; or (B) exceeds the Estimated Cash Purchase Price and the Net Adjustment Amount is
not deemed to be zero ($0), then within three (3) Business Days after the Cash Purchase Price is
finally determined in the Final Post-Closing Statement, Buyer shall pay (or Buyer shall cause to
be paid) to Seller an amount equal to the difference (if any) between the Cash Purchase Price and
the Estimated Cash Purchase Price by wire transfer of immediately available funds to the bank
accounts designated by Seller in writing. The amounts in this Section 2.8(i) shall be exclusive of
any fees and expenses owed to the Accounting Firm by any Party pursuant to Section 2.8(h). If
the Net Adjustment Amount is deemed to be zero ($0), the Estimated Cash Purchase Price is the
Cash Purchase Price.

                       (j)     This Section 2.8 shall be the sole and exclusive remedy of the
Parties with respect to the determination of the Cash Purchase Price; provided, however, that in
no event shall Buyer or Seller be entitled to any duplicative recovery as a result of the rights and
remedies afforded in this Agreement and the Ancillary Agreements.

                                   ARTICLE 3
                         REPRESENTATIONS AND WARRANTIES

        3.1     Representations and Warranties of Seller. Seller represents and warrants to
Buyer as of the date hereof (except with respect to representations and warranties made as of a
particular date, which shall be deemed to be made only as of such date) as follows, with each such
representation and warranty subject to such exceptions, if any, as are set forth in the corresponding
section of Seller Disclosure Schedules. Disclosures in any section or paragraph of Seller
Disclosure Schedules shall be deemed disclosed with respect to any other sections or paragraphs


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of this Agreement to the extent that it is readily apparent from the face of such disclosure that
such disclosure is applicable to such other sections or paragraphs.

                        3.1.1 Organization; Good Standing; Qualification. Seller is a limited
liability company validly existing and in good standing under the Laws of the State of Delaware.
Seller is duly qualified to carry on business in each jurisdiction in which the nature or character
of the properties and assets owned, leased or operated by it, including for greater certainty, the
Purchased Assets, or the nature of its business or activities, including for greater certainty, the
operation of the Business, makes such qualification necessary, except where the failure to be so
qualified would not reasonably be expected to have a Material Adverse Effect.

                        3.1.2 Authority and Enforceability. Seller has the requisite power,
authority and capacity to enter into this Agreement and the Ancillary Agreements to which it is
or will be a party and, subject to the requisite Bankruptcy Court approvals and Sale Order, to
perform its obligations hereunder or thereunder and to complete the Transactions. The execution
and delivery of this Agreement and each Ancillary Agreement to which Seller is or will be a party,
the performance of the obligations hereunder or thereunder and the consummation of the
Transactions have been, or will be at or prior to Closing, duly authorized by all necessary action
on the part of Seller. This Agreement and each of the Ancillary Agreements to which Seller is or
will be a party, have been, or will be at or prior to Closing, duly executed and delivered by Seller,
and, subject to the Bankruptcy Court’s requisite approvals and entry of the Sale Order, constitute
or will constitute a legal, valid and binding obligation of Seller, enforceable against it in
accordance with its terms, except as such enforceability may be limited by bankruptcy,
insolvency, reorganization, fraudulent transfer, moratorium and other similar Laws relating to
limitations of actions or affecting the availability of equitable remedies and the enforcement of
creditors’ rights generally and by general principles of equity (the “Enforceability Exceptions”).

                        3.1.3 Authorizations and Consents. Except for (a) the entry of the Sale
Order and, as applicable, the expiration or waiver by the Bankruptcy Court of the applicable 14-
day period set forth in Rule 6004(h) of the Bankruptcy Rules and (b) the items disclosed in
Section 3.1.3 of Seller Disclosure Schedules, no material Order, Permit, license, consent,
approval, waiver, notification or filing, in each case, with a Governmental Authority, is required
on the part of Seller for the execution and delivery by Seller of this Agreement, the performance
by Seller of its obligations hereunder or thereunder and the consummation of the Transactions,
including, for greater certainty, the transfer of the Purchased Assets.

                      3.1.4 No Broker. Except as disclosed in Section 3.1.4 of Seller
Disclosure Schedules, Seller has not used any broker or finder in connection with the Transactions
for which Buyer is or will become liable.

                         3.1.5 Litigation. Section 3.1.5 of Seller Disclosure Schedules sets forth a
list of all material Litigation to which Seller or any of its Subsidiaries is a party as of the date
hereof relating to any of the Purchased Assets, the Assumed Liabilities, or the Business. Except
for the Chapter 11 Cases and the Litigation listed on Section 3.1.5 of Seller Disclosure Schedules,
there are no, and since the Look-Back Date to the date hereof there has not been any, material
Litigation pending or, to Seller’s Knowledge, threatened against the Purchased Assets or, to the
extent involving or related to the operations or conduct of the Business (including with respect to


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any current or former employees or other individual service providers who provided services to
the Business), against Seller or its Subsidiaries. Except as set forth on Section 3.1.5 of Seller
Disclosure Schedules, as of the date hereof, there are no material Orders of or by a court of
competent jurisdiction or other Governmental Authority outstanding against Seller with respect
to the Business or any of the Purchased Assets, except for the Chapter 11 Cases.

                       3.1.6 No Violation. Subject to (a) the entry of the Sale Order and, as
applicable, the expiration or waiver by the Bankruptcy Court of the applicable 14-day period set
forth in Rule 6004(h) of the Bankruptcy Rules and (b) the items disclosed in Section 3.1.6 of
Seller Disclosure Schedules, the execution and delivery by Seller of this Agreement and each
Ancillary Agreement to which it is or will be a party, the performance by Seller of its obligations
hereunder or thereunder and the consummation of the Transactions do not and will not: (i) result
in a violation of any Law applicable to Seller; (ii) result in a breach of, or conflict with, the
constituent documents of Seller; (iii) result in a breach of, or default (with or without notice or
lapse of time, or both) under or give rise to a right of termination, modification or cancelation of
any obligations under, or result in the loss of any rights or the imposition or acceleration of
obligations under, any Material Contract; or (iv) result in the creation of any Encumbrance (other
than any Permitted Encumbrance) upon the Purchased Assets other than Encumbrances created
by Buyer and assumption of the Assumed Liabilities, in each case, except as would not be material
to the Business or the Purchased Assets.

                        3.1.7   Purchased Assets; No Material Dispositions.

                        (a)     Except as set forth in Section 3.1.7(a) of Seller Disclosure
Schedules, Seller has good and valid title to, a valid leasehold interest in or the right to use, all of
the Purchased Assets that is necessary for Seller to operate the Business in all material respects.
Upon the entry and effectiveness of the Sale Order, Seller will have the power and right to sell,
assign, transfer, convey and deliver, as the case may be, to Buyer the Purchased Assets, free and
clear of all Encumbrances other than Permitted Encumbrances and Assumed Liabilities. Other
than Encumbrances that will be released upon the entry and effectiveness of the Sale Order, Seller
owns or has rights to, and upon delivery to Buyer at the Closing will transfer to Buyer, good title
to or a valid leasehold interest in all of the Purchased Assets, free and clear of all Encumbrances,
except for Permitted Encumbrances and Assumed Liabilities.

                         (b)     Other than the Excluded Assets and the rights and services to be
provided under the Transition Services Agreement, the Purchased Assets constitute substantially
all of the properties, assets and rights used by Seller and its Subsidiaries necessary to conduct and
operate the Business in substantially the same manner as conducted by Seller and its Subsidiaries
before the Closing.

                     (c)     Other than the Excluded Assets and the rights and services to be
provided under the Transition Services Agreement, no other Person (other than Seller and its
Subsidiaries) owns any assets that are material to operate the Business in substantially the same
manner as conducted by Seller and its Subsidiaries before Closing.

                       (d)    Since the Look-Back Date, Seller has not sold or disposed of any
assets (including any licenses, assignments, transfers, or abandonments of Intellectual Property


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or tangible embodiments thereof) that are material to the Business or the Purchased Assets, other
than (i) for sales of the Inventory, expiration of any registered or issued Intellectual Property in
accordance with its maximum statutory term and non-exclusive licenses granted in the Ordinary
Course and (ii) expirations or terminations of Leases in accordance with the terms of such Leases
or negotiated terminations of Leases.

                        3.1.8   Intellectual Property.

                        (a)    Section 3.1.8(a) of Seller Disclosure Schedules sets forth a correct
and complete list of (i) all Owned Intellectual Property that is registered, issued, or the subject of
an application for registration or issuance, including Patents, Trademarks, and Copyrights, (ii)
material unregistered Trademarks, and (iii) Proprietary Software included in the Owned
Intellectual Property (“Seller Software”). All Intellectual Property set forth on Section 3.1.8(a)
of Seller Disclosure Schedules is subsisting, and, to Seller’s Knowledge, valid and enforceable.
All applications and registrations for Owned Intellectual Property are in the name of one of Seller
or a Subsidiary. The Purchased Intellectual Property, collectively with the Intellectual Property
set forth in Section 3.1.8(a) of Seller Disclosure Schedules, includes all material Intellectual
Property used in or necessary for the operation of the Business as conducted since the Look-Back
Date.

                       (b)     Section 3.1.8(b) of Seller Disclosure Schedules contains a correct
and complete list of all material Social Media Accounts used by Seller or its Subsidiaries in the
Business. The use of the Social Media Accounts by Seller and its Subsidiaries have complied with
all terms and conditions or terms of use applicable to the Accounts in all material respects.

                        (c)      Seller or its Subsidiaries own all right, title and interest in and to,
free and clear of all Encumbrances (other than Permitted Encumbrances) all Owned Intellectual
Property, and have a valid right to use, under a Purchased Contract, all other Purchased
Intellectual Property. Neither Seller nor any of its Subsidiaries have entered into any agreement
granting any license or other rights to any Purchased Intellectual Property that could materially
limit or restrict the ability of Buyer to use, assert, enforce, or otherwise exploit any Purchased
Intellectual Property.

                        (d)     To Seller’s Knowledge, no Governmental Authority, educational
institution or research center has any claim or right in or to any Owned Intellectual Property.

                       (e)     Since the Look-Back Date, no current or former employee,
independent contractor, or consultant has asserted any claim, right, or interest in or to any material
Owned Intellectual Property. All Persons who have contributed, developed or conceived any
material Owned Intellectual Property have done so pursuant to an agreement that protects the
confidential information of Seller or its Subsidiaries and effectively grants the employing or
contracting entity exclusive ownership of the Person’s contribution, development or conception
pursuant to a present-tense assignment grant or by operation of law.

                      (f)    To Seller’s Knowledge, (i) the operation of the Business has not,
since the Look-Back Date, infringed, misappropriated or violated any Intellectual Property of any
Third Party and (ii) no Claims or actions are pending or threatened in writing (A) regarding



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infringement, misappropriation, dilution, or other violation of the Intellectual Property of any
Person against Seller or its Subsidiaries in respect of the conduct or operation of the Business by
Seller or its Subsidiaries, or (B) challenging the ownership, validity, enforceability or use of any
Owned Intellectual Property (except, in each case, for non-final office actions).

                       (g)     To Seller’s Knowledge, Seller and its Subsidiaries have all
consents, authorizations, permissions, and/or waivers necessary to use any names, images,
likenesses, quotes, or other personal indicia of any individual as so used by Seller and its
Subsidiaries as of the date hereof.

                        (h)      Since the Look-Back Date, Seller and its Subsidiaries have taken
commercially reasonable steps designed to protect and preserve the confidentiality of all material
Trade Secrets and to Seller’s Knowledge all use or disclosure thereof by or to any third party has
been pursuant to the terms of a written confidentiality agreement between such third party and
Seller or its Subsidiaries, and Seller and its Subsidiaries have complied in all material respects
with all of its confidentiality obligations under each Contract to which such Person is a party.

                        (i)    Seller and its Subsidiaries do not use and have not used any Open
Source Software (i) in a manner that would grant or purport to grant to any Person any rights to
or immunities under any of the material Owned Intellectual Property, or (ii) under any license
requiring Seller or its Subsidiaries to: (A) disclose or distribute the source code included in the
material Owned Intellectual Property; (B) to license or provide the source code included in the
Owned Intellectual Property for the purpose of making derivative works; or (C) to make available
for redistribution to any Person the source code included in the material Owned Intellectual
Property at no charge.

                      (j)     Seller Software does not contain, link to, or use any artificial
intelligence or machine learning based platforms, engines, models (including any large language
models or foundational models) or systems (“Artificial Intelligence Systems”). To Seller’s
Knowledge, no material Owned Intellectual Property or material confidential information are
used in a manner where they become part of an Artificial Intelligence System or are accessible
for any secondary use by any third party (including any third party provider of an Artificial
Intelligence System).

                       (k)     Neither Seller nor its Subsidiaries, nor any other party acting on
behalf of Seller or its Subsidiaries has disclosed or delivered to any third party (including an
escrow agent), or permitted the disclosure or delivery by any escrow agent or other party of, any
Seller Software or source code constituting material Owned Intellectual Property (“Seller Source
Code”). No event has occurred, and no circumstance or condition exists, that (with or without
notice or lapse of time, or both) will, or would reasonably be expected to, require the disclosure
or delivery by Seller or its Subsidiaries, or any other party acting on behalf of Seller or its
Subsidiaries to any third party of any Seller Source Code, other than disclosures or deliveries
made to any Independent Contractors in the Ordinary Course. Neither the execution of the
Transaction documents nor the consummation of any of the Transaction, in and of itself, would
reasonably be expected to result in the release of any Seller Source Code from escrow.




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                      (l)    To Seller’s Knowledge, no Person is, or has been since Look-Back
Date, infringing, misappropriating or otherwise violating any Owned Intellectual Property, and
no such Claims have been asserted or threatened against any Person by Seller or to Seller’s
Knowledge, any other Person, since the Look-Back Date.

                       (m)     Since the Look-Back Date, Seller and its Subsidiaries are in
material compliance with, and have complied with, all Data Privacy Laws with respect to the
collection, use, processing, storage, transfer, and security of Personal Information. The
Transactions will not, as of the Closing, violate in any material respect Seller and its Subsidiaries
Privacy Policies, Laws or Contracts relating to the use, dissemination, or transfer of Personal
Information.

                       (n)     To Seller’s Knowledge, no Governmental Authority or other
Person has commenced or threatened any litigation or other written complaint, audit, proceeding,
fines, judgments, claim or investigation related to Seller and its Subsidiaries collection, use,
processing, storage, transfer, and security of Personal Information in any jurisdiction in which
any of Seller and its Subsidiaries operate the Business.

                        (o)    Seller and its Subsidiaries are in compliance in all material respects
with and since the Look-Back Date have complied in all material respects with (i) all provisions
in Contracts that impose restrictions or conditions on the collection, use, processing, storage,
transfer, and security of Personal Information, and (ii) all internal privacy and data security
policies as well as privacy policies or statements posted on or in any website, application or other
digital service owned or operated by Seller and its Subsidiaries in connection with the Business
(collectively, “Privacy Policies”).

                       (p)      Since the Look-Back Date, there has been no malfunction, failure,
continued substandard performance, denial-of-service, or other cyber incident, including any
cyberattack, or other impairment of Seller and its Subsidiaries IT Systems that has resulted in a
material disruption or damage to the business of Seller and its Subsidiaries and that has not been
remedied in all material respects. Seller and its Subsidiaries have commercially reasonable
administrative, technical and physical safeguards designed to protect the confidentiality, privacy
and security of Personal Information. Since the Look-Back Date, Seller nor its Subsidiaries have
not experienced: (i) any material unauthorized access to or acquisition of information that
compromises the security, confidentiality or integrity of Personal Information held or processed
by or on behalf of Seller or its Subsidiaries or otherwise in the possession, custody or control of
Seller and its Subsidiaries; (ii) any material unauthorized disclosure of, access to or use of
Personal Information or (iii) any material unauthorized intrusion into any IT Systems containing
Personal Information that results in unauthorized access or access in excess of authorization.

                      (q)     To the extent necessary or required, Seller and its Subsidiaries are
in material compliance, and has been in material compliance since the Look-Back Date, with PCI
DSS.




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                       3.1.9   Benefit Matters.

                         (a)      Section 3.1.9(a) of Seller Disclosure Schedules lists each material
Plan. With respect to each material Plan, Seller has made available to Buyer (to the extent
applicable) accurate and complete copies of: (i) the current plan document and all amendments
thereto (or, if such Plan is not reduced to writing, a written summary of the material terms thereof);
(ii) the most recent summary plan description together with each subsequent summary of material
modifications thereto; and (iii) the most recent determination letter or pre-approved plan advisory
or opinion letter, if any, issued by the IRS.

                       (b)     Each Plan (and each related trust, insurance Contract or fund) is
and has been established, maintained, operated and administered in all material respects in
accordance with the express terms of such Plan and with the requirements of ERISA, the Code
and other applicable Law. All contributions, distributions, reimbursements and premium
payments with respect to a Plan that are due by Seller or any of its Subsidiaries have in all material
respects been timely made for any period ending on or before the Closing Date, and any such
amounts that are not yet due, have been properly accrued in accordance with GAAP. Each Plan
that is intended to be qualified within the meaning of section 401(a) of the Code has received a
favorable determination letter or opinion letter, as applicable, from the IRS or may rely upon a
favorable determination, advisory or opinion letter from the IRS, and, to Seller’s Knowledge,
nothing has occurred and no facts circumstances exist that would reasonably be expected
adversely affect the qualified status of such Plan that would result in material Liability to the
Business. As of the date of this Agreement, there are no pending or, to Seller’s Knowledge,
threatened (i) investigations by any Governmental Authority involving the Plans, or (ii) Claims
or Litigation with respect to any Plans (other than routine claims for benefits and their appeals),
in each case, that would result in material Liability to the Business.

                       (c)     No Plan is, and neither Seller nor its Subsidiaries sponsors,
maintains, contributes to or is obligated to contribute to, or has or could reasonably be expected
to have any Liability with respect to (including on account of an ERISA Affiliate), any: (i)
multiemployer plan (within the meaning of section 3(37) of ERISA (a “Multiemployer Plan”)
or section 4001(a)(3) of the Code); (ii) “multiple employer plan” as described in section 413(c)
of the Code; (iii) “multiple employer welfare arrangement” (within the meaning of section 3(40)
of ERISA); or (iv) a defined benefit pension plan (as defined in section 3(35) of ERISA) or any
plan, program or arrangement that is or was at any time subject to Title IV of ERISA or subject
to the minimum funding standards of section 302 of ERISA or sections 412 or 430 of the Code.
No Plan provides that is an “employee welfare benefit plan” as defined in section 3(1) of ERISA
provides, and Seller and its Subsidiaries have no obligation to provide, any current or former
officer, director, manager, employee or individual contractor or consultant (including the
Business Employees) retiree medical, disability or life insurance benefits, except as required by
section 4980B of the Code, Part 6 Title I of ERISA or similar applicable state Law (“COBRA”).

                        (d)    Seller and its Subsidiaries have not incurred (whether or not
assessed) any Tax or other penalty with respect to the reporting requirements under sections 6055
and 6056 of the Code, as applicable, or under sections 4980B, 4980D or 4980H of the Code, in
each case, that would result in material Liability to the Business. No event has occurred with
respect to a Plan and no condition exists that would reasonably be expected to subject the Business


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or Buyer to any material Tax, fine, lien, penalty or other Liability imposed by ERISA, the Code
or other applicable Laws.

                         (e)    Except as set forth on Section 3.1.9(e) of Seller Disclosure
Schedules, neither the execution, delivery or performance of this Agreement nor the
consummation of the transactions contemplated by this Agreement (whether alone or in
connection with any other event, including a termination of employment) would (i) entitle any
current or former employee, independent contractor, officer, director or other service provider
(including the Business Employees) to any payment or any increase in payment under any Plan,
(ii) accelerate the time of payment, funding or vesting of any benefit under any Plan, or (iii) result
in any payments or benefits under any agreement with Seller, its Subsidiaries and their Affiliates
that, individually or in combination with any other payment or benefit, could constitute the
payment to any Business Employee of an “excess parachute payment” within the meaning of
section 280G of the Code or in the imposition of an excise Tax under section 4999 of the Code.
Neither Seller nor its Subsidiaries has any obligation to “gross-up,” compensate, reimburse,
“make-whole,” or otherwise indemnify any Business Employee for the imposition of any Tax
under sections 4999 or 409A of the Code.

                       (f)    Each Plan that is a nonqualified deferred compensation plan within
the meaning of section 409A of the Code has at all times been established, administered, operated
and maintained in all material respects in operational and documentary compliance with section
409A of the Code and applicable regulations guidance thereunder, and no amount under any such
Plan is, has been or is reasonably expected to be subject to any Tax under section 409A of the
Code.

                      (g)    Seller and its Subsidiaries are not a party to any collective
bargaining agreement, nor to Seller’s Knowledge, are there any activities or proceedings of any
labor union to organize any Business Employees.

                       3.1.10 Employee and Labor Matters.

                       (a)     Section 3.1.10(a) of Seller Disclosure Schedules sets forth as of
April 9, 2025 an accurate, complete and correct list of all Business Employees of Seller, together
with their work location, employing entity, title/position, date of hire or engagement, base salary
or hourly wage rate, bonus and commission potential, accrued but unused paid time off or
vacation balance, immigration status (and to the extent that the service provider requires a visa,
work permit, employee pass, or other legal or regulatory approval for their engagement, the type
of visa, permit, pass or approval) and classification as exempt or non-exempt, full-time or part-
time, leave of absence status (including the type of leave of absence and the expected date of
return to active employment, if known). Except as set forth in Section 3.1.10(a) of Seller
Disclosure Schedules, the Business Employees are at-will and their employment may be
terminated without any liability and no Business Employee is subject to any contract, express or
implied, written or oral, with Seller or any of its Subsidiaries that cannot be terminated at will.

                       (b)     Section 3.1.10(b) of Seller Disclosure Schedules sets forth as of
April 8, 2025 a true, correct and complete list of all independent contractors who are individuals
(excluding individuals engaged or leased through staffing agencies or other third-party entities)


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providing the services of a single individual to the Business (“Independent Contractors”),
which list is current as of the date herein and includes for each such Independent Contractor:
(i) start date of services; (ii) type of services; (iii) duration of agreement; (iv) fee or compensation
arrangements; and (v) approximate number of weekly hours of services provided by each such
Independent Contractor.

                       (c)     Neither Seller nor any of its Subsidiaries is a party to, or is bound
by, any collective bargaining agreement or other contract with a labor organization or labor union
covering any Business Employee. Since January 1, 2022, (i) there is no and there has been no
unfair labor practice charge or labor arbitration proceeding pending, or to the Knowledge of
Seller, threatened in writing against Seller or any of its Subsidiaries relating to any Business
Employee, (ii) to the Knowledge of Seller, there are and have been no activities or proceedings
of any labor organization or labor union to organize any Business Employee and no demand for
recognition as the exclusive bargaining representative of any Business Employees has been made
by or on behalf of any labor organization or labor union, and (iii) there is no and has been no
pending or, to the Knowledge of Seller, threatened strike, lockout, concerted work slowdown or
work stoppage, picketing, handbilling, labor arbitration, labor grievance, unfair labor practice
charges or other collective bargaining disputes by or with respect to the Business Employees.

                       (d)    With respect to the Business Employees, Seller and its Subsidiaries
are in compliance in all material respects with all applicable Laws relating to the employment of
the Business Employees (including employment or labor standards, labor relations, occupational
health and safety, workers’ compensation, severance payment, pay equity, terms and conditions
of employment, wages and hours (including overtime wages), fair employment practices, worker
classification as exempt or non-exempt, employment practices, prohibited discrimination, equal
employment, immigration status, unemployment insurance, child labor laws, background checks,
pay transparency, collective bargaining, and leaves of absence) and have paid in full all wages,
salaries, commissions, other compensation and benefits and all levies, assessments, contributions
and payments to third parties due to or on behalf of such Business Employees.

                        (e)     Except as would not reasonably be expected to result in material
Liability to the Business, since the Look-Back Date, no individual has been engaged by any Seller
or any of its Subsidiaries as or in the capacity of an independent contractor who does not qualify
for such status under all applicable Laws, and all employees who have been classified as exempt
under the Fair Labor Standards Act (and state, provincial and local counterpart Laws) have been
properly classified as such. Except as set forth on Section 3.1.10(e) of Seller Disclosure
Schedules, since the Look-Back Date, there have not been, and there are no, material actions,
claims, charges, complaints, or demands made, pending or, to the Knowledge of Seller, threatened
to be made in writing, before any Governmental Authority or under any private dispute resolution
procedure with respect to any alleged violation of any such applicable Laws.

                       (f)    Since the Look-Back Date (i) no Business Employee or
Independent Contractor has made any allegation of discrimination, harassment (including sexual
harassment) or other similar serious workplace misconduct against any Seller or any of its
Subsidiaries or against any Business Employee who is an executive officer or who is employed
at the level of Vice President or above; and (ii) neither Seller nor any of its Subsidiaries have
entered into any settlement agreements related to allegations of discrimination or harassment


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(including sexual harassment) or other similar serious workplace misconduct made by a Business
Employee or Independent Contractor.

                         (g)    Except as set forth on Section 3.1.10(g) of Seller Disclosure
Schedules, (i) no Business Employee is on a visa sponsored by Seller or any of its Subsidiaries
which visa will require continued sponsorship; and (ii) neither Seller nor any of its Subsidiaries,
have, within the past three (3) years, received a “no match” letter from the Social Security
Administration concerning any current or former Business Employee. Except as would not result
in material liability to the Business, a USCIS Form I-9 has been properly prepared and retained
for each Business Employee as required by Law. To the Knowledge of Seller, in the past three
(3) years with respect to any current Business Employee, no such Form I-9 was improperly
prepared or that false documentation was provided in connection with satisfying the requirements
of such Form I-9. To the Knowledge of Seller, all Business Employees who are working in the
United States are legally authorized to work in the United States.

                       3.1.11 Compliance with Laws; Permits.

                      (a)      Except as set forth in Section 3.1.11(a) of Seller Disclosure
Schedules, the Business is currently being, and since the Look-Back Date has been, conducted in
compliance, in all material respects, with all applicable Laws. Seller has not received any written,
or, to Seller’s Knowledge, oral notice of any actual or alleged material non-compliance or
violation of any Laws in connection with the ownership of the Purchased Assets or the operation
of the Business.

                       (b)   Seller and its Subsidiaries are and have been since the Look-Back
Date in possession of all material Permits pursuant to any applicable Law required for the
ownership or operation of the Purchased Assets or Assumed Liabilities. All such Permits are in
full force and effect, no default (with or without notice, lapse of time or both), to Seller’s
Knowledge, has occurred under any such Permit, and none of Seller or any of its Subsidiaries has
received any written or, to Seller’s Knowledge, oral notice from any Governmental Authority
threatening to suspend, revoke, or withdraw any such Permit, in each case except as would not
have a Material Adverse Effect.

                        3.1.12 Purchased Contracts and Purchased Leases. As of the date hereof,
each Purchased Contract listed or described in Section 2.7.1 of Seller Disclosure Schedules and
each Purchased Lease listed or described in Section 2.7.1 of Seller Disclosure Schedules (in each
case, without giving effect to any such Contracts or Leases that are rejected pursuant to Section
2.7) is in full force and effect and is a valid and binding obligation of Seller or its Subsidiaries
and, to Seller’s Knowledge, the other parties thereto, in accordance with its terms and conditions,
in each case except (a) as such enforceability may be limited by the Enforceability Exceptions
and (b) as set forth on Section 3.1.12(a) of Seller Disclosure Schedules, and is free and clear of
any Encumbrances (other than Permitted Encumbrances). Seller has made available to Buyer
correct and complete copies of all Purchased Contracts and Purchased Leases in effect as of the
date hereof. Subject to requisite Bankruptcy Court approvals, and except (i) as a result of the
commencement of the Chapter 11 Cases, (ii) as set forth on Section 3.1.12(b) of Seller Disclosure
Schedules, and (iii) for which payment of the Cure Costs will cure, (A) Seller is not in material
breach or default of its obligations under any Purchased Contract or Purchased Lease, (B) to


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Seller’s Knowledge, no condition exists that with notice or lapse of time or both would constitute
a material default by Seller or its applicable Subsidiary under any such Purchased Contract or
Purchased Lease, and (C) to Seller’s Knowledge, no other party to any such Purchased Contract
or Purchased Lease (1) is in material breach or default thereunder or (2) has repudiated or
threatened to terminate or cancel the applicable Purchased Contract or Purchased Lease. Except
as set forth on Section 3.1.12(c) of Seller Disclosure Schedules, (x) neither Seller nor any
Subsidiary has subleased, licensed or otherwise granted to any Third Party the right to use or
occupy any Leased Real Property with respect to a Purchased Lease or any portion thereof and
(y) neither Seller nor any Subsidiary has collaterally assigned or granted any other security
interest in any Leased Real Property with respect to a Purchased Lease or any interest therein
(other than Permitted Encumbrances).

                       3.1.13 Environmental Matters.

                     (a)     The Business is, and since the Look-Back Date has been, conducted
in compliance in all material respects with all Environmental Laws, which compliance has
included obtaining, maintaining and complying in all material respects with all Permits required
under Environmental Law.

                     (b)    Neither Seller nor any of its Subsidiaries have received any written
or, to Seller’s Knowledge, oral notice, and no Claim is pending or, to Seller’s Knowledge,
threatened, in each case, alleging any material violation of, or material Liability under,
Environmental Laws.

                       (c)     Neither Seller nor any of its Subsidiaries (nor, to Seller’s
Knowledge, any other Person to the extent giving rise to Liability for Seller or any of its
Subsidiaries) have treated, stored, disposed of, arranged for or permitted disposal of, transported,
handled, manufactured, distributed, released, exposed any Person to, or owned or operated any
property or facility contaminated by, any Hazardous Materials, in each case, so as to give rise to
any material Liability of Seller and its Subsidiaries under Environmental Law.

                      (d)     Seller and its Subsidiaries have furnished to Buyer all material
environmental audits, reports, assessments and other material environmental, health and safety
documents relating to the current properties, facilities or operations of the Business or the
Purchased Assets, in each case, that are in their possession or under their reasonable control.

                       3.1.14 Taxes.

                       (a)     (i) All material Tax Returns required to be filed by Seller with
respect to the Business and any Purchased Assets have been timely filed (taking into account
extensions), and (ii) all material Taxes due and payable with respect to the Business and the
Purchased Assets have been timely paid, whether or not shown on any Tax Return.

                     (b)     All Tax withholding, collection and deposit obligations (including
amounts owing or allocated to any employee, creditor or other Person) imposed on or with respect
to the Purchased Assets have been timely satisfied in all material respects in accordance with
applicable Law. All Forms W-2 and Form 1099 required with respect to such withholding and
payment have been properly completed and filed.


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                        (c)   (i) No Tax proceeding for material unpaid Taxes with respect to the
Business or any Purchased Asset is ongoing, pending or being proposed or threatened in writing
by a Governmental Authority, (ii) no assessment, deficiency or adjustment with respect to
material Taxes has been asserted, or proposed or threatened in writing, with respect to the
Business or any Purchased Asset, other than any assessment, deficiency or adjustment which has
been fully satisfied by payment, settled or withdrawn, and (iii) no claim has ever been made by a
Governmental Authority in a jurisdiction in which Seller or its Subsidiaries do not file Tax
Returns or pay Taxes that Seller or any of its Subsidiaries, as applicable, is or may be required to
file a Tax Return or pay material Taxes in that jurisdiction with respect to the Business or any
Purchased Asset.

                       (d)    Seller has not requested or consented to extend the time or is the
beneficiary of any extension of time that has not lapsed or expired (i) with respect to the due date
for the filing of any material Tax Return (other than any automatic or automatically granted
extension), (ii) in which any material Tax may be assessed or collected by any Governmental
Authority (other than any extension which is no longer in effect or any automatic extension as a
result of any ongoing Tax proceeding) or (iii) any statute of limitations in respect of material
Taxes, in each case, with respect to the Business or any Purchased Asset.

                     (e)     There are no Encumbrances with respect to Taxes upon any of the
Purchased Assets other than Permitted Encumbrances.

                         (f)     There are no Tax rulings, requests for rulings, voluntary disclosure
applications or agreements or closing agreements regarding Taxes with respect to the Business,
the Purchased Assets or the Assumed Liabilities that would increase Buyer’s (or any of its
Affiliates’) liability for Taxes with respect thereto for any Post-Closing Tax Period.

                      (g)   Seller is not nor has not been a party to a “listed transaction” within
the meaning of section 6707A(c)(2) of the Code and Treasury Regulation section 1.6011-4(b)(2).

                        (h)     Seller, with respect to the Business or the Purchased Assets, is not
a party to any written Tax sharing, allocation or indemnity agreement or arrangement that will be
in effect after the Closing (other than any such agreement entered into in the Ordinary Course the
primary purpose of which does not relate to any Taxes).

                        (i)    Seller has (i) timely paid all material sales and use Taxes with
respect to the Business and the Purchased Assets required to be paid under Applicable Law, and
(ii) properly collected and remitted all material sales and use Taxes with respect to the Business
and the Purchased Assets required to be collected and remitted under Applicable Law.

                        3.1.15 Absence of Certain Changes. Except as set forth in Section 3.1.15
of Seller Disclosure Schedules, since December 31, 2024, (a) no event, result, effect, occurrence,
fact, circumstance, development, condition or change has occurred or arisen that has had, or
would reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect
and (b) Seller has not taken any action that would be prohibited by Section 4.2 (other than Section
4.2(vi)) if taken during the Interim Period.




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                       3.1.16 Sanctions. Seller is not a Sanctioned Person. Since the Look-Back
Date, the Business has been operated in material compliance with all applicable Sanctions. To
Seller’s Knowledge, there are no pending or threatened actions or investigations related to
violations of Sanctions that could have a material effect on the Business.

                      3.1.17 Foreign Corrupt Practices Act. Since the Look-Back Date, the
Business has been operated in material compliance with all applicable anti-bribery and anti-
corruption Laws (the “Anti-Corruption Laws”), including the Foreign Corrupt Practices Act of
1977, as amended.

                       3.1.18 Financial Statements.

                        (a)    Set forth in Section 3.1.18(a) of Seller Disclosure Schedules are
true, correct and complete copies of: (i) the combined balance sheet of the Business as of
December 28, 2024, and December 30, 2023, and the related income statement of the Business
for the fiscal years then ended, each of which are included in Seller Disclosure Schedules, and
(ii) the combined balance sheet of the Business as of February 22, 2025, and the related income
statement of the Business for the fiscal period then ended, each of which are included in the
Disclosure Schedule (collectively, the “Financial Statements”). The Financial Statements fairly
present, in all material respects, the financial position and results of operations of the Business
for the periods indicated, in each case in accordance with GAAP consistent with past practice.
The Financial Statements have been prepared from the books and records of Seller and its
Affiliates.

                        (b)     The accounts payable of the Business reflected on the Financial
Statements, and all accounts payable incurred since the date of the Latest Balance Sheet arose
from bona fide transactions in the Ordinary Course consistent with past practice, and all such
accounts payable have either been paid, are not yet due and payable in the Ordinary Course
consistent with past practice, or are being contested by Seller in good faith. All notes and accounts
receivable reflected on the Financial Statements, and all accounts receivable of the Business
generated since the date of the Latest Balance Sheet, (i) constitute bona fide receivables resulting
from the sale of services or other obligations in favor of Seller as to which full performance has
been fully rendered, (ii) are valid and enforceable claims, (iii) are not subject to any pending or
threatened defense, counterclaim, right of offset, returns, allowances or credits, except to the
extent reserved on the Latest Balance Sheet, (iv) are current and collectible, subject only to the
reserve for bad debt set forth on the Latest Balance Sheet and adjusted for the passage of time,
and (v) are not subject in whole or in part to any Encumbrance or any Contract for deduction, free
goods or services, discount or other deferred price or quantity adjustment.

                        (c)    All inventory of the Business is of a quality and quantity usable and
salable by Seller in the Ordinary Course, except for obsolete, damaged, defective or slow-moving
items that have been written off or written down in the Ordinary Course or for which reserves
have been established and set forth in the Latest Balance Sheet.




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                       3.1.19 Material Contracts.

                       (a)     Section 3.1.19 of Seller Disclosure Schedules contains a complete
and correct list, as of the date of this Agreement, of each Contract described below in this
Section 3.1.19(a) under which Seller or any of its Subsidiaries is a party and to which Seller or
any of its Subsidiaries has any current or future rights, responsibilities, obligations or liabilities
in connection with the Business, other than (i) any stand-alone purchase order, sale orders,
statements of work, invoices or similar instruments not made pursuant to a separate Contract (as
long as such purchase order does not impose future obligations on Seller or its Subsidiaries
outside of the Ordinary Course for purchase orders of such products), and (ii) any Plan or
confidentiality agreements to which Seller or its Subsidiaries is a party (all Contracts of the type
described in this Section 3.1.19(a), being referred to herein as the “Material Contracts”):

              i.   is with a Top Supplier;

             ii.   requires expenditures by Seller or payments to be received by Seller in excess
                   of $6,000,000 in the twelve (12) months ended on December 31, 2024;

            iii.   (A) limits or purports to limit, in any material respect, the freedom of the
                   Business to engage or compete in any line of business or with any Person or in
                   any geographic area, (B) contains exclusivity or “most favored nation”
                   obligations to which the Business is subject in favor of any Person or (C)
                   contains any other provisions restricting or purporting to restrict the ability of
                   the Business to sell, market, distribute, promote, manufacture, develop,
                   commercialize or test or research the Purchased Products in any material
                   respect, directly or indirectly through third parties (in the case of clauses (A),
                   (B) and (C), other than any such restriction or purported restrictions that have
                   a de minimis effect on the Business);

             iv.   is a Contract pursuant to which (A) Seller receives any license to any
                   Intellectual Property material to the Business (other than (w) non-exclusive
                   licenses to use commercially available Software for an annual fee of less than
                   $500,000, (x) non-disclosure agreements, (y) licenses for open source
                   Software, and (z) licenses which are merely incidental to the primary
                   transactions contemplated by the Contract), (B) Seller grants or licenses to a
                   third party any rights to use any material Owned Intellectual Property (other
                   than Intellectual Property licensed in the Ordinary Course on a non-exclusive
                   basis), (C) any Person (other than a Business Employee) has developed
                   Intellectual Property for the Business that is used in and material to the
                   Business, and (D) Seller entered into to settle or resolve any intellectual
                   property-related dispute or litigation, including settlement agreements,
                   coexistence agreements, covenant not to sue agreements, and consent to use
                   agreements;

             v.    is a Contract regarding the employment or engagement of any Business
                   Employee or Independent Contractor, including (A) employment, independent
                   contractor and consulting and similar Contracts (excluding offer letters) and


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                   (B) Contracts providing bonuses, retention, stay-on, severance, termination
                   pay, change in control payments, transaction bonuses, or similar compensation
                   or benefits to personnel (whether employees or independent contractors) or
                   agents;

            vi.    is a collective bargaining agreement covering any Business Employee;

            vii.   is a Contract with any Affiliate of Seller relating to the provision of funds, real
                   property, goods or services by or to Seller as it relates to the Business; or

           viii.   relate to any settlement, conciliation or stipulation of any Litigation against the
                   Business by any other Person to which the Business will have any monetary
                   obligation after the date hereof in excess of $100,000, individually, or
                   $250,000, in the aggregate.

                       (b)     Seller has made available to Buyer correct and complete copies of
all Material Contracts in effect as of the date hereof. Subject to requisite Bankruptcy Court
approvals, and except (i) as a result of the commencement of the Chapter 11 Cases, (ii) as set
forth on Section 3.1.19 of Seller Disclosure Schedules, and (iii) for which Seller’s payment of the
Cure Costs will cure, (A) to Seller’s Knowledge, Seller is not in material breach or default of its
obligations under any Material Contract, (B) to Seller’s Knowledge, no condition exists that with
notice or lapse of time or both would constitute a material default by Seller or its applicable
Subsidiary under any such Material Contract, and (C) to Seller’s Knowledge, no other party to
any such Material Contract is in material breach or default (or has made any written demand (or
claim) for indemnification) thereunder.

                         3.1.20 Suppliers. Section 3.1.20 of Seller Disclosure Schedules sets forth
a list of the top ten (10) suppliers and vendors based on the aggregate dollar amount of purchases
by the Business (“Top Suppliers”) for the year ended December 31, 2024. As of the date hereof
and to Seller’s Knowledge, no such supplier has (a) cancelled or terminated its business
relationship with the Business, or (b) notified or informed Seller in writing that it intends to
terminate or materially alter the terms of its distributing or supplying practices or its business
relationship with the Business, or any written demand (or claim) for indemnification, and Seller
does not otherwise have knowledge of such intent. Except as set forth on Section 3.1.20 of Seller
Disclosure Schedules, since the Look Back Date, (i) the Business has not had any material
disputes concerning any nonconformance in any finished products and/or services with any such
Top Supplier except in the Ordinary Course and (ii) to Seller’s Knowledge, there are no other
facts or circumstances relating to the Top Suppliers that could reasonably be expected to
materially and adversely impact the operations of the Business following the Closing.

                        3.1.21 Business Continuity. None of the IT Systems have experienced
bugs, failures, breakdowns, or continued substandard performance in the past twelve (12) months
that has caused any material disruption or interruption in or to the use of any such Systems by
Seller or its Subsidiaries that have not been remediated in all material respects.

                      3.1.22 Bank Accounts. Section 3.1.22 of Seller Disclosure Schedules is a
correct and complete list of all of the banks in which an account or safety deposit box (if any) is



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maintained by or on behalf of the Business or Seller and its Subsidiaries, as the case may be,
together with the account numbers and names of all authorized signatories for such accounts or
with access to the safety deposit box(es) (if any).

        3.2     Representations and Warranties of Buyer. Buyer represents and warrants to
Seller as of the date hereof (except with respect to representations and warranties made as of a
particular date, which shall be deemed to be made only as of such date) as follows.

                       3.2.1 Entity Status. Buyer is duly formed and validly existing under the
laws of its jurisdiction of formation and has the requisite corporate power to enter into and
perform its obligations under this Agreement and the Ancillary Agreements to which it is or will
be a party.

                         3.2.2 Authority. The execution and delivery of and performance by
Buyer of this Agreement and the Ancillary Agreements to which it is or will be a party have been,
or will be at or prior to Closing, authorized by all necessary corporate action on the part of Buyer.

                        3.2.3 No Conflict. The execution and delivery of and performance by
Buyer of this Agreement and the Ancillary Agreements to which it is or will be a party (a) do not
and will not constitute or result in a violation or breach of, or conflict with, or allow any Person
to exercise any rights under, any of the terms or provisions of Buyer’s Organizational Documents,
(b) do not and will not constitute or result in a breach or violation of, or conflict with or allow any
Person to exercise any rights under, any Contract, license, lease or instrument to which it is a
party; and (c) do not result in the violation of any Law applicable to Buyer, except in the case of
clauses (b) and (c), as would not materially adversely affect the ability of Buyer to consummate
the Transactions.

                      3.2.4 Required Authorizations. Other than the requisite Bankruptcy
Court approvals and entry of the Sale Order, no filing with (other than as required under the HSR
Act), notice to or Order, Permit, approval, consent, waiver, license or similar authorization of,
any Governmental Authority is required on the part of Buyer as a condition to the lawful
consummation of the Transactions.

                         3.2.5 Execution and Binding Obligation. Subject to the requisite
Bankruptcy Court approvals, this Agreement and the Ancillary Agreements to which Buyer is or
will be a party have been, or will be, duly executed and delivered by Buyer and constitute, or will
constitute, legal, valid and binding agreements of Buyer, enforceable against it in accordance with
its terms, subject only to the Enforceability Exceptions.

                       3.2.6   Financial Capacity.

                      (a)   Attached hereto as Exhibit F is an executed equity commitment
letter (the “Equity Commitment Letter”) from the Equity Investors to provide, subject to the
terms and conditions therein, cash in the aggregate amount set forth therein (the “Equity
Financing”).

                      (b)  The Equity Commitment Letter has not been amended, modified or
terminated, and the commitment contained in the Equity Commitment Letter, to the Knowledge


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of Buyer, assuming satisfaction of the conditions set forth in Article 6, have not been withdrawn
or rescinded in any respect. Assuming the Equity Financing is funded in accordance with the
Equity Commitment Letter, the aggregate proceeds contemplated by the Equity Commitment
Letter will be sufficient when funded for Buyer to perform its obligations under this Agreement,
including making the payments described in Section 2.3 and to pay all fees and expenses related
to the Transactions, including the payments described in Section 2.3. The Equity Commitment
Letter provides, and will continue to provide, that Seller is a third-party beneficiary thereof and
is entitled to enforce such agreement in each case in accordance with the terms set forth therein.
Assuming satisfaction of the conditions set forth in Article 6, to the Knowledge of Buyer, there
are no side letters or other Contracts or understandings relating to the Equity Commitment Letter
that would reasonably be expected to affect the availability of the Equity Financing, and Buyer
does not know of any facts or circumstances that may be expected to result in any of the conditions
set forth in the Equity Commitment Letter not being satisfied, or the Equity Financing not being
available to Buyer, on the Closing Date. The Equity Commitment Letter is not subject to any
conditions precedent or other contingencies to fund the Equity Commitment other than as set forth
therein and, as of the date hereof, is (x) in full force and effect and (y) a legal, valid, binding and
enforceable obligation of Buyer and each of the other parties thereto, except as the same may be
limited by Enforceability Exceptions.

                        (c)    Buyer’s obligations under this Agreement are not and will not be
subject to the receipt by Buyer of any financing (other than pursuant to, and in accordance with
the terms and conditions set forth in the Equity Commitment Letter).

                    3.2.7 Litigation. There is no material Litigation in progress, pending, or
to Buyer’s Knowledge, threatened against Buyer, which prohibits, restricts or seeks to enjoin the
Transactions.

                        3.2.8 Qualification. As of the Closing, Buyer will be capable of
satisfying the conditions contained in sections 365(b)(1)(C) and 365(f) of the Bankruptcy Code
with respect to the Purchased Contracts and the Purchased Leases and the related Assumed
Liabilities (provided, that in no event shall Buyer be required to pay or assume any Cure Costs).
To the knowledge of Buyer, there exist no facts or circumstances that would cause, or be
reasonably expected to cause, Buyer and/or its Affiliates not to qualify as “good faith” purchasers
under section 363(m) of the Bankruptcy Code (provided, that in no event shall Buyer be required
to pay or assume any Cure Costs).

                       3.2.9 No Broker. Except for Jefferies LLC, no broker, agent or other
intermediary is entitled to any fee, commission or other remuneration in connection with the
Transactions based upon arrangements made by or on behalf of Buyer.

                        3.2.10 Solvency. Assuming (x) the accuracy of the representations and
warranties set forth in Section 3.1 and (y) the performance by Seller of the covenants and
agreements required to be performed by it under this Agreement prior to the Closing, immediately
after giving effect to the consummation of the Transactions (including any financings being
entered into in connection therewith) and taking into account all obligations of Buyer pursuant to
this Agreement and the Ancillary Agreements to which it is a party, solely as of and immediately
after the Closing: (a) the fair saleable value of the assets of Buyer will be greater than the total


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amount of its Liabilities; (b) Buyer will be solvent and able to pay its debts and obligations in the
Ordinary Course as they become due; (c) no transfer of property is being made and no obligation
is being incurred in connection with the Transactions with the intent to hinder, delay or defraud
either present or future creditors of Buyer in connection with the Transactions; and (d) Buyer will
have adequate capital to carry on its business and all businesses in which Buyer is about to engage.

                         3.2.11 Independent Investigation. Buyer knowingly, willingly,
irrevocably and expressly represents, warrants, acknowledges and agrees, on its own behalf and
on behalf of its Affiliates, that Buyer has conducted to its satisfaction its own independent review
and analysis of, and based thereon has formed an independent judgment concerning, the
Transactions, the Business, the Purchased Assets and the Assumed Liabilities. In entering into
this Agreement, Buyer has relied solely upon its own review and analysis, and the specific
representations and warranties of Seller expressly set forth in Section 3.1 (as qualified or modified
by Seller Disclosure Schedules), and has not relied on, and hereby disclaims reliance on, any
other representations, warranties, statements or omissions (whether by Seller or another Person).
Buyer confirms that Seller has made available to Buyer and Buyer’s Representatives such
opportunity to ask questions of the personnel of Seller and its Subsidiaries, as well as such access
to the offices, properties and books and records of the business of Seller and its Subsidiaries as
deemed appropriate by Buyer in connection with its determination to enter into this Agreement
and consummate the Transactions.

                     3.2.12 Certain Compliance Matters. Buyer is not, nor is acting for or on
behalf of, a Sanctioned Person. Buyer will not fund any part of the purchase consideration
contemplated by this Agreement with proceeds derived from any violation of Anti-Corruption
Laws or Sanctions.

         3.3    Exclusivity of Representations. Except for the representations and warranties
made by Seller in Section 3.1 or in any Ancillary Agreement to be delivered by Seller pursuant
to this Agreement, neither Seller nor any other Person makes any express or implied
representation or warranty with respect to Seller, its Subsidiaries or their businesses, assets,
operations, liabilities, condition (financial or otherwise) or prospects, and Seller hereby disclaims
any such other representations or warranties. In particular, without limiting the foregoing
disclaimer, except for the representations and warranties made by Seller in Section 3.1 or in any
Ancillary Agreement to be delivered by Seller pursuant to this Agreement, neither Seller nor any
of its Subsidiaries or Affiliates or any other Person makes or has made any representation or
warranty to Buyer or any of its respective representatives, with respect to, nor has Buyer or any
of its respective representatives relied on, (a) any financial projection, forecast, estimate (other
than as set forth in the Financial Statements), budget or prospective information relating to Seller,
its Subsidiaries or the Business or (b) any oral or written information furnished or made available
to Buyer or any of its representatives in the course of its due diligence investigation of Seller and
its Subsidiaries, the Business, the negotiation of this Agreement and the Ancillary Agreements or
the consummation of the Transactions, including the accuracy, completeness or currency thereof,
and neither Seller nor any of its Subsidiaries or Affiliates or any other Person will have any
liability to Buyer or any other Person in respect of such information, including any subsequent
use of such information.




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                                        ARTICLE 4
                                  PRE-CLOSING COVENANTS

        4.1     Access and Information.

                        4.1.1 During the Interim Period, Seller shall, and shall cause its
Subsidiaries to, (a) afford Buyer and its Representatives reasonable access to the Business, the
Purchased Assets, the Business’ senior management team, and information pertaining to the
Assumed Liabilities, (b) use reasonable best efforts to cause its employees and Representatives
to cooperate with and aid Buyer and its Representatives in its investigation of the Business, (c)
direct its senior management team to consult with and reasonably cooperate with Buyer regarding
Buyer’s post-Closing operation of the Business (including by consulting regarding the Transition
Services Agreement and the services to be provided thereunder, as well as Buyer’s post-Closing
transition plans), (d) reasonably consult with Buyer regarding any material ongoing Litigation
that may have a material or adverse impact on the Business after the Closing and provide Buyer
with any material communications in connection therewith reasonably promptly following
Seller’s receipt or delivery thereof, and (e) shall use reasonable best efforts to inform and consult
Buyer with respect to any “major” business decisions related to the Business (including real estate
matters, or other matters that will materially or adversely impact the future operation of the
Business) following the Closing. Any request or investigation under this Section 4.1.1 shall be
made or conducted on a reasonable basis by Buyer providing reasonable Notice to Seller and shall
be conducted during normal business hours in such a manner as not to interfere unreasonably with
the conduct of the Business. Buyer acknowledges and agrees that Seller shall be entitled to restrict
any such access to or restrict information (x) as determined, in its reasonable discretion, to be
appropriate to ensure compliance in all material respects with any Law, (y) that in the reasonable
judgment of Seller would result in the disclosure of any Trade Secrets or any violation of any of
its obligations with respect to confidentiality and/or (z) to preserve any applicable attorney client
privilege, attorney work product or other legal privilege; provided, that in the event any
information is withheld pursuant to this sentence, Seller shall promptly notify Buyer and at
Buyer’s request, Seller shall use reasonable best efforts to the extent feasible to develop an
arrangement to communicate or provide the applicable information (or a portion thereof) in a
manner that would not conflict with the foregoing clauses (x), (y) and (z). The information
provided pursuant to this Section 4.1.1 shall remain subject to the Confidentiality Agreement.
Seller and its Subsidiaries make no representation or warranty as to the accuracy of any
information, if any, provided pursuant to this Section 4.1.1, and Buyer may not rely on the
accuracy of any such information, in each case, other than the representations and warranties
made by Seller in Section 3.1 or in any Ancillary Agreement to be delivered by Seller pursuant
to this Agreement.

                        4.1.2 During the Interim Period, Buyer hereby agrees it shall not contact,
and it shall cause its Affiliates or Representatives to not contact, any licensor, licensee,
competitor, supplier, distributor, franchisee, or customer of Seller or its Subsidiaries with respect
to the Purchased Assets, the Business, this Agreement, the Ancillary Agreements or the
Transactions, without the prior written consent of Seller (which shall not be unreasonably
withheld, delayed or conditioned), in each case other than (a) in the Ordinary Course, and (b) not
specifically targeted at (i) Seller or its Affiliates, (ii) the Business or the Purchased Assets, or (iii)
this Agreement, the Ancillary Agreements or the Transactions.


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                        4.1.3 Seller shall not, and shall cause its Affiliates and each of their
respective Representatives not to, for a period of two (2) years after the Closing, directly or
indirectly, without Buyer’s prior written consent, use for any purpose (except as otherwise
specifically permitted in this Agreement or any Ancillary Agreement) or disclose to any third
party (other than each other and their respective Representatives) any confidential or proprietary
information concerning the Business, the Purchased Assets or the Assumed Liabilities (including
such information as may be disclosed to Seller or its Affiliates or any of their Representatives
pursuant to the exercise of its rights to access information following the Closing as set forth
herein); provided, that the foregoing restriction shall not (a) apply to any information (i) generally
available to, or known by, the public (other than as a result of disclosure in violation of this
Agreement), (ii) independently developed by Seller, its Affiliates or any of its and their respective
Representatives following the Closing without any reference to confidential or proprietary
information concerning the Business, or (iii) becomes available to Seller, its Affiliates or any of
its and their respective Representatives from a third party if such source is not actually known by
Seller at the time of the disclosure to be bound by a confidentiality agreement with, or other
known contractual or legal obligation of confidentiality to, Buyer with respect to such
information, or (b) prohibit any disclosure (i) pursuant to a request or requirement of any
applicable Law, Governmental Authority or rules of any securities exchange, or legal proceeding
or process or as otherwise legally compelled (including pursuant to a deposition, interrogatory,
subpoena, civil investigation or similar process) so long as, to the extent reasonably practicable
and legally permissible, Seller provides Buyer with reasonable prior notice of such disclosure and
a reasonable opportunity (at Buyer’s sole cost and expense) to contest such disclosure, or (ii)
necessary in connection with the administration of the Chapter 11 Cases, the winding down of
Seller’s estate, the payment of any Taxes or the filing of any Tax Returns or the recording of any
Claims in connection therewith.

        4.2     Ordinary Course of Business. Except (v) with the prior written consent of Buyer,
which consent shall not be unreasonably withheld or delayed, (w) as required by applicable Law
or Order of the Bankruptcy Court, including the DIP Financing Order, (x) as expressly provided
in this Agreement or on Section 4.2 of Seller Disclosure Schedules, (y) for actions taken by Seller
or its Subsidiaries as required in connection with the Chapter 11 Cases, or (z) any actions taken
in connection with a Store closure, during the Interim Period, Seller shall: (i) use reasonable best
efforts to operate and/or maintain the tangible Purchased Assets in the Ordinary Course and in
compliance in all material respects with applicable Laws, (ii) (A) not terminate or cancel any of
the Purchased Contracts or Purchased Leases other than expirations of any Purchased Contracts
or any Purchased Leases in accordance with the terms of such Purchased Contracts or such
Purchased Leases, or (B) not amend, modify, release, assign or waive any rights under any
Purchased Contract or Purchased Lease other than in the Ordinary Course or as provided for in
the DIP Financing Order or as contemplated or permitted in the DIP Budget (as defined in the
DIP Financing Order), (iii) not encumber, pledge, transfer, sell, assign, abandon, allow to lapse,
fail to prosecute or maintain, exclusively license, or otherwise dispose of any material Owned
Intellectual Property other than (A) in the Ordinary Course or (B) due to the expiration of issued
or registered Owned Intellectual Property at the end of the maximum statutory term, in each case,
other than in the Ordinary Course, (iv) not voluntarily or knowingly or intentionally permit any
of the Purchased Assets to become subject to any Encumbrance, except for Permitted
Encumbrances, (v) not sell, assign, license, transfer, convey, lease, sublease, surrender,
relinquish, terminate or otherwise dispose of any portion of the Purchased Assets other than (A)


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in the Ordinary Course or (B) the disposition of obsolete, worn out or immaterial assets, (vi)
except as required by a Plan in effect as of the date hereof or as required by applicable Law, not
pay, grant or announce any new compensation or benefits, and not pay, grant or announce any
increase in the compensation or benefits of any Business Employee, other than any increase in
compensation that is less than three percent (3%) of the overall compensation of a Store Employee
in the Ordinary Course, (vii) not accelerate the vesting, funding of or lapse of restrictions with
respect to any award, compensation or benefit owing, due or payable to a Business Employee,
(viii) not enter into, modify, negotiate or terminate any collective bargaining agreement covering
any Business Employee, (ix) not forgive any loans, or issue any loans to any Business Employee,
(x) not plan, announce, implement or effectuate a reduction in force, lay-off, early retirement
program, severance program or other program of effort concerning the termination of
employment of any vice president level or above Business Employee, or otherwise terminate the
employment of any such Business Employee other than for “cause” or in accordance with Seller’s
policies or pursuant to applicable Laws, (xi) not transfer, offer employment to, or otherwise
attempt to persuade any Business Employee not to accept Buyer’s offer of employment, (xii) not
grant any Top Supplier any material discounts, pricing accommodations, or other similar changes
relating to pricing, payment terms or credit support other than in the Ordinary Course, (xiii) not
seek any relief from, or modification of, the automatic stay on any Litigation involving Seller
and/or any of its Subsidiaries issued by the Bankruptcy Court, (xiv) adopt, materially modify,
materially amend or terminate any material Plan except as required by applicable Law or the
terms of any Plan, or (xv) not authorize or enter into any agreement or commitment, whether or
not in writing, to take any action prohibited by this Section 4.2.

       4.3     Notification of Certain Matters.

                        4.3.1 From the Execution Date through 3:00 P.M. (Eastern Time) on
May 4, 2025 (and in any event, within two (2) Business Days after Seller discovers the existence
of any such Contract), Seller shall use reasonable best efforts to provide Buyer Notice of any
Contract or Lease to which Seller or any of its Subsidiaries is a party as of the Execution Date
that was not set forth on Section 2.7.1 of Seller Disclosure Schedules, and any Contracts or Leases
that are entered into after the Execution Date, and Buyer shall be entitled, in its sole discretion
and upon Notice to Seller (email to counsel being sufficient), to add any such Contract or Lease
to its schedule of Purchased Contracts and Purchased Leases pursuant to the terms set forth in
Section 2.7.2.

                      4.3.2 If any Contract is added to (or removed from) Section 2.7.1 of
Seller Disclosure Schedules, Seller shall promptly take such steps as are reasonably necessary,
and shall promptly deliver Notice to the non-debtor counterparty, to the extent necessary to cause
any such added Contracts to be assumed by Seller and assigned to Buyer or rejected by Seller, as
applicable, from the Execution Date through 3:00 P.M. (Eastern Time) on May 4, 2025 or as soon
as reasonably practicable thereafter according to the terms herein.

        4.4     Obligation to Consummate the Transaction. Each of the Parties agrees that it
shall use reasonable best efforts to take, or cause to be taken, all action and to do, or cause to be
done, all things necessary, proper or advisable to the extent permissible under applicable Law, to
consummate and make effective the Transactions and to ensure that the conditions set forth in
Article 6 are satisfied.


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       4.5     Filings; Other Actions; Notification and Cooperation.

                         4.5.1 Seller and Buyer shall cooperate with each other and use, and shall
cause their respective Affiliates and Subsidiaries to use, their respective reasonable best efforts to
take (or cause to be taken) all actions, and do (or cause to be done) all things necessary, proper or
advisable under this Agreement and applicable Law to consummate and make effective the
Transactions as expeditiously as reasonably practicable after the date of this Agreement, including
using reasonable best efforts in: (a) preparing and filing all documentation to effect all necessary
notices, reports and other filings (and in any event, by filing by no later twenty (20) Business
Days after the date hereof, any notifications, filings and other information required to be filed
under the HSR Act with respect to the Transactions, unless mutually agreed otherwise);
(b) obtaining as expeditiously as practicable all consents, registrations, approvals, permits and
authorizations necessary to be obtained from any Governmental Authority in order to
consummate the Transactions; (c) obtaining (and cooperating with each other in obtaining) any
consent, approval of, waiver or any exemption by, any non-governmental third party, in each
case, to the extent necessary, proper or advisable in connection with the Transactions; and
(d) executing and delivering any reasonable additional instruments necessary to consummate the
Transactions and to fully carry out the purposes of this Agreement. Nothing herein shall require
Seller or any of its Subsidiaries to incur, assume, become liable in respect of or suffer to exist any
expenses, liabilities or other obligations, or agree to or become bound by any commitments,
undertakings, concessions, indemnities, or other arrangements that could result in expenses,
liabilities, or other obligations.

                        4.5.2 Neither Buyer nor Seller shall, and shall cause its respective
Subsidiaries not to, enter into a definitive agreement providing for, or consummate, any
transaction which would reasonably be expected to materially delay or prevent consummation of
the Transactions. Neither Party, without the other Party’s prior written consent, shall: (a) enter
into any timing, settlement or similar agreement, or otherwise agree or commit to any
arrangement, that would have the effect of extending, suspending, lengthening or otherwise
tolling the expiration or termination of the waiting period applicable to the contemplated
transactions under the HSR Act or any Antitrust Laws; or (b) enter into any timing or similar
agreement, or otherwise agree or commit to any arrangement, that would bind or commit the
Parties not to consummate the Transactions (or that would otherwise prevent or prohibit the
Parties from consummating the Transactions), in both cases (a) and (b) without the consent of the
other Party, not to be unreasonably withheld, conditioned, or delayed.

                        4.5.3 Buyer and Seller shall cooperate with one another, and consider in
good faith the views of one another, with respect to the appropriate course of action with respect
to obtaining the consents, approvals, permits, waiting period expirations or authorizations of any
Governmental Authority required to consummate the Transactions prior to the Outside Date. No
Party hereto or its counsel shall independently participate in any substantive call or meeting with
any Governmental Authority in respect of any such filing, investigation, or other inquiry relating
to the matters that are the subject of this Section 4.5 without giving the other Party or its counsel
reasonable prior notice of such call or meeting and, to the extent permitted by such Governmental
Authority, the opportunity to attend and participate. In furtherance of the foregoing and to the
extent permitted by applicable Law: (a) each Party shall notify the other, as far in advance as
practicable, of any filing or material or substantive communication or inquiry it or any of its


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Subsidiaries intends to make with any Governmental Authority relating to the matters that are the
subject of this Section 4.5; (b) prior to submitting any such filing or making any such
communication or inquiry, such Party shall provide the other Party and its counsel a reasonable
opportunity to review, and shall consider in good faith the comments of the other Party in
connection with, any such filing, communication or inquiry; (c) promptly following the
submission of such filing or making such communication or inquiry, such Party shall provide the
other Party with a copy of any such filing or, if in written form, communication or inquiry; (d)
each Party shall inform the other of and if in writing, furnish the other with copies of (or, in the
case of oral communications, advise the other of) any substantive communication from or with
any Governmental Authority regarding any of the Transactions; and (e) each Party shall consult
with the other Party in connection with any inquiry, hearing, investigation or litigation by, or
negotiations with, any Governmental Authority relating to the Transactions, including the
scheduling of, and strategic planning for, any meetings with any Governmental Authority relating
thereto. In exercising the foregoing cooperation rights, Seller and Buyer each shall act reasonably
and as promptly as reasonably practicable. Notwithstanding the foregoing, materials provided
pursuant to this Section 4.5 may be reasonably redacted to (i) remove references concerning
valuation, (ii) comply with contractual arrangements, (iii) comply with applicable Law, and
(iv) address legal privilege or confidentiality concerns.

                         4.5.4 Notwithstanding the foregoing, nothing in this Section 4.5 or
otherwise in this Agreement shall require Buyer including its Affiliates, to (a) commit, agree or
submit (or offer to commit, agree or submit) to any consent decree, hold separate order, sale,
divestiture, lease, license, transfer, disposal, Encumbrance, other change or restructuring of, or
operating restriction with respect to the businesses, properties, product lines, assets, permits,
operations, rights or interest therein of Buyer, its Affiliates, the Purchased Assets or any of the
Business; or (b) otherwise take or commit to take any action that could limit its freedom with
respect to, or its ability to retain, one or more of the businesses of Buyer or any of its Affiliates
or the Purchased Assets; provided, that Seller shall take any of the foregoing actions if requested
by Buyer in writing so long as any such actions are conditioned on the occurrence of the Closing;
provided, further, that Seller shall not take any such actions without the prior written direction of
Buyer.

                       4.5.5 In furtherance and not in limitation of the covenants of the Parties
contained in this Section 4.5, if any administrative or judicial action or proceeding, including any
proceeding by a private party, is instituted challenging the Transactions as violative of any
Antitrust Law, each of Seller and Buyer shall use reasonable best efforts to contest and resist any
such action or proceeding and to have vacated, lifted, reversed or overturned any decree,
judgment, injunction or other order, whether temporary, preliminary or permanent, that is in effect
and that prohibits, prevents or restricts consummation of the Transactions.

                        4.5.6 Seller and Buyer each shall, upon request by the other, promptly
furnish the other with all information concerning itself, its Affiliates, directors, officers and
stockholders and such other matters as may be reasonably necessary or advisable in connection
with any statement, filing, notice or application made by or on behalf of Buyer, Seller or any of
their respective Affiliates to any Third Party or any Governmental Authority in connection with
the Transactions, all of which information shall be true and correct in all material respects when
provided; provided, that each Party shall be entitled to redact discussions of the transaction value


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and competitively sensitive information, and may reasonably designate applicable materials to be
reviewed solely by the other Party’s outside counsel.

                        4.5.7 Seller and Buyer each shall keep the other reasonably apprised of
the status of matters relating to completion of the Transactions, including promptly furnishing the
other with copies of notices or other communications received by Seller or Buyer, as the case may
be, or any of their respective Affiliates from any Third Party or any Governmental Authority with
respect to the Transactions, other than immaterial communications and communications on the
docket in any of the Chapter 11 Cases.

                    4.5.8 Buyer shall bear the cost of any filing fee payable to a
Governmental Authority in connection with any filings made under this Section 4.5.

         4.6    Working Capital Target Adjustment. During the Interim Period, the Parties
agree to adjust the Target Net Working Capital Amount as follows: (a) for each Store Seller or its
Subsidiaries identifies for closure as listed in Section 4.6 of Seller Disclosure Schedules, or Buyer
determines to close at any time after February 22, 2025 (each, a “Non-Transferred Store”) which
results in the number of Transferred Stores to be less than 677 (the “Store Threshold”), the
Target Net Working Capital Amount shall be lowered by $198,200, (b) the adjustment to the
Target Net Working Capital Amount shall be calculated based on the number of Stores, in the
aggregate, that Seller or its Subsidiaries identifies for closure as listed in Section 4.6 of Seller
Disclosure Schedules, or Buyer determines to close at any time after February 22, 2025 which
results in the number of Transferred Stores to be less than the Store Threshold, with each closure
resulting in a reduction of $198,200, and (c) the adjustments to the Target Net Working Capital
Amount set forth in this Section 4.6 shall take effect immediately upon the closure of each Store
or Buyer’s determination of closure; provided, that if any Store has closed prior to the date hereof,
such adjustment with respect to such Store shall take effect on the date of this Agreement. For
purposes of this Section 4.6, any Store listed in Section 4.6 of Seller Disclosure Schedules with a
“Closing Process Status” of “Currently Winding Down”, or “Fully Closed” shall be considered a
Store that Seller or its Subsidiaries has identified for closure and shall constitute a Non-
Transferred Store; provided, however, that in no event shall either Store 904 (Nashville, TN) or
Store 910 (Riverbend, FL) reduce the Store Threshold.

                                       ARTICLE 5
                                 ADDITIONAL COVENANTS

       5.1     Further Assurances.

                        5.1.1 Each of Seller and Buyer shall, at any time or from time to time
after the Closing, at the request and expense of the other Party, take, or cause to be taken, all
reasonable actions, and to do, or cause to be done, and to assist and cooperate with the other Party
in doing, all reasonable things necessary to consummate and make effective, in the most
expeditious manner practicable, the Transactions, including executing and delivering to the other
Party all such reasonable instruments and documents or further reasonable assurances as the other
Party may reasonably request, in each case that are consistent with the terms of this Agreement,
in order to (a) vest in Buyer all of Seller’s right, title and interest in and to the Purchased Assets
(including the Purchased Intellectual Property) as contemplated hereby, (b) effectuate Buyer’s


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assumption of the Assumed Liabilities, (c) confirm Seller’s retention of the Excluded Assets and
the Excluded Liabilities, and (d) grant to each Party all rights contemplated to be granted to such
Party under this Agreement and the Ancillary Agreements; provided, however, that after the
Closing, apart from such foregoing customary further assurances, neither Seller nor Buyer shall
have any other obligations except as specifically set forth and described herein or in the Ancillary
Agreements.

                        5.1.2 If any approval, consent or waiver required for Seller to assume and
assign to Buyer the Purchased Contracts, the Purchased Leases and other Purchased Assets shall
not have been obtained prior to the Closing, Seller shall use reasonable best efforts to obtain such
approval, consent or waiver to assign to Buyer the Purchased Contracts, the Purchased Leases
and other Purchased Assets, including using reasonable best efforts to facilitate any negotiations
with the counterparties to such Purchased Contracts and such Purchased Leases and to obtain an
order (which may be the Sale Order) containing a finding that the proposed assumption of such
Purchased Contracts and such Purchased Leases and assignment to Buyer satisfies all applicable
requirements of section 365 of the Bankruptcy Code. At the Closing (a) Seller shall, pursuant to
the Sale Order, assign to Buyer each of the Purchased Contracts and Purchased Leases that is
capable of being assigned and (b) Seller shall pay all Cure Costs (if any), in each case in
connection with such assumption and assignment, and Buyer shall assume and discharge when
due the Assumed Liabilities (if any) under the Purchased Contracts and the Purchased Leases.
Except as to the Purchased Contracts and the Purchased Leases assigned pursuant to section 365
of the Bankruptcy Code or the Sale Order, anything in this Agreement to the contrary
notwithstanding, this Agreement shall not constitute an agreement to assign any Purchased
Contract, any Purchased Lease or other Purchased Asset or any right thereunder if an attempted
assignment, without the consent of a Third Party, would constitute a breach or in any way
adversely affect the rights of Buyer or Seller thereunder, and Seller, at Buyer’s expense (if any),
shall use its reasonable best efforts to obtain any such required consent(s) as promptly as possible.
If such consent is not obtained or such assignment is not attainable pursuant to section 365 of the
Bankruptcy Code or the Sale Order, or if any attempted assignment would be ineffective or would
impair Buyer’s rights under the Purchased Assets in question so that Buyer would not in effect
acquire the benefit of all such rights, then Seller, to the maximum extent permitted by applicable
Law, shall act after the Closing, at Buyer’s request and expense, as Buyer’s agent in order to
obtain for it the benefits thereunder and shall cooperate, to the maximum extent permitted by
applicable Law, with Buyer in any other reasonable arrangement designed to provide such
benefits to Buyer. Seller and its Subsidiaries are not under any obligation to pay any money to a
Third Party (unless Buyer agrees in writing to reimburse Seller for such payment), incur any
material obligations, commence any Litigation (provided, that Seller shall reasonably cooperate
in any Litigation initiated by Buyer in the Bankruptcy Court regarding the assumption and
assignment of any Purchased Contract or any Purchased Lease and matters related thereto) or
offer or grant any material accommodation (financial or otherwise) to any Third Party in order to
obtain any approval, consent or waiver. All obligations of Seller under this Section 5.1.2 shall
expire on the date that is twelve (12) months after the Closing Date.

       5.2     Publicity. No press release, public statement or announcement or other public
disclosure (a “Public Statement”) with respect to this Agreement, the Ancillary Agreements or
the Transactions may be made except (a) with the prior written consent and joint approval of
Buyer and Seller, not to be unreasonably withheld, delayed or conditioned, (b) if required by


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applicable Law, the Chapter 11 Cases, a Governmental Authority, or stock exchange
requirements, or (c) Buyer or its Affiliates may make customary disclosures in connection with
marketing purposes and financial disclosures to (i) any current or prospective investors of Buyer
or its Affiliates and (ii) their lenders, banks and advisors who have a reasonable need to receive
such information. Where the Public Statement is required by applicable Law, the Chapter 11
Cases, a Governmental Authority, or stock exchange requirement, the Party required to make the
Public Statement will use its reasonable best efforts consistent with applicable Law or Bankruptcy
Court requirement to consult with the other Party, and consider in good faith any revisions
proposed by the other Party, prior to making such disclosure, and shall limit such disclosure to
only that information that is legally or otherwise required to be disclosed.

       5.3     Certain Tax Matters.

                       5.3.1   Withholding Taxes.

                        (a)     The amounts payable by one Party (the “Payer”) to another Party
(the “Payee”) pursuant to this Agreement (“Payments”) shall not be reduced on account of any
Taxes unless required by applicable Law. The Payer shall deduct or withhold from the Payments
any Taxes that it is required by applicable Law to deduct or withhold, and all such amounts
deducted and withheld that are timely remitted to the appropriate Governmental Authority shall
be treated for all purposes of this Agreement as having been paid to Payee. Notwithstanding the
foregoing, other than in connection with any compensatory payments or the failure of Seller to
deliver any Tax forms described in Section 5.3.2(b), prior to any deduction or withholding the
Payer shall take reasonable best efforts to notify the Payee of its intent to withhold, and take
reasonable best efforts to cooperate with the Payee to reduce or eliminate such withholding, and
if the Payee is entitled under any applicable Law or Tax treaty to a reduction of rate of, or the
elimination of, or recovery of, applicable withholding Tax, it shall timely deliver to the Payer or
the appropriate Governmental Authority (with the assistance of the Payer to the extent that this is
reasonably required) the prescribed forms necessary to reduce the applicable rate of withholding
or to relieve the Payer of its obligation to withhold Tax, and the Payer shall apply the reduced
rate of withholding, or dispense with the withholding, as the case may be, to the extent it complies
with the applicable Law or Tax treaty. If, in accordance with the foregoing, the Payer withholds
any amount, it shall make timely payment to the proper Taxing Authority of the withheld amount
and send to the Payee proof of such payment as soon as reasonably practicable.

                       (b)     Seller (or if it is a disregarded entity for federal income Tax
purposes, its regarded owner) shall deliver to Buyer a properly completed and executed IRS Form
W-9, provided that the failure to deliver such form shall not be deemed a breach of any condition
or covenant in this Agreement and Buyer’s sole remedy for the failure to provide any such form
shall be to withhold any required amount under the Code or any other applicable Tax law from
the consideration otherwise payable to Seller hereunder in accordance with Section 5.3.1(a).

                       5.3.2   Transfer Taxes and Apportioned Obligations.

                       (a)     All amounts payable hereunder or under any Ancillary Agreement
are exclusive of all recordation, transfer, documentary, stamp, conveyance, value added, sales,
consumption, goods and services taxes or other similar Taxes and fees imposed or levied by


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reason of, in connection with or attributable to this Agreement and the Ancillary Agreements or
the Transactions (collectively, “Transfer Taxes”). Buyer shall be responsible for the timely
payment of all Transfer Taxes that are not exempted under a Sale Order pursuant to section
1146(a) of the Bankruptcy Code, and shall pay all amounts due and owing in respect of any
Transfer Taxes, these amounts in addition to the sums otherwise payable, at the rate in force at
the due time for payment or such other time as is stipulated under applicable Law and the parties
shall cooperate to timely and properly file all Tax Returns with respect to any Transfer Taxes.

                       (b)     All personal property and similar ad valorem obligations levied
with respect to the Purchased Assets for a taxable period which includes (but does not end on) the
Closing Date (collectively, the “Apportioned Obligations”) shall be apportioned between Seller
and Buyer based on the number of days of such taxable period ending on and including the
Closing Date (such portion of such taxable period, the “Pre-Closing Tax Period”) and the
number of days of such taxable period beginning on the day after the Closing Date (such portion
of such taxable period, the “Post-Closing Tax Period”), provided, that for clarity sake and
without prejudice to any apportionment provided for in the determination of the Net Working
Capital Amount, the Parties agree and acknowledge that Seller shall have no obligations with
respect to the payment of Taxes pursuant to this Section 5.3.2(b).

                       5.3.3 Cooperation and Exchange of Information. Each of Seller and
Buyer shall (a) provide the other with such assistance as may reasonably be requested by the other
Party (subject to reimbursement of reasonable out-of-pocket expenses) in connection with the
preparation of any Tax Return or election or any, audit or other examination by any Taxing
Authority or judicial or administrative proceeding relating to Liability for Taxes in connection
with the Business or the Purchased Assets, (b) retain and provide the other Party with any records
or other information that may be relevant to such Tax Return, audit or examination, or proceeding
and (c) inform the other Party of any final determination of any such audit or examination or
proceeding that affects any amount required to be shown on any Tax Return of the other for any
period. Seller shall promptly notify and forward to Buyer in writing upon receipt by Seller of
notice of any pending or threatened Tax audits or assessments that reasonably may be expected
to relate the Purchased Assets or Allocation.

                       5.3.4 Other Tax Matters. The calculation of the Net Working Capital
Amount, as finally determined, shall not take into account any change in Tax liability as a result
of the following actions undertaken by Buyer or any of its Affiliates following Closing with
respect to a Pre-Closing Tax Period: (a) filing any Tax Return or any amendment or modification
to any previously-filed Tax Return, (b) taking or initiating any voluntary discussion, examination
or contract with a taxing authority (including any voluntary disclosure agreement or similar
process), (c) making any Tax election that has retroactive effect to a Pre-Closing Tax Period, or
(d) extending or waiving any statute of limitations or other period for the assessment of any Tax
or deficiency.

                        5.3.5 Continuing Employees. Seller and Buyer agree to utilize, or cause
their respective Affiliates to utilize, the alternate procedure set forth in Revenue Procedure 2004-
53, 2004-2 C.B. 320, with respect to wage reporting in respect of Continuing Employees, unless
otherwise required by applicable Law.



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                       5.3.6 Tax Reserve Liabilities. Buyer shall control, at its sole cost and
expense, the conduct of any and all audits, examinations, contests, litigations, deficiency notices,
or other proceedings with or against any taxing authority with respect to the Tax Reserve
Liabilities (the “Tax Reserve Liability Proceedings”). Seller shall reasonably cooperate to put
Buyer in control of any Tax Reserve Liability Proceedings and shall promptly notify Buyer of
any written communication received with respect to any Tax Reserve Liability Proceeding.

       5.4     Accounts Receivable and Payable.

                         5.4.1 Accounts Receivable; Bank Accounts. The Parties acknowledge
and agree that all Accounts Receivable that are Purchased Assets shall become the property of
Buyer subsequent to the Closing. From the Closing Date until ninety (90) days following Closing,
in the event that, Seller or any of its Subsidiaries receives any payments from any obligor with
respect to an such Accounts Receivable outstanding on the Closing Date, then Seller shall, or
shall cause such Subsidiary to, within five (5) Business Days after receipt of such payment, remit
the full amount of such payment to Buyer by wire transfer of immediately available funds to the
account designated by Buyer by Notice to Seller. Subsequent to the Closing and until ninety (90)
days following Closing, Seller shall not cause any of the signatories on the Bank Accounts to be
changed; provided, that that Seller may remove any signatories no longer employed by Seller or
its Affiliates, other than any signatory that is employed by Buyer or its Affiliates. In the event any
Cash is transferred from any Bank Account, each of the Parties shall provide written Notice to
the other Parties at least five (5) Business Days prior to such transfer and include the amount of
Cash to be transferred and each recipient of such Cash; provided, that each of the Parties shall in
good faith consider any questions or comments received from the other Parties, and mutually
agree regarding such Cash transfer.

                        5.4.2 Accounts Payable. In the event that, subsequent to the Closing,
Buyer, Seller or any of its Subsidiaries receives any invoices from any Third Party with respect
to any account payable of the Business outstanding prior to the Closing that is not an Assumed
Liability, then Seller shall be responsible for payment thereof. In the event that, subsequent to the
Closing, Seller or any of its Subsidiaries receives any invoices from any Third Party with respect
to any account payable of the Business that is an Assumed Liability, then Seller shall, within five
(5) Business Days after receipt of such invoice, remit such invoice to Buyer and Buyer shall be
responsible for payment thereof.

                      5.4.3 Cash. The Parties acknowledge and agree that all pre-Closing Cash
shall remain the property of Seller. In the event that, Buyer or any of its Subsidiaries receives any
pre-Closing Cash, then Seller shall, or shall cause such Subsidiary to, within five (5) Business
Days after receipt of such payment, remit the full amount of such payment to Seller by wire
transfer of immediately available funds to the account designated by Seller by notice to Buyer.

       5.5     Wrong Pockets.

                      5.5.1 Assets. Without limiting Section 5.1, if either Buyer or Seller
becomes aware subsequent to the Closing that any of the Purchased Assets has not been
transferred to Buyer or that any of the Excluded Assets (including Cash) has been transferred to
Buyer, it shall promptly notify (in writing) the other Party and the Parties shall, and shall cause


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their Subsidiaries to, as soon as reasonably practicable, take all commercially reasonable actions
(including executing any further instruments or documents) to ensure that such property is
transferred, at the expense of requesting Party and with any necessary prior Third Party consent
or approval, to (a) Buyer, in the case of any Purchased Asset that was not transferred to Buyer at
the Closing; or (b) Seller, in the case of any Excluded Asset that was transferred to Buyer at the
Closing.

                        5.5.2 Payments. If, on or after the Closing, either Party shall receive any
payments or other funds due to or belonging to the other Party pursuant to the terms of this
Agreement or any Ancillary Agreement, then the Party receiving such funds shall, within five (5)
Business Days after receipt of such funds, forward such funds to the proper Party. The Parties
acknowledge and agree there is no right of offset regarding such payments and a Party may not
withhold funds received from Third Parties for the account of the other Party in the event there is
a dispute regarding any other issue under this Agreement or any of the Ancillary Agreements. As
soon as practicable but no later than fifteen (15) Business Days following the Closing Date, Buyer
shall inform Seller of Buyer’s bank account and Seller shall use reasonable best efforts during the
term of the Transitions Services Agreement to inform any counterparty to a Purchased Contract
of Buyer’s bank account together with the request to make any payments after the Closing Date
to Buyer’s bank account.

        5.6     Purchased Intellectual Property. Promptly following the Closing, at Buyer’s
sole cost and expense, Seller shall take such further actions and execute such further reasonable
documents as may be necessary or reasonably requested by Buyer to effectuate, evidence and
perfect the assignment and transfer of the Owned Intellectual Property to Buyer, including making
such filings with any Governmental Authorities as may be required to transfer the Owned
Intellectual Property to Buyer.

       5.7     Social Media Accounts. Seller shall use reasonable best efforts or as reasonably
requested by Buyer to transfer the registration, ownership, and control of the Social Media
Accounts to Buyer. Post-Closing, neither Seller nor its Affiliates shall, nor shall they knowingly
permit any third person to, attempt to access the Social Media Accounts or alter the settings or
credentials applicable thereto following the Closing.

       5.8     Bankruptcy Court Filings and Approval.

                       5.8.1 Seller shall use its reasonable best efforts to obtain entry of the Sale
Order and such other approvals and relief from the Bankruptcy Court as may be necessary or
appropriate in connection with this Agreement and the consummation of the Transactions. Within
five (5) Business Days after execution of this Agreement, Seller shall file with the Bankruptcy
Court a motion seeking approval of this Agreement, in part, pursuant to sections 363 and 365 of
the Bankruptcy Code (the “Sale Motion”) and the proposed Sale Order (as defined below), both
in form and substance acceptable to Seller and Buyer. The proposed form of the Sale Order shall
be in form and substance acceptable to Seller and Buyer, and with such changes Seller and Buyer
find reasonably acceptable, (a) authorizing and approving pursuant to sections 105, 363, and 365
of the Bankruptcy Code, inter alia, (i) the sale of the Purchased Assets of Seller to Buyer on the
terms and conditions set forth herein, free and clear of all Encumbrances (to the extent set forth
herein), other than Permitted Encumbrances and Assumed Liabilities, and (ii) the assumption and


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assignment of the Purchased Contracts and Purchased Leases to Buyer; (b) finding that (i) Buyer
has provided adequate assurance (as that term is used in section 365 of the Bankruptcy Code) of
future performance in connection with the assumption of the Purchased Contracts and Purchased
Leases, (ii) the consideration provided by Buyer pursuant to this Agreement constitutes
reasonably equivalent value and fair consideration for the Purchased Assets, and (iii) Buyer and
Seller did not engage in any conduct that would allow this Agreement to be set aside pursuant to
section 363(n) of the Bankruptcy Code; (c) ordering that (i) notwithstanding Federal Rules of
Bankruptcy Procedures 6004(h) and 6006(d), the Sale Order is not stayed and is effective
immediately upon entry, (ii) Seller has acted in “good faith” within the meaning of Section 363(m)
of the Bankruptcy Code, (iii) this Agreement was negotiated, proposed and entered into by the
Parties without collusion, in good faith and from arm’s length bargaining positions, and
(iv) Buyer shall have no Liability or responsibility for any Liability or other obligation of Seller
arising under or related to the Purchased Assets other than as expressly set forth in this
Agreement, including successor or vicarious Liabilities of any kind or character, including any
theory of antitrust, environmental, successor, or transferee Liability, labor law, de facto merger,
or substantial continuity (as amended, modified, or supplemented, the “Sale Order”) and such
other relief from the Bankruptcy Court as may be necessary or appropriate in connection with this
Agreement and the consummation of the Transactions.

                       5.8.2 Seller shall give appropriate notice, and provide appropriate
opportunity for hearing, to all Persons entitled thereto, of all motions, orders, hearings, and other
proceedings relating to this Agreement or any Ancillary Agreement and the Transactions and such
additional notice as ordered by the Bankruptcy Court or as Buyer may reasonably request.

                       5.8.3 Seller and Buyer shall take all commercially reasonable actions as
may be reasonably necessary to cause the Sale Order to become a Final Order, including, to the
extent reasonably practicable, furnishing affidavits, declarations or other documents or
information for filing with the Bankruptcy Court. Buyer agrees that it will promptly take such
commercially reasonable actions as are reasonably requested by Seller to assist in obtaining entry
of the Sale Order and a finding of adequate assurance of future performance by Buyer, including
furnishing affidavits or other documents or information for filing with the Bankruptcy Court for
the purposes, among others, of (x) providing necessary assurances of performance by Buyer under
this Agreement and demonstrating that Buyer is a “good faith” purchaser under Section 363(m)
of the Bankruptcy Code, and (y) establishing adequate assurance of future performance within
the meaning of section 365 of the Bankruptcy Code.

                        5.8.4 Buyer acknowledges that under the Bankruptcy Code, the sale is
subject to approval of the Bankruptcy Court. Buyer acknowledges that to obtain such approval
Seller must demonstrate that it has taken reasonable steps to obtain the highest or otherwise best
bid possible for the assets, including giving notice of the Transactions to creditors and other
interested parties and entertaining any higher or otherwise better offers from prospective buyers.

                       5.8.5 If the Sale Order or any other orders of the Bankruptcy Court
relating to this Agreement or the Transactions shall be appealed by any Person (or if any petition
for certiorari or motion for reconsideration, amendment, clarification, modification, vacation,
stay, rehearing or reargument shall be filed with respect to the Sale Order or other such order),
and this Agreement has not otherwise been terminated pursuant to Section 8.1, Seller shall


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immediately notify Buyer of such appeal, petition, or motion and shall, at Seller’s sole cost and
expense, use reasonable best efforts to defend such appeal, petition, or motion and shall use
reasonable best efforts to obtain an expedited resolution of any such appeal, petition, or motion.

                         5.8.6 Subject to entry of the Sale Order, (a) on or prior to the Closing,
Seller shall pay the Cure Costs for the Purchased Contracts and Purchased Leases and cure any
and all other defaults and breaches under the Purchased Contracts and Purchased Leases to the
extent required under section 365 of the Bankruptcy Code (excluding any Purchased Contracts or
Purchased Leases for which there is an unresolved objection by a non-debtor counterparty to the
Cure Costs asserted by Seller with regard to any such Contract or Lease or other dispute as to the
assumption or assignment of such Contract or Lease as of the Sale Hearing (such contract, a
“Disputed Contract”) for which Cure Costs (or other matters related to the assumption and
assignment of such Contract or Lease) have not been consensually agreed with the Contract
counterparty and Seller or fixed by an order of the Bankruptcy Court as of the Closing), and
(b) with respect to each Purchased Contract or Purchased Lease that is a Disputed Contract, on
the date that is five (5) Business Days after the date on which (i) the Cure Costs with respect to
such Purchased Contract or Purchased Lease have been consensually agreed, or (ii) the
Bankruptcy Court has entered an order fixing such Cure Costs, or as soon as reasonably practical
thereafter, Seller shall pay such Cure Costs so that such Purchased Contracts and such Purchased
Leases may be assumed by Seller and assigned to Buyer (subject to payment by Seller of the Cure
Costs and provision by Buyer of adequate assurance of future performance), in each case of the
foregoing clauses (a) and (b), in accordance with the provisions of section 365 of the Bankruptcy
Code, the Sale Order, and this Agreement. Seller agrees that it will promptly take such
commercially reasonable actions as are necessary to obtain a final order of the Bankruptcy Court
(which may be the Sale Order) providing for the assumption and assignment of such Purchased
Contracts and Purchased Leases that are not designated as Excluded Contracts. For the avoidance
of doubt, if there is any inconsistency between this Agreement and the Sale Order with respect to
the assumption and assignment of the Purchased Contracts and Purchased Leases, or Seller’s
payment of the Cure Costs, the Sale Order shall govern.

                      5.8.7 Notwithstanding the foregoing, Buyer shall have the option
pursuant to Section 2.7.2 to remove any Disputed Contract from the schedule of Purchased
Contracts or Purchased Leases, in which case Buyer shall not assume the Disputed Contracts and
neither Seller nor Buyer shall be responsible for any Cure Costs associated with such Disputed
Contract; provided, however, that Seller shall use its reasonable best efforts, in cooperation with
Buyer, to resolve any disputes regarding the Cure Costs relating to any Disputed Contract. Any
Disputed Contract as of the Closing shall not be deemed a Purchased Contract or Purchased Lease
at the Closing.

                          5.8.8 After entry of the Sale Order, Seller shall not take any action which
is intended to, or fail to take any action the intent of which failure to act is to, result in the reversal,
voiding, modification or staying of the Sale Order.

                       5.8.9 Nothing in this Agreement, or any document related to the
Transactions, shall require Buyer, Seller or their respective Affiliates to give testimony to or
submit a motion to the Bankruptcy Court that is untruthful or to violate any duty of candor or
other fiduciary duty to the Bankruptcy Court or their respective stakeholders. Debtors retain the


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right to pursue any transaction or restructuring strategy that, in Debtors’ business judgment, will
maximize the value of their estates.

                      5.8.10 Notwithstanding anything to the contrary herein, in no event shall
Buyer be required to pay or assume any Cure Costs.

        5.9    Copies of Pleadings. Seller shall consult with Buyer concerning the Sale Motion,
the Sale Order, and any other Orders of the Bankruptcy Court relating to the Transactions, and
the bankruptcy pleadings and proceedings in connection therewith. As soon as reasonably
practicable, prior to filing thereof, Seller shall provide Buyer with drafts of all documents,
motions, orders, filings or pleadings that Seller proposes to file with the Bankruptcy Court that
relate to the approval of this Agreement, the Sale Order and the consummation of the
Transactions. Seller shall also promptly provide Buyer with copies of all pleadings received by
or served by or upon Seller in connection with the Chapter 11 Cases that relate to or, in Seller’s
judgment, are reasonably expected to affect the transactions provided for in this Agreement and
which have not, to the Knowledge of Seller, otherwise been served on Buyer.

         5.10 Books and Records. For a period of six (6) years after the Closing, Buyer shall:
(a) retain all books and records related to the Purchased Assets, the Assumed Liabilities and the
Business (including all Purchased Books and Records); and (b) upon reasonable Notice from
Seller to Buyer and during normal business hours, cooperate with and provide Seller, any of
Seller’s Affiliates, and the officers, employees, agents and Representatives of Seller and Seller’s
Affiliates reasonable access (including the right to make copies at Seller’s expense or the expense
of any Affiliate of Seller) to such books and records and to Buyer’s Representatives, to the extent
necessary for a reasonable business purpose, including as may be necessary for the preparation
of financial statements, withholding or Tax forms, Tax Returns, in connection with any Litigation,
or in connection with the administration of the Chapter 11 Cases or the wind-down of its
remaining business and operations, and to any and all books and records relating to any Purchase
Price payments or any related reports, including all documents, work papers, schedules,
memoranda, and records used by or prepared by Buyer or its Representatives in preparing any
such reports, together with any other information related thereto which Seller may reasonably
request. Notwithstanding the foregoing, Buyer shall not be required by this Section 5.10 to
provide Seller, any of Seller’s Affiliates, and the officers, employees, agents and Representatives
of Seller and Seller’s Affiliates with access to or to disclose information (i) the disclosure of
which would violate applicable Law, (ii) that in the reasonable judgment of Buyer would result
in the disclosure of any Trade Secrets of third parties or violate any of its obligations with respect
to confidentiality or (iii) the disclosure of which would cause the loss of any attorney-client,
attorney work product or other legal privilege.

       5.11 Trade Notification. Seller and Buyer shall consult with each other on the timing,
method, form and content of notifications to customers and suppliers regarding the Transactions
and shall consider in good faith any comments or proposed changes received from the other Party.

       5.12    Employee Matters.

                     5.12.1 List of Business Employees. Section 3.1.10(a) of Seller Disclosure
Schedules shall be updated by Seller and delivered to Buyer no later than 3:00 P.M. (Eastern


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Time) on May 4, 2025, solely to reflect any Business Employees who, subject to Seller’s
obligations under Section 4.2, are hired or whose employment is terminated by Seller after the
date of this Agreement and prior to 3:00 P.M. (Eastern Time) on May 4, 2025.

                          5.12.2 Offers of Employment. On or prior to 3:00 P.M. (Eastern Time) on
May 4, 2025 (the “Offer List Deadline”), Buyer will provide Seller with a list identifying the
Business Employees to whom Buyer intends to offer employment (the “Offer Employees”);
provided, however, that the number of Offer Employees (who are not Store Employees) shall be
equal to or greater than the sum of the number of Business Employees (who are not Store
Employees) as of the Offer List Deadline minus 75; provided, further that notwithstanding
anything to the contrary herein, Buyer shall offer employment to a sufficient number of Business
Employees (and provide for terms and conditions of employment to such Business Employees
that would not reasonably be expected to constitute a constructive discharge under the WARN
Act) such that Seller and its Affiliates are not subject to any obligations or Liabilities under the
WARN Act resulting from employment losses, layoffs or plant closings in connection with the
Closing. On or prior to the Offer List Deadline, Buyer shall, or shall cause one of its Affiliates to,
offer employment on an at-will basis, to be effective on the applicable Continuing Employee
Transfer Date, to each Offer Employee (the Offer Employees who accept such an offer of
employment, satisfy each of the requirements of such offer, and actually commence employment
with Buyer, the “Continuing Employees”). Such offers of employment shall be conditioned on
the Closing and, in Buyer’s sole discretion, on the Offer Employee (who is not a Store Employee)
satisfying Buyer’s requirements to execute and deliver non-competition, non-solicitation,
confidentiality agreements, and, with respect to Store Employees, further conditioned on the Store
at which such Store Employee works becoming a Transferred Store (the date of such occurrence,
the “Store Transfer Date”). Seller will cooperate with any reasonable requests by Buyer in order
to facilitate the offers of employment and delivery of such offers to the Offer Employees and shall
not take any steps to discourage any Offer Employee from accepting such offer of employment.
Each offer made pursuant to this Section 5.12.2 shall provide for (a) base salary or hourly wage
rate, as applicable, not less than such Offer Employee’s base salary or hourly wage rate, as
applicable, as in effect immediately prior to the Closing Date, (b) annual short-term cash incentive
compensation opportunities (excluding any equity or equity-based, long-term incentive, stay-on
or retention opportunities), to the extent applicable, that are reasonably comparable, in the
aggregate, to the annual short-term cash incentive compensation opportunities provided to such
Offer Employee by Seller and its Subsidiaries immediately prior to the Closing Date, and
(c) employee benefits (excluding defined benefit pension, nonqualified deferred compensation,
severance, equity, equity-based and post-employment or retiree health and welfare benefits,
collectively, the “Excluded Benefits”) that are substantially comparable, in the aggregate, to the
employee benefits provided to such Offer Employee by Seller and its Subsidiaries immediately
prior to the Closing Date.

                        5.12.3 Terms and Conditions of Employment. Until December 31, 2025,
or, if earlier, until the relevant Continuing Employee’s termination of service following the
Closing each Continuing Employee shall receive (a) base salary or hourly wage rate, as
applicable, not less than such Continuing Employee’s base salary or hourly wage rate as in effect
immediately prior to the Closing Date, (b) annual short-term cash incentive compensation
opportunities (excluding any equity or equity-based, long-term incentive, stay-on or retention
opportunities), to the extent applicable, that are reasonably comparable, in the aggregate, to the


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annual short-term cash incentive compensation opportunities provided to such Continuing
Employee by Seller and its Subsidiaries immediately prior to the Closing Date, and (c) employee
benefits (excluding the Excluded Benefits) that are substantially comparable, in the aggregate, to
the employee benefits provided to such Continuing Employee by Seller and its Subsidiaries
immediately prior to the Closing Date. Buyer shall, or shall cause one of its Affiliates to, cause
each Continuing Employee to be provided with the severance and termination benefits
substantially similar to the severance and termination benefits set forth on Section 5.12.3 of Seller
Disclosure Schedules.

                       5.12.4 At-Will Employment. Nothing in this Agreement shall limit
Buyer’s ability to amend or terminate a Continuing Employee’s employment terms following the
Closing. With respect to any Business Employee who is, on the Closing Date (or, such later date
as may be specified in the Transition Services Agreement), absent as a result of an approved leave
due to short-term or long-term disability (including a maternity disability) (each an “Inactive
Business Employee”), Buyer’s offer of employment in accordance with Section 5.12.2 shall (a)
be contingent upon such Inactive Business Employee’s return to active duty on or prior to the six-
month anniversary of such date or such longer period as such Business Employee has
reinstatement rights under applicable Law, and (b) be effective as of the date that such Business
Employee presents himself or herself to Buyer or its Affiliates for active employment. The
applicable Plan shall retain any obligations to provide any applicable disability benefits to such
Inactive Business Employee in accordance with the terms of such Plan until such Inactive
Business Employee becomes a Continuing Employee.

                         5.12.5 Buyer Benefit Plans. In respect of the employee benefit plans,
programs, policies, contracts, agreements or other arrangements (whether written or unwritten)
established or maintained by Buyer or its Affiliates that do not provide the Excluded Benefits
(collectively, “Buyer Benefit Plans”), Buyer shall, for purposes of determining eligibility to
participate, vesting and the level of paid time off, vacation and severance benefits, recognize each
Continuing Employee’s service with Seller and its Subsidiaries to the same extent and for the
same purpose that such service was recognized under the corresponding Plans prior to the Closing
Date; provided, that such service shall not be recognized to the extent that such recognition would
result in a duplication of benefits or relates to the Excluded Benefits. With respect to each Buyer
Benefit Plan that is an “employee welfare benefit plan” (within the meaning of section 3(1) of
ERISA), Buyer or its Affiliates shall use reasonable best efforts to: (a) waive all limitations as to
pre-existing conditions, exclusions and waiting periods with respect to participation and coverage
requirements applicable to each Continuing Employee (and his or her covered dependents) to the
extent that such was satisfied under the analogous Plan, and (b) for the year in which the Closing
Date occurs, provide each Continuing Employee (and his or her covered dependents) with credit
for all co-payments, co-insurance, maximum out-of-pocket provisions and deductibles paid by
such Continuing Employee (and his or her covered dependents) prior to the Closing Date under
the corresponding Plan for purposes of satisfying the corresponding deductible, co-insurance, co-
payment and maximum out-of-pocket provisions under the analogous Buyer Benefit Plan. Buyer
and its Affiliates shall cause each Continuing Employee (and his or her eligible dependents) who
is covered by a Plan that is a group health or welfare plan immediately prior to the Closing Date
(or such later date as may be specified in the Transition Services Agreement) to be covered on
and after such date by a Buyer Benefit Plan that is a group health or welfare plan that is



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substantially comparable, in the aggregate, to the Plan provided to such Continuing Employee by
Seller and its Subsidiaries immediately prior to the Closing Date.

                        5.12.6 401(k) Plan. Buyer and its Affiliates shall cause each Continuing
Employee who is a participant in any Plan that is intended to be qualified under section 401(a) of
the Code (the “Seller 401(k) Plan”) to be allowed to participate in and make elective deferrals
into, effective as soon as administratively feasible following the Closing Date, a 401(k) plan
sponsored by Buyer or any of its Affiliates (the “Buyer 401(k) Plan”). In addition, Seller and
Buyer or its applicable Affiliate shall take all steps necessary to permit each Continuing Employee
who is eligible to receive an eligible rollover distribution (as defined in section 401(a)(31) of the
Code) from the Seller 401(k) Plan, if any, to rollover such eligible rollover distribution, including
any loan notes to the Buyer 401(k) Plan in accordance with ERISA and the Code.

                       5.12.7 COBRA Continuation. For the avoidance of doubt, Seller will
retain all Liability to provide COBRA continuation health coverage with respect to any
“qualifying event” that occurs on or prior to the Closing Date for any qualified beneficiary.

                        5.12.8 WARN Act. To the extent Buyer’s failure to offer employment to
a sufficient number of Business Employees (and provide for terms and conditions of employment
that would not reasonably be expected to constitute a constructive discharge under the WARN
Act) triggers any Liabilities for Seller or its Affiliates under the WARN Act in connection with
the Closing, Buyer shall indemnify and hold Seller and its Affiliates harmless for any and all such
Liabilities. Buyer will not, and will cause its Affiliates not to, take any action on or after the
Closing Date that would cause any termination of employment of any employees by Seller or its
Affiliates occurring prior to or at the Closing to constitute a “plant closing,” “mass layoff” or
group termination or similar event under the WARN Act, or to create any Liability or penalty to
Seller or any of its Affiliates for any employment terminations under applicable Law. Buyer shall
indemnify and hold Seller and its Affiliates harmless for any and all Liabilities under the WARN
Act arising out of, relating to, or in respect of any actions of Buyer or its Affiliates occurring on
or after the Closing (including as a result of the consummation of Transaction).

                        5.12.9 Employee Communications; Cooperation. Prior to the Closing or
Store Transfer Date, as applicable, except as required by Law, Buyer shall not issue any
communication (including any electronic communication) to any Business Employee without the
prior written approval of Seller, such approval not to be unreasonably withheld. Except as
required by Law, the Parties shall mutually consider and agree to the contents, scope, form and
timing of any communications by Buyer with the Business Employees on all employment-related
matters pertaining to the Transactions (the “Employment Matters”). The Parties agree that at all
times prior to the Closing or Store Transfer Date, as applicable they will consult with each other
prior to carrying out any communication sessions relating to Employment Matters or otherwise
effecting any communications to the Business Employees relating to Employment Matters. Seller
and its Subsidiaries shall waive any notice requirements, post-termination restrictions or other
contractual constraints that might prevent Business Employees from commencing services with
or providing services to Buyer and its Affiliates as of the applicable Continuing Employee
Transfer Date.




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                        5.12.10Continuing Employee Transfer Date. “Continuing Employee
Transfer Date” shall be (a) for Continuing Employees and Store Employees, the Closing Date;
(b) for Continuing Employees who are Store Employees, the applicable Store Transfer Date; and
(c) for Inactive Business Employees, the first date on which such employee presents his or herself
to Buyer or any of its Affiliates from active employment. Effective as of immediately prior to the
Closing or the Store Transfer Date, as applicable, Seller shall, or shall cause its applicable
Subsidiary to, terminate the employment of each Offer Employee who has accepted an offer of
employment from Buyer or its Affiliate and who has satisfied each of the requirements of such
offer. Upon the Continuing Employee Transfer Date (or, if applicable, such later date as set forth
in the Transition Services Agreement), such Continuing Employee will become an employee of
Buyer or its Affiliate and cease to actively participate in or accrue benefits under any Plan.

                         5.12.11Third-Party Beneficiaries. This Section 5.12 shall be binding upon
and inure solely to the benefit of each of the Parties to this Agreement; nothing in this
Section 5.12, expressed or implied, is intended to confer upon any other Person any rights or
remedies of any nature whatever; and no provision of this Section 5.12 will create any third-party
beneficiary rights in any current or former employee, officer, director or individual independent
contractor of Seller or any of its Affiliates in respect of continued employment (or resumed
employment) or service or any other matter. This Section 5.12 shall not be considered, or deemed
to be, an amendment to any Plan or any compensation or benefit plan, program, agreement or
arrangement of Buyer or any of its Affiliates. Nothing in this Section 5.12 shall (i) obligate Buyer
or any of its Affiliates to continue to employ any Continuing Employee for any specific period of
time following the Closing Date, subject to the requirements of applicable Law or (ii) limit the
right of Buyer, Seller or any of their respective Affiliates to, at any time, change or modify any
Plan or Buyer Benefit Plans or other plans, policies, programs, agreements, arrangements or
Contracts providing compensation or benefits at any time and in any manner.

        5.13 Insurance. Other than the policies described in Section 2.1.1(s), Buyer hereby
acknowledges and agrees that, effective upon the Closing, all policies of, and binders evidencing,
any form or type of insurance that are owned or maintained by Seller or any of its Affiliates that
cover or relate to Seller, its Subsidiaries, or any of their respective assets, liabilities, employees,
businesses or operations (such policies and binders, the “Seller Insurance Coverage”) may be
terminated or modified by Seller or any of its Affiliates to exclude coverage of the Purchased
Assets, the Continuing Employees and the Assumed Liabilities, and neither Seller nor any of its
Affiliates will be purchasing or otherwise acquiring any “tail” policy or other additional or
substitute coverage for the foregoing. Any refund, rebate, credit or other amount paid, distributed
or returned by any insurance provider or other Person in respect of, or relating to, Seller’s or any
of its Affiliates’ termination or modification of any Seller Insurance Coverage shall be the
property of Seller or such Affiliate.

        5.14 Relocation of Purchased Assets. Seller shall, and shall cause its Subsidiaries to,
use reasonable best efforts to relocate (at Buyer’s sole cost and expense) all Purchased Assets
(including Inventory) that are located at a Store that Buyer rejects pursuant to Section 2.7.2 to a
Transferred Store as directed by Buyer.

       5.15 Legal Entity Names. To the extent that Seller or its Affiliates continue to
incorporate the Trademarks or words “Vitamin Shoppe” or any similar name (“Vitamin Shoppe


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Marks”) in their corporate or legal names following the Closing, Seller shall, and shall cause any
such applicable Affiliates to, by no later than thirty (30) days post-Closing, change the corporate
and legal names of such entities to no longer incorporate any Vitamin Shoppe Marks.

        5.16    Financing Cooperation (Seller).

                       5.16.1 From and after the date of this Agreement and on or prior to the
Closing Date, Seller shall use its, and shall cause its Affiliates to use their, reasonable best efforts
to provide to Buyer, at Buyer’s sole cost and expense, such reasonable cooperation as may be
reasonably requested by Buyer or the Debt Financing Sources to assist Buyer in obtaining any
Debt Financing being arranged for the purpose of financing the Transactions and the related fees
and expenses, including the following:

                       (a)    permitting the marketing and syndication efforts to benefit from
existing banking relationships;

                        (b)    upon reasonable advance Notice, making Seller’s and its
Subsidiaries’ senior officers continuing in their positions following the Closing with appropriate
expertise available to participate in a reasonable number of meetings (but no more than a total of
four (4)) (including customary one-on-one meetings with the Debt Financing Sources),
presentations, road shows, due diligence sessions, drafting sessions and sessions with rating
agencies at reasonable times to be mutually agreed;

                       (c)      assisting with the preparation of customary information and
materials regarding Seller and its Affiliates in connection with rating agency presentations,
private placement memoranda, bank information memoranda, lender presentations, projections,
pro forma financial statements, credit agreements (and security documentation related thereto)
and similar documents (including the provision of customary authorization letters for distribution
of materials to lenders and other investors); provided, that any such information distributed in
connection with authorization letters shall contain customary language which shall exculpate the
Business, Seller, its Affiliates and their respective Representatives with respect to any liability
related to the unauthorized use or misuse of the contents of such information or related marketing
materials by the recipients thereof;

                       (d)    furnishing Buyer and the Debt Financing Sources with (i) financial
statements prepared in accordance with GAAP and presenting fairly in all material respects the
financial position and the results of operations and cash flows of the Business, (ii) all other
reasonably available financial information of the Business that is reasonably requested or that is
required to permit Buyer to prepare pro forma financial statements required in connection with
the Debt Financing and (iii) other customary business, financial, operational and other
information regarding the Business reasonably requested in connection with the Debt Financing;

                     (e)     furnishing Buyer and the Debt Financing Sources upon the
reasonable written request (including via electronic mail) of Buyer promptly with all
documentation and other information requested by the Debt Financing Sources which are required
by Governmental Authorities with respect to the Debt Financing under applicable “know your
customer” and anti-money laundering rules and regulations, including the PATRIOT Act; and



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                       (f)     facilitating the negotiation of, and executing and delivering as of
(but not effective prior to) the Closing any credit agreements, pledge and security documents,
guarantees and other definitive financing documents or instruments, certificates and documents
(including facilitating the evaluation of the Business’ assets and the collateral arrangements
required by the Debt Financing Sources to create, perfect and enforce the liens and security
interests therein) and facilitating the preparation of schedules to such agreements and other
documents.

                        5.16.2 Seller hereby consents to the reasonable use of Seller’s and its
Affiliate’s trademarks and logos, in each case, in connection with the Debt Financing; provided,
that such trademarks and logos are used in a manner that is not intended to or reasonably likely
to harm or disparage Seller or the reputation or goodwill of Seller or the Business or any assets
or rights material to the operation of the business of Seller or the Business.

                         5.16.3 Notwithstanding anything to the contrary contained in this
Section 5.16, Seller shall not be required to take or permit the taking of any action pursuant to
this Section 5.16 that would: (a) require Seller or any of its Affiliates or any Persons who are
officers or directors of such entities to pass resolutions or consents to approve or authorize the
execution of the Debt Financing, except those which are subject to the occurrence of the Closing
passed by directors or officers continuing in their positions following the Closing; (b) require
Seller or any of its Affiliates or any Persons who are officers or directors of such entities to enter
into, execute or deliver any certificate, document, instrument or agreement or agree to any change
or modification of any existing certificate, document, instrument or agreement, in each case, that
is not contingent upon the Closing or that would be effective prior to the Closing (other than the
execution of customary authorization letters referenced above); (c) cause any representation or
warranty in this Agreement to be breached by Seller; (d) require Seller or any of its Affiliates to
pay any commitment or other similar fee or incur any other material liability in connection with
the Debt Financing prior to the Closing; (e) cause any director, officer, employee or stockholder
of Seller or any of its Affiliates to incur any personal liability; (f) conflict with the Organizational
Documents of Seller or any of its Affiliates or any Laws; (g) provide access to or disclose
information that is subject to an attorney-client or attorney work-product privilege or other similar
privilege; (h) require Seller, the Business or any of their respective Affiliates, prior to the Closing,
to be an issuer or other obligor with respect to the Debt Financing; and (i) require Seller, the
Business or any of their respective Affiliates to prepare or deliver any (i) financial statements or
information that is not reasonably available to it or prepared in the ordinary course of its financial
reporting practice, (ii) pro forma financial statements or pro forma financial information,
(iii) projections, “management’s discussion and analysis” or similar narrative disclosures for
Seller, the Business or their respective Affiliates or (iv) information regarding any post-Closing
or pro forma cost savings, synergies, capitalization, ownership or other post-Closing pro forma
adjustments desired to be incorporated into any information used in connection with the Debt
Financing. Buyer shall, promptly on request by Seller on or after the Closing Date, reimburse
Seller or any of its Affiliates for all reasonable and documented out-of-pocket costs incurred by
them or their respective Representatives in connection with such cooperation and shall indemnify
and hold harmless Seller and its Affiliates and their respective Representatives from and against
any and all losses suffered or incurred by them in connection with the arrangement of the Debt
Financing, any action taken by them at the request of Buyer or its Representatives pursuant to this
Section 5.16, except with respect to any losses suffered or incurred as a result of any gross


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negligence or willful misconduct by Seller or otherwise arising as a result of information provided
by or on behalf of Seller.

                         5.16.4 Buyer shall indemnify, defend and hold harmless Seller, the
Business and their respective Affiliates and their respective Representatives from and against any
and all liabilities, losses, damages, Claims, costs and expenses, interest, awards, judgments and
penalties suffered or incurred by them in connection with their cooperation in the arrangement of
the Debt Financing (including the arrangement thereof) or any action taken in accordance with
this Section 5.16 (and any information utilized in connection therewith), except with respect to
any liabilities, losses, damages, Claims, costs and expenses, interest, awards, judgments and
penalties suffered or incurred as a result of any gross negligence or willful misconduct by Seller
and its Affiliates and their respective Representatives. In addition, in the event the Closing does
not occur due to termination of this Agreement by Seller pursuant to, and in accordance with,
Section 8.1, Buyer shall, promptly upon request by Seller and in any event on the earlier of (x)
ten (10) days after request or (y) prior to or concurrently with Closing reimburse Seller for all
reasonable and documented out-of-pocket costs and expenses incurred by Seller, its Affiliates and
their respective Representatives in connection with this Section 5.16.

                        5.16.5 Notwithstanding anything in this Agreement to the contrary, in no
event shall the receipt or availability of any funds or financing (including any Debt Financing) by
or to Buyer or any of its Affiliates or any other financing transaction be a condition to any of
Buyer’s obligations hereunder.

                        5.16.6 Notwithstanding anything in this Agreement to the contrary, any
failure by Seller or the Company to perform or comply with any covenant under this Section 5.16
will not be considered in determining the satisfaction of the conditions in Article 6.

                       5.16.7 Any information provided to or obtained by Buyer pursuant to this
Section 5.16 will be subject to the Confidentiality Agreement and must be held by Buyer and in
accordance with and be subject to the terms of the Confidentiality Agreement.

        5.17 Financial Statements. During the Interim Period, Seller shall furnish to Buyer as
soon as practicable, in each case, within thirty (30) days of the month-end or quarter-end, as
applicable, (a) the unaudited statement of operations and unaudited combined balance sheet, and
the related income statement of the Business, in each case, prepared in Ordinary Course for the
monthly period after February 22, 2025, and each subsequent monthly period ended during the
Interim Period and (b) the unaudited cash flow statement of the Business prepared in the Ordinary
Course for the quarterly period after December 28, 2024 and each subsequent quarterly period
end during the Interim Period (collectively, “Interim Financial Statements”). For the avoidance
of doubt, Closing shall not be delayed or conditioned on the receipt of such Interim Financial
Statements.




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                                       ARTICLE 6
                                 CONDITIONS PRECEDENT

        6.1   Conditions to Obligations of Buyer and Seller. The obligations of Buyer and
Seller to complete the Transactions are subject to the satisfaction or waiver (if permitted by
applicable Law) at or prior to the Closing of the following conditions:

                      6.1.1 No Illegality or Law. There shall not be in effect any applicable
Law or Order that enjoins or prohibits the Transactions.

                      6.1.2 Bankruptcy Orders. The Bankruptcy Court shall have entered the
Sale Order and the Sale Order shall be a Final Order.

                      6.1.3 Regulatory Approvals. Any waiting period (including any
extension thereof) or approvals applicable to the consummation of the Transactions under the
HSR Act shall have expired or been terminated (and the Laws set forth on Section 6.1.3 of Seller
Disclosure Schedules shall have expired or been terminated and any agreement with a
Governmental Authority not to consummate the Transactions).

        6.2      Conditions to Obligations of Buyer. The obligation of Buyer to complete the
Transactions is subject to the satisfaction, or waiver (if permitted by applicable Law) by Buyer,
at or prior to the Closing of the following additional conditions:

                        6.2.1 Truth of Representations and Warranties. The representations and
warranties of Seller contained in Section 3.1.1 (Organization; Good Standing; Qualification),
Section 3.1.2 (Authority and Enforceability), Section 3.1.4 (No Broker), and Section 3.1.7(a)
(Purchased Assets) must be true and correct in all material respects as of the Closing with the
same force and effect as if such representations and warranties were made on and as of such date
(provided, that if a representation and warranty speaks only as of a specific date it only needs to
be true and correct as of that date) and all other representations and warranties of Seller contained
in Section 3.1 must be true and correct (disregarding any “materiality”, “Material Adverse Effect”
or similar qualifications contained therein) as of the Closing with the same force and effect as if
such representations and warranties were made on and as of such date (provided, that if a
representation and warranty speaks only as of a specific date it only needs to be true and correct
as of that date), except where the failure of such representations and warranties to be so true and
correct would not have, or be reasonably expected to have, a Material Adverse Effect. Seller shall
also have executed and delivered a certificate confirming the foregoing signed by an officer of
Seller.

                        6.2.2 Performance of Covenants. Seller must have fulfilled or complied,
in all material respects, with all covenants contained in this Agreement required to be fulfilled or
complied with by it at or prior to the Closing. Seller shall also have executed and delivered a
certificate confirming the foregoing signed by an officer of Seller.

                       6.2.3 Material Adverse Effect. Since the date of this Agreement, there
shall not have occurred a Material Adverse Effect. Seller shall also have executed and delivered
a certificate confirming the foregoing signed by an officer of Seller.



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                      6.2.4    Closing Deliveries. At or prior to the Closing, Buyer must have
received the following:

                       (a)     a true and complete copy of the Sale Order, as entered by the
Bankruptcy Court;

                       (b)     the certificates referred to in Section 6.2.1, Section 6.2.2 and
Section 6.2.3;

                       (c)     a receipt acknowledging receipt of the Closing Payment, in
satisfaction of Buyer’s obligations pursuant to Section 2.3, validly executed by a duly authorized
representative of Seller; and

                       (d)    each of the Ancillary Agreements to which Seller or any of its
Subsidiaries is a party, validly executed by a duly authorized representative of Seller or its
applicable Subsidiary.

        6.3      Conditions to Obligations of Seller. The obligation of Seller to complete the
Transactions is subject to the satisfaction, or waiver (if permitted by applicable Law) by Seller,
at or prior to the Closing of the following additional conditions:

                        6.3.1 Truth of Representations and Warranties. The representations and
warranties of Buyer contained in Section 3.2 must be true and correct in all respects (disregarding
any “materiality” or similar qualifications contained therein) as of the Closing with the same force
and effect as if such representations and warranties were made on and as of such date (provided
that if a representation and warranty speaks only as of a specific date it only needs to be true and
correct as of that date), except where the failure of such representations and warranties to be so
true and correct would not, or be reasonably expected, to, materially adversely affect the ability
of Buyer to consummate the Transactions. Buyer shall also have executed and delivered a
certificate confirming the foregoing, signed by an officer of Buyer.

                        6.3.2 Performance of Covenants. Buyer must have fulfilled or complied,
in all material respects, with all covenants contained in this Agreement required to be fulfilled or
complied with by it at or prior to the Closing. Buyer shall also have executed and delivered a
certificate confirming the foregoing, signed by an officer of Buyer.

                      6.3.3    Closing Deliveries. At or prior to the Closing, Seller must have
received the following:

                       (a)     a true and complete copy of the Sale Order, as entered by the
Bankruptcy Court;

                       (b)     the certificates referred to in Section 6.3.1 and Section 6.3.2;

                         (c)     each of the Ancillary Agreements to which Buyer or any of its
Affiliates is a party, validly executed by a duly authorized representative of Buyer or its applicable
Affiliate;



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                      (d)    the Closing Payment in accordance with Section 2.3.1 (along with
a U.S. Federal Reserve reference or similar number evidencing execution of such payment); and

                      (e)   the Deposit (together with all accrued interest or other earnings
thereon), from the Escrow Agent.

                            ARTICLE 7
   NO SURVIVAL OF REPRESENTATIONS, WARRANTIES AND PRE-CLOSING
                           COVENANTS

         7.1    No Survival. The representations and warranties of the Parties and the covenants
and agreements of the Parties that are to be performed prior to the Closing, whether contained in
this Agreement or in any agreement or document delivered pursuant to this Agreement, shall not
survive beyond the Closing and other than with respect to claims for Fraud, there shall be no
liability following the Closing in respect thereof, whether such liability has accrued prior to or
after the Closing, on the part of any Party or any of its officers, directors, equity holders,
managers, agents or Affiliates; provided, however, that this Section 7.1 shall not limit any
covenant or agreement of the Parties that by its terms contemplates performance after the Closing,
and such covenants or agreements shall survive in accordance with its terms, and if no term is
specified, then for six (6) years following the Closing Date. Buyer and Seller acknowledge and
agree that the agreements contained in this Section 7.1 (a) require performance after the Closing
to the maximum extent permitted by applicable Law and will survive the Closing for six (6) years
and (b) are an integral part of the Transactions and that, without the agreements set forth in this
Section 7.1, none of the Parties would enter into this Agreement. Notwithstanding anything in
this Section 7.1 to the contrary, nothing in this Agreement shall limit or restrict the rights of any
Party hereto to maintain or recover any amounts in connection with any action or claim based on
Fraud or Willful Breach of the other Party, in each case (as applicable) subject to terms, conditions
and limitations set forth in Section 8.2.

       7.2     No Recourse.

                         7.2.1 Notwithstanding anything that may be expressed or implied in this
Agreement or any Ancillary Agreement to the contrary, each Party acknowledges and agrees,
both for itself and its Associated Persons and their respective successors and assigns, that, other
than with respect to claims of Fraud, and to the extent otherwise set forth in the Confidentiality
Agreement and the Equity Commitment Letter, (a) any Liability that may be based upon, in
respect of, arise under, out of or by reason of, be connected with or relate in any manner to this
Agreement or any Ancillary Agreement or any documents or instruments delivered thereunder or
the negotiation, execution or performance or non-performance of this Agreement or any Ancillary
Agreement or any documents or instruments delivered thereunder (including any representation
or warranty made in, in connection with or as an inducement to this Agreement or any Ancillary
Agreement) may be made only against (and such representations and warranties are those solely
of) the entities that are expressly identified as a Party in the Preamble of this Agreement or any
Ancillary Agreement (each a “Contracting Party”), and then only to the extent of the specific
obligations, terms and limitations set forth in this Agreement or any Ancillary Agreement or any
documents or instruments delivered thereunder, (b) in no event shall a Contracting Party have any
shared or vicarious liability, or otherwise be the subject of legal or equitable claims, for the


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actions, omissions of any other Person, (c) none of the Associated Persons of Seller and Buyer
(other than the Contracting Party) (collectively, the “Non-Recourse Persons”) shall have any
Liability arising under, out of or by reason of, connected with or relate in any manner to this
Agreement or any Ancillary Agreement or any documents or instruments delivered thereunder or
for any claim based on, in respect of or by reason of this Agreement or any Ancillary Agreement
or any documents or instruments delivered thereunder or their negotiation, execution,
performance, non-performance or breach, and each Party hereto, both for itself and its Associated
Persons and their respective successors and assigns, waives and releases all such Liabilities
against any such Non-Recourse Persons, including any and all causes of action arising from or
otherwise relating to such Non-Recourse Persons’ receipt of consideration or other benefits from
this Agreement or any Ancillary Agreement and the Transactions, and (d) to the maximum extent
permitted by applicable Laws, each of Buyer and Seller, both for themselves and their respective
Associated Persons and their respective successors and assigns, (i) waives and releases any and
all rights, claims, demands or causes of action that may otherwise be available at law or in equity,
or granted by statute, regulation or other applicable Law to avoid or disregard the entity form of
the Contracting Party or otherwise impute or extend the Liability of the Contracting Party to any
Non-Recourse Person, whether based on statute or based on theories of equity, agency, control,
instrumentality, alter ego, domination, sham, single business enterprise, piercing the veil,
unfairness, undercapitalization or otherwise and (ii) disclaims any reliance upon any Non-
Recourse Person with respect to the performance of this Agreement or any Ancillary Agreement
or any representation or warranty made in, in connection with or as an inducement to this
Agreement or any Ancillary Agreement. The Non-Recourse Persons are intended third-party
beneficiaries of this Section 7.2 with full rights of enforcement of this Section 7.2 as if a party
hereto.

                        7.2.2 Except to the extent otherwise expressly provided in Section 9.9,
Buyer’s sole and exclusive remedy (a) for a breach of any representation or warranty made by
Seller herein or in any document, certificate or instrument delivered pursuant hereto or (b) for a
breach of any covenant made by Seller herein or in any document, certificate or instrument
delivered pursuant hereto and required to be performed by Seller at or prior to the Closing, shall,
in either case, be limited to Buyer’s right to validly terminate this Agreement solely to the extent
permitted pursuant to Section 8.1, in which case Seller shall not have any further liability or any
kind (whether in equity or at Law, in Contract, in tort or otherwise), except to the extent expressly
provided in Section 8.1 or Section 8.2.

                        7.2.3 Except to the extent otherwise expressly provided in Section 9.9,
Seller’s sole and exclusive remedy (a) for a breach of any representation or warranty made by
Buyer herein or in any document, certificate or instrument delivered pursuant hereto or (b) for a
breach of any covenant made by Buyer herein or in any document, certificate or instrument
delivered pursuant hereto and required to be performed by Buyer at or prior to the Closing, shall,
in either case, be limited to Seller’s right to validly terminate this Agreement solely to the extent
permitted pursuant to Section 8.1, in which case Buyer shall not have any further liability of any
kind (whether in equity or at Law, in Contract, in tort or otherwise), except to the extent expressly
provided in Section 8.1 or Section 8.2 (and subject to Section 8.2.5).




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                                          ARTICLE 8
                                        TERMINATION

       8.1     Termination. This Agreement may, by Notice given prior to the Closing, be
terminated:

                       8.1.1   by mutual written agreement of Buyer and Seller;

                        8.1.2 by Buyer or Seller if there has been a material breach of the Sale
Order or this Agreement by the other Party such that the conditions of Closing (a) set forth in
Section 6.2.1 or Section 6.2.2, in the case of a termination by Buyer, or (b) set forth in
Section 6.3.1 or Section 6.3.2, in the case of a termination by Seller, would not be satisfied
(provided, that the non-breaching Party is not also in breach of this Agreement so as to cause the
conditions of Closing for the benefit of the other Party to not be satisfied), and such breach has
not been cured within twenty (20) days following Notice of such breach by the non-breaching
Party; provided, that, for greater certainty, a failure by Buyer to provide, or cause to be provided,
Seller with sufficient funds to complete the Transactions at the time which the Closing should
have occurred shall not be subject to this Section 8.1.2 and shall only be subject to
Section 8.1.7(a); provided, further, that within three (3) Business Days of such termination, if
Buyer is the terminating party pursuant to this Section 8.1.2, Buyer shall receive reimbursement
from Seller (by wire transfer of immediately available funds to the account designated by Buyer
by Notice to Seller) for Buyer’s reasonable fees, costs, expenses in an amount not to exceed
$3,000,000 (the “Buyer Expense Reimbursement”);

                        8.1.3 by Buyer, if (a) the Bankruptcy Court has not approved and entered
the Sale Order prior to 11:59 p.m. (Eastern Time) on May 15, 2025 (unless further extended upon
mutual agreement by Buyer and Seller in writing (email to counsel being sufficient)), (b)
following entry of the Sale Order if such Sale Order is not a Final Order (unless such Final Order
requirement is waived by Seller and Buyer in their respective discretion) within fourteen (14)
days of entry of the Sale Order, or (c) the Bankruptcy Court enters any Order materially
inconsistent with the Sale Order or the consummation of this Agreement and such order is not
reversed, modified or amended to the satisfaction of Buyer within thirty (30) days; provided, that
the right to terminate this Agreement under this Section 8.1.3 shall not be available to Buyer if
Buyer failed to fulfill any material obligation under this Agreement and such failure is the cause
of, or resulted in, such stay, reversal, modification, amendment or vacation; provided, further,
that within three (3) Business Days of such termination, if Buyer is the terminating party pursuant
to this Section 8.1.3, Buyer shall receive Buyer Expense Reimbursement from Seller (by wire
transfer of immediately available funds to the account designated by Buyer by Notice to Seller);

                        8.1.4 by Buyer, if Seller seeks to have the Bankruptcy Court enter an
order (or consents to or does not oppose entry of an order) (a) dismissing the Chapter 11 Cases or
converting the Chapter 11 Cases into cases under chapter 7 of the Bankruptcy Code,
(b) appointing a trustee, receiver or other Person responsible for operation or administration of
Seller or its business or assets, or a responsible officer for Seller, or an examiner with enlarged
powers relating to the operation or administration of Seller or its business or assets (each, an
“Appointee”); provided, that Appointee shall not include any chief restructuring officer that has
been or that may be appointed by Seller and authorized by the Bankruptcy Court in the Chapter


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11 Cases, or (c) if Seller files any stand-alone plan of reorganization or liquidation, in each case,
that does not contemplate consummation of the Transactions (or announces support of any such
plan filed by any other party); provided, that within three (3) Business Days of such termination,
if Buyer is the terminating party pursuant to this Section 8.1.4, Buyer shall receive Buyer Expense
Reimbursement from Seller (by wire transfer of immediately available funds to the account
designated by Buyer by Notice to Seller);

                      8.1.5 by Buyer or Seller if Closing has not occurred by the Outside Date;
provided that such terminating Party is not in material breach of this Agreement at the time of
such termination;

                       8.1.6 by Buyer or Seller (provided, that such terminating Party is not in
material breach of this Agreement) if a Governmental Authority of competent jurisdiction shall
have issued a final and non-appealable Order or taken any other non-appealable final action, in
each case, having the effect of permanently making the consummation of the Transactions illegal
or otherwise permanently restraining or prohibiting consummation of the Transactions;

                         8.1.7 by Seller, if (a) (i) all of the conditions set forth in Sections 6.1 and
6.2 are satisfied as of the Closing Date (other than those conditions that, by their nature, can only
be satisfied as of the Closing Date, but which would be satisfied as of the Closing Date), (ii) Seller
has irrevocably notified Buyer in writing that (A) it is ready, willing and able to consummate the
Transactions and (B) all conditions set forth in Section 6.3 have been satisfied (other than those
conditions that, by their nature, can only be satisfied as of the Closing Date, but which would be
satisfied as of the Closing Date) or that it is willing to irrevocably waive any unsatisfied conditions
set forth in Section 6.3, (iii) Seller has given Buyer Notice at least two (2) Business Days prior to
such termination stating Seller’s intention to terminate this Agreement pursuant to this
Section 8.1.7, and (iv) Buyer does not provide, or cause to be provided, Seller with immediately
available funds in amount equal to the Closing Payment at the time which the Closing should
have occurred by the expiration of the two (2) Business Day period contemplated by clause (iii)
hereof, or (b) Seller or its board of directors (or other applicable body), upon consultation with
outside financial advisors and legal counsel, determines in its good faith business judgment that
proceeding with the Transactions would violate Law or be inconsistent with its fiduciary
obligations under Law;

                       8.1.8 by Buyer, if (a) the Bankruptcy Court enters any Final Order that
would reasonably be expected to prevent, impede or materially delay the consummation of the
Transactions in accordance with the terms of this Agreement or (b) any creditor of Seller obtains
a final and unstayed Order of the Bankruptcy Court granting relief from the automatic stay to
foreclose on any material portion of the Purchased Assets; provided, that within three (3) Business
Days of such termination, if Buyer is the terminating party pursuant to this Section 8.1.8, Buyer
shall receive Buyer Expense Reimbursement from Seller (by wire transfer of immediately
available funds to the account designated by Buyer by Notice to Seller); and

                       8.1.9 by Buyer, if Seller fails to file the Sale Motion within five (5)
Business Days after execution of this Agreement; provided, that within three (3) Business Days
of such termination, if Buyer is the terminating party pursuant to this Section 8.1.9, Buyer shall



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receive Buyer Expense Reimbursement from Seller (by wire transfer of immediately available
funds to the account designated by Buyer by Notice to Seller).

       8.2     Procedure and Effect of Termination.

                       8.2.1 Termination of this Agreement by either Buyer or Seller shall be
by delivery of a Notice to the other Party. Such Notice shall state the termination provision in this
Agreement that such terminating Party is claiming provides a basis for termination of this
Agreement. Termination of this Agreement pursuant to the provisions of Section 8.1 shall be
effective upon and as of the date of delivery of such Notice as determined pursuant to Section 9.2.

                       8.2.2 If a Party waives compliance with any of the conditions, obligations
or covenants contained in this Agreement, the waiver will be without prejudice to any of its rights
of termination in the event of non-fulfilment, non-observance or non-performance of any other
condition, obligation or covenant in whole or in part.

                        8.2.3 If this Agreement is terminated, the Parties are released from all of
their obligations under this Agreement, except that each Party’s obligations under Sections 5.2,
7.1, 7.2, and 8.2, and Article 9 will survive.

                        8.2.4 As soon as practicable following a termination of this Agreement
for any reason, but in no event more than thirty (30) days after such termination, Buyer and Seller
shall, to the extent practicable, withdraw all filings, applications and other submissions relating
to the Transactions filed or submitted by or on behalf of such Party to any Governmental
Authority or other Person.

                       8.2.5 Notwithstanding Section 8.2.3, in the event of a valid termination
of this Agreement by Seller pursuant to Section 8.1.2 or Section 8.1.7(a), then Buyer and Seller
shall, within two (2) Business Days after the date of such termination, deliver joint written
instructions (“Joint Written Instructions”) to the Escrow Agent directing the Escrow Agent to
deliver to Seller an amount equal to the Deposit plus any accrued interest or other earnings
thereon. Buyer acknowledges that the agreements contained in this Section 8.2.5 are an integral
part of the Transactions, and that without these agreements, Seller would not have entered into
this Agreement; accordingly, if Buyer fails to deliver such Joint Written Instructions or pay any
amount due pursuant to this Section 8.2.5 and, in order to obtain any such Joint Written
Instructions and/or to obtain such payment, Seller commences a Litigation which results in a
judgment against Buyer for any Joint Written Instructions and/or payment set forth in this Section
8.2.5, Buyer shall pay Seller its costs and expenses (including reasonable attorneys’ fees and
disbursements not to exceed $1,000,000) in connection with such Litigation (“Seller Expense
Reimbursement”). For the avoidance of doubt, subject to Section 9.9, Seller’s receipt of the
Deposit and Seller Expense Reimbursements, to the extent applicable, pursuant to this Section
8.2.5 shall be Seller’s sole and exclusive remedy in connection with a termination of the
Agreement in accordance with Section 8.1.2 or Section 8.1.7(a) by Seller; excluding any Willful
Breach of this Agreement prior to the date of such Termination; provided, that, in no event shall
Buyer’s liability for any Willful Breach (pursuant to a non-appealable Order from a court of
competent jurisdiction) exceed the amount of the Deposit (minus any other payments made




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pursuant to this Section 8.2.5); provided, further, that, in no event shall Buyer’s liability exceed
the Deposit (together with any Seller Expense Reimbursement).

                        8.2.6 In no event shall Seller seek any other remedies available at law or
in equity in the event of a valid termination of this Agreement, including equitable relief,
consequential, indirect, special, and/or punitive damages, damages for the benefit of the bargain
lost by Seller (taking into consideration relevant matters, including opportunities foregone while
negotiating this Agreement or in reliance on this Agreement or on the expectation of the
consummation of the transactions contemplated hereby or the time value of money), any
diminution in value of the Business, or the reimbursement of any Seller’s costs and expenses
against the Buyer Related Persons in excess of the amount of the Deposit (together with any Seller
Expense Reimbursement). While Seller may pursue either a grant of specific performance (in
accordance with Section 9.9 and subject to the limitations thereof) or the payment of the Deposit
(together with any Seller Expense Reimbursement) or monetary damages up to the amount of the
Deposit (together with any Seller Expense Reimbursement) in accordance with this Section 8.2,
under no circumstances will Seller be permitted or entitled to receive both (A) a grant of specific
performance to cause the Closing to occur (or other equitable relief) and (B) monetary damages
up to the amount of the Deposit (together with any Seller Expense Reimbursement) in accordance
with this Section 8.2, and in no circumstances will Buyer be required to pay the Deposit (together
with any Seller Expense Reimbursement) on more than one (1) occasion, and in no event shall
Seller receive an amount in excess of the Deposit (together with any Seller Expense
Reimbursement).

                        8.2.7 Notwithstanding anything to the contrary in this Agreement or any
Ancillary Agreement, but subject to Seller’s right expressly set forth in Section 9.9, in the event
that this Agreement is terminated (including in the event of any Willful Breach), the maximum
aggregate liability of the Buyer Related Persons shall be limited to the amount of the Deposit
(together with any Seller Expense Reimbursement), and in no event shall any Seller Related
Person seek any other remedies available at Law or in equity, including equitable relief,
consequential, indirect, special, and/or punitive damages, damages for the benefit of the bargain
lost by any Seller Related Person (taking into consideration relevant matters, including
opportunities foregone while negotiating this Agreement or in reliance on this Agreement or on
the expectation of the consummation of the transactions contemplated hereby or the time value
of money), any diminution in value of Seller, the Business, or the reimbursement of any of Seller’s
costs and expenses against the Buyer Related Persons in excess of the amount of the Deposit
(together with any Seller Expense Reimbursement).

                        8.2.8 The Parties acknowledge and agree that the agreements contained
in this Section 8.2 are an integral part of the Transactions and without these agreements, the other
Parties would not enter into this Agreement. The Parties acknowledge and agree that the Deposit
(together with any Seller Expense Reimbursement) is liquidated damages, and not a penalty, and
the payment of the Deposit (together with any Seller Expense Reimbursement) in the
circumstances specified herein is supported by due and sufficient consideration (including the
fact that Seller would not be entitled to receive the Closing Payment and would suffer other
damages of an incalculable nature and amount).




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                       8.2.9 Notwithstanding Section 8.2.3 and subject to Section 8.2.5, in the
event of a termination of this Agreement other than by Seller pursuant to Section 8.1.2 or
Section 8.1.7(a), then Buyer and Seller shall, within two (2) Business Days after the date of such
termination, deliver Joint Written Instructions to the Escrow Agent directing the Escrow Agent
to deliver to Buyer an amount equal to the Deposit plus any accrued investment interest thereon
(less any fees or expenses owing to the Escrow Agent).

                       8.2.10 In the event of termination of this Agreement pursuant to
Section 8.1: (a) Buyer shall (in accordance with the Confidentiality Agreement) return or destroy
all documents and other material received from Seller relating to Seller and its Subsidiaries, the
Business, the Purchased Assets and/or the Transactions, whether so obtained before or after the
execution hereof, to Seller; and (b) all confidential information received by Buyer with respect to
Seller and its Subsidiaries, the Business, the Purchased Assets and/or the Transactions shall be
treated in accordance with the Confidentiality Agreement, and with the Confidentiality
Agreement remaining in full force and effect in accordance with its terms, notwithstanding the
termination of this Agreement.

                                         ARTICLE 9
                                      MISCELLANEOUS

       9.1     Governing Law, Jurisdiction, Venue and Service.

                       9.1.1 Governing Law. Except to the extent the mandatory provisions of
the Bankruptcy Code apply, this Agreement shall be governed by and construed in accordance
with the Laws of the State of Delaware, including all matters of construction, validity and
performance, in each case without reference to any conflicts or choice of Law rule or principle
(whether of the State of Delaware or any other jurisdiction) that might otherwise refer
construction or interpretation of this Agreement to the substantive Law of another jurisdiction.

                       9.1.2   Consent to Jurisdiction and Venue.

                        (a)    Subject to Section 9.9, the Parties hereby irrevocably and
unconditionally consent to the exclusive jurisdiction of the Bankruptcy Court for any action, suit
or proceeding (other than appeals therefrom) arising out of or relating to this Agreement or any
Ancillary Agreement, the negotiation, execution, or performance of this Agreement or any
Ancillary Agreement, or the Transactions and any questions concerning the construction,
interpretation, validity, and enforceability of this Agreement or any Ancillary Agreement and
agree not to commence any action, suit or proceeding (other than appeals therefrom) related
thereto except in such court. The Parties further hereby irrevocably and unconditionally waive
any objection to the laying of venue of any action, suit or proceeding (other than appeals
therefrom) arising out of or relating to this Agreement or any Ancillary Agreement, the
negotiation, execution, or performance of this Agreement or any Ancillary Agreement, or the
Transactions and any questions concerning the construction, interpretation, validity, and
enforceability of this Agreement or any Ancillary Agreement in the Bankruptcy Court, and hereby
further irrevocably and unconditionally waive and agree not to plead or claim in any such court
that any such action, suit or proceeding brought in the Bankruptcy Court has been brought in an
inconvenient forum. Following the conclusion, dismissal or entry of a final order otherwise


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resolving or ending the Chapter 11 Cases, such Litigation arising out of or relating to this
Agreement or any Ancillary Agreement, the negotiation, execution, or performance of this
Agreement or any Ancillary Agreement, or the Transactions and any questions concerning the
construction, interpretation, validity, and enforceability of this Agreement or any Ancillary
Agreement shall be heard and determined exclusively in the Court of Chancery of the State of
Delaware (of if such court lacks jurisdiction, any other federal or state courts in the State of
Delaware), and the Parties hereby irrevocably submit to the exclusive jurisdiction and venue of
such courts in any such Litigation and irrevocably waive the defense of any inconvenient forum
to the maintenance of any such Litigation.

                (b)  ANY LITIGATION IS LIKELY TO INVOLVE COMPLICATED
AND DIFFICULT ISSUES AND THEREFORE THE PARTIES HEREBY IRREVOCABLY
AND UNCONDITIONALLY WAIVE, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ALL THEIR RIGHT TO A JURY TRIAL IN CONNECTION WITH ANY
LITIGATION (WHETHER BASED IN CONTRACT, TORT OR OTHERWISE) ARISING
OUT OF OR RELATING TO THIS AGREEMENT, ANY ANCILLARY AGREEMENT OR
THE TRANSACTIONS. ANY LITIGATION WILL BE DECIDED BY COURT TRIAL
WITHOUT A JURY AND THE PARTIES MAY FILE AN ORIGINAL COUNTERPART OF
A COPY OF THIS AGREEMENT WITH ANY COURT AS WRITTEN EVIDENCE OF THE
CONSENT OF THE PARTIES TO THE IRREVOCABLE WAIVER OF THEIR RIGHT TO
TRIAL BY JURY. EACH PARTY (I) CERTIFIES THAT NO ADVISOR OF ANY OTHER
PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER
PARTY WOULD NOT, IN THE EVENT OF ANY LITIGATION, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER
PARTIES HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG
OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION
9.1.2(b).

                      9.1.3 Service. Each Party further agrees that service of any process,
summons, Notice or document by registered mail to its address set forth in Section 9.2.2 shall be
effective service of process for any action, suit or proceeding brought against it under this
Agreement in any such court. Nothing in this Agreement will affect the right of any Party to serve
process in any other manner permitted by Law.

       9.2     Notices.

                       9.2.1 Notice Requirements. Any notice, request, demand, waiver,
consent, approval or other communication permitted or required under this Agreement (each, a
“Notice”) shall be in writing, shall refer specifically to this Agreement and shall be deemed given
only if delivered by hand or sent by email or by internationally recognized overnight delivery
service that maintains records of delivery, addressed to the Parties at their respective addresses
specified in Section 9.2.2 or to such other address as the Party to whom Notice is to be given may
have provided to the other Party at least five (5) days’ prior to such address taking effect in
accordance with this Section 9.2. Such Notice shall be deemed to have been given as of the date
delivered by hand or internationally recognized overnight delivery service or when sent by email
(with no bounce back or other notification of failure to be delivered). If a Notice deemed given
upon receipt is given after 5:00 p.m. in the place of receipt (the Parties understand and agree that


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the foregoing applies only to Notice and not to copies), such Notice will be deemed given on the
next succeeding Business Day.

                      9.2.2   Address for Notice.

                      If to Seller, to:

                      c/o Franchise Group, Inc.
                      109 Innovation Court, Suite J
                      Delaware, Ohio 43015
                      Attention: Tiffany McMillan-McWaters
                      Email: tmcwaters@franchisegrp.com

                      with a copy (which shall not constitute effective Notice) to:

                      Kirkland & Ellis LLP
                      601 Lexington Avenue
                      New York, NY 10022
                      Attention: Shawn OHargan, P.C.; Joshua A. Sussberg, P.C.; Nicole L.
                      Greenblatt, P.C.; Keli Huang; and Derek I. Hunter
                      Email: shawn.ohargan@kirkland.com; jsussberg@kirkland.com;
                      ngreenblatt@kirkland.com; keli.huang@kirkland.com; and
                      derek.hunter@kirkland.com

                      If to Buyer, to:

                      TVS Buyer, LLC
                      c/o Kingswood Capital Management, L.P.
                      11812 San Vincente Blvd., Suite 604
                      Los Angeles, California 90049
                      Attention: Alex Wolf, Michael Niegsch, and Clayton Lechleiter
                      Email: awolf@kingswood-capital.com; mniegsch@kingswood-
                      capital.com; and clechleiter@kingswood-capital.com

                      with a copy (which shall not constitute effective Notice) to:

                      McDermott Will & Emery LLP
                      333 SE 2nd Avenue, Suite 4500
                      Miami, Florida 33131
                      Attention: Frederic Levenson, Michael Hacker, and Jay Kapp
                      Email: flevenson@mwe.com; mhacker@mwe.com; and
                      jkapp@mwe.com

       9.3     No Benefit to Third Parties. Except as otherwise expressly provided in this
Agreement, Seller and Buyer intend that this Agreement will not benefit or create any right or
cause of action in favor of any Person, other than the Parties and their respective heirs,
administrators, executors, legal representatives, successors and permitted assigns. Except as
otherwise expressly provided in this Agreement, no Person, other than the Parties and their


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respective heirs, administrators, executors, legal representatives, successors and permitted
assigns, is entitled to rely on the provisions of this Agreement in any action, suit, proceeding,
hearing or other forum. The Parties reserve their right to vary or rescind the rights at any time and
in any way whatsoever, if any, granted by or under this Agreement to any Person who is not a
Party, without notice to or consent of that Person.

        9.4     Waiver. No waiver of any of the provisions of this Agreement will constitute a
waiver of any other provision (whether or not similar). No waiver will be binding unless executed
in writing by the Party against whom the waiver is to be effective. A Party’s failure or delay in
exercising any right under this Agreement will not operate as a waiver of that right. A single or
partial exercise of any right will not preclude a Party from any other or further exercise of that
right or the exercise of any other right.

       9.5     Expenses. Except as otherwise expressly provided in this Agreement (including
Section 8.1) and whether or not the Transactions, each Party will pay for their own fees, costs and
expenses (including fees, costs and expenses of advisors) incurred in connection with the
negotiation, performance and consummation of this Agreement and the Ancillary Agreements,
and the Transactions; provided, however, Buyer shall be responsible for all fees and expenses of
the Escrow Agent.

       9.6     Assignment.

                        9.6.1 This Agreement becomes effective only when executed by Seller
and Buyer. After that time, it will be binding upon and inure to the benefit of Seller, Buyer and
their respective heirs, administrators, executors, legal representatives, successors and permitted
assigns, including any trustee or estate representative appointed in the Chapter 11 Cases or any
successor Chapter 7 cases.

                        9.6.2 Neither this Agreement nor any of the rights or obligations under
this Agreement may be assigned or transferred, in whole or in part, by any Party without the prior
written consent of the other Party; provided, however, that (a) Seller may transfer or assign such
rights and obligations under this Agreement pursuant to any chapter 11 plan of reorganization or
to a liquidation trust or similar vehicle under a confirmed chapter 11 plan of liquidation in the
Chapter 11 Cases, (b) Buyer may transfer or assign such rights and/or obligations (or any
document to be delivered by Buyer pursuant hereto) under this Agreement to one or more
Affiliates of Buyer, by prior written notice to Seller, and, to the extent of any such transfer or
assign, this Agreement shall be binding upon each of such Affiliates, their successors and
permitted assigns, which shall be treated as Buyer to such extent; provided, that, no such
assignment shall (i) relieve Buyer of its obligations hereunder and Buyer shall in all cases remain
responsible for all such obligations, (ii) result in Seller incurring any incremental unreimbursed
fees, costs, Taxes or expenses (other than immaterial attorney’s fees), (iii) result in notifications
or other information required to be filed under any Antitrust Law or (iv) delay the receipt of any
Consent, clearance or authorization of or from any Governmental Authority or (c) at or after the
Closing, Buyer may assign its rights (but not its obligations) to any lender (including the Debt
Financing Sources) providing financing in connection with the transactions contemplated hereby
for collateral security purposes. Any transferee of any Purchased Asset or any interest therein



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shall be a creditworthy entity and shall agree to assume all obligations under this Agreement and
the Ancillary Agreements.

        9.7    Amendment. This Agreement may only be amended, supplemented or otherwise
modified by written agreement signed by Buyer and Seller. Notwithstanding the foregoing, this
Section 9.7 and Section 9.15 (and any other provision of this Agreement to the extent the
modification, waiver or termination of such provision would modify the substance of such
provisions) may not be amended, modified, waived or terminated in a manner materially adverse
to the Debt Financing Sources without the prior written consent of the Debt Financing Sources.

        9.8     Severability. If any provision of this Agreement is determined to be illegal,
invalid or unenforceable by an arbitrator or any court of competent jurisdiction, that provision
will be ineffective only to the extent of such prohibition or invalidity in such jurisdiction and will
be severed from this Agreement and the remainder of such provision or the remaining provisions
of this Agreement shall remain in full force and effect.

       9.9     Equitable Relief.

                       9.9.1 Subject to Section 9.9.4, the Parties agree that irreparable damage
would occur in the event that any of the provisions of this Agreement were not performed in
accordance with their specific terms or were otherwise breached. Subject to Section 9.9.4, it is
accordingly agreed that (a) a Party shall be entitled to an injunction or injunctions to prevent
breaches of this Agreement and to enforce specifically the terms and provisions of this Agreement
and (b) the right of specific performance and other equitable relief is an integral part of the
Transactions and without that right, neither Seller nor Buyer would have entered into this
Agreement. Subject to Section 9.9.4, each Party hereby waives (i) any requirement that the other
Party post a bond or other security as a condition for obtaining any such relief and (ii) any
defenses in any action for specific performance, including the defense that a remedy at law would
be adequate. Subject to Section 9.9.4, the Parties agree that the foregoing is in addition to any
other remedy to which the Parties are entitled under this Agreement,

                        9.9.2 Each Party hereby agrees not to raise any objections to the
availability of equitable remedies to the extent provided for herein, and the Parties further agree
that nothing set forth in this Section 9.9 shall require any Party hereto to institute any proceeding
for (or limit any Party’s right to institute any proceeding for) specific performance under this
Section 9.9 prior or as a condition to exercising any termination right under this Agreement, nor
shall the commencement of any legal action or legal proceeding pursuant to this Section 9.9 or
anything set forth in this Section 9.9 restrict or limit any Party’s right to terminate this Agreement
in accordance with the terms hereof.

                       9.9.3 If, prior to the Outside Date, any Party brings any Litigation, in
each case in accordance with Section 9.1.2, to enforce specifically the performance of the terms
and provisions of this Agreement by any other Party, the Outside Date will automatically be
extended (a) for the period during which such Litigation is pending, plus ten (10) Business Days
or (b) by such other time period established by the court presiding over such Litigation, as the
case may be.




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                        9.9.4 Notwithstanding anything to the contrary herein, while Seller may
pursue both a grant of specific performance (in accordance with this Section 9.9 and subject to
the limitations hereof) and the payment of the Deposit (together with any Seller Expense
Reimbursement) in accordance with Section 8.2, under no circumstances will Seller be permitted
or entitled to receive both (a) a grant of specific performance to cause the Closing to occur (or
other equitable relief) and (b) the Deposit (together with any Seller Expense Reimbursement),
and in no circumstances will Buyer be required to pay the Deposit (together with any Seller
Expense Reimbursement) on more than one (1) occasion, and in no event shall Seller, in the
aggregate receive an amount in excess of the Deposit (together with any Seller Expense
Reimbursement).

        9.10 No Liability. No director, officer or employee of Buyer or its Affiliates shall have
any personal liability whatsoever to Seller under this Agreement or any other document delivered
in connection with the Transactions on behalf of Buyer. No director, officer or employee of Seller
or its Affiliates shall have any personal liability whatsoever to Buyer or its Affiliates under this
Agreement or any other document delivered in connection with the Transactions on behalf of
Seller.

        9.11 Bulk Sales Statutes. The Parties intend that pursuant to section 363(f) of the
Bankruptcy Code, the transfer of the Purchased Assets shall be free and clear of any
Encumbrances in the Purchased Assets including any liens or Claims arising out of the bulk
transfer laws, except Permitted Encumbrances, and the Parties shall take such steps as may be
necessary or appropriate to so provide in the Sale Order. In furtherance of the foregoing, each
Party hereby waives compliance by the Parties with the “bulk sales,” “bulk transfers” or similar
Laws and all other similar Laws in all applicable jurisdictions in respect of the Transactions.

         9.12 Representation by Counsel. Each Party represents and agrees with the other that
(a) it has been represented by, or had the opportunity to be represented by, independent counsel
of its own choosing, and that it has had the full right and opportunity to consult with its respective
attorney(s) to the extent that it desired, (b) it availed itself of this right and opportunity, (c) it or
its authorized officers (as the case may be) have carefully read and fully understand this
Agreement and the Ancillary Agreements in their entirety and have had them fully explained to
them by such Party’s respective counsel, (d) each is fully aware of the contents hereof and thereof
and their meaning, intent and legal effect, and (e) it or its authorized officer (as the case may be)
is competent to execute this Agreement and has executed this Agreement free from coercion,
duress or undue influence.

        9.13 Counterparts. This Agreement and any Ancillary Agreements, and any
amendments to this Agreement and any Ancillary Agreements, may be executed in any number
of counterparts, each of which is deemed to be an original, and such counterparts together
constitute one and the same instrument. Transmission of an executed signature page by email or
other electronic means is as effective as a manually executed counterpart of this Agreement. Any
counterpart, to the extent signed and delivered by means of a .PDF, DocuSign, or other electronic
transmission, will be treated in all manner and respects as an original Contract and will be
considered to have the same binding legal effects as if it were the original signed version of such
Contract delivered in person. Minor variations in the form of the signature page to this Agreement
or any Ancillary Agreement, including footers from earlier versions of any such other document,


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will be disregarded in determining the effectiveness of such signature. At the request of any party
to this Agreement or any Ancillary Agreement, each other party to such agreement will re-execute
original forms of such agreement and deliver them to all other parties. No party to this Agreement
or any Ancillary Agreement will raise the use of a .PDF, DocuSign, or other electronic
transmission to deliver a signature or the fact that any signature or Contract was transmitted or
communicated through the use of PDF, DocuSign, or other electronic transmission as a defense
to the formation of a Contract and each such party forever waives any such defense.

        9.14 Entire Agreement. This Agreement, together with Seller Disclosure Schedules
and Exhibits expressly contemplated hereby and attached hereto, Seller Disclosure Schedules, the
Ancillary Agreements, the Confidentiality Agreement and the other agreements, certificates and
documents delivered in connection herewith or therewith or otherwise in connection with the
Transactions, contain the entire agreement between the Parties with respect to the Transactions
and supersede all prior agreements, understandings, promises and representations, whether
written or oral, between the Parties with respect to the subject matter hereof and thereof. In the
event an ambiguity or question of intent or interpretation arises with respect to this Agreement,
the terms and provisions of the execution version of this Agreement will control and prior drafts
of this Agreement and any Ancillary Agreement will not be considered or analyzed for any
purpose (including in support of parol evidence proffered by any Person in connection with this
Agreement), will be deemed not to provide any evidence as to the meaning of the provisions of
this Agreement or the intent of the Parties, and will be deemed joint work product of the Parties.

       9.15 Debt Financing Sources. Notwithstanding anything in this Agreement to the
contrary (but in all cases subject to and without in any way limiting the rights, remedies and
Claims of Buyer and/or any of its Affiliates party to the Debt Commitment Letters, if any, under
or pursuant to the Debt Commitment Letters or any other agreement entered into with respect to
the Debt Financing), each Party, on behalf of itself and each of its Affiliates, hereby:

                       9.15.1 agrees that no Debt Financing Source will have any liability
(whether in contract or in tort, in law or in equity, or granted by statute or otherwise) for any
Claims, causes of action, suits, litigation, proceedings, obligations or any related losses, costs or
expenses arising under, out of, in connection with or related in any manner to this Agreement, the
Debt Financing, the Debt Commitment Letters, any contract entered into with respect the Debt
Financing, or any of the Transactions or based on, in respect of or by reason of this Agreement,
the Debt Commitment Letters or any contract entered into with respect the Debt Financing or
their respective negotiation, execution, performance or breach;

                      9.15.2 agrees not to commence (and if commenced agrees to dismiss or
otherwise terminate) any claim, cause of action, suit, litigation, or other proceeding (including
any civil, criminal, administrative, investigative or appellate proceeding) against any Debt
Financing Source arising under, out of, in connection with or related in any manner to this
Agreement, the Debt Commitment Letters, any contract entered into with respect the Debt
Financing or any of the Transactions;

                       9.15.3 agrees (without limiting the foregoing clauses 9.15.1 and 9.15.2)
that any Litigation against the Debt Financing Sources arising out of or relating to this Agreement,
the Debt Financing, the Debt Commitment Letters, any contract entered into with respect the Debt


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Financing or any of the Transactions or the performance of any services hereunder or thereunder,
shall be subject to the exclusive jurisdiction of any federal or state court in the Borough of
Manhattan, New York, New York, and any appellate court thereof, and each Party irrevocably
submits itself and its property with respect to any such Litigation to the exclusive jurisdiction of
such courts;

                       9.15.4 agrees (without limiting the foregoing clauses 9.15.1 and 9.15.2)
not to bring or support or permit any of its Affiliates to bring or support any Litigation, whether
in law or in equity, whether in contract or in tort or otherwise, against the Debt Financing Sources
in any way arising out of or relating to this Agreement, the Debt Financing, the Debt Commitment
Letters, any contract entered into with respect the Debt Financing or any of the Transactions or
the performance of any services thereunder in any forum other than any federal or state court in
the Borough of Manhattan, New York, New York;

                        9.15.5 irrevocably waives, to the fullest extent that it may effectively do
so, the defense of an inconvenient forum to the maintenance of such Litigation in any such court;

                      9.15.6 knowingly, intentionally and voluntarily waives to the fullest
extent permitted by applicable Law trial by jury in any Litigation brought against the Debt
Financing Sources and arising out of or relating to this Agreement, the Debt Financing, the Debt
Commitment Letters, any contract entered into with respect the Debt Financing or any of the
Transactions or the performance of any services hereunder or thereunder; and

                       9.15.7 waives, and agrees not to assert, by way of motion or as a defense,
counterclaim or otherwise, in any Litigation against the Debt Financing Sources or the
Transactions, any claim that it is not personally subject to the jurisdiction of the courts in New
York as described herein for any reason. Notwithstanding anything to the contrary, the provisions
of this Section 9.15 will survive any termination of this Agreement.

                        9.15.8 The Debt Financing Sources shall be express third party
beneficiaries of this Section 9.15, and this Section shall expressly inure to the benefit of the Debt
Financing Sources and the Debt Financing Sources shall be entitled to rely on and enforce the
provisions herein.

        9.16 Seller Disclosure Schedules. Seller Disclosure Schedules have been arranged for
purposes of convenience in separately numbered sections corresponding to the sections of this
Agreement. However, each section of Seller Disclosure Schedules will be deemed to incorporate
by reference all information disclosed in any other section of Seller Disclosure Schedules to the
extent the relevance of such disclosure to such other section is readily apparent on the face of
such disclosure, and any disclosure in Seller Disclosure Schedules will be deemed a disclosure
against any representation or warranty set forth in this Agreement. The specification of any dollar
amount or the inclusion of any item in the representations and warranties contained in this
Agreement, Seller Disclosure Schedules, or the Exhibits does not imply that the amounts, or
higher or lower amounts, or the items so included, or other items, are or are not required to be
disclosed (including whether such amounts or items are required to be disclosed as material or
threatened) or are within or outside of the Ordinary Course, and no Party will use the fact of the
setting of the amounts or the fact of the inclusion of any item in this Agreement, Seller Disclosure


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Schedules, or Exhibits as to whether any obligation, item, or matter not set forth or included in
this Agreement, Seller Disclosure Schedules, or Exhibits is or is not required to be disclosed
(including whether the amount or items are required to be disclosed as material or threatened) or
are within or outside of the Ordinary Course. In addition, matters reflected in Seller Disclosure
Schedules are not necessarily limited to matters required by this Agreement to be reflected in
Seller Disclosure Schedules. Such additional matters are set forth for informational purposes only
and do not necessarily include other matters of a similar nature. No information set forth in Seller
Disclosure Schedules will be deemed to broaden in any way the scope of the Parties’
representations and warranties. Any description of any agreement, document, instrument, plan,
arrangement, or other item set forth on any Schedule is qualified in its entirety by the terms of
such agreement, document, instrument, plan, arrangement, or item, and such terms will be deemed
disclosed for all purposes of this Agreement. The information contained in this Agreement, Seller
Disclosure Schedules, and the Exhibits is disclosed solely for purposes of this Agreement, and no
information contained in this Agreement, Seller Disclosure Schedules, or the Exhibits will be
deemed to be an admission by any Party to any third party of any matter whatsoever, including
any violation of Law or breach of Contract.

                                     [Signature page follows]




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                                                                                                                                                                   Exhibit C
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                                                                                                                                                            Served as set forth below



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                                                                                                                                                                Core/2002 Service List
                                                                                                                                                               Served as set forth below



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                                                                                                                                                               Served as set forth below



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                                                                                                                                              U.S. Attorney's Office
                                                                                                                                              1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                                                     U.S. Attorney for Delaware                     Wilmington DE 19801                                                                                                          First Class Mail
                                                                                                                                              Secretary of the Treasury
                                                                                               U.S. Securities and Exchange Commission -      100 F. Street NE
Securities and Exchange Commission                                                             Headquarters                                   Washington DC 20549                                                                       secbankruptcy@sec.gov              First Class Mail and Email
                                                                                                                                              Attn: Geoffrey J. Peters
                                                                                                                                              5475 Rings Road
                                                                                                                                              Suite 200
Counsel to Sangamon North LLC, the Commons at Southpark LLC                                    Weltman, Weinberg & Reis Co. LPA               Dublin OH 43017                                                                           bronationalecf@weltman.com         Email
                                                                                                                                              Attn: Bojan Guzina
                                                                                                                                              111 S. Wacker Dr., Suite 5100
Counsel to the Second Lien Secured Parties; HoldCo Lenders                                     White & Case LLP                               Chicago IL 60606                                                                          bojan.guzina@whitecase.com         First Class Mail and Email
                                                                                                                                                                                                                                        cshore@whitecase.com
                                                                                                                                                                                                                                        sam.hershey@whitecase.com
                                                                                                                                              Attn: J. Christopher Shore, Samuel P. Hershey, Andrew Zatz, Erin Smith, Brett Bakemeyer   azatz@whitecase.com
                                                                                                                                              1221 Avenue of the Americas                                                               erin.smith@whitecase.com
Counsel to Ad Hoc Group of Freedom Lenders                                                     White & Case LLP                               New York NY 10020-1095                                                                    brett.bakemeyer@whitecase.com      Email
                                                                                                                                              Attn: Thomas Lauria
                                                                                                                                              200 South Biscayne Boulevard, Suite 4900
Counsel to the Second Lien Secured Parties; HoldCo Lenders, Ad Hoc Group of Freedom Lenders    White & Case LLP                               Miami FL 33131                                                                            tlauria@whitecase.com              First Class Mail and Email
                                                                                                                                              Attn: Edmon L. Morton, Matthew B. Lunn, Allison S. Mielke, Shella Borovinskaya            emorton@ycst.com
                                                                                                                                              Rodney Square                                                                             mlunn@ycst.com
                                                                                                                                              1000 N. King Street                                                                       amielke@ycst.com
Counsel to Debtors and Debtors In Possession                                                   Young Conaway Stargatt & Taylor, LLP           Wilmington DE 19801                                                                       sborovinskaya@ycst.com             Email




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29623017 100 Brentwood Associates L.P.                      c/o First Capital Realty Inc., 600 N. 2nd Street, Suite 401       Harrisburg                   PA   17101
29783761 1010data Retail Solutions LLC                      750 Third Avenue, 4th Floor                                       New York                     NY   10017
29783762 1010data Service LLC                               750 Third Avenue, 4th Floor                                       Detroit                      MI   48267-5085
29606576 1010data, Inc.                                     750 Third Avenue, 4th Floor                                       New York                     NY   10017
29623018 1050 Sunrise LLC                                   101 Alma Street, #203                                             Palo Alto                    CA   94301
29790542 11:11 Systems, Inc.                                1235 North Loop West, Suite 800                                   Houston                      TX   77008
30202158 1250 Niagra Falls Boulevard Tonawanda LLC          1250 Niagra Falls Boulevard                                       Tonawanda                    NY   14150
29623019 1313 Apalachee Parkway, LLC                        c/o SVN / Southland, 2057 Delta Way                               Tallahassee                  FL   32303
30202160 1499 Rome Hilliard LLC                             c/o Ohio Equities LLC, 605 S Front Street, Suite 200              Columbus                     OH   43215
29651059 1522 14th Street LLC                               c/o Goldberg Group, P.O. Box 8195, Suite 400                      White Plains                 NY   10602
30345491 161 East 86th Street Company LLC                   c/o The Garth Organization, Ltd., 157 East 86th Street            New York                     NY   10028
                                                            c/o Comstock Crosser & Assoc. Development Co. Inc.,
29651061 1800 Rosecrans Partners LLC                        3760 Kilroy Airport Way, Suite 130                                Long Beach                   CA   90806
29651062 1803 Rockville Pike LLC                            107 W Jefferson Street                                            Rockville                    MD   20850
29651063 195 Harbison, LLC                                  3253 Harrison Rd.                                                 Columbia                     SC   29204
29651065 2013 Massey Blvd LLC                               PO BOX 4217                                                       Hagerstown                   MD   21741-4217
29651066 211 Wallkill Realty LLC                            430 Park Avenue                                                   New York City                NY   10022
29783772 212 Design, Inc. dba Two One Two Design            45 West 21st Street Suite 403                                     New York                     NY   10010
29651067 2205 Federal Investors, LLC                        177 Fox Meadow Road                                               Scarsdale                    NY   10583
29651068 2229 2nd Street North-Millville, LLC               1000 Portside Drive                                               Edgewater                    NJ   07020
29651069 2397 S. Stemmons LLC                               7802 Goddard Ave.                                                 Los Angeles                  CA   90045
                                                            1851 NORTH SOUTHERN ROAD, ATTN ACCOUNTS
29783777 24 Seven Inc.                                      PAYABLE                                                           Kansas City                  MO   64120
29623020 244 East 86th Street LLC                           19 West 21st Street, Suite 902                                    New York City                NY   10010
29623021 280 Metro Limited Partnership                      c/o Kimco Realty Corporation, 2429 Park Avenue                    Tustin                       CA   92782
                                                            c/o Crosspoint Associates Inc., 188 Needham Street,
29623022 30 Worcester Road LLC                              Suite 255                                                         Newton Upper Falls           MA   02464
                                                            C/O Schuckman Management LLC, 120 North Village
29623023 300 West 23rd Street Retail LLC                    Avenue                                                            Rockville Centre             NY   11570
29623024 327 EH LLC                                         46 Main Street                                                    Millburn                     NJ   07041
                                                            c/o Boulos Asset Management, 100 Middle Street, East
29623025 335 MMR Development, LLC and Who is John Galt? LLC Tower - Suite 230                                                 Portland                     ME   04101
29776590 365 Data Centers Services, LLC                     200 Connecticut Avenue, Suite 5A                                  Norwalk                      CT   06854-
                                                            Unit 706, 7/F., South Seas Centre, Tower 2, 75 Mody
29783742 37POINT HK Co., Ltd. dba Seven-Hub                 Road, TsimShaTsui                                                 Hong Kong                                        China
29623026 383 Army Trail LLC                                 c/o Adelphia Properties, 1314 Kensington Road #4974               Oak Brook                    IL   60523
29623027 3841 Kirkland Highway, LLC                         200 Airport Road                                                  New Castle                   DE   19720
         385 Fifth Avenue LLC by Hilson Management Corp. as
29623028 agent for the Landlord                             185 Madison Avenue                                                New York City                NY   10016
29783783 385 S Colorado Blvd LLC                            c/o NEG Propery Services, 3696 N Federal Hwy #203                 Fort Lauderdale              FL   33308



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29648869 400-688 N. Alafaya Trail, LLC                     543 N. Wymore Road, Suite 106                               Maitland                   FL    32751
29648870 401 Federal Investments, LLC                      215 N. Federal Highway                                      Boca Raton                 FL    33432
29648871 4015 Veterans, LLC                                1200 South Clearview Pkwy, Suite 1166                       New Orleans                LA    70123
29783792 4077814 Delaware Inc. DBA Canus USA               26 Leonard Ave                                              Leonardo                   NJ    07737-
29648872 415 State Route 18 LLC                            415 State Route 18                                          East Brunswick             NJ    08816
29648873 434 Southbridge LLC                               532 Great Road                                              Acton                      MA    01720
29776595 462 Express LLC                                   3725 N 128th Ave                                            Avondale                   AZ    85392
29648874 4701 Cooper Street Arlington, L.L.C.              11035 Lavender Hill Drive, Suite 160                        Las Vegas                  NV    89135
29648875 4801 Hulen LLC                                    8100 E. 22nd North Bldg. 1700-2                             Wichita                    KS    67226
29776601 4R Systems, Inc.                                  801 Cassatt Road, Suite 202                                 Berwyn                     PA    19312
29648876 5055 Monroe Street, LLC                           864 8th Street                                              Manhattan Beach            CA    90266
29648877 5501 LR LLC                                       36 Maple Place, Suite 303                                   Manhasset                  NY    11030
29648878 5510-5520 Broadway LLC                            One Independent Drive, Suite 114                            Jacksonville               FL    32202
29623030 5592 Santa Teresa Blvd., LLC                      333 W. El Camino Real, Suite 240                            Sunnyvale                  CA    94087
                                                           c/o Benderson Properties Inc., 7978 Cooper Creek
29623031 570 DAB 29, LLC                                   Boulevard, Suite #100                                       Bradenton                  FL   34201
29623032 5702 Johnston, LLC                                408 Worth Ave                                               Lafayette                  LA   70508
                                                           c/o Avison Young Nevada, 10845 Griffith Peak Drive,
29623033 5J's Vegas Rainbow LLC                            Suite 100                                                   Las Vegas                  NV   89135
29783801 6 Pack Fitness, LLC                               395 Mendell Street                                          San Francisco              CA   94124
                                                           c/o Regency Centers Corporation, One Independent
30202197 60617 Balboa Mesa, LLC                            Drive, Suite 114                                            Jacksonville               FL   32202-5019
                                                           c/o Comar Properties Managing Agent, 17W220 22nd
29623034 6310 West 95th LLC                                Street, Suite 350                                           Villa Park                 IL   60181
29623035 66 Holyoke LLC                                    63 Myron St., Ste C                                         West Springfield           MA   01089
29623036 7708 W Bell Road LLC                              700 E Ogden Avenue, Suite 305                               Westmont                   IL   60559
29623037 78 Lawrence Street LLC                            231 Hawthorne Avenue                                        Yonkers                    NY   10705
29623038 81-01 37TH Avenue LLC                             60 Crossways Park Drive West, Suite 301                     Woodbury                   NY   11797
29677277 84401 Newfoundland and Labrador Inc               Attn: Lisa Wheeler, 145 Aberdeen Avenue, Unit 1             St John's                  NL   A1A 5P6        Canada
                                                           c/o Comar Properties managing agent, 17W220 22nd
29623039 8600 West Golf LLC                                Street, Suite 350                                           Villa Park                 IL   60181
29623040 A & B Properties Hawaii, LLC, Series R            220 South King St., Suite 1800                              Honolulu                   HI   96813
29776615 A C Grace CO                                      111 East Gilmer Street                                      Big Sandy                  TX   75755
29783808 A Guerrero, LLC                                   825 W. Chicago Ave.                                         Chicago                    IL   60642
29783810 A&C Snacks LLC                                    935 Gravier St, 10th Floor                                  New Orleans                LA   70112
29783812 A&G Realty Partners, LLC                          445 Broadhollow Road, Suite 410                             Melville                   NY   11747
29783813 A/P Recovery, Inc.                                975 Johnnie Dodds Blvd.                                     Mt. Pleasant               SC   29464
         A+ Secure Packaging, LLC, d/b/a Cardinal Health
29783814 Packaging Solutions                               339 Mason Road                                              LaVergne                   TN   37086
29783816 a360 Media                                        4 New York Plaza, 2nd Floor                                 New York                   NY   10004
29783817 AAD:FITCH, LLC                                    16435 N. Scottsdale Road, Suite 195                         Scottsdale                 AZ   85254



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29783819 Abbott Laboratories Inc.                            3300 Stelzer Road                                          Columbus                      OH    43219
         Aberdeen Oklahoma Assoc & Pasan Trustc/o Kin        c/o Kin Properties Inc., 185 NW Spanish River Blvd., Suite
29648879 Properties                                          100                                                        Boca Raton                    FL   33431
29648880 ACA-SC Limited Partnership                          P.O. Box 52428                                             Atlanta                       GA   30355
29776621 Acceleration Partners, LLC                          16 Rae Ave                                                 Needham                       MA   02492-
29776622 Access Development                                  1012 W. Beardsley Place                                    Salt Lake City                UT   84119
29776623 Access Staffing, LLC                                360 Lexington Avenue                                       New York                      NY   10017
29626410 Accounting Principals, Inc.                         DEPT CH 14031                                              Palatine                      IL   60055-4031
29776625 Accruent LLC                                        10801-2 N. Mopac Expressway, Suite 400                     Austin                        TX   78759-5458
29776625 Accruent, LLC                                       10801-2 N. Mopac Expressway, Suite 400                     Austin                        TX   78759
29783822 AccuFitness LLC                                     P.O. Box 4411                                              Greenwood Village             CO   80155-4411
29783823 Ace Asphalt of Arizona, Inc.                        3030 South 7th St                                          Phoenix                       AZ   85040
29648881 ACS Fort Smith Pavilion AR, LLC                     350 Pine Street, Suite 800                                 Beaumont                      TX   77701
29783827 Action Staffing Group                               1137 ELIZABETH AVENUE                                      Elizabeth                     NJ   07201-
29783828 Active Interest Media                               300 N. Continental Blvd., Suite 650                        El Segundo                    CA   90245
29783829 ACTIVLAB, LLC                                       119 S. Main Street Suite 500                               Memphis                       TN   38103
29783830 Acuative Corporation                                27460 Network Place                                        Chicago                       IL   60673-1274
29783831 Acxiom Corporation                                  301 East Dave Ward Drive                                   Conway                        AR   72032-7114
29783832 Adaptogen Science                                   11601 Biscayne Blvd Suite 201                              Miami                         FL   33181
29783833 Adaptogen Science, LLC                              11601 Biscayne Blvd Suite 201                              Miami                         FL   33181
29790563 Adapty                                              20 Commerce Drive, Suite #135                              Cranford                      NJ   07016-
29776627 Adapty Inc.                                         101 Carnegie Center STE 102                                Princeton                     NJ   08540-
29776627 Adapty Inc.                                         20 Commerce Drive, Suite # 135                             Cranford                      NJ   07016-
29776628 Addison Group, LLC                                  7076 SOLUTIONS CENTER                                      Chicago                       IL   60677-7000
29604801 Adlucent                                            PO BOX 25277                                               OVERLAND PARK                 KS   66225
29776630 Adlucent, LLC                                       2130 S. Congress                                           Austin                        TX   78704
29776631 ADM / Matsutani LLC                                 4666 Faries Parkway                                        Decatur                       IL   62521
29776632 ADP                                                 PO BOX 9001007                                             Louisville                    KY   40290
29776634 AdRoll, Inc.                                        972 Mission Street, 3rd Floor                              San Francisco                 CA   94103
29776635 Aduro Products LLC                                  250 Liberty Street                                         Metuchen                      NJ   08840-
29776636 Advance Trailer Systems, Inc.                       5160 Commerce Road                                         Richmond                      VA   23234
29776638 Advanced Construction                               2201 Babcock Blvd                                          Pittsburgh                    PA   15237
29783834 Advanced Food Concepts (AFC) d/b/a Gu Energy Labs   1204 10th St                                               Berkeley                      CA   94710
29783835 Advanced Molecular Labs, LLC.                       21 Bennetts Road Ste 101                                   East Setauket                 NY   11733
29783836 Advanced Muscle Science                             148 SW Hami Han St.                                        Portland                      OR   97239
29783837 Advanced Nutrient Science Intl.                     10540 72nd Street                                          Largo                         FL   33777
29783838 Advanced Nutrition by Zahler Inc.                   50 Lawrence Avenue                                         Brooklyn                      NY   11230
29783839 Advantage Sales & Marketing d/b/a Advantage Media   77 North Washington St, 8th Floor                          Boston                        MA   02114-
         Advantage Sales & Marketing LLC d/b/a Brand
29783840 Connections                                         P.O. Box 744347                                              Atlanta                     GA   30374-4347
29783841 Advantage Sales & Marketing, LLC d/b/a Adlucent     P.O. Box 744347                                              Atlanta                     GA   30374-4347



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29783844 AdvoCare International, L.P.                             2801 Summit Ave.                                         Plano                          TX    75074
                                                                  Select Strategies Realty, 400 Techne Center Drive, Suite
29648882 AE Holdings III, LLC                                     320                                                      Milford                        OH   45150
         AEI Accredited Investor Fund VI LLP and AEI National
29648883 Income Property Fund VII LP                              1300 Wells Fargo Place, 30 East Seventh Street               Saint Paul                 MN   55101
30202212 AEI National Income Property Fund VII LP                 4502-4508 West Wendover Ave                                  Greensboro                 NC   27409
         AEI National Income Property Fund VII LP, as successor   1300 Wells Fargo Place, 30 East 7th Street, Attn: Asset
30202214 in interest to CCBF Associates (Greenville), LLC         Management                                                   St. Paul                   MN   55101
29648885 AEI National Income Property Fund VII, LP                1300 Wells Fargo Place                                       Saint Paul                 MN   55101
30202216 AEI National Income Property Fund VIII LP                1300 Wells Fargo Place                                       Saint Paul                 MN   55101
29648886 AEI National Income Property Fund VIII LP                30 East Seventh Street, Suite 1300                           Saint Paul                 MN   55101
29776646 Aero Automatic Sprinkler Co                              21605 N Central Ave                                          Phoenix                    AZ   85024
29776647 AEROTEK SCIENTIFIC, LLC.                                 7301 Parkway Dr.                                             Hanover                    MD   21076
29776648 Aerotek, Inc.                                            7301 Parkway Dr.                                             Hanover                    MD   21076
29783846 Affinity Resources LLC                                   941 Alhambra Avenue                                          Martinez                   CA   94553
29648887 AFI Greer LLC                                            1901 Avenue of the Stars, Suite 630                          Los Angeles                CA   90067
29783848 AfterShokz LLC                                           6311 Fly Road                                                East Syracuse              NY   13057
                                                                  3a. Avenida 13-78, Zona 10. Torre Citibank en
29783741 AFUS, S.A.                                               Intercontinental Plaza, Nivel 12                             Guatemala City                  1010           Guatemala
29648888 AG Cameron Shops LLC                                     Income Properties of Raleigh Inc., 1049 Dresser Court        Raleigh                    NC   27609
29783852 Agilysys, Inc.                                           915 CORNWALL RD                                              SANFORD                    FL   32773
29783853 Agropur MSI, LLC                                         2340 Enterprise Avenue                                       La Crosse                  WI   54603
29783854 AHN International Inc dba Amazing Herbs                  2709 Faith Industrial Dr Ste 500                             Buford                     GA   30518
29783855 AIDP, Inc.                                               19535 East Walnut Drive South                                City of Industry           CA   91748
29783857 AIT Worldwide Logistics Inc.                             PO BOX 66730                                                 CHICAGO                    IL   60666
29783857 AIT Worldwide Logistics, Inc.                            701 N. Rohlwing Road                                         Itasca                     IL   60143
29604461 Aiya Company Limited                                     386 Beech Avenue, Unit B3                                    Torrance                   CA   90501
29623041 AJA Turnpike Properties                                  2 Bellmore Road                                              East Meadow                NY   11554
29790573 AJB Software Design Inc.                                 5255 Solar Drive                                             Mississauga                ON   L4W 5B8        Canada
29776653 Akamai Technologies, Inc.                                8 Cambridge Center                                           Cambridge                  MA   02142-
29776653 Akamai Technologies, Inc.                                8 Cambridge Center                                           New York                   NY   10087-6590
29776655 Aker BioMarine Antarctic US, Inc.                        312 Amboy Avenue, Suite 1                                    Metuchen                   NJ   08840-
29627829 Akeso Health Sciences, LLC                               4607 Lakeview Canyon # 561                                   Westlake Village           CA   91361
29776657 Al Sports Nutrition                                      5337 N Socrum Loop Rd #189                                   Lakeland                   FL   33809
29623042 Ala Moana Anchor Acquisition, LLC                        110 N. Wacker Dr.                                            Chicago                    IL   60606
29776660 Alaffia Sustainable Skin Care                            PO Box 11143                                                 Olympia                    WA   98508
29604537 Alani Nutrition                                          7201 Intermodal Drive Ste A                                  Louisville                 KY   40258
29783858 Alani Nutrition LLC                                      7201 Intermodal Drive Ste A                                  Louisville                 KY   40258
                                                                  c/o Regency Centers Corporation, One Independent
29623043 ALBA VILLAGE REGENCY                                     Drive, Suite 114                                             Jacksonville               FL   32202
29623044 Albany Management                                        4 Computer Drive West                                        Albany                     NY   12205



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29604822 Alclear Healthpass, LLC                               65 E. 55th Street, 17th Floor                                New York                     NY    10022
29623045 Aliso Medical Properties LLC                          9070 Irvine Center Drive, Suite 200                          Irvine                       CA    92618
29792395 Alkemist Labs                                         12661 Hoover St.                                             Garden Grove                 CA    92841

29783867 All American Pharmaceutical & Natural Foods Company   2376 Main Street                                             Billings                     MT   59105
         All American Pharmaceutical & Natural Foods
29783868 Corporation                                           2376 Main Street                                             Billings                     MT   59105
29783869 All Natural Distributors Inc.                         11 Perry Drive                                               Foxboro                      MA   02035-
29790576 All Terrain                                           20 North Main Street                                         NEWPORT                      NH   03773-
29776661 Allera Health Products                                16935 West Bernardo Drive, Suite 224                         San Diego                    CA   92127
29776662 Allergy Research Group LLC                            2300 North Loop Rd                                           Alameda                      CA   94502
29623046 Alliance-March III LLC                                24001 Telegraph Rd.                                          Southfield                   MI   48033
29783702 Allmax Nutrition Inc + HBS International Corp         4576 Yonge St, Ste 509                                       Toronto                      ON   M4N 6N9        Canada
29776664 AllRetailJobs.com                                     17501 Biscayne Blvd, Suite 530                               North Miami Beach            FL   33160
29776666 Almased USA, Inc.                                     2861 34th St S                                               St. Petersburg               FL   33711
29776667 Aloe Life International, Inc.                         11657 Riverside Dr. #169                                     Lakeside                     CA   92040
29776668 Aloft Beachwood                                       1010 Eaton Boulevard                                         Beachwood                    OH   44122
29776670 Alpine Access                                         1767 Denver West Blvd Ste A                                  Golden                       CO   80401
29776671 Alpine Access, Inc.                                   1120 Lincoln Street, Suite 1400                              Denver                       CO   80203
29783872 Alta Health Products INC                              300 Main St                                                  Idaho City                   ID   83631
29783873 Alteya Inc                                            1846 South Elmhurst Road                                     Mount Prospect               IL   60056
29783875 Always Young LLC                                      95 Old Indian De                                             Milton                       NY   12547
29783876 AM Navigator LLC                                      PO Box 2707                                                  Stafford                     VA   22555
29623048 AMA Generation Properties Rio LLC                     9702 Gayton Rd, PMB #127                                     Dumbarton                    VA   23238
29790579 Amacai Information Corporation d/b/a Localeze         8010 Towers Crescent Drive, Fifth Floor                      Vienna                       VA   22182
29783879 Amazon Preservation Partners, Inc. dba Zola Acai      1501A Vermont Street                                         San Francisco                CA   94107
29783880 Amazon Services LLC                                   PO BOX 81226                                                 Seattle                      WA   98108
29627874 Ambrosia Nutraceuticals                               1630 Superior Ave Suite D                                    Costa Mesa                   CA   92627
29783883 American Biologics                                    1180 Walnut Ave                                              Chula Vista                  CA   91911
29776672 American Cargo Express, Inc.                          2345 Vauxhall Road                                           Union                        NJ   07083-
29628227 American Draft Systems LLC                            45 Columbia Ave                                              Thornwood                    NY   10594
29776675 American Forests                                      1220 L Street, NW, Ste. 750                                  Washington                   DC   20005
29790580 American Halal Co Inc.                                1111 Summer Street, 5th Floor                                Stamford                     CT   06905-
29776679 American Specialty Health Fitness, Inc.               10221 Wateridge Circle                                       San Diego                    CA   92121
29776680 America's Charities                                   14150 Newbrook Drive, Suite 110                              Chantilly                    VA   20151
29790582 America's Finest Inc.                                 20 Lake Drive                                                East Windsor                 NJ   08520-
29783884 AMPC, Inc. (DBA Essentia Protein Solutions)           2425 SE Oak Tree Court                                       Ankeny                       IA   50021
29783885 Amplify Snack Brands                                  500 W. 5th St, Suite 1350                                    Austin                       TX   78701
29783886 Anabol Naturals                                       1550 Mansfield Street                                        Santa Cruz                   CA   95062
29783887 Analytics Pros, Inc.                                  1546 NW 56th Street                                          Seattle                      WA   98107
29623049 Anchor Chattanooga, LLC                               3035 Rhea County Highway, Suite 150                          Dayton                       TN   37321



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29628233 Anchor Computer, Inc.                        1900 New Hwy                                                 Farmingdale                 NY    11735
29783890 Ancient Naturals                             1540 International Pkwy, Suite 2000                          Lake Mary                   FL    32746
29783891 ANDALOU NATURALS                             7250 REDWOOD BLVD, SUITE 208                                 NOVATO                      CA    94945
29783892 Anderson Global Group, LLC                   2030 Main Street Suite 430                                   Irvine                      CA    92614
30345397 Andi Jones                                   Address On File
29783893 Andover Inc. dba IQ Workforce                51 REMINGTON CIRCLE                                          Princeton Junction          NJ   08550-
29783894 Andrea Marchese                              Address On File
29790586 Andrew Arcangel                              Address On File
29645305 Andrew Laudato                               Address On File
29776683 Angeion Group LLC                            1801 MARKET STREET, SUITE 660                                Philadelphia                PA   19103
29776684 Angie's Artisan Treats, LLC                  151 Good Counsel Drive, Suite 100                            Mankato                     MN   56001
29790588 Anne-Elise Nutrition, LLC                    PO BOX 434                                                   TENANTS HARBOR              ME   04860-
29776687 Annona Company DBA Earnest Eats              444 S. Cedros Ave., Ste. 175                                 Solana Beach                CA   92075
29776688 Ansell                                       163 Ralston Rd.                                              Sarver                      PA   16055
29776689 Answers Corporation                          6665 Delmar Blvd., Ste. 3000                                 Saint Louis                 MO   63130
29776690 Anti-Aging Essentials Inc.                   PO Box 715                                                   Carnegie                    PA   15106
29776692 Apax OTC Business Development, LLC           4833 Front Street, #415                                      Castle Rock                 CO   80104
29783897 Apex Systems                                 3750 COLLECTIONS DRIVE                                       Chicago                     IL   60629
29783898 Apex Wellness Group, LLC                     14362 N Frank Lloyd Wright Blvd., Suite 1000                 Scottsdale                  AZ   85260
29783900 Apollo Story                                 Address On File
29783901 Applied Nutriceuticals, Inc.                 8112 Statesville Road, Suite G                               Charlotte                   NC   28269
29783902 Applied Sciences LLC                         1511 N Hayden Rd Suite 160-327                               Scottsdale                  AZ   85260
29739939 Approved Freight Forwarders                  9089 Clairemont Mesa Blvd., Ste 301                          San Diego                   CA   92123
29604876 Aptos, Inc.                                  DEPT CH17281                                                 Palatine                    IL   60055
29604876 Aptos, LLC                                   DEPT CH17281                                                 Palatine                    IL   60055
29783903 Aqua ViTea LLC                               153 Pond Lane                                                Middlebury                  VT   05753-
29783904 Aquent LLC                                   PO BOX 414552                                                Boston                      MA   02241-
                                                      c/o AR Global Investments LLC, 650 5th Avenue, 30th
29648889 ARC CPFAYNC001, LLC                          Floor                                                        New York City               NY   10019
29648890 ARC MCLVSNV001, LLC                          c/o American Realty Capital, 650 Fifth Avenue                New York City               NY   10019
29648891 ARC TSKCYMO001, LLC                          405 Park Ave., 15th Floor                                    New York City               NY   10022
29648892 Arcadia Hub Holdings I, LLC                  1620 Fifth Ave., Suite 770                                   San Diego                   CA   92101
29776694 Archive Systems, Inc.                        39 Plymouth Road                                             Fairfield                   NJ   06825-
29776695 Arctic Ease, LLC                             200 Schell Lane Suite 204                                    Phoenixville                PA   19460
29776697 ArcVision Inc.                               1950 Craig Road, Suite 300                                   St. Louis                   MO   63146-4106
29648893 Arden Plaza Associates, LLC                  1333 Howe Avenue, Suite 202                                  Sacramento                  CA   95825
29648894 ARG LSSALMD001, LLC                          c/o Global Net Lease Inc., 650 5th Avenue, 30th Floor        New York City               NY   10019
29776700 Arizona Generator Technology, Inc            7901 N 70th Ave                                              Glendale                    AZ   85303
                                                      c/o Greenberg Traurig, LLP, Attn: Dennis A. Meloro, 222
29776701 Arizona Nutritional Supplements              Delaware Avenue, Suite 1600                                  Wilmington                  DE   19801
29604368 Arthur Andrew Medical                        8350 E. Raintree Dr.         , #101                          Scottsdale                  AZ   85260



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29648895 Arvig LLC                                        2750 NE 185 Street, Suite 306                               Miami                         FL    33180

                                                          c/o NewQuest Properties, Attn: Property Mngmt/Legal,
30345464 A-S 160 Grand Parkway-W, Airport Phase 3, L.P.   8827 W. Sam Houston Pkwy N., Suite 200                      Houston                       TX   77040
29783915 ASB Resources                                    4365 Route 1 S, Suite 205                                   Princeton                     NJ   08540-
29783915 ASB Resources                                    4390 Route 1 N, Suite 222                                   Princeton                     NJ   08540-
29783916 ASB Resources LLC                                4365 ROUTE 1, SUITE 102                                     Princeton                     NJ   08540-
                                                          c/o Centennial Real Estate Management LLC, 8750 N.
29648896 Ashley Park Property Owner LLC                   Central Expressway, Suite 1740                              Dallas                        TX   75231
29648897 Aspen Rt 9 LLC                                   12 Lincoln Boulevard, Suite 207                             Emerson                       NJ   07630
29783921 Aspire Brands, Inc.                              500 North Michigan Ave, Suite 600                           Chicago                       IL   60611
29783922 Associated Production Music LLC                  5700 WILSHIRE BLVD, SUITE 550                               Los Angeles                   CA   90036
29776556 Associazione Friend of the Sea                   Via Sant’Antonio Maria Zaccaria 3                           Milan                              20122          Italy
29776705 Assured Environments                             45 Broadway 18th Floor                                      New York                      NY   10006
29776706 AST Sports Science                               120 Capital Dr                                              Golden                        CO   80439
29604889 Aston Carter, Inc.                               3689 COLLECTIONS DRIVE                                      Chicago                       IL   60629
29776708 At Last Naturals                                 401 Columbus Ave                                            Valhalla                      NY   10560
29776711 ATH Sports Nutrition, LLC                        2827 Kalawao Street                                         Honolulu                      HI   96819
29776712 Athlete Certified Nutrition                      201 Old Country Rd Suite 105                                Melville                      NY   11556
29776713 Athletic Edge Nutrition                          3109 Grand Ave 280                                          Miami                         FL   33431
29776715 Atkins Nutritionals, Inc.                        1050 17th Street, Suite 1500                                Denver                        CO   80265
29776715 Atkins Nutritionals, Inc.                        3212 Shadewood Drive                                        Crystal Lake                  IL   60014
29783923 atlantic Candy Co                                115 Whetstone Place                                         SAINT AUGUSTINE               FL   32086
29783926 Atlas Copco Compressors LLC                      300 Technology Center Way Ste. 550                          Rock Hill                     SC   29730
29650555 Attentive Mobile Inc.                            221 River Street, Suite 9047                                Hoboken                       NJ   07030-
29790603 Aurea Biolabs Private Limited                    G-285, Main Avenue, Panampilly Nagar                        Cochin, Kerala                     682036         India
29783929 Auroma International                             1100 E Lotus Dr Bld 3                                       Silver Lake                   WI   53170
29648898 Aurora Corner, LLC                               13500 Aurora Avenue North, Suite A                          Seattle                       WA   98133
29790605 Aurus, Inc.                                      1 Edgewater Place, Suite 200                                Norwood                       MA   02062-
29790605 Aurus, Inc.                                      One Edgewater Drive, Suite 200                              Norwood                       MA   02062-
29783934 Authentic Alaska, LLC                            9301 Glacier Hwy, Ste 200                                   Juneau                        AK   99801
29776716 Avalara, Inc.                                    1100 2nd Ave Suite 300                                      Seattle                       WA   98101
29648899 AVR CPC Associates, LLC                          One Executive Boulevard                                     Yonkers                       NY   10701
29783703 AWAKE Corporation                                700-10 Kingsbridge Garden Cir                               Mississauga                   ON   L5R 3K6        Canada
29790607 Axcess Global LLC, DBA Real Ketones, LLC         300 West Jennings St., Suite 201                            Newburgh                      IN   47630
29776738 Axe and Sledge Supplements, Inc.                 1909 New Texas Road                                         Pittsburgh                    PA   15239
29776739 Axis Labs, Inc.                                  9233 Park Meadows Dr. #46                                   Lone Tree                     CO   80124
29627746 Ayush Herbs, Inc.                                2239 152 Ave NE                                             Redmond                       WA   98052
                                                          c/o Federal Realty Investment Trust, 909 Rose Avenue,
29648900 Azalea Joint Venture, LLC                        Suite #200                                                  Rockville                     MD   20852
29623051 Azzarello Family Partners LP                     542 Socorro Court                                           Reno                          NV   89511



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29623052 B.H. 3021-3203 South IH35, LLC                 c/o BH Properties, 11111 Santa Monica Blvd., Suite 600       Los Angeles                CA   90025
29776782 B.I.N. Science LLC (dba ROEX)                  1401 N. Batavia Suite 204                                    Orange                     CA   92867
29623053 B33 Ashley Furniture Plaza II LLC              601 Union Street, Suite 1115                                 Seattle                    WA   98101
29623054 B33 Metro Crossing II LLC                      601 Union Street, Suite 1115                                 Seattle                    WA   98101
29623055 B33 Wrangleboro II LLC                         601 Union Street, Suite 1115                                 Seattle                    WA   98101
29623056 B33 Yuma Palms III LLC                         601 Union Street, Suite 1115                                 Seattle                    WA   98101
29783961 Babo Botanicals LLC                            14 Harwood Ct. Suite 425                                     Scarsdale                  NY   10583
29628286 Babson Macedonia Partners, LLC                 M.E. Osborne Properties, 7670 TYLER BLVD                     Mentor                     OH   44060
                                                        c/o Rettner Building Management Corporation, 6
29623058 BADA CT, LLC                                   Fairfield Blvd #1                                            Ponte Vedra Beach          FL   32082
29783964 Baesman Group, Inc.                            4477 Reynolds Rd                                             Hilliard                   OH   43026
29790612 Bag Arts LLC                                   20 WEST 36TH, 5TH FLOOR                                      New York                   NY   10018
29790613 Bamboo Rose LLC                                17 Rogers Street                                             Gloucester                 MA   01930-
29603299 Bank of America                                P.O. Box 27128                                               Concord                    CA   75284-2425
29603299 Bank of America                                PO BOX 402742                                                Atlanta                    GA   75284-2425
29623059 Barbara Friedbauer and MACK 8927, LLC          82 Agassiz Ave                                               Belmont                    MA   02478
29790615 Barclay Brand Ferdon                           2401 South Clinton Ave                                       South Plainfield           NJ   07080-
29790616 Barclay Fleet Service                          2401 South Clinton Ave                                       South Plainfield           NJ   07080-
29623060 Barclay Square LLC                             38505 Woodward Avenue, Suite 280                             Bloomfield Hills           MI   48304
30273298 Bargreen-Ellingson, Inc.                       6626 TACOMA MALL BLVD                                        Tacoma                     WA   98409
29776752 Barlean 5                                      4935 Lake Terrell Road                                       FERNDALE                   WA   98248
29604351 Barlean's Organic Oils                         4936 Lake Terrell Road                                       Ferndale                   WA   98248
29776754 Barnana                                        302 Washington St. Suite 150                                 San Diego                  CA   92103
29776755 Barndad Innovative Nutrition, LLC              150 Lake Drive Suite 101                                     Wexford                    PA   15090
29790618 Barwick Group                                  330 Ratzer Road, Suite A-4                                   Wayne                      NJ   07470-
29627689 Basic Research, LLC                            5742 W. Harold Gatty Drive                                   Salt Lake City             UT   84116
29776759 Batallure Beauty, LLC                          150 East 52nd Street                                         New York                   NY   10022
29648901 Bauer & O'Callaghan LLC                        c/o Kiersey & McMillan Inc., P.O. Box 1696                   Beaverton                  OR   97075
29648902 BC of St. Lucie West LLC                       c/o Cartessa Real Estate Partners, 145 S. Livernois #310     Rochester                  MI   48307
                                                        c/o American Asset Corporation, 5950 Fairview Road,
29648903 BC Retail, LLC                                 Suite 800                                                    Charlotte                  NC   28210
29648904 BCP Investors, LLC                             1500 Whetstone Way, Suite 101                                Baltimore                  MD   21230
29648905 BDG Kendall 162 LLC                            2151 S Le Jeune Road, Suite 300                              Miami                      FL   33134
29783982 Be Well Nutrition, Inc.                        629 Camino De Los Mares, #315                                San Clemente               CA   92673
29783983 Beach Fire, Corp dba Tahiti Trader             7111 Arlington Ave. Ste F                                    Riverside                  CA   92503
29776761 Beaumont Products, Inc.                        1560 Big Shanty Drive                                        Kennesaw                   GA   30144
29776762 Beautyfit                                      1000 NW 105th Ave                                            Plantation                 FL   33322
29776763 Beavex, Inc.                                   PO BOX 637997                                                Cincinnati                 OH   45263
29776765 Become, Inc.                                   640 W California Ave, Suite 110                              Sunnyvale                  CA   94086
29790623 Beefeaters Holding Company                     5801 Westside Ave.                                           North Bergen               NJ   07047-



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         Beijing Tang-An Nutrition & Healthcare Products Co.,
29776545 Ltd.                                                         A-14-G, Chengming Building, No. 2 Xizhimen Nan Street         Beijing                         100035         China
29776767 Belcam Inc.                                                  27 Montgomery Street                                          Rouses Point               NY   12979
                                                                      c/o Robert L. Stark Enterprises Inc., 629 Euclid Avenue,
29648906 Belden Park JV LLC                                           Suite 1300                                                    Cleveland                  OH   44114
29783704 Bell Lifestyle Products Inc.                                 3164 Pepper Mill Ct.                                          Mississauga                ON   L5L 5V3        Canada
29776770 Bella Barbies International DBA Body Complete Rx             12020 Sunrise Valley Dr, Ste 100                              Reston                     VA   20191
29783985 BeneFlex, Inc.                                               77 BRANT AVENUE, STE 206                                      Clark                      NJ   07066-
29648907 Beral LLLP                                                   2800 Quarry Lake Drive, Suite 320                             Baltimore                  MD   21209
29790627 Berkeley College                                             44 Rifle Camp Road                                            Woodland Park              NJ   07424-
29783991 Bernard Jensen Products                                      535 Stevens Avenue West                                       Solana Beach               CA   92075
29648908 Berwyn Gateway LLC                                           c/o Keystone Ventures, LLC, 420 Clinton Place                 River Forest               IL   60305
29648909 Best Buy Stores, L.P.                                        7601 Penn Avenue South                                        Minneapolis                MN   55423
29648910 Beta-Bremerton L.L.C.                                        18827 Bothell Way N.E., Suite 110                             Bothell                    WA   98011
29783995 Betancourt Sports Nutrition LLC                              14620 NW 60th Avenue             , Bldg A                     HIALEAH                    FL   33014
29783995 Betancourt Sports Nutrition LLC                              300 Harmon Meadow Blvd                                        Secaucus                   NJ   07094-
29783996 Better Planet Brands LLC                                     1629 SE 9th Street                                            Fort Lauderdale            FL   33316
29776773 Betty Lou's Inc.                                             750 SW Booth Bend Rd.                                         McMinnville                OR   97128
29776774 Beverly International                                        1768 Industrial Rd                                            Cold Spring                KY   41076
29776775 Beyond Better Foods, LLC                                     101 Lincoln Avenue, Suite 100                                 Bronx                      NY   10454
29776776 BeyondTrust Software, Inc.                                   5090 N 40th Street, Suite 400                                 Phoenix                    AZ   85018
29776777 Bhu Foods                                                    818 Vanderbilt place                                          San Diego                  CA   92110
29648911 Bierbrier South Shore Place Braintree LLC                    420 Bedford St.                                               Lexington                  MA   02420
         Big Flats TEI Equities LLC, Big Flats TEA LLC, Big Flats CEG
         I, LLC, Big Flats CEG III LLC, Big Flats Patricia Lane LLC,
29623061 Big Flats Westfield Commons LLC                              c/o Time Equities Inc., 55 Fifth Avenue - 15th Floor          New York City              NY   10003
29776783 Bio nutrition Inc.                                           3580 Oceanside Rd. Unit 5                                     Oceanside                  NY   92056
29776783 Bio Nutrition Inc.                                           64 Alabama Ave                                                Island Park                NY   11558
29783998 BIOCALTH INTERNATIONAL, INC.                                 1871 Wright Avenue                                            La Verne                   CA   91750
29790630 Bio-Engineered Supplements & Nutrition Inc.                  5901 Broken Sound Parkway NW, Suite 600                       Boca Raton                 FL   33487
29784000 BioForce USA                                                 6 Grandinetti Drive                                           Ghent                      NY   12075
29783751 BIOIBERICA, S.A.U.                                           C/ Antic Camí de Tordera, 109-119, Palafolls                  Barcelona                       8030           Spain
29783705 Bio-K Plus International Inc.                                495 Armand Frappier Blvd                                      Laval                      QC   H7N 5W1        Canada
29784001 BioNutritional Research Group, Inc.                          6 Morgan                  , SUITE 100                         Irvine                     CA   92618
29784002 BioPharmX, Inc.                                              1098 Hamilton Court                                           Menlo Park                 CA   94025
29784003 BioRage, Inc.                                                9108 Tyler Blvd                                               Mentor                     OH   44060
29783706 BioSteel Sports Nutrition Inc.                               87 Wingold Avenue                                             North York                 ON   M6L 1N7        Canada
29784004 Biotab Nutraceuticals, Inc.                                  401 E. Huntington Drive                                       Monrovia                   CA   91016
29784005 Biotest LLC                                                  1850 Reliable Cir.                                            Colorado Springs           CO   80906
29784006 Birch Benders                                                PO Box 4860                                                   Boulder                    CO   80306
29623062 Birdcage GRF2, LLC                                           1850 Douglas Blvd., Suite 412                                 Roseville                  CA   95661



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30345468 Birkdale Real Estate Investors, LLC                 P.O. Box 12170                                               Charlotte                  NC    28220
29623063 BKXL EASTEX LTD.                                    9121 Elizabeth Rd., # 108                                    Houston                    TX    77055
29792301 BlackLine Systems, Inc.                             21300 Victory Blvd., 12th Floor                              Woodland Hills             CA    75284
29792301 BlackLine Systems, Inc.                             21300 Victory Blvd., 12th Floor                              Woodland Hills             CA    91367
29790636 Blu-Dot Beverage Company Inc.                       1155 North Service Road West, Unit 11                        Oakville                   ON    L6M 3E3     Canada
29776791 Blue Bay Technologies, LLC                          478 2nd St.                                                  Excelsior                  MN 55331
29623064 Blue Green Capital, LLC                             18205 Biscayne Blvd., Ste 2202                               North Miami Beach          FL    33160
29784013 Bluebonnet Nutrition                                12915 Dairy Ashford                                          Sugar Land                 TX    77478
29627747 Bluebonnet Nutrition Corp.                          12915 Dairy Ashford                                          Sugar Land                 TX    77478
29623065 BMA Springhurst LLC                                 c/o Marquee Capital, 301 N Broadway, Suite 300               Milwaukee                  WI    53202
29790638 BMO Harris Bank N.A.                                150 N Martingale Road, Suite 900                             Schaumburg                 IL    60173
29784017 BMS Cat, Inc.                                       303 Arthur Street                                            Fort Worth                 TX    76107
29784018 BNC Nutrition LLC                                   1448 Industry Drive                                          Burlington                 NC    53105
29784019 BNG Enterprises                                     3312 E. Broadway Road                                        Phoenix                    AZ    85040
29776795 BoardVantage, Inc.                                  4300 Bohannon Drive, Suite 110                               Menlo Park                 CA    94025
29776797 Bob's Red Mill                                      13521 SE Pheasant Ct.                                        Milwaukie                  OR    97267
29776798 Bob's Red Mill Natural Foods, Inc.                  13521 SE Pheasant Court                                      Milwaukie                  OR    97267
29623066 Boca Park Marketplace LV, LLC                       9030 W. Sahara Avenue, #422                                  Las Vegas                  NV    89117
29790640 Bodhi Organics, LLC                                 1800 E State St, Ste 144B                                    Hamilton                   NJ    08609-
29776802 Body LLC (dba Body Nutrition)                       2950 47 Ave N.                                               St Petersburg              FL    33714
29776804 Boiron Inc.                                         6 Campus Blvd                                                Newtown Square             PA    19073
29776804 Boiron, Inc.                                        4 campus blvd                                                Newtown Square             PA    19073
                                                             c/o Bond Street Management Group LLC, 850 Morrison
29623067 Bond Street Fund 11, LLC                            Drive, Suite 500                                             Charleston                 SC   29403
29623068 Bond Street Fund 8, LLC                             850 Morrison Drive, Suite 500                                Charleston                 SC   29403
29784024 Bonk Breaker, LLC                                   1833 Stanford Street                                         Santa Monica               CA   90404
29790642 BOOM Chaga, LLC                                     760 Marbury Lane, Suite B                                    Longboat Key               FL   34228
                                                             c/o Marx Realty & Improvement Co. Inc., 155 East 44th
29623069 Boswell Avenue I, LLC                               Street, 7th Floor                                            New York City              NY   10017

29784029 Boulder Goods LLC DBA Sir Richards Condom Company   PO Box 989                                                   Boulder                    CO   80306
29784031 Bounce USA LLC                                      750 SE Booth Bend Road                                       McMinnville                OR   97128
29623070 Bowman MTP Center LLC                               234 Seven Farms Drive, Suite 300                             Daniel Island              SC   29492
         Bowman Sales & Equipment Inc, dba Bowman Trailer
29784033 Leasing                                             10233 Governor Lane Blvd.                                    Williamsport               MD   21795
29776806 Boyden                                              3 RIVERWAY, SUITE #1150                                      Houston                    TX   77056
29776807 BPI Sports LLC                                      3149 SW 42nd St. #200          , #200                        Hollywood                  FL   33312
                                                             c/o Bradford Real Estate, 200 South Wacker Drive, Suite
29651026 Bradford Vernon IV LLC                              726                                                          Chicago                    IL   60606
29776811 Bragg Live Food Products Inc.                       199 Winchester Canyon Rd                                     Santa Barbara              CA   93117
29776812 Brain Pharma, Inc.                                  3701 SW 47 Ave #104                                          Davie                      FL   33314



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29776813 Brand Makers, LLC                                      464 South Main Street                                        Spanish Fork                UT    84660
29651027 Brand Properties IV, LLC                               2401 PGA Boulevard, Suite 150                                Palm Beach Gardens          FL    33410
29776815 Brand Shop                                             20 Constitution Blvd South                                   Shelton                     CT    06484-
29776816 BrandBags LLC                                          11601 Wilshire Blvd., Suite 1800                             Los Angeles                 CA    90025
29785625 BrandStorm HBC, Inc                                    7535 Woodman Place                                           Van Nuys                    CA    91406

                                                                c/o NewQuest Properties, Attn: Property Mngmt/Legal,
30345490 Brazos TC South – Partnership A, L.P.                  8827 W. Sam Houston Pkwy N., Suite 200                       Houston                     TX   77040
29606574 Breast Cancer Research Foundation                      28 West 44th Street, Suite 609                               NEW YORK                    NY   10036
29651028 BREIT Canarsie Owner LLC                               ShopCore Properties, 50 S. 16th Street, Suite 3325           Philadelphia                PA   19102
29785633 Brian Buford & Associates, Inc.                        328 North Clifton Avenue Unit IN                             Chicago                     IL   60614
                                                                d/b/a Clearview & Northern LLC and 205-04 Northern
29651029 Brick Management LLC                                   Boulevard LLC, 134-01 20th Avenue, 20th Floor                Queens                      NY   11356
29651030 Brick Pioneer LLC                                      900 Route 9 North, Suite 301                                 Woodbridge Township         NJ   07095

29651031 Brixmor Burlington Square LLC                          c/o Brixmor Property Group, 200 Ridge Pike, Suite 100C       Conshohocken                PA   19428
29651032 Brixmor Roosevelt Mall Owner, LLC                      c/o Brixmor Property Group, 200 Ridge Pike, Suite 100        Conshohocken                PA   19428
29651033 Brixmor/IA Clearwater Mall, LLC                        c/o Brixmor Property Group, 200 Ridge Pike                   Conshohocken                PA   19428
29651034 Brooksville Cortez, LLC                                400 Perrine Road, Suite 405                                  Old Bridge (CDP)            NJ   08857
29776828 Brother's Trading, LLC                                 PO Box 2234                                                  San Gabriel                 CA   91778
29776831 Brownie Brittle, LLC                                   2253 Vista Parkway, #8                                       West Palm Beach             FL   33411
29651035 Brust Development Company, LLC                         4012 Colby Avenue, Suite 103                                 Everett                     WA   98201
29790652 BSP PHARMA INC                                         PO Box 890                                                   Marmora                     NJ   02062-
29623071 BTMI, Ltd.                                             1045 Fifth Avenue                                            New York City               NY   10028
29784051 Buff Bake, LLC                                         221 20th Street                                              Huntington Beach            CA   92648
29623072 Buffalo-Pittsford Square Assoc. LLC                    570 Delaware Avenue                                          Buffalo                     NY   14202
29784054 Build Retail Inc.                                      103 Gannaway Street                                          Jamestown                   NC   27282
29784055 Building Better Solutions                              9101 Schindler Dr                                            PEARL RIVER                 NY   10965
29784056 Bulletproof 360, Inc.                                  1012 15th Ave. Suite 400                                     Seattle                     WA   98122
29784057 Bulletproof 360Digital, Inc.                           716 Theodore Court                                           Romeoville                  IL   60446
29670864 Bum Energy LLC                                         760 NW Enterprise Dr                                         Port St. Lucie              FL   34985
                                                                c/o Realty Advisors International, 904 Silver Spur Road,
29623073 Bund Scenery USA, LLC                                  No. 266                                                      Palos Verdes Peninsula      CA   90274
                                                                c/o Eastern Real Estate, One Marina Park Drive, Suite
29623074 Burlington U Mall Owner LLC                            1500                                                         Boston                      MA   02210
29776841 Buxton Company, LLC                                    2651 South Polaris Drive                                     Fort Worth                  TX   76137
29776842 Buy.com Inc.                                           85 Enterprise, Suite 100                                     Aliso Viejo                 CA   92656
         BVA Alamo SPE LLC, Alamo SPE Poplin LLC, Alamo SPE JT
         LLC, Alamo SPE Schulmann LLC, Alamo SPE RFM LLC, and c/o Big V Properties LLC, 176 North Main Street, Suite
29623075 Alamo SPE Muir LLC                                    #210                                                          Florida                     NY   10921
29623076 BVA Rim GP LLC                                        c/o Big V Properties LLC, 162 North Main St, Suite 5          Florida                     NY   10921



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                                                             BRADFORD KLEEMAN PROPERTIES, LLC,APUAT
                                                             MANAGEMENT, LLC, ACTAGON CORPORATION, PEILING
         BVIF WESTSIDE 6275 LLC, CMS PROPERTY SOLUTIONS,     JIANG,and RICHARD MCINTOSH, c/o Big V Properties
29623077 LLC,R&S BUILDING VENTURES, LLC, 602 W 9TH ST, LLC   LLC, 176 North Main St, Suite 210                   Florida                        NY   10921
29630190 C.H. Robinson Worldwide, Inc.                       14701 Charlson Road                                 Eden Prairie                   MN   55480-9121
29784059 C2 Technical Resources, LLC                         408 MILL STREAM WAY                                 Woodstock                      GA   21163
29784060 C20 Pure Coconut Water, LLC                         400 Oceangate #750                                  Long Beach                     CA   90802
29623078 California Car Hikers Service                       c/o Terry A. Ickowicz Esq., 14320 Ventura Boulevard Sherman Oaks                   CA   91403
29784063 California Fragrance Co. DBA AROMAFLORIA            171 East 2ND Street                                 Huntington Station             NY   11746
29784064 California Inside Out, Inc. DBA Out of Africa       12 Washington Blvd 2nd Floor                        Marina Del Ray                 CA   90292
29784065 California Natural Products                         1250 E. Lathrop Road                                Lathrop                        CA   95330
29784066 California Natural Vitamin Labs Inc                 9044 Independence Ave                               Canoga Park                    CA   91304
29623079 Camden Village LLC                                  2099 Mt. Diablo Boulevard, Suite 206                Walnut Creek                   CA   94596
29790655 CamelBak Products LLC                               2000 South McDowell Street, Suite 200               Petaluma                       CA   94954
29776848 Camp Gladiator, Inc.                                9185 Research Blvd.                                 Austin                         TX   78758
29776849 Canada Post                                         2101 91ST STREET                                    NORTH BERGEN                   NJ   07047-
29776850 Candidate Source                                    RENT THE HELP, INC, 6402 MALLORY DRIVE              Richmond                       VA   23226
29776851 CannaVest Corp                                      591 Camino de la Reina, Ste 1200                    San Diego                      CA   92108
29776852 Cannon Group                                        960C Harvest Drive, Suite 100                       Blue Bell                      PA   19422
29790659 Canopy Growth USA, LLC                              35715 US HWY 40, Suite D-102                        Evergreen                      CO   80439
29776854 Can't Live Without It, LLC (d/b/a S'well Bottle)    28 W 23rd St. 5th Floor                             NEW YORK                       NY   10010
29776856 Canus USA                                           26 Leonard Ave                                      Leonardo                       NJ   07737-
29648912 Canyon Springs Marketplace North Corporation        c/o TDA Investment Group, 2025 Pioneer Court        San Mateo                      CA   94403
29776858 Capella University                                  225 South 6th Street, 9th Floor                     Minneapolis                    MN   55455
29784070 Capital Brands LLC                                  11601 Wilshire Boulevard, 23rd Floor                Los Angeles                    CA   90025
                                                             C/O: Commercial Development, 200 Boston Post Rd.,
29648913 Caplowe-Voloshin Realty, LLC                        Suite 13                                            Orange                         CT   06477
29784075 Capstone Integrated Solutions, LLC                  254 Route 17K, Suite 106                            Newburgh                       NY   12550
29783699 Capsugel Belgium NV                                 Rijksweg 11                                         Bornem                              B-2880         Belgium
29604454 Capsule Connection, LLC                             309 Bloom Pl.                                       Prescott                       AZ   86301
29627803 Carbon & Clay Company                               1937 N Interstate 35 #100                           New Braunfels                  TX   78130
29784078 Cardiac Science Corporation                         N7 W22025 Johnson Drive                             Waukesha                       WI   53186
29630195 Cardinal Path LLC                                   515 N. State St., 22nd Floor                        Chicago                        IL   60654
29784081 Cardiovascular Research, Ltd.                       1061B Shary Circle                                  Concord                        CA   94520
29790661 Career Developers Inc.                              500 N Franklin Turnpike, S. 208                     Ramsey                         NJ   07446-
29776860 Careerminds Group Inc.                              1601 Concord Pike, Suite 82                         Wilmington                     DE   19803
29790662 Caribbean Sol, Inc.                                 4495 SW 35th St, Unit H, Unit H                     Orlando                        FL   32811
29648914 Carp Outparcel, LLCc/o FMK Management, LLC          14039 Sherman Way, Suite 206                        Van Nuys                       CA   91405
29776863 Carrie Murphy                                       Address On File
29776868 Cave Shake, LLC                                     1386 1/2 Edgecliffe Drive                           Los Angeles                    CA   90041
29776869 Caveman Foods LLC                                   2950 Buskirk Ave # 170                              Walnut Creek                   CA   94597



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29784083 CBDFit, LLC                                         701 Park of Commerce Blvd, Ste 101                      BOCA RATON                  FL    33487
29790665 CBRE                                                PO BOX 406588, LOCATION CODE 2991                       Atlanta                     GA    30384-6588
29495301 CBRE, Inc.                                          PO BOX 406588, LOCATION CODE 2991                       Atlanta                     GA    30326
29784087 CC Vending, Inc.                                    90 Macquesten Parkway South                             Mount Vernon                NY    10550
29648917 CC&B Associates LLC                                 1620 Scott Ave.                                         Charlotte                   NC    28203
29648920 CD, II Properties, LLC                              P.O. Box 99                                             Demorest                    GA    30535
29648921 CDA Enterprises, LLC                                10 North Post, Suite 301                                Spokane                     WA 99201
29784094 CDW Direct, LLC                                     200 N. Milwaukee Ave.                                   Vernon Hills                IL    60061
29648922 Cedar Equities, LLC                                 1 Sleiman Parkway, Suite 220                            Jacksonville                FL    32216
29902043 Celsius, Inc.                                       2424 North Federal Hwy          , 208                   Boca Raton                  FL    33431
29776874 Cenegenics Global Health, LLC                       6231 McLeod Dr. Suite G                                 Las Vegas                   NV    89120
29790670 Centerstone Executive Search, Inc.                  4250 Fairfax Drive, Suite 600                           Arlington                   VA    22203
29648923 Central Park Avenue Associates, LLC                 32 Quentin Road                                         Scarsdale                   NY    10583
                                                             c/o Rappaport Management Company, 8405 Greensboro
29623080 Central Park Retail, LLC                            Drive, 8th Floor                                        McLean                      VA   22102
29784095 Centralis Partners, Inc.                            2822 CENTRAL STREET, SUITE 100                          Evanston                    IL   60201
29623081 Centro Deptford LLC                                 222 West Hills Road                                     New Canaan                  CT   06840
29604326 Century Systems                                     120 Selig Drive                                         Atlanta                     GA   30336
29784098 CerBurg Products Ltd                                2040 South Ridgewood Avenue                             S Daytona                   FL   32119
29784099 Certegy Payment Recovery Services, Inc.             550 Greensboro Avenue                                   Tuscaloosa                  AL   35401
29784100 C'est Si Bon Company                                1308 Sartori Ave. #205                                  Torrance                    CA   90501
29623082 CFH REALTY III/SUNSET VALLEY, L.P.                  500 North Broadway, Suite 201                           Jericho                     NY   11753
29623083 CFJ INVESTMENTS LLC                                 ATTN VALERIE J FUETTE, 1423 AARHUS DRIVE                Solvang                     CA   93463
29623084 CFT NorthPointe LLC                                 c/o: Tiana C. Jenkins, 1767 Germano Way                 Pleasanton                  CA   94566
                                                             c/o 4Acre Property Services LLC, Attention: Gina
29623085 CH Realty VII/R Orlando Altamonte, L.L.C.           KarnesOrlando, 1818 E Robinson St.                      Orlando                     FL   32803
                                                             c/o Walnut Capital Management Inc, 5500 Walnut
29623086 CH Retail Fund I/Pittsburgh Penn Place, LLC         Street, Suite 300                                       Pittsburgh                  PA   15232
29623087 CH Retail Fund I/Vestal Shops, LLC                  3819 Maple Ave.                                         Dallas                      TX   75219
                                                             Mid-America Asset Management Inc., One Parkview
29623088 CH Retail Fund II/Chicago Oakbrook Terrace, LLC     Plaza, 9th Floor                                        Villa Park                  IL   60181
                                                             c/o Carlino Commercial Development, 100 Front Street,
29623089 Chadds Ford Investors LPc/o Carlino Development,    Suite 560                                               Conshohocken                PA   19428
29776885 Challa Enterprises LLC                              2200 SW 6th Avenue                                      Topeka                      KS   66606
29648925 Chamisa Development Corp., LTD                      c/o CREM, 5951 Jefferson St. NE, Suite A                Albuquerque                 NM   87109
29776887 Champion Nutrition                                  1301 Sawgrass Corporate Parkway                         Sunrise                     FL   33323
29648926 Charles Bailey & Debra Bailey Trustees              Address On File
29648927 Charles Kahn Jr. & Todd Vannett                     Address On File
                                                             Trustees of the Frandson Family Trust & Ralph Horowitz,
29648928 Charles L. & Patricia M.Frandson as                 11661 San Vicente Blvd., Suite 301                      Los Angeles                 CA   90049




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         Charles M. LaKamp and Marianne E. LaKamp Trustees of
29648929 The LaKamp Family Trust                              Address On File
29648930 Charm Real Estate, LLC                               c/o Josh Levinson, 117 Church Lane, Ste C                        Cockeysville               MD   21030
29784112 Chase Merchant Services                              8875 Washington Blvd                                             ROSEVILLE                  CA   95678
29784114 CHEPS CUT REAL JERKY LLC                             PO BOX 110871                                                    NADIES                     FL   34108
29784115 CHEPS CUT REAL JERky LLIC                            PO BOX 110871                                                    NAPLES                     FL   34108
29648931 Cherry Hill Retail Partners LLC                      1260 Stelton Road                                                Piscataway                 NJ   08854
29784117 Chesapeake System Solutions, Inc.                    10220 S. Dolfield Road, Suite 209                                Owings Mills               MD   21117
29784118 Chia USA LLC (dba The Chia Co)                       270 Lafayette Street, Suite 612                                  New York                   NY   10012
29776893 Chicago Bar Company LLC                              225 W. Ohio St. Suite 500                                        Chicago                    IL   60654
29776894 ChildLife Essentials                                 5335 McConnell Avenue                                            Los Angeles                CA   90066
29604546 ChocZero Inc.                                        1376 E Valencia Dr.                                              Fullerton                  CA   92831
29648932 ChrisLinc Properties, LLC                            2320 N Atlantic, Suite 100                                       Spokane                    WA   99205
29776899 Church & Dwight Co., Inc.                            500 Charles Ewing Boulevard                                      Ewing                      NJ   08628-
29776900 Cid Botanicals LLC                                   14 NE First Avenue, Suite W224                                   Miami                      FL   33132
29790679 Cigniti Technologies Inc.                            433 East Las Colinas Blvd., Ste. 1300                            Irving                     TX   75039

29784119 Cintas Corporation No. 2 d/b/a Cintas First Aid & Safety   PO BOX 631025                                              Cincinnati                 OH   45263
29792907 Cintas Fire Protection                                     2929 W. Clarendon Ave.                                     Phoenix                    AZ   85017
29624149 Cision US Inc.                                             PO Box 419484                                              Boston                     MA   02241-
29648933 City Centre of Avon Retail, LLC                            3951 Convenience Circle N.W., Suite 301                    Canton                     OH   44718
29623090 CL Creekside Plaza South CA LP                             3300 Enterprise Parkway                                    Beachwood                  OH   44122
                                                                    c/o Patron Property Management Company, 700A Lake
29623091 Clark Commons LLC                                          Street                                                     Ramsey                     NJ   07446
29784127 Clarkston-Potomac Group, Inc.                              2655 Meridian Parkway                                      Durham                     NC   27713
29604650 Clean Simple Eats                                          13222 S. Tree Sparrow Drive, R-330                         Riverton                   UT   84096
29784128 CleanWell LLC                                              755 Sansome St. Ste 300                                    San Francisco              CA   94111
29897993 Clear Evaluations, LLC                                     719 Sawdust Road, Suite 101                                The Woodlands              TX   77380
                                                                    C/O Universal Properties Management, 7171 SW 62ND
         Clermont AMA Group, LLC                                                                                               Miami                      FL   33143
29628695                                                            AVENUE #503
29776905 ClickCO, Inc.                                              639 W. Enterprise Rue                                      Clovis                     CA   93619
29776906 Clif Bar & Company                                         1451 66 St                                                 Emeryville                 CA   94608
29776907 Clinical Study Applications, Inc.                          3305 N. Delaware Street                                    Chandler                   AZ   85225
29790682 Clipper Magazine LLC                                       ONE BRAND MARKETING, 3708 HEMPLAND ROAD                    Mountville                 PA   17554
                                                                    c/o Paynter Realty & Investments Inc., 195 South C
29623093 Clovis-Herndon Center II, LLC                              Street, Suite 200                                          Tustin                     CA   92780
29623094 CLPF - KSA Grocery Portfolio Woodbury, LLC                 c/o Clarion Partners, 230 Park Avenue                      New York City              NY   10169
29776913 CLVM, LLC (d.b.a. Valimenta Labs)                          6598 Buttercup Drive unit 4                                Wellington                 CO   80549
29784131 Co. Exist Nutrition Corp                                   4552 SW 71 Avenue                                          Miami                      FL   33155
29790683 Coalfire Systems, Inc.                                     361 Centennial Parkway, Suite 150                          Louisville                 CO   80027
29784134 Coastline Products LLC                                     2222 Ave of Stars #702E                                    Los Angeles                CA   90067



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29623095 Cobal Garage Inc.                                  225 Gordons Corner Road, Suite 1B                            Englishtown                NJ    07726
                                                            c/o Divaris Property Mgmt Corp. Agent, 4525 Main
29784136 Cobalt Properties of Nashville, TN, LLC            Street, Suite 900                                            Virginia Beach             VA   23462
29623096 Coconut Point Town Center LLC                      225 West Washington Street                                   Indianapolis               IN   46204
                                                            c/o Fidelis Realty Partners DFW LLC, 8140 Walnut Lane,
29623097 Collin Creek Associates, LLC                       Suite 400                                                    Dallas                     TX   75231
29623098 Colonel Sun LLC                                    3718 N 36th St.                                              Tacoma                     WA   98407
29623099 Colonial and Herndon LLC                           1605 W. Fairbanks Ave                                        Winter Park                FL   32789
29784142 ColonialWebb                                       2820 Ackley Avenue                                           Richmond                   VA   23228
         ColonialWebb Contractors Company, a division of
30345326 Comfort Systems USA                                2820 Ackley Avenue                                           Richmond                   VA   23228
29623100 COLUMBIA- BBB WESTCHESTER                          12568 N. Kendall Drive                                       Miami                      FL   33186
                                                            c/o Kimco Realty Corporation, 500 North Broadway,
29648934 Columbia Crossing I LLC                            Suite 201                                                    Jericho                    NY   11753
29776918 Columbus Consulting International, LLC             4200 Regent Street, Suite 200                                Columbus                   OH   43219
         Columbus Management Systems, Inc. d/b/a CDL Last
29776919 Mile Solutions                                     132 West 24th Street                                         New York                   NY   10011
29776922 Comcast Cable Communications Management, LLC       PO Box 8587                                                  Philadelphia               PA   19101
29776923 Command Global, LLC                                8840 W. Russell Rd. #245                                     Las Vegas                  NV   89148
29648935 Commerce Limited Partnership #9005                 1280 West Newport Center Drive                               Deerfield Beach            FL   33442
29648936 Commerce Limited Partnership #9602                 1280 West Newport Center Drive                               Deerfield Beach            FL   33442
29784143 Commerce Technologies, Inc.                        70 N UNION ST                                                DELAWARE                   OH   43015
29784144 Commerce Technologies, LLC                         1280 W. NEWPORT CENTER DR.                                   DEERFIELD BEACH            FL   33442
                                                            MMS USA HOLDINGS f/b/o Commission Junct., PO BOX
29784145 Commission Junction                                735538                                                       Dallas                     TX   75373-5538
29784146 Commission Junction, Inc.                          530 East Montecito Street                                    Santa Barbara              CA   93103
29784149 Compass Group USA, Inc.                            5000 Hopyard Road, Suite 322                                 Pleasanton                 CA   94588
29784150 Compound Solutions, Inc.                           1930 Palomar Point Way, Suite 105                            Carlsbad                   CA   92008
                                                            455 N. CITYFRONT PLAZA DR. , NBC TOWER-13TH
29628726 ComPsych Corporation                               FLOOR                                                        CHICAGO                    IL   60611
29627833 Comvita USA Inc.                                   506 Chapala Street                                           Santa Barbara              CA   93101
29776926 Connolly, a division of Cotiviti, LLC              50 Danbury Road                                              Wilton                     CT   06897-

29776565 Conscious Food LTD                                 Unit 3B, Clapham North Art Centre, 26-32 Voltaire Road       London                          SW4 6DH        United Kingdom
29776927 Consumer Insights Inc. d/b/a Emcity                5455 Corporate Drive, Suite 120                              Troy                       MI   48098
29776927 Consumer Insights Inc. d/b/a Emicity               5455 Corporate Drive, Suite 120                              Troy                       MI   48098
29776928 ConsumerLab.com, LLC                               333 Mamaroneck Avenue                                        White Plains               NY   10605
29776930 Continental Vitamin Company, Inc.                  4510 S. Boyle Ave.                                           Vernon                     CA   90058
29776931 Contract Flooring, LLC                             600 Wharton Drive, SW                                        Atlanta                    GA   30336
29604353 Controlled Labs                                    180 South Broadway Suite 206                                 White Plains               NY   10605
29776933 Convertro, Inc.                                    4712 Admiralty Way, #795                                     Marina del Rey             CA   90292



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29783709 CoolWhey Inc.                                    5416 Vanden Abeele                                            Montreal                     QC    H4SIP9      Canada
29776936 Copeland Cargo Solutions                         PO Box 102071                                                 Pasadena                     CA    91189-2071
29785799 COPPERTREE STAFFING LLC                          60 Turnstone Court                                            Stafford                     VA    22556
                                                          c/o Kimco Realty Corporation, 500 North Broadway,
29648938 Copperwood Village L.P.                          Suite 201                                                     Jericho                      NY   11753
29785801 Coral LLC                                        38 Diamondback wy                                             Carson City                  NV   89706
29785802 Corben and Clay Company                          1937 N Interstate 35 #100                                     New Braunfels                TX   78130
29785804 CORE Nutrition, LLC                              1222 E Grand Ave Suite 102                                    El Segundo                   CA   90245
29648940 Coremark St. Cloud, LLC                          392 Main Street                                               Wyckoff                      NJ   07481
29785807 Cornerstone Research & Development, Inc.         900 South Depot Dr.                                           Ogden                        UT   84404
         Cornerstone Research & Development, Inc., dba
29785808 Capstone Nutrition                               900 South Depot Dr.                                           Ogden                        UT   84404
29604336 Coromega                                         2525 Commerce Way                ,B                           VISTA                        CA   92081
29648941 Coronado Center LLC                              110 N. Wacker Dr.                                             Chicago                      IL   60606

                                                          San Jose-Goicichea calle Blancos, del edificio del Segundo
         Corporacion SDCR Costa Rica Sociedad De          circuito judicial de San Jose, cien metros oeste, cien
29790690 Responsabilidad Limitada                         metros norte, cien metros este, Edificio Gessa                San Jose                          10803       Costa Rica
29628743 Corporate Health Education Solutions LLC         27941 Avenida Armijo                                          Laguna Niguel                CA   92677
29790691 CorrJensen                                       1525 RALEIGH ST.               , 500, Donny DiFazio           DENVER                       CO   80204
29776941 Corr-Jensen, Inc.                                221 S. Cherokee Street                                        Denver                       CO   80223
29648942 Cortlandt Manor Equities LLC                     244 West 39th St., 4th Floor                                  New York City                NY   10018
                                                          CorVel Corporation, Attn: Cathy Clansen, 1920 Main
29900451 CorVel Enterprise Comp, Inc.                     Street, Suite 900                                             Irvine                       CA   92614
29648943 Cosmonaut Holdings, LLC                          365 W. Taft-Vineland Rd, Suite 105                            Orlando                      FL   32824
29776946 Cosmorganic Inc                                  60 Broad Street Ste 3502                                      New York                     NY   10004
                                                          466 Kinderkamack Rd.              ,B                   , Carl
29790694 Cotapaxi Custom Design and Manufacturing LLC     Cetera                                                        Oradell                      NJ   07649-
29784156 Country Life, LLC.                               180 Vanderbilt Motor Pkwy                                     Hauppauge                    NY   11788
29604410 Covalent Medical, LLC                            7501 Greenway Center Drive, #300                              Greenbelt                    MD   20770
                                                          c/o Select Strategies Brokerage - FL Division LLC, 708
29648944 CP Pembrok Pines, LLC                            East Colonial Drive, Suite 203                                Orlando                      FL   32803
29623101 CPK Union LLC                                    1089 Little Britain Road                                      New Windsor                  NY   12553
29784164 CPS/Comtech, Inc.                                22 Trails End Court                                           Westfield                    NJ   07090-
                                                          c/o Madison Marquette Real Estate Services LLC, 1615
29623102 CPT Settlers Market, LLC                         South Congress Avenue, Suite 103                              Delray Beach                 FL   33445
                                                          c/o JBG SMITH Properties, 4747 Bethesda Avenue, Suite
29623103 CPYR SHOPPING CENTER, LLC                        200                                                           Bethesda                     MD   20814
                                                          c/o Continental Realty Corporation, 1427 Clarkview
29623104 CR Oakland Plaza LLC                             Road, Suite 500                                               Baltimore                    MD   21209
29776951 Crave Crush LLC                                  535 Madison Avenue, Fl 30                                     New York                     NY   10016



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29776952 Creative Bioscience, LLC                                5239 Green Pine Drive                                        Salt Lake City              UT    84123
29790695 Creative Circle                                         470 Park Avenue South, 14th Floor                            New York                    NY    10016
29790696 Creative Circle, LLC                                    5900 Wilshire Boulevard, 11th Floor                          Los Angeles                 CA    90036
29776955 CredibleCravings, LLC                                   PO Box 18706                                                 Irvine                      CA    92623
29623105 Crescent 1000 LLC and Capital 12520 LLC                 Attn: Lee & Associates Raleigh Durham, P.O. Box 33006        Raleigh                     NC    27636
29784167 Crio, Inc.                                              1386 W. 70 S.                                                Lindon                      UT    84042
29624171 Criteo Corp.                                            411 High Street                                              Palo Alto                   CA    94301
29783748 CRITEO SA                                               32 rue blanche                                               Paris                             75009       France
29784170 Crossroads Retail Solutions Inc.                        22 Ashford Street                                            Boston                      MA    02134-

29623106 Crown 181 Broadway Holdings, LLC                        c/o Crown Acquisitions, 667 Madison Avenue, 12th Floor New York City                     NY   10065
29623108 CS Paramount Hooper LLC                                 c/o Paramount Newco Realty, 1195 Rt 70, Suite 2000       Lakewood (CDP)                  NJ   08701
                                                                 c/o CenterSquare Investment Management LLC, 161
29623109 CSIM Snellville Operator LLC                            Washington Street, 7th Floor                             Conshohocken                    PA   19428
                                                                 c/o CTO Realty Growth iNC., 1140 Williamson Blvd., Suite
29623110 CTO23 Rockwall LLC                                      140                                                      Daytona Beach                   FL   32114
                                                                 c/o CTO Realty Growth Inc., 1140 Williamson Blvd., Suite
29623111 CTO24 Millenia LLC                                      140                                                      Daytona Beach                   FL   32114
29627883 CTRL Holdings, LLC                                      42 Madison Avenue, 31st Floor                            New York                        NY   10010
29776959 Cueniverse, LLC                                         50-17 48th St.                                           Woodside                        NY   11377
29630209 Curtis Power Solutions LLC                              3915 BENSON AVE                                          Baltimore                       MD   21227
29776961 Curv Group, LLC dba KeySmart                            860 Bonnie Ln                                            Elk Grove Village               IL   60007
29776962 Custom Eco Friendly                                     260 Madison Avenue Suite 8081                            New York                        NY   10016
         Custom Leather Canada Limited & Grizzly Fitness
29776519 Accessories                                             460 Bingemans Centre Drive                                   Kitchener                   ON   N2B 3X9     Canada
29648945 Cypress Woods Associates LLC                            8441 Cooper Creek Blvd                                       Bradenton                   FL   34207
29776964 CytoSport, Inc.                                         4795 Industrial Way                                          Benicia                     CA   94510
29776966 Daiwa Health Development                                1411 West 190th Street, Suite 375                            Gardena                     CA   90248

29648946 Dakota Crossing One, LLC and Dakota Crossing Two, LLC 888 S. Figueroa Street, Suite 1900                             Los Angeles                 CA   90017
29776520 DAMIVA INC.                                           55 Avenue Road, Suite #2400                                    Toronto                     ON   M5R 3L2     Canada
29627825 DAS LABS LLC                                          313 South 740 East #3                                          American Fork               UT   84003
29648947 Davenport One, LLC and Davenport Two, LLC             4685 MacArthur Court, Suite 375                                Newport Beach               CA   92660
29784182 David Kirsch Wellness Co.                             210 Fifth Avenue, 7th Floor                                    New York                    NY   10010
29784185 Davinci Laboratories of Vermont                       20 New England Drive                                           Essex Jct                   VT   05452-
29776560 Dawaai Private Limited                                Suite 1216, Caesars Tower, Main Shahra-e-Faisal                Karachi                          74400       Pakistan
29784187 DBG Partners, Inc.                                    2300 Valley View Lane, Suite 110                               Irving                      TX   75062
29784191 De Mert Brands Inc.                                   15402 N. Nebraska Ave Suite 102                                Lutz                        FL   33549
                                                               c/o Retail Property Group Inc., 101 Plaza Real South,
29648948 Delray Place, LLC                                     Suite 200                                                      Boca Raton                  FL   33432




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                                                            c/o Legend Management Services Inc., 1000 Fayette
29648949 DEPG Stroud Associates II, L.P.                    Street                                                      Conshohocken               PA   19428
29627639 Derma E                                            2130 Ward Ave                                               SIMI VALLEY                CA   93065
29648950 Derob Associates LLC                               10 Rye Ridge Plaza, Suite 200                               Port Chester               NY   10573
29776976 Desert Essence                                     10556 Combie Road PMB 6711                                  Auburn                     CA   95602
29776978 Designer Protein                                   PO BOX 21469                                                Carlsbad                   CA   92018
29776979 Destination Marketing                              6808 220th St SW, Suite 300                                 Mountainlake Terrace       WA   98043
29648951 Destiny Building LLC                               1260 NW 72rd Avenue                                         Miami                      FL   33126
29790703 Detoxify LLC                                       8901 E. Pima Center Parkway          , Suite 215            Scottsdale                 AZ   85258
29648952 Diamond Center Realty LLC                          27 Holly Brook Road                                         Paramus                    NJ   07652
29784198 Diamond Herpanacine of PA, Inc.                    1518 Grove Avenue, Suite #2B                                Jenkintown                 PA   19046
29784199 Diane Stollenwerk                                  Address On File
29648953 Dicks Adventure LLC                                33 Church Street                                            Montclair                  NJ   07042
29648954 Dierbergs 5LP                                      16690 Swingley Ridge Road, PO Box 1070                      Chesterfield               MO   63017
29784203 Digital Prophets Network LLC                       56 Squaw Road                                               East Hampton               NY   11937
29619808 Dina Trama                                         Address On File
29790705 Direct Digital LLC                                 508 West 5th Street, Suite 140                              Charlotte                  NC   28202
29605412 Direct Source, Inc.                                8176 Mallory Court                                          Chanhassen                 MN   55317
29776982 DirectPath LLC                                     120 18th Street South                                       Birmingham                 AL   35233
29776985 Discover Products Inc.                             2500 Lake Cook Road                                         Riverwoods                 IL   60015
29776986 Discovery Benefits, Inc.                           4321 20th Avenue South                                      Fargo                      ND   58103
29776987 Distributed Meditation Technology LLC              1435 N Dutton Ave                                           Santa Rosa                 CA   95401
29604443 Divine Health                                      1908 Boothe Circle                                          Longwood                   FL   32750
29776990 Divine Health, Inc.                                1908 Boothe Circle                                          Longwood                   FL   32750
                                                            c/o Global Realty & Management FL Inc., 4125 NW 88
29648955 Dixie Pointe Shopping Center, LLC                  Avenue                                                      Fort Lauderdale            FL   33351
29784207 DLP Construction                                   5935 Shiloh Road East                                       Alpharetta                 GA   30005
29784208 DLP Construction Inc.                              5935 Shiloh Road East                                       Alpharetta                 GA   30005
29784210 DMFC Incorporated                                  276 Pine Avenue                                             Manasquan                  NJ   08736-
29784211 DMS Natural Health, LLC (Just Thrive Probiotic)    810 Busse Highway                                           Park Ridge                 IL   60068
29604303 Doctor’s Best, Inc.                                197 Avenida La Pata            , Suite A                    San Clemente               CA   92673
29677031 Doctor's Best, Inc.                                197 Avenida La Pata            , Suite A                    San Clemente               CA   92673
29784217 Donnelly Industries, Inc.                          557 Route 23 South                                          Wayne                      NJ   07470-
30162830 Doordash, G&C                                      303 2nd Street, South Tower, Suite 800                      San Francisco              CA   94107
29623112 Douglasville Promenade LLC                         3350 Riverwood Parkway, Suite 450                           Atlanta                    GA   30339
29623113 Dov & P Holding Corp.                              49 Murray Hill Terrace, Lauvsnes                            Nord-Trøndelag                  7746           Norway
30202393 Dov & P Holding Corp.                              49 Murray Hill Terrace                                      Marlboro                   NJ   07746-
29623114 Downey Landing SPE, LLC                            200 E. Carrillo Street, Suite 200                           Santa Barbara              CA   93101
29628876 DP Retail Consultants                              363 RUE SYLVIO MANTHA                                       VAUDREUIL                  QC   J7V4R9         Canada
29777000 Dr. Bronner's Magic Soaps                          P.O. Box 28                                                 Escondido                  CA   92033
29790710 Dr. Jacobs Naturals LLC                            1178 Broadway, 5th Floor                                    New York                   NY   10001



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 ADRID                             NAME                                         ADDRESS                                            CITY     STATE POSTAL CODE       COUNTRY
29777002 Dr. Theo's® Official                           5257 N Via Sempreverde                                   Tucson                     AZ    85750
29784218 Dr. Venessa's Formulas                         2212 S Chickasaw Tri #170                                Orlando                    FL    32875
29784219 Dracula                                        PO BOX 205                                               COTTONTOWN                 TN    37048
29766876 DREAMBRANDS, INC                               11645 N CAVE CREEK RD                                    PHOENIX                    AZ    85020
29784221 Drink Chia, LLC                                1003 Orienta Ave.                                        Altamonte Springs          FL    32701
29784222 Drivepressa's Formulas                         2212 S. Chickasaw Trl #170                               Chando                     FL    32025
29623115 DRP Market Heights Property Owner, LLC         12221 Merit Dr., Suite 1220                              Dallas                     TX    75251
29902158 DrVita, Inc.                                   6980 W. Warm Springs            , 100, Josh Minnick      LAS VEGAS                  NV    89113
29604440 D's Naturals LLC                               6125 East Kemper Road                                    Cincinnati                 OH    45241
29783757 DSM Nutritional Products AG                    Wurmisweg 576                                            Kaiseraugst                      4303        Switzerland
29784228 DSM Nutritional Products, LLC                  55 Sebethe drive, Suite 102                              Cromwell                   CT    06416-
29623116 DT Prado LLC                                   3300 Enterprise Parkway                                  Beachwood                  OH    44122
29777003 DUDE Products, Inc                             3501 N Southport #476                                    Chicago                    IL    60657
29777004 Duke Cannon Supply Company                     1000 Superior Blvd, Suite 301                            Wayzata                    MN 55391
29623117 Duluth Retail 4 Guys, LLC                      7940 Via Dellagio Way, Suite 200                         Orlando                    FL    32819
29777006 dunnhumby Inc.                                 3825 Edwards Road, Suite 600                             Cincinnati                 OH    45209
29777007 Duo Wen, Inc. (dba Sparkle Collagen)           245 Saw Mill River Road, Suite 106                       Hawthorne                  NY    10532-1547
29790716 DuPont Nutrition Biosciences ApS               Parallelvej 16                                           Kongens Lyngby                   DK-2800     Denmark
29777008 Dutch Honey, Inc.                              2220 DUTCH GOLD DRIVE                                    LANCASTER                  PA    17601
29777009 Dyla LLC                                       222 Broadway 19th Floor                                  New York                   NY    10038
29777010 Dymatize Enterprises, Inc.                     13737 N Stemmons Frwy                                    Farmers Branch             TX    75234
29790717 Dynamic Health Laboratories, Inc.              110 Bridge Street, Floor 2                               Brooklyn                   NY    11201
29777012 Dynata, LLC                                    4 Research Drive, Suite 300                              Shelton                    CT    06484-
29790718 E & F Sales, LLC                               5889 Whitmore Lake Road, Suite C                         Brighton                   MI    48116
29790719 Eagle Labs, Inc.                               5000 Park Street North                                   St. Petersburg             FL    33709
29623118 Eagle Matrix LLLP                              4446-1A Hendricks Ave., PMB#377                          Jacksonville               FL    32207
29627711 Earth Mama Angel Baby                          9866 SE Empire Ct                                        Clackamas                  OR    97015
29784235 Earth Science Naturals                         6383 Rose Lane, Suite B                                  Carpinteria                CA    93013
29784236 Earthrise Nutritionals LLC                     2151 Michelson Drive, Suite 258                          Irvine                     CA    92612
29784237 Earth's Care Natural Products, Inc.            7015 Marcelle Street                                     Paramount                  CA    90723
                                                        c/o Benenson Capital Partners LLC, 155 East 44th Street,
29623119 East Broadway Tucson Co. LLC                   27th Floor                                               New York City              NY   10017
29623120 East End Associates LLC                        277 Park Ave.                                            New York City              NY   10017
29623121 East Hampton NY Enterprises LLC                P.O. Box 620712                                          New York City              NY   11362
29648956 Easton Market SC, LLC                          814 Commerce Drive, Suite 300                            Oak Brook                  IL   60523
29648957 EastWing, LLC                                  733 Struck Street, Unit#44624                            Madison (town)             WI   53744
29716088 Easyvista                                      3 Columbus Circle, 15th Floor, Suite 1532                New York                   NY   10019
29628892 EasyVista Inc.                                 3 Columbus Circle, 15th Floor, Suite 1532                New York                   NY   10019
29777014 Eat Me Guilt Free 2 Corp                       4600 SW 71st Ave                                         Miami                      FL   33155
29648958 Eatontown Plaza LLC                            523 Michigan Ave.                                        Miami Beach                FL   33139
29777016 EB Brands                                      4 Executive Plaza                                        Yonkers                    NY   10701
29790723 Echo Global Logistics                          600 W. Chicago Ave., Suite 725                           Chicago                    IL   60654


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29777019 Eclectic Institute Inc                         36350 SE Industrial Way                                      Sandy                     OR    97055
29648959 Eclipse Real Estate LLC                        601 Union Street, Suite 2300                                 Seattle                   WA 98101
29777021 Eco Lips                                       329 10th Ave SE                                              Cedar Rapids              IA    52401
29777022 Eco Vessel                                     5485 Conestoga Court Suite 100                               Boulder                   CO    80301
29776521 Ecotrend Ecologics Ltd.                        125 West 3rd Avenue                                          Vancouver                 BC    V5Y 1E6     Canada
29777024 Ecova, Inc.                                    1313 14 Atlantic, Nt 4500                                    Spokane                   WA 99201
29777025 Edge Realty Partners Austin LLC                515 Congress Avenue, Suite 2325                              Austin                    TX    78701
                                                        c/o North American Development Group, 360 South
29648960 Edgewood Retail, LLC                           Rosemary Avenue, Suite 400                                   West Palm Beach           FL   33401
29648961 EGATE-95, LLC                                  8441 Cooper Creek Blvd.                                      Bradenton                 FL   34201
29784248 Egg Whites International, LLC                  630 W. Freedom Ave                                           Orange                    CA   92865
29776558 Egmont Honey Limited                           21 Connett Road West, Bell Block                             New Plymouth                   4312         New Zealand
29784250 Egyptian Magic Distribution LLC                3101 Clifton Ave.                                            Cincinnati                OH   45220
29784251 Eight IP LLC                                   860 Johnson Ferry Road, Suite 140156                         Atlanta                   GA   30342
29648962 Eighteen Associates LLC                        32 Court Street                                              Brooklyn                  NY   11201
                                                        c/o The Shopping Center Group LLC, 300 Galleria Pkwy,
29648963 EJT II, LLC                                    12th Floor                                                   Atlanta                   GA   30339
29777026 Elder-Jones General Contractor                 1120 East 80th Street, Suite # 211                           Bloomington               MN   55420

29648964 Eldersburg Sustainable Redevelopment LLC       Black Oak Associates, 1 West Pennsylvania Ave., Ste. 975 Towson                        MD   21204
29777028 Elemental Herbs Inc.                           PO Box 203                                               Morro Bay                     CA   93443
29777029 Elements Brands, LLC DBA Natural Dog Company   4444 South Blvd                                          Charlotte                     NC   28209
29628909 Elite Entertainment                            2 Hartford Drive Suite 106                               Tinton Falls                  NJ   07701-
29777031 Ellen Hartleb                                  Address On File
29790729 Elsevier B.V.                                  Radarweg 29                                              Amsterdam                          1043 NX      The Netherlands
29604484 Elyptol Inc.                                   2500 Broadway, Suite F-125                               Santa Monica                  CA   90404
29777035 Emerge Technologies, Inc.                      1431 Greenway Drive, Suite 800                           Irving                        TX   75038
29651322 Emerson Healthcare                             Lock Box # 510782, 701 Market Street 199 3490            Philadelphia                  PA   19175-0782
29792698 Emerson Healthcare, LLC                        Lock Box # 510782, 701 Market Street 199 3490            Philadelphia                  PA   19175-0782
29784257 Emicity d/b/a Consumer Insights Inc.           5455 Corporate Drive, Suite 120                          Troy                          MI   48098
29784258 Empire Today                                   2107 East Magnolia Street                                Phoenix                       AZ   85034
29648965 Emporium Shoppes L.L.C.                        2924 Davie Road, Suite 202                               Fort Lauderdale               FL   33314
29784262 Endangered Species Chocolate LLC               5846 W. 73rd St                                          Indianapolis                  IN   46278
29784263 ENGIE Insight Services Inc dba ENGIE Impact    1313 N Atlantic Street Suite 5000                        Spokane                       WA   99201
29784264 Engineered Sports Technology (EST)             3839 Old Winter Garden Rd. Ste 1518                      Orlando                       FL   32805
29784265 EN-R-G FOODS, LLC                              PO BOX 771162                                            Steamboat                     CO   80477
29628920 Entrepreneur Media, Inc.                       18061 FITCH                                              Irvine                        CA   92614
29777037 Enviro Mechanical Technologies                 33-35 Sebago Street                                      Clifton                       NJ   07013-
29777037 Enviro Mechanical Technologies                 83 Chamberlain Ave.                                      Elmwood Park                  NJ   07407-
29777039 Enviro Mechanical Technologies USA LLC         33-35 Sebago Street                                      Clifton                       NJ   07013-
29776522 Enyotics Health Sciences Inc.                  6-295 Queen Street East Suite 289                        Brampton                      ON   L6W 456      Canada



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29777040 Enzymedica Inc.                                      771 Commerce Dr                                               Venice                     FL    34292
29777041 Epic Dental LLC                                      4735 South Cherry Street                                      Murray                     UT    84123
29776523 Epicor Retail Solutions Corporation                  2800 Trans-Canada Highway                                     Pointe-Claire              QC    H9R 1B1     Canada
29648966 Epps Bridge Centre Property Company, LLC             6445 Powers Ferry Road, Suite 120                             Atlanta                    GA    30339
29777047 Erbaviva                                             19831 Nordhoff Place #116                                     Chatsworth                 CA    91311
29623122 ERG Realty LLC                                       6 State Street                                                Canaman                    ME    04402
29627397 Ernst & Young LLP                                    99 Wood Avenue South, Metropark, P.O. Box 751                 Iselin                     NJ    08830-0471
29784271 Erom Inc.                                            14630 Industry Gr                                             La Mirada                  CA    90638
29784272 Escali, Corp.                                        3203 Corporate Center Drive, Suite 150                        Burnsville                 MN 55306
29784273 ESPN                                                 500 South Buena Vista Street                                  Burbank                    CA    91521
29790735 Essentia Water LLC                                   27833 Bothell-Everett Hwy, Suite 220                          Bothell                    WA 98021
29792701 Essential Formulas Incorporated                      1861 Valley View Lane Ste 180                                 Farmers Branch             TX    75234
29784276 Essential Living Foods Inc.                          3550 Hayden Avenue                                            Culver City                CA    90232
29784277 Essential Source, Inc.                               625 W. Deer Valley Rd.         , 103-152                      Phoenix                    AZ    85027
29784278 ETB North America, LLC                               200 S. College Street Suite 1530                              Charlotte                  NC    28202
29784279 Eternal Beverages Inc                                2950 Buskirk Ave # 312                                        Walnut Creek               CA    94597
29776524 Ethoca Limited                                       100 SHEPPARD AVE EAST, SUITE 605                              NORTH YORK                 ON    M2N6N5      Canada
29784280 Etkin Executive Search Group                         273 MERRICK ROAD                                              Lynbrook                   NY    11563
29784281 EUROCHOC AMERICAS CORPORATION                        4325 INDECO COURT                                             CINCINNATI                 OH    45241
29777048 Europa Sports Products LLC                           11401 Granite Street                                          Charlotte                  NC    28273
29777049 Europa Sports Products, Inc.                         11401-H Granite Street                                        Charlotte                  NC    28273
29777050 EuroPharma Inc.                                      955 Challenger Drive                                          Green Bay                  WI    54311
29623124 Eustis Covenant Group LLC                            2460 Paseo Verde Parkway, Suite 145                           Henderson                  NV    89074
29777052 Evalar, Inc.                                         7900 Glades Road Suite 425                                    Boca Raton                 FL    33434
29623125 EVJA & Associates (Columbia) LLC                     1620 Scott Avenue                                             Charlotte                  NC    28203
29777054 Evolution Salt Co                                    11212 Metric Blvd, Ste 100                                    Austin                     TX    78758
29777055 Evolved Group, LLC, d/b/a Buy Box Experts            10808 South River Front Parkway, Suite 3053                   South Jordan               UT    84095
                                                              c/o Colliers International Management - Atlanta LLC,
29623126 EW Mansell, LLC and East West Commons Investors, LLC 1230 Peachtree Street NE Atlanta, Suite 800                   Atlanta                    GA   30309
29777058 Exclusive Supplements Inc.                           3000 Casteel Dr                                               Coraopolis                 PA   15108
29784283 EXIGIS, LLC                                          589 8th Ave, Floor 8                                          New York                   NY   10018
29784284 Experian Marketing Solutions, LLC                    53 State Street Ste 20                                        Boston                     MA   02109-
29784286 Expicient Inc.                                       26, Chestnut St, Suite 1 D                                    Andover                    MD   01810-
29784287 Express Messenger Systems, Inc dba OnTrac            2501 S. Price Rd.                                             Chandler                   AZ   85286
29784288 Express Services, Inc.                               8345 W. Thunderbird Road, Suite B-107                         Peoria                     AZ   85381
29784289 EyeScience Labs, LLC                                 493 Village Park Drive                                        Powell                     OH   43065
29623127 FAAR Properties LLC                                  100 Garvies Point Road, Unit 1037                             Glen Cove                  NY   11542
29784291 FABIA, LLC                                           P.O. Box 2233                                                 Valparaiso                 IN   46384
29784292 FABWA, LLC                                           P.O. Box 2233                                                 Valparaiso                 IN   46384
29784293 Facebook                                             15161 COLLECTIONS CENTER DRIVE                                Chicago                    IL   60693
29777059 Factor Nutrition Labs LLC                            100 Commercial St. Suite 200                                  Portland                   ME   04101-
29777060 Fahrenheit IT                                        10375 PARK MEADOWS DRIVE, SUITE 475                           Littleton                  CO   80124


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29623128 Fairway Equity Partners, LLC                          c/o Fairway Union, 12818 Lott Ave.                          Houston                    TX    77089
29777065 Fairy Tales Hair Care, Inc.                           4 Just Road                                                 Fairfield                  NJ    07004-
29623129 Falcon Landing LLC                                    5839 Via Verona View                                        Colorado Springs           CO    80919
29902166 Fastenal Industrial & Construction Supplies           2001 Theurer Blvd., Attn: Legal                             Winona                     MN 55987
29777068 Fastly, Inc.                                          P.O. Box 78266                                              San Francisco              CA    94107
                                                               C/O: Milan Capital Management Inc., 701 S. Parker
29623130 FC Rancho, LLC                                        Street, Suite 5200                                          Orange                     CA   92868

29623131 Feasterville Realty Associates, LP                    c/o Abrams Realty & Development, 310 Yorktown Plaza Elkins Park                        PA   19027
         Federal Express Corporation, FedEx Ground Package     CORPORATE ACCTS. RECEIVABLE , 333 EAST LEMON ST,
29784302 System, Inc., and FedEx Freight, Inc.                 PO BOX 95001                                        Lakeland                           FL   33804-5001
29784298 Federal Heath Sign Company, LLC                       1806 Rochester Industrial Dr.                       Rochester Hills                    MI   48309
29648967 Federal Realty OP LP                                  909 Rose Avenue, Suite #200                         Rockville                          MD   20852
         Federal Way Crossings Owner, LLC and Trimark FWC
29648968 Owner, LLC                                             10655 NE 4th Street, Suite 700                    Bellevue                            WA   98004
                                                                CORPORATE ACCTS. RECEIVABLE , 333 EAST LEMON ST,
29649852 FedEx                                                  PO BOX 95001                                      Lakeland                            FL   33804-5001
29648969 Felix Center On Kirby Ltd.                             1800 St. James Place, Suite 300                   Houston                             TX   77056
29784304 Ferrara & Company                                      301 College Road East                             Princeton                           NJ   08540-
29784305 Ferro's Restaurant, LLC                                145 East 50th Street                              New York                            NY   10022
                                                                c/o Kimco Realty Corporation, 500 North Broadway,
29648970 Festival of Hyannis LLC                                Suite 201                                         Jericho                             NY   11753
29648971 Festival Properties, Inc.                              1215 Gessner Road                                 Houston                             TX   77055
29790748 Fetch for Cool Pets LLC                                115 Kennedy Drive                                 Sayreville                          NJ   08872-
29648972 Fifth & Alton (Edens) LLC                              1221 Main Street, Suite 1000                      Columbia                            SC   29201
29648972 Fifth & Alton (Edens) LLC                              500 East Broward Boulevard, Suite 1620            Fort Lauderdale                     FL   33301
         Fifty144 Oak View Partners, LLC and Crescent Partners, Oak View Hollow c/o The Lund Company, 450 Regency
29648973 LLC                                                    Parkway, Suite 200                                Omaha                               NE   68114
29777077 Fina Bueno, Inc. dba healthy hoohoo                    70 SW Century Drive Suite 100-289                 Bend                                OR   97702
29777078 Financial Recovery Services, LLC                       80 Wesley Street                                  South Hackensack                    NJ   07606-
29777079 Financial Software Innovations, Inc.                   3102 Bee Caves Road, Suite 200                    Austin                              TX   78746

         First Amendment & Restatement of the Massimo Musa
29648974 Revokable Trust 2021 Gunbarrel Road, Chattanooga TN   4800 No Federal Highway, Suite 201B                         Boca Raton                 FL   33431
29792353 FIRST CC (WEST WENDOVER) LLC                          801 East Morehead Street, Suite 301                         Charlotte                  NC   28202
29784312 First Endurance                                       PO Box 71661                                                Salt Lake City             UT   84171
29777082 Fit Butters LLC                                       11526 Brayburn Trail                                        Dayton                     MN   55369
29776525 Fit Foods Distribution Inc.                           PO Box 43, STN MAIN                                         Port Coquitlam             BC   V3C 3V5        Canada
29792628 Fit Products, LLC                                     1606 Camerbur Drive                                         ORLANDO                    FL   32805
29777084 fitlosophy, inc.                                      260 Newport Center Drive, Suite 100                         Newport Beach              CA   92660
29777085 FITzee Foods Inc.                                     PO Box 515381, #75732                                       Los Angeles                CA   90051-6681



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29777087 Five Star Organics LLC                       2925 Adeline Street                                           Oakland                       CA    94608
29790755 Flatworld Solutions Inc.                     Princeton Forrestal Village, 116 Village Blvd, Suite, 200     Princeton                     NJ    08540-
29777089 FlexPower, Inc                               823 Gilman St                                                 Berkeley                      CA    94710
29777091 Flora, Inc.                                  805 E. Badger Rd.                                             Lynden                        WA 98264
29784318 Florida Bottling Inc.                        1035 NW 21st Terrace                                          Miami                         FL    33127
                                                      c/o One Global Property Management LLC, 900 North
29648975 Florida Investments 8 LLC                    Federal Highway, Suite 300                                    Hallandale Beach              FL   33009
                                                      c/o One Global Property Management LLC, 900 North
29648976 Florida Investments 9 LLC                    Federal Highway, Suite 300                                    Hallandale Beach              FL   33009
29784321 FLUROWATER INC.                              44 WALL STREET, 12th FLOOR                                    NEW YORK                      NY   10005
29648977 FLW 101, LLC                                 1001 B. Avenue, Suite 301                                     Coronado                      CA   92118
29784323 Focus Nutrition LLC                          96 N 1800 W #11                                               Lindon                        UT   84042
                                                      c/o Foundry Commercial LLC, 420 S. Orange Ave., Suite
29623132 FOF II Alamance Property Owner, LLC          400                                                           Orlando                       FL   32801
29784326 Food for Health International                825 E 800 N                                                   Orem                          UT   84097
29784327 FoodScience Corp                             20 New England Drive                                          Essex Junction                VT   05452-
29784328 FoodState Inc.                               380 & 390 Harvey Rd                                           Manchester                    NH   03103-
                                                      c/o Capital Asset Management, 2701 E. Camelback Rd.,
29623133 Foothills Shopping Center, LLC               Ste. 170                                                      Phoenix                       AZ   85016
29623134 Fordham Retail Associates, LLC               999 Waterside Drive, Suite 2300                               Norfolk                       VA   23510
29792580 FOREMAN PRO CLEANING, LLC                    101 Production Drive, Suite 100-b                             Yorktown                      VA   23693
29777095 Formulife, Inc DBA. Purus Labs, Inc.         11370 Pagemill Rd                                             Dallas                        TX   75243
29605519 Fortna Inc.                                  333 Buttonwood Street                                         West Reading                  PA   19611
29650349 Fortra LLC                                   333 Buttonwood Street                                         West Reading                  PA   19611
29777100 Forward Foods LLC                            2310 S. Carson St #6                                          Carson City                   NV   89701
29623135 Fountain Property LLC                        20814 Gartel Drive                                            Walnut                        CA   91789
29604439 Four Sigma Foods, Inc.                       2711 Centerville Road PMB #7988 , 120                         Wilmington                    DE   19808-1645
29623136 Fowler Investment Company LLC                2805 W. Horatio St. # Office                                  Tampa                         FL   33609
                                                      c/o Federal Realty Investment Trust, 909 Rose Avenue,
29623137 FR Grossmont, LLC                            Suite 200                                                     Rockville                     MD   20852
29628994 Franklin Covey Client Sales, Inc.            2200 West Parkway Boulevard                                   Salt Lake City                UT   84119
29784340 Freeman Expositions, Inc.                    1600 Viceroy Drive, Suite 100                                 Dallas                        TX   75235
29784342 French Transit, Ltd.                         398 Beach Road                                                Burlingame                    CA   94010
                                                      c/o Geneva Management LLC, 2950 SW 27th Avenue,
29623138 Frontier Bel Air LLC                         Suite 300                                                     Miami                         FL   33133
                                                      c/o Geneva Management LLC, 2950 SW 27th Avenue,
29623139 Frontier Dania LLC                           Suite 300                                                     Miami                         FL   33133
                                                      c/o Geneva Management LLC, 2950 SW 27th Avenue,
29623140 Frontier Dover LLC                           Suite 300                                                     Miami                         FL   33133
29790763 Frontier Essentials, LLC                     3021 78th Street, PO Box 299                                  Norway                        IA   52318




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                                                         c/o Geneva Management LLC, 2950 SW 27th Avenue,
29648978 Frontier Kissimmee LLC                          Suite 300                                                   Miami                      FL   33133
                                                         c/o Geneva Management LLC, 2950 SW 27th Avenue,
29651082 Frontier Osceola LLC                            Suite 300                                                   Miami                      FL   33133
29777109 FULL CORE LLC                                   1015 Atlantic Blvd #296                                     Atlantic Beach             FL   32233
29900892 Fungi Perfecti LLC                              PO Box 7634                                                 Olympia                    WA   98507
29648979 Funhouse Plaza LLC                              291 South Broadway                                          Salem                      NH   03079
29777112 Fuse Networks                                   12628 INTERURBAN AVE S, SUITE 100                           Seattle                    WA   98168
29777113 Fuse Networks, LLC                              7100 FORT DENT WAY, SUITE 140                               TUKWILA                    WA   98188
29784343 Futurebiotics LLC                               70 Commerce Drive                                           Hauppauge                  NY   11788
                                                         c/o Pine Tree Commercial Realty LLC, 814 Commerce
29648980 G&I X CenterPoint LLC                           Drive, Suite 300                                            Oak Brook                  IL   60523
29648981 G&T Investments LLC                             P.O. Box 1559                                               Las Cruces                 NM   88004
29784351 G4S Secure Solutions (USA) Inc.                 1395 University Boulevard                                   Jupiter                    FL   33458
29790766 Gabrielle Wolinsky                              Address On File
29651371 Gaia Herbs, Inc.                                Misty Worley, 184 Butler Farm Rd                            Mills River                NC   28759
29648982 Gaithersburg Commons LLC                        c/o Milbrook Properties, 42 Bayview Avenue                  Manhasset                  NY   11030
29648983 Gaitway Plaza LLC                               c/o wpg, 4900 East Dublin Granville Road, 4th Floor         Westerville                OH   43081
29777114 Galam, Inc                                      833 W. South Boulder Road                                   Louisville                 CO   80027
29777115 Galleria Alpha Plaza, Ltd.                      2001 Preston Road                                           Plano                      TX   75093
29648984 Gallup & Whalen Santa Maria                     2105 Castleview Dr.                                         Turlock                    CA   95382
29777117 Gamma Enterprises LLC                           113 Alder Street                                            West Babylon               NY   11704
29790767 Garden of Life, LLC                             4200 Northcorp Parkway          , Suite 200                 PALM BEACH GARDENS         FL   33410
29777121 Garmin USA, Inc.                                1200 East 151st Street                                      Olathe                     KS   66062
29777121 Garmin USA, Inc.                                4200 Northcorp Parkway          , Suite 200                 PALM BEACH GARDENS         FL   33410
29648985 Gaslight Alley, LLC                             12725 Ventura Boulevard, Suite A                            Studio City                CA   91604
29784356 Gaspari Nutrition, Inc.                         575 Prospect Street, SUITE 230                              Lakewood                   NJ   08701-
29648986 GC Baybrook, L.P.                               788 W. Sam Houston Parkway North, Suite 206                 Houston                    TX   77024
30345476 GDK Nutrition LLC                               109 Gainsborough Sq. Suite 204                              Chesapeake                 VA   23320
29784361 GE Nutrients, Inc.                              19700 Fairchild Road, Suite 380                             Irvine                     CA   92612
29784362 GEAR NUTRACEUTICALS                             41 Mill Pond Road                                           Jackson                    NJ   08527-
29648987 Geiger JB Property, LLC                         2055 South Kanner Highway                                   Stuart                     FL   34995
29784364 GELITA USA, Inc.                                2445 Port Neal Industrial Road                              Sergeant Bluff             IA   51054
29776526 Genacol International Corporation Inc.          81 Gaston-DuMoulin                                          Blainville                 QC   J7C 6B4        Canada
29784365 GENCEUTIC NATURALS                              549 A Pompton Ave, Suite 208                                Cedar Grove                NJ   07009-
29784366 Genesis Today, Inc.                             14101 W. Hwy 290, Bldg. 1900                                Austin                     TX   78737
29784367 Genesys Cloud Services, Inc.                    1302 El Camino Real, Suite 300                              Menlo Park                 CA   94025
29777125 Genesys Telecommunications Laboratories, Inc.   2001 Junipero Serra Blvd.                                   Daly City                  CA   94014
29648988 Geneva Commons Shoppes LLC                      8424 Evergreen Lane                                         Darien                     IL   60561
29777127 GENEXA LLC                                      269 South Beverly Drive, Suite 510                          Beverly Hills              CA   90212
29777128 GenServe, Inc.                                  100 Newtown Road                                            Plainview                  NY   11803



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29776527 Genuine Health                               317 Adelaide St. W. Suite 501                               Toronto                    ON    M5V 1P9     Canada
29777129 Genuine Health Co. Ltd                       775 East Blithedale Ave #364                                Mill Valley                CA    94941
29777130 George Harriss Properties, LLC               3905 Oleander Dr, Suite B                                   Wilmington                 NC    28403
29623141 George N. Snelling                           Address On File
29604361 German American Technologies                 64 Sonne, Siche ave                                         SME10                           20210+      Germany
29777134 German American Technologies dba GAT         64 Sonne, Siche ave                                         SME10                           20210+      Germany
29777135 Get Real Nutrition, LLC                      1201 U.S. Highway One, Suite 350                            North Palm Beach           FL   33408
29623142 GGPA State College 1998, L.P.                500 Grant Street, Suite 2000                                Pittsburgh                 PA   15219
29784373 Ghost Beverages, LLC                         400 N State Street                                          Chicago                    IL   60654
29784374 GIC Engineering Inc.                         11806 Race Track Road                                       Tampa                      FL   33626
29605558 GIGLIOTTI HOLDINGS LP                        11279 Perry Hwy, Ste 509                                    Wexford                    PA   15090
29784376 GINCO International, Inc.                    725 E. Cochran Street, Unit C                               Simi Valley                CA   93065
29784378 Giovanni Cosmetics, Inc.                     2064 E. University Drive                                    Rancho Dominguez           CA   90220
29623143 GKT Shoppes At Legacy Park, L.L.C.           211 N. Stadium Boulevard, Suite 201                         Columbia                   MO   65203
29777137 Glanbia Performance Nutrition, Inc.          3500 Lacey Road, Suite 1100                                 Downers Grove              IL   60515
29623144 Gleneagles Plaza, Plano TX, LLC              10250 Constellation Blvd., Suite 2850                       Los Angeles                CA   90067
                                                      c/o Macquarie Asset Management, 420 South Orange
29623145 GLL Selection II Florida L.P.                Avenue, Suite 190                                           Orlando                    FL   32801
29777142 Global Beauty Care, Inc.                     1296 East 10th Street                                       Brooklyn                   NY   11230
29777143 Global Distributors USA LLC                  600 Gulf Ave                                                Staten Island              NY   10314
29777144 GLOBAL HEALTHCARE CORPORATION                47 CENTER AVENUE                                            LITTLE FALLS               NJ   07424-
29790780 Global Juices and Fruits, LLC                372 South Eagle Road, Suite 353                             Eagle                      ID   83616
29777146 Global Protection Corp                       12 Channel St                                               Boston                     MA   02210-
29784380 Global Source                                654 N Santa Cruz Ave Suite C747                             Los Gatos                  CA   95030
29784381 Global Technology Systems, Inc.              550 Cochituate Road                                         Framingham                 MA   01701-
29784384 Gnu Foods, LLC                               217 East 70th Street, Unit 2446                             New York                   NY   10021
29784386 Go Shake International LLC                   107 W. Main Street                                          Knoxville                  TN   37902
29784387 Goddess Garden                               1821 Lefthand Cir., Ste D                                   Longmont                   CO   80501
29784388 GOFIT, LLC                                   12929 E. APACHE ST                                          TULSA                      OK   74116
29784389 Gold Medal LLC                               90 N. Polk Street                                           Eugene                     OR   97402
29790781 Golden Protein                               Main Road of Jeddah, Asaf District, Ashakreen Street        Jeddah, Makkah                  21442       Saudi Arabia
29777147 Golden Temple of Oregon LLC                  950 International Way                                       Springfield                OR   97477
29777148 Golden Tree Brands                           225 N. Richmond Street #104                                 Appleton                   WI   54411
29623146 Goldsboro Retail Center, LLC                 c/o Frasier Consulting Group LLC, 1201 Macy Drive           Roswell                    GA   30076
29790782 Goliath Labs NUTRALOID LABS                  1202 Ave U                , 2026                            Brooklyn                   NY   11229
29777151 Good Clean Love                              207 W. 5th Ave.                                             Eugene                     OR   97401

29649664 Google Inc.                                  c/o James C. Vanermark, 810 Seventh Avenue, Suite 500 New York                         NY   10019
                                                      c/o James C. Vandermark, 810 Seventh Avenue, Suite
29649664 Google, Inc.                                 500                                                   New York                         NY   10019
29785636 GovDocs, Inc.                                VB Box 167, PO Box 9202                               Minneapolis                      MN   55480



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29623147 Governor's Square Company IB                     2445 Belmont Ave                                        Youngstown                  OH    44504
29623148 GP Marketplace 1750, LLC                         500 North Broadway, Suite 201                           Jericho                     NY    11753
29623149 GP Wisconsin, L.L.C.                             c/o SRS Realty, 51 Sherwood Terrace, Suite 51           Lake Bluff                  IL    60044
29623150 Grand Canyon Center, LP                          10850 Wilshire Boulevard, Suite 1000                    Los Angeles                 CA    90024
29648989 Grand Rapids Retail LLC                          c/o Sartorial Properties, 3020 Palos Verdes Dr. W       Palos Verdes Peninsula      CA    90274
29785644 Grandpa Brands Company                           1820 Airport Exchange Blvd.                             Erlanger                    KY    41018
29487091 Granite Telecommunications, LLC                  100 Newport Ave Ext                                     Quincy                      MA    02171-
29785646 Granum, Inc                                      600 South Brandon Street                                Seattle                     WA 98108
29785647 Grass Advantage, Inc.                            220 Newport Center Drive, Suite 22                      Newport Beach               CA    92660
29648990 Great Hills Retail Inc.                          c/o Heitman LLC, 191 N. Wacker Dr., Suite 2500          Chicago                     IL    60606
29604284 Green Foods Corporation                          2220 Camino del Sol                                     Oxnard                      CA    93030
29777161 Green Park Snacks, Inc.                          245 Newtown Road, Suite 101                             Plainview                   NY    11803
29777162 Green Pharmaceuticals                            591 Constitution Ave, #A                                Camarillo                   CA    93012
29777163 Greenlane Search Marketing, LLC                  148 WELLINGTON CT.                                      Reading                     PA    19606
29783752 Greenleaf Medical AB                             Nybrogatan 59, 1tr                                      Stockholm                         114 40      Sweden
                                                          c/o Heitman Capital Management LLC, 191 Wacker
29648991 Greenridge Shops Inc.                            Drive, Suite 2500                                       Chicago                     IL   60606
29777165 Greens Plus LLC                                  1140 Highland Ave., #105                                Manhattan Beach             CA   90266
                                                          c/o PM Real Estate Management Inc., 4000 South Poplar
29651083 Greenspot Largo. LLC                             Street                                                  Casper                      WY   82601
29777167 Greenteaspoon Inc                                222 Bryant St                                           Palo Alto                   CA   94301
29648992 Greenville Ave. Retail LP                        8400 Westchester, Suite 300                             Dallas                      TX   75225
29784393 Greenwood Brands, LLC                            4455 Genesee Street                                     Cheektowaga                 NY   14225
                                                          c/o Bank of America Trust, 575 Maryville Centre Dr, Ste
29648993 Greenwood Vineyards LLC                          511                                                     Saint Louis                 MO   63141
29792581 Gregory Poole Equipment Company                  PO BOX 60457                                            Charlotte                   NC   28260
29784396 Gregory Poole Lift Systems                       PO BOX 60457                                            Charlotte                   NC   28260
29784397 Grenade USA, LLC                                 815 Reservoir Ave, Ste 1A                               Cranston                    RI   02910-
29784398 Grenera Nutrients Inc.                           1202 Gary Avenue Unit 12                                Ellenton                    FL   34222
                                                          c/o First Washington Realty Inc., 7200 Wisconsin
29648994 GRI Brookside Shops, LLC                         Avenue, Suite 600                                       Bethesda                    MD   20814
29784402 Ground-Based Nutrition                           11412 Corley Ct.                                        San Diego                   CA   92126
29784403 Group Nine Media, Inc.                           568 Broadway, Floor 10                                  New York                    NY   10012
29784404 Groupon, Inc.                                    600 W. Chicago Ave.                                     Chicago                     IL   60654
29648995 GSR Realty, LLC                                  6530 4th Ave                                            Brooklyn                    NY   11220
29777171 Güdpod Corporation                               4815 E Carefree Hwy #108-184                            Cave Creek                  AZ   85331
29776566 Guider Global Limited                            8 Devonshire Square, The Spice Building                 London                           EC2M 4PL    United Kingdom
29777172 GuideSpark, Inc.                                 1350 Willow Rd. Suite 201                               Menlo Park                  CA   94025
29777173 Gulf Coast Nutritionals DBA Ark Naturals         6166 Taylor Rd Ste 103                                  Naples                      FL   34109
29777175 Gurmeet Singh                                    Address On File
29648996 Gurnee LM Properties, LLC                        1401 S Brentwood Blvd, Suite 520                        Brentwood                   MO   63144



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29776528 GURU Beverage Co.                                 4200 St. Laurent Blvd., Suite 550                            Montreal                   QC    H2W 2R2     Canada
29790789 Gym Source USA LLC                                DEPT 106042, PO BOX 150468                                   HARTFORD                   CT    06115-
29648997 H.S.W. Associates Inc.                            3750 Gunn Highway, Suite 308                                 Tampa                      FL    33618
29784409 Haelssen & Lyon North America Corporation         39 West 38th Street, 11th Floor, Suite 11E                   New York                   NY    10018
29784410 Hain Celestial                                    58 South Service Road          , 250                         MELVILLE                   NY    11747
29784413 HALEO Worldwide Inc.                              4901 Morena Blvd. #810                                       San Diego                  CA    92117
29784415 Hall Brands LLC                                   16285 SW 85TH Ave Suite 103                                  Tigard                     OR    97224
29784416 HALLO WORLDWIDE                                   4901 Morena Blvd #810                                        San Diego                  CA    92117
29777180 Hanan Enterprise Sales                            411 Bell Street                                              Piscataway                 NJ    08854-
29777182 Handling Systems Inc                              9939 Norwalk Blvd.                                           Santa Fe Springs           CA    90670
29777182 HANDLING SYSTEMS, INC.                            2659 E. Magnolia St                                          Phoenix                    AZ    85034
29623152 Hankins-Kenny Ventures LLC                        151 Sawgrass Corners Drive, Suite 202                        Ponte Vedra Beach          FL    32082
         Hanley LM Properties, LLC c/o Lenette Realty &
29623153 Investments Co.                                   1401 S Brentwood Blvd. Suite 520                             St. Louis                  MO   63144
29776571 Hanoi Kim Lien Company Limited                    13 Lý Thai To, Hoan Kiem district                            Hanoi                           100000       Vietnam
29777188 Harmelin & Associates                             525 Righters Ferry Road                                      Bala Cynwyd                PA   19004
29623154 Harmon Meadow Suites LLC                          199 Lee Avenue, Suite 201                                    Brooklyn                   NY   11211
29790796 Harmonic Innerprizes                              PO BOX 530455                                                Henderson                  NV   89053
29623155 Harry & Ruth Ornest Trust                         3172 Abington Drive                                          Beverly Hills              CA   90210
29623156 Hart Miracle Marketplace                          925 South Federal Hwy., Suite 700                            Boca Raton                 FL   33432
29623157 Hartel Properties LLC                             335 E 78th St                                                Minneapolis                MN   55420
29784426 Harvest Trading Group                             61 Accord Park Drive                                         Norwell                    MA   02061-
29627843 HatchBeauty Products LLC                          10951 Pico Blvd Suite 300                                    Los Angeles                CA   90064
29784428 Hatteras Press Inc.                               56 Park Road                                                 Tinton Falls               NJ   07724-
29784429 Haute Science, Inc. dba Clean Machine             6712 Frontier Lane                                           Tampa                      FL   33625
29784430 Haven's Kitchen                                   109 West 17th Street                                         New York                   NY   10011
29623158 Hawkins Point Partners, LLC                       c/o Joe Holmes, 106 East 8th Avenue                          Rome                       GA   30161
29777194 Hays Companies                                    6711 Columbia Gateway Drive, Suite 450                       Columbia                   MD   21046
29777194 Hays Companies                                    BMO-88, PO BOX 1414                                          Minneapolis                MN   55402-1414
29623159 Hazel Dell & 78th Associates LLC                  19767 SW 72nd Avenue, Suite 100                              Tualatin                   OR   97062
29629078 HCLARE, LLC                                       c/o Jim Harris, 3312 Livonia Ave.                            Los Angeles                CA   90034
29783710 HD Muscle (2714523 Ontario Inc.)                  5109 Harvester Rd Unit A2                                    Burlington                 ON   L7L 5Y9      Canada
29790799 Healing Solutions LLC                             4635 W. McDowell Rd            , 110                         PHOENIX                    AZ   85035
29777198 Health Direct                                     16750 Hale Ave                                               Irvine                     CA   92606
29777199 Health Matters America Inc                        125 Galleria Dr. #1482                                       Cheektowaga                NY   14225
29777200 Health Plus Inc                                   13837 Magnolia Ave                                           Chino                      CA   91710
29777201 Health Specialties Manufacturing Inc.             2465 Ash Street                                              Vista                      CA   92081
29784431 Health Warrior Inc.                               1707 Summit Avenue                                           Richmond                   VA   23230
29784432 Healthforce, Inc.                                 P.O. Box 27740                                               Las Vegas                  NV   89126
29784433 Healthland LLC                                    560 W. Lambert Rd. Suite B                                   Brea                       CA   92821
29784434 Healthline Media, Inc.                            275 7th Avenue, 24th Floor                                   New York                   NY   10001
29784435 Healthsource International, Inc.                  1785 Erika Way                                               Upland                     CA   91784


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29784436 Healthy and Fit                                        P.O. Box 781580                                         PHILADELPHIA               PA    19178
29784437 Healthy Healing LLC                                    9821 Valley View Rd                                     Eden Prairie               MN 55344
29604296 Healthy N' Fit Nutritionals                            435 Yorktown Road                                       Croton-On-Hudson           NY    10520
29790801 Healthy Origins                                        206 West Bridge Drive, P.O. Box 442                     Morgan                     PA    15064
29651070 Healy Family Trust                                     1167 Sunset Cliffs Blvd.                                San Diego                  CA    92107
         Hearst Magazines, a division of Hearst Communications,
29790802 Inc.                                                   300 West 57th Street          , 10th Floor              New York                   NY   10019
29784443 HeartWise Incorporated                                 184 Clear Creek Dr. #1                                  Ashland                    OR   97520
29777203 Hello Products LLC                                     363 Bloomfield Avenue, 2D                               Montclair                  NJ   07042-
29777204 Henry Thayer Company                                   PO Box 56                                               Westport                   CT   06881-
29777205 Herb Pharm                                             Po box 116                                              Williams                   OR   97544
29777207 HERBACEUTICALS INC                                     35 EXECUTIVE ST.                                        NAPA                       CA   94558
29777207 Herbaceuticals, Inc.                                   630 Airpark Rd., Suite A                                Napa                       CA   94558
29777208 Herbal Answers, Inc.                                   PO Box 1110                                             Saratoga Springs           NY   12866
29777209 Herban Cowboy, LLC                                     PO Box 24025                                            Edina                      MN   55424
29777210 Herbasway Laboratories, LLC                            857 N. Main St. Ext. Unit 6                             Wallingford                CT   06492-
29604526 Hero Brands, Inc                                       71 Sydney Ave                                           Deal                       NJ   07723-
29777213 Hero Nutritional Products LLC                          991 Calle Negocio                                       San Clemente               CA   92673
29784445 Hiball Inc.                                            1862 Union St.                                          San Francisco              CA   94123
29784447 HIGH BREW COFFEE                                       PO Box 1105                                             La Mesa                    CA   91944
29651071 Highbridge Development BR LLC                          2165 Technology Drive, FL 2                             Schenectady                NY   12308
29790805 Highland Laboratories                                  110 South Garfield, PO Box 199                          MT Angel                   OR   97362
                                                                c/o RREEF Management Company, 1406 Halsey Way,
29651072 HIGHLANDS 501 (C) (25) INC.                            Suite 110                                               Carrollton                 TX   75007
29784454 Hillmann Consulting, LLC                               1600 Route 22 East - First Floor                        Union                      NJ   07083-
29651073 Hilo Power Partners, LLC                               18301 Von Karman Ave., Suite 850                        Irvine                     CA   92612
29777215 Hip Happenings, LLC                                    1712 N 13th Street                                      Boise                      ID   83702
29777216 HiTech/ALR                                             790 Spring St                                           Oak View                   CA   93022
29777217 HiTech/BLR 6009                                        790 Sarnast                                             Oak Views                  CA   93022
29651075 HM Hillcroft Westheimer Ltd.                           3810 Westheimer                                         Houston                    TX   77027
                                                                c/o CenterSquare Investment Management LLC, Eight
30345481 HMRT/CSIM-Riverbend Owner LLC                          Tower Bridge, 161 Washington Street, 7th Floor          Conshohocken               PA   19428
                                                                c/o M & J Wilkow Properties of North Carolina, 20 South
30345486 HMRT/CSIM-Riverbend Owner LLC                          Clark Street, Suite 3000                                Chicago                    IL   60603
29776572 Hoang Anh                                              Address On File
29777220 Hobe' Laboratories, Inc.                               6479 S. Ash Avenue                                      Tempe                      AZ   85283
29777224 Hollender Sustainable Brands, LLC dba Sustain          212 Battery St.                                         Burlington                 VT   05401-
29784456 Hollister Construction Services                        339 Jefferson Road                                      Parsippany                 NJ   07054-
                                                                c/o Kimco Realty Corporation, 500 North Broadway,
29651076 Holmdel Commons LLC                                    Suite 201                                               Jericho                    NY   11753
29623398 HomeoPet, LLC                                          PO Box 147                                              Westhampton Beach          NY   11978



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29784459 Honestly pHresh Deodorant                               PO Box 3755                                                 Huntington Beach          CA    92647
29651077 Horizon Jajo, LLC                                       4112 Brookview Drive SE                                     Atlanta                   GA    30339
29784461 Horizon Retail                                          1500 Horizon Drive                                          Sturtevant                WI    53177
29784464 Horseshoe LLC dba Mancakes                              826 Garden Drive                                            Highlands Ranch           CO    80126
29627640 HPF, LLC                                                2001 Makefield Rd                                           Yardley                   PA    19067
29784468 HSP EPI Acquisition, LLC dba Entertainment              1401 Crooks Road, Suite 150                                 Troy                      MI    48084
29777225 Hub Group, Inc. d/b/a Unyson Logistics                  2000 Clearwater Drive                                       Oak Brook                 IL    60523
29777225 Hub Group, Inc. d/b/a Unyson Logistics                  3050 Highland Parkway, Suite 100                            Downers Grove             IL    60515
29792461 Hughes Network Systems, LLC                             11717 Exploration Lane                                      Germantown                MD 20876
29777229 Humphreys Pharmacal, Inc.                               31 East High Street                                         East Hampton              CT    06424-
29777231 Hungry Fish Media, LLC dba NutraClick                   24 School Street, Suite 301                                 Boston                    MA    02108-
29790808 Hunter Building Corp.                                   12440 Oxford Park Drive, Suite # B-101                      Houston                   TX    77082
         Hunter's Lake, J.M. Cox, Jr., Tracy Fleenor, and John
29651078 Speropulos                                              Address On File
29777235 HYALOGIC, LLC                                           600 NO PLATTEVALLEY DR                                      REVERSÃOELMO              MO   14150
30162839 HYG Financial Services                                  300 E. John Carpenter Freeway                               Irving                    TX   75062-2712
29725738 HYG FINANCIAL SERVICES, INC.                            5000 Riverside Dr, Suite 300 East                           IRVING                    TX   75039
29651079 Hylan Ross LLC                                          5655 Amboy Road                                             Staten Island             NY   10309
29784471 Hyland's, Inc.                                          PO BOX 61067                                                Los Angeles               CA   90061
29784472 Hyper Network Solutions of Florida LLC                  11780 US Highway One, Suite 400N                            Palm Beach Gardens        FL   33408
29784473 I Heart Foods Corp                                      6552 N Oxford Ave                                           Chicago                   IL   60631
29784474 I Nutrition USA Corp                                    4730 South Fort Apache Road, Suite 300                      Las Vegas                 NV   89147
29784475 I won! nutrition                                        1350 Bayshore Hwy STE 665                                   Burlingame                CA   94010
29784477 Ibotta, Inc.                                            1801 California Street, Suite 400                           Denver                    CO   80202
29784478 ICC Shaker Inc                                          587 Commerce St. Suite 100                                  Southlake                 TX   76092
29784479 Ice Chips Candy, LLC                                    818A 79th Ave SE                                            Olympia                   WA   98501
29776551 Iceland Spring Inc.                                     GRJOTHALS 7-11                                              Reykjavik                      130            Iceland
29737312 iCIMS                                                   101 Crawfords Corner Rd, Suite #3-100                       Holmdel                   NJ   07733-
29629104 iCIMS, Inc.                                             101 Crawfords Corner Rd, Suite #3-100                       Holmdel                   NJ   07733-
29627804 ICON MEALS, INC                                         4681 Ohio Drive Suite 108                                   Frisco                    TX   75035
29777236 ICU Eyewear, Inc.                                       1440 4 Street Suite A                                       Berkeley                  CA   94710
29777238 IDR Marketing Partners LLC                              1125 Lancaster Avenue                                       Berwyn                    PA   19312
29777239 IDRMP Marketing Partners, LLC                           1125 Lancaster Avenue                                       Berwyn                    PA   19312
29777240 IFORCE Nutrition                                        2101 91st Street                                            North Bergen              NJ   07047-
29777241 Ignite USA                                              954 West Washington mc37 7th Floor                          Chicago                   IL   60607
29623161 III Hugs LLC                                            1228 E. Morehead Street, Suite 200                          Charlotte                 NC   28204
29777245 ILHWA NA Inc                                            PO Box 266                                                  Middletown                NY   10940
29784482 IMC Associates                                          673 Ridgewood Road                                          Millburn                  NJ   07041-
29784484 Immune Health Basics                                    3388 Mike Collins Drive                                     Eagan                     MN   55121
29784485 Immune Tree, Inc.                                       2764 N 675 E                                                Lehi                      UT   84043
29784486 Impact Nutrition LLC                                    58 River Street, Suite 8                                    Milford                   CT   06460-
29784487 Implus Footcare, LLC                                    2001 TW Alexander Drive, Box 13925                          Durham                    NC   27709


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29784488 Improve Commerce, Inc.                                  4301 Valley Blvd.                                            Los Angeles                CA    90032
29792464 Indeed, Inc.                                            6433 Champion Grandview Way, Building 1                      Austin                     TX    78750
29777247 Indigo Wild, LLC                                        3125 Wyandotte St                                            Kansas City                MO 64111
29623162 Indy-C-Kal, Inc.                                        2500 Westmont Circle                                         Sterling Heights           MI    48310
29777250 Inergetics, Inc. DBA Millennium Biotechnologies, Inc.   550 Broad St., Suite 1212                                    Newark                     NJ    07102-
29777251 Infinite Labs, LLC                                      7208 W Sand Lake Rd. Suite 208                               Orlando                    FL    32819
         Infinity Staffing Solutions, LLC dba Lyneer Staffing
29777252 Solutions                                               134 Franklin Corner Road, Suite 100                          Lawrenceville              NJ   08648-
29628103 Inflow Communications, LLC.                             9450 SW Gemini Dr #54242                                     Beaverton                  OR   97008-7105
29777254 InFocus                                                 P.O. BOX 1124                                                BEDFORD PARK               IL   60499
29777255 Infogroup Inc.                                          2 Blue Hill Plaza                                            Pearl River                NY   10965
29776553 Infosys Limited                                         Electronics City, Hosur Road                                 Bangalore                       560100         India
29777256 Infusion Sciences                                       2127 Espey Ct, Ste 220                                       Crofton                    MD   21114
29777257 Ingredion Incorporated                                  5 Westbrook Corporate Center                                 Westchester                IL   60154
         Inland Commercial Real Estate Services LLC/Bldg.
29623163 #75052                                                  Attention: Jon Spitz, 2901 Butterfield Road                  Oak Brook                  IL   60523
29784496 Inner Armour                                            1399 Blue Hills Ave                                          Bloomfield                 CT   06002-
29784497 Innerzyme                                               3659 E. CREST LANE                                           PHOENIX                    AZ   85050
29784498 Innophos Nutrition, Inc.                                680 North 700 West                                           North Salt Lake            UT   84054
29784498 Innophos, LLC                                           680 North 700 West                                           North Salt Lake            UT   84054
29784499 INRETURN STRATEGIES, LLC                                10308 Belinder RD                                            Leawood                    KS   66206
29623164 InSite Naperville, LLC                                  1400 16th Street, Suite 300                                  Oak Brook                  IL   60523
29623165 InSite Parma, LLC                                       1400 16th Street, Suite 300                                  Oak Brook                  IL   60523
29784504 InSource Technology Solutions, LLC                      2490 BOULEVARD OF THE GENERALS, SUITE 200                    Norristown                 PA   19403
29784505 Inspiration Beverage Company                            7727 W. 6th Ave Unit H                                       Lakewood                   CO   80214
29784506 Instavit US LLC                                         3190 Martin Rd                                               Walled Lake                MI   48390
29784507 Institute for the Future                                124 University Avenue                                        Palo Alto                  CA   94301
29777258 Integral Yoga Distribution Inc                          2168 Woodland Church Rd                                      Buckingham                 VA   23921
29777259 Integrity Express Logistics, LLC                        4420 Cooper Road, Suite 400                                  Cincinnati                 OH   45242
29680396 Integrity Landscaping Solutions, Inc.                   11200 Leadbetter Road                                        Ashland                    VA   23005
29777260 Integrity Retail Distribution, Inc.                     15221 Canary Ave                                             La Mirada                  CA   90638
29777261 Inteligent*Vitamin*C Inc                                24W500 Maple Ave STE 107                                     Naperville                 IL   60540
29790821 Interactive Communications International, Inc.          250 Williams Street, 5th Floor, Suite 5-2002                 Atlanta                    GA   30303
29777264 Interbrand                                              700 W. Pete Rose Way, Suite 460                              Cincinnati                 OH   45203
29777265 InterHealth Nutraceuticals Incorporated                 5451 Industrial Way                                          Benicia                    CA   94510
29790823 International Business Machines Corporation             1 New Orchard Road                                           Armonk                     NY   10504
29777268 International Integrated Solutions, Ltd.                137 Commercial Street                                        Plainview                  NY   11803
29604507 International Licensing Group Corporation               9465 Wilshire Blvd. suite 300                                Beverly Hills              CA   90212
29792629 International Trade Routes                              645 Wemple Road                                              Glenmont                   NY   12077
29606644 Interstate Corporate                                    508 PRUDENTIAL ROAD, SUITE 100                               Horsham                    PA   19044
29784511 Intertek                                                200 Westlake Park Blvd., #400                                Houston                    TX   77079



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29790824 InterVision Global Inc                              L14 CIC One Broadway                                         Cambridge                 MA    02142-1147
29784513 Intrinsics, Inc. (dba NameStormers)                 2201 EAST WINDSOR ROAD                                       Austin                    TX    78703
         Inversiones en Recreacion, Deporte y Salud S.A. -
29783737 BODYTECH                                            Cra. 20 #83-20                                            Bogota                            110221         Colombia
29784514 INW Living Ecology                                  240 Crouse Dr                                             Corona                       CA   92879
29784515 iPDG (Innomark Permanent Display Group)             3233 South Tech Blvd.                                     Miamisburg                   OH   45342
29784516 ips All Natural LLC                                 11911 San Vicente Blvd., Suite 348                        Los Angeles                  CA   90049
                                                             c/o Tri-Land Developments, Inc., One East Oak Hill Drive,
30345484 IP-TL Conyers, LLC                                  Suite 302                                                 Westmont                     IL   60559
29784517 IQ Formulations LLC, DBA Metabolic Nutrition        523 Sawgrass Corporate Parkway                            Sunrise                      FL   33325
                                                             C/O Inland Commercial Real Estate Services LLC/ Bldg.
29623166 IREIT North Myrtle Beach Coastal North, L.L.C.      #75056, 2901 Butterfield Road                             Oak Brook                    IL   60523
29777269 Iron Mountain Secure Shredding, Inc.                One Federal Street                                        Boston                       MA   02110-
29777270 Iron-Tek                                            180 Motor Parkway                                         Hauppauge                    NY   11788
29777271 Irwin Naturals                                      5310 Beethoven St.                                        Los Angeles                  CA   90066
29777272 ISALTIS                                             56 rue Paul Cazeneuve                                     Lyon                              69008          France
29777273 Isatori Technologies, LLC                           15000 West 6th Avenue, Suite 202                          Golden                       CO   80401
29777275 Islamic Services of America                         P.O Box 521                                               Cedar Rapids                 IA   52406
29627850 ISO International, LLC                              2215 Auto Park Way                                        ESCONDIDO                    CA   92029
                                                             Suntide Commercial Realty Inc. Inc., 2550 University
29623167 ISO Venner Plaza Holdings, LLC                      Avenue West, Suite 305                                    Saint Paul                   MN   55114
29623168 Istar, LLC                                          321D Lafayette Road                                       Hampton                      NH   03842
29777279 ITO EN (North America) INC.                         20 Jay Street Suite 530                                   Brooklyn                     NY   11201
                                                             c/o InvenTrust Property Management LLC, 3025
29623169 IVT Renaissance Center Durham I, LP                 Highland Parkway, Suite 350                               Downers Grove                IL   60515
29623170 IYC Family LLC                                      2317 12th Ct. N.W.                                        Auburn                       WA   98001
29648998 J&M Owners NY, LLC                                  33 East Camino Real, Unit 512                             Boca Raton                   FL   33432
29670046 J.B. Hunt Transport, Inc.                           615 J.B. Hunt Corporate Drive                             Lowell                       AR   72745
29648999 J.M. Baker Properties LLC                           484 Washington Street, Suite D                            Monterey                     CA   93940
29784528 J.R. Carlson Laboratories, Inc                      600 W University                                          Arlington Heights            IL   60004
29784530 JaceyCakes, LLC (DBA FlapJacked)                    960 W. 124th Ave., Suite 950                              Westminster                  CO   80234
30345365 Jack Gayton                                         Address On File
29777280 Jacklyn Janeksela                                   Address On File
29649000 JAHCO Stonebriar LLC                                1717 Main Street, Suite 2600                              Dallas                       TX   75201
29777283 Jakemans Confectioners                              114 Bay Street                                            Manchester                   NH   03104-
29649001 Jamaica-88th Ave., LLC                              c/o Peter Dilis, PO Box 280-275                           Brooklyn                     NY   11228
29649002 James H. Batmasian                                  Address On File
29777288 Japan Health Products, Inc.                         P.O. Box 472                                              Tryon                        NC   28782
29604331 Jarrow Formulas                                     1824 South Robertson Blvd                                 Los Angeles                  CA   90035
29777290 Javazen                                             4505 Campus Drive                                         College Park                 MD   20742
29777291 Jay Robb Enterprises, Inc                           6339 Paseo Del Lago                                       Carlsbad                     CA   92011



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                                                                   c/o JBL Asset Management LLC, 2028 Harrison Street,
29649003 JBL Humblewood Center, LLC                                Suite 202                                               Hollywood                     FL   33020
29784534 JD Beauty Group                                           5 Adams Avenue                                          Hauppauge                     NY   11788
29629164 JDA Software, Inc.                                        15059 N. Scottsdale Road, Suite 400                     Scottsdale                    AZ   75320-2621
29619739 Jeff Van Orden                                            Address On File
                                                                   Heller Property Management, 625 Mount Auburn Street,
29649004 Jefferson Shrewsbury Limited Partnership                  Suite 210                                               Cambridge                     MA   02138
29784537 Jeffrey James, LLC                                        1627 Sunset Ave. SW                                     Seattle                       WA   98116
29649005 Jemal's Daily Vitamin LLC                                 33 Larchwood Avenue                                     Oakhurst                      NJ   07755
29784542 JHS Natural Products Inc.                                 1025 Conger St #6                                       Eugene                        OR   97402
29620041 Jim Abbatemarco                                           Address On File
29784543 Jindilli Beverages LLC                                    8100 S Madison Street                                   Burr Ridge                    IL   60527
29649006 JJS Champaign Inv LLC                                     1370 School House Road                                  Santa Barbara                 CA   93108
29649007 JKE Property, LLC                                         294 Paxton Way                                          Glastonbury                   CT   06033
                                                                   c/o Silbert Realty & Mgmt. Co. Inc., 152 Liberty Corner
29649008 JMP Marlboro Retail Unit 2, LLC                           Road, Suite 203                                         Warren Township               NJ   07059
29777298 JMS Technical Solutions                                   7600 JERICHO TPKE, SUITE 200                            Woodbury                      NY   11797
29777300 Joe Reizer                                                Address On File
29784545 John's Lone Star Distribution Inc.                        922 Hempstead Turnpike, Suite # 2                       Franklin Square               NY   11010
29649009 Joseph Urbana Investments, LLC                            5001 N University Street                                Peoria                        IL   61615
                                                                   c/o Raider Hill Advisors LLC, 757 Third Avenue, 15th
29623171 Joule Gilroy Crossing Owner, LLC                          Floor                                                   New York City                 NY   10017
29623172 JP Associates LLC                                         9 Hastings Road                                         Holmdel Township              NJ   07733
29784552 JTM Foods LLC                                             2126 East 33 St.                                        Erie                          PA   16502
29623173 Jubilee Limited Partnership                               4300 E. Fifth Ave.                                      Columbus                      OH   43219
29623174 Jubilee--Coolsprings LLC                                  1800 Moler Road                                         Columbus                      OH   43207
29784556 Juicero, Inc.                                             2001 Bryant Street                                      San Francisco                 CA   94110
29777303 JUKI INC                                                  99 Industrial DR                                        Northampton                   MA   01060-
29715532 Jumpmind, Inc.                                            8999 Gemini Parkway, Suite 100                          Columbus                      OH   43240
29777305 Just C Inc.                                               7700 Irvine Center Dr.                                  Irvine                        CA   92618
                                                                   c/o Azose Commercial Properties, 8451 SE 68th Street,
29623175 JWT LLC                                                   Suite 200                                               Mercer Island                 WA   98040
29777307 Kaged Muscle                                              101 Main St. Suite 360                                  HUNTINGTON BEACH              CA   92648
29601088 Kaged Muscle, LLC                                         101 Main St. Suite 360                                  Huntington Beach              CA   92648
29777309 Kaitas Group International                                4083 E. Airport Drive                                   Ontario                       CA   91761

29777310 Kaitas Group International d.b.a. Organic Evolution USA   4083 E. Airport Drive                                       Ontario                   CA   91761
29777311 Kaizen Nutrition Inc NV                                   14936 S Figueroa Street                                     Gardena                   CA   90248
29784557 Kaneka North America LLC                                  6161 Underwood Rd.                                          Pasadena                  TX   77507
29784559 Kare-N-Herbs                                              P.O. Box 99                                                 York Harbor               ME   03911-
29605749 Kargo Global Inc.                                         826 Broadway, 5th Floor                                     New York                  NY   10003



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29784560 Karma Culture, LLC                                 30-A Grove Street                                           Pittsford                  NY    14534
29784561 KATE FARMS LLC                                     1621 Central Avenue                                         Cheyenne                   WY    82001
29623176 Katy Freeway Properties LLC                        1051 Halsey                                                 Houston                    TX    77015
29623177 KAWIPS Delaware Cuyahoga Falls, LLC                1590-D Rosecrans Ave. PMB#259                               Manhattan Beach            CA    90266
29784566 KDV Wealth Management LLC                          3800 American Boulevard W, Suite 100                        Bloomington                MN 55431
29784567 Keeki Pure and Simple                              950 Vitality Drive NW, Suite C                              Comstock Park              MI    49321
29784568 KeHE Distributors LLC                              1245 E, Diehl Road, Suite 200                               Naperville                 IL    60563
29784569 Kellogg Company                                    1 Kellogg Square                                            Battle Creek               MI    49017
29790834 Kelsey Cannon                                      Address On File
29777315 Kemin Foods, L.C. d/b/a Kemin Health, L.C.         600 East Court Ave.                                         Des Moines                 IA   50309
29777316 Kemin Health, L.C.                                 600 E. Court Ave., Suite A                                  Des Moines                 IA   50309-2058
29790835 Kemin Industries, Inc.                             1900 Scott Avenue                                           Des Moines                 IA   50317
29790835 Kemin Industries, Inc.                             2100 Maury Street, P.O. Box 70                              Des Moines                 IA   50301
29790835 Kemin Industries, Inc.                             600 E. Court Ave., Suite A                                  Des Moines                 IA   50309
29790835 Kemin Industries, Inc.                             601 E. Locust., Suite 203                                   Des Moines                 IA   50309
29623178 Kendall Village Associates Ltd.                    2665 South Bayshore Drive, Suite 1200                       Miami                      FL   33133
                                                            C/O NATURAL ORGANICS           , 548 BROADHOLLOW
29784573 Kesslersales the                                   ROAD                                                        Melville                   NY   11747
29784574 KetoLogic, LLC                                     300 W Morgan Street, Suite 1510                             Durham                     NC   27701
29784575 Ketologie LLC                                      5307 E. Mockingbird Lane, 5th Floor                         Dallas                     TX   75206
29784576 Kettle and Fire LLC                                2643 Hyde Street                                            San Francisco              CA   94109
29784577 Keynote Systems, Inc.                              777 Mariners Island Blvd.                                   San Mateo                  CA   94404
29784578 Keystone Technology Management                     2221 Cabot Blvd W Ste D                                     Langhorne                  PA   19047
         Keystone Technology Management, a division of
29784579 Keystone Memory Group LLC                          2221 Cabot Blvd West - Suite D                              Langhorne                  PA   19047
29627765 Keyview Labs, Inc.                                 5737 Benjamin Center Dr.                                    Tampa                      FL   33634
29784581 Kheper Games                                       440 South Holgate                                           Seattle                    WA   98134
29777325 Kilambe Coffee                                     5206-B Lyngate Ct                                           Burke                      VA   22015
29777326 Kill Cliff, LLC                                    3715 Northside Parkway, Bldg 400 , 475                      Atlanta                    GA   30327
29623179 Kim Investment Partners IV, LLC                    1901 Ave of the Stars, Suite 630                            Los Angeles                CA   90067
29777328 Kimberly Capella                                   Address On File
                                                            c/o Kimco Realty Corporation, 500 North Broadway,
29623180 Kimco Brownsville, L.P.                            Suite 201                                                   Jericho                    NY   11753
29649010 Kimco Webster Square, LLC                          500 North Broadway, Suite 201                               Jericho                    NY   11753
29777331 Kimmerle Newman Architects                         1109 Mt. Kemble Ave.                                        Harding Twp                NJ   07976-
29790841 Kimmerle Newman Architects, PA                     264 South Street                                            MORRISTOWN                 NJ   07960-
29777335 kin+kind                                           220 E. 5th St. #2W                                          New York                   NY   10003
29649011 Kinaia Family LLC                                  2500 Westmont Circle                                        Sterling Heights           MI   48310
29604355 KIND, LLC.                                         PO Box 705 - Midtown Station                                New York                   NY   10018
29784584 King Bio                                           3 Westside Drive                                            Asheville                  NC   28806
29627729 King Fisher Media, LLC                             P.O. BOX 37                                                 Midvale                    UT   84047



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29649012 Kings Highway Realty Corp.                       1326 Kings Highway                                          Brooklyn                    NY    11229
29784591 Kinker Press, inc.                               1681 Mountain Road                                          Glen Allen                  VA    23060
29784592 Kinter (K International, Inc.)                   3333 Oak Grove Ave                                          Waukegan                    IL    60087
                                                          c/o Kimco Realty Corporation, 500 North Broadway,
29649013 KIR Brandon 011, LLC                             Suite 201                                                   Jericho                     NY   11753
                                                          c/o Kimco Realty Corporation, 500 North Broadway,
29649014 KIR Smoketown Station, L.P.                      Suite 201                                                   Jericho                     NY   11753
29651086 KIR Torrance, L.P.                               500 North Broadway, Suite 201                               Jericho                     NY   11753
29777338 Kirk Palmer Associates, Inc.                     500 Fifth Avenue, 53rd Floor                                New York                    NY   10110
29604449 Kirk's Natural LLC                               1820 Airport Exchange Blvd                                  Erlanger                    KY   41018
29649015 Kishan Enterprises LLC                           300 Galleria Parkway, 12th Floor                            Atlanta                     GA   30339
29777341 Kiss My Face Corporation                         144 Main Street P.O. Box 224                                Gardiner                    NY   12525
29777342 Kiss My Keto                                     8066 Melrose Ave, Suite 3                                   Los Angeles                 CA   90046
29790844 Kiss Nutraceuticals, LLC                         5151 Bannock Street          , 8, Rob Jennison              Denver                      CO   80216
29777344 KITU Life, Inc.                                  1732 1st Ave #25614                                         New York                    NY   10128
                                                          C/O The Summit Commercial Group Inc., 5839 Via
29649016 KK-BTC LLC                                       Verona View                                                 Colorado Springs            CO   80919
29628108 Klarna Bank AB                                   629 N High Street, Suite 300                                Columbus                    OH   43215
29777346 Klassische                                       117 West Napa St. Site                                      Sonoma                      CA   95476
29784595 KLDiscovery                                      8201 Greensboro Drive, Suite 300                            McLean                      VA   22102
30167734 KLDiscovery Ontrack, LLC                         PO BOX 845823                                               DALLAS                      TX   75284-5823
29784597 Klean Kanteen, Inc.                              4345 Hedstrom Way                                           Chico                       CA   95973

29649017 Kloss Organization, LLC                          c/o 450 Rt 10 Ledgewood LLC, 36 Route 46, P.O. Box 197 Montville                        NJ   07058
29784601 Know Brainer Foods, LLC                          9960 Phillips Road                                     Lafayette                        CO   80026
29784602 Know Brands, Inc dba Know Foods                  3035 Peachtree Road NE, Ste 200                        Atlanta                          GA   30305
29784603 Kodiak Cakes LLC                                 3247 Santa Fe Rd                                       Park City                        UT   84098
29784604 Kokoro                                           17731 Irvine Blvd. Suite 102                           Tustin                           CA   92780
29784605 KonaRed (Sandwich Isles Trading Co Inc.)         P.O Box                                                Kalaheo                          HI   96741
29790846 Koosharem LLC dba Select Staffing                16040 Christensen Road, Suite 101                      Tukwila                          WA   98188
29649018 Koppe Management And Investment Co. Inc.         13826 SW 102 CT                                        Miami                            FL   33176
29777348 Körber Supply Chain US, Inc.                     Dept Ch 17044                                          Palatine                         IL   60055-7091
29776517 Kosmea Australia Pty Ltd                         71 Glen Osmond Road                                    EASTWOOD, South Australia             5063           Australia
29777349 Kount Inc.                                       917 South Lusk, 3rd Floor                              Boise                            ID   83706
29649019 KP Macon, LLC                                    2500 Daniels Bridge Rd., Bldg. 100 2nd floor           Athens                           GA   30606
29783711 KPM Enterprises Inc.                             1056 Saginaw Crescent                                  Mississauga                      ON   L5H 3W5        Canada
29777351 Krave Jerky                                      117 W Napa Street, Suite C                             Sonoma                           CA   95476
29649020 KRCX Del Monte Plaza 1314, LLC                   500 North Broadway, Suite 201                          Jericho                          NY   11753
29623181 KRCX Price REIT, LLC                             500 North Broadway, Suite 201                          Jericho                          NY   11753
                                                          c/o Kite Realty Group, 30 South Meridian Street, Suite
29623182 KRG Avondale McDowell, LLC                       1100                                                   Indianapolis                     IN   46204



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29623183 KRG Brandenton Centre Point, LLC                    30 South Meridian Street, Suite 1100                         Indianapolis               IN    46204
                                                             c/o Kite Realty Group, 30 South Meridian Street, Suite
29623184 KRG Cedar Hill Pleasant Run, LLC                    1100                                                         Indianapolis               IN   46204
                                                             c/o Kite Realty Group, 30 South Meridian Street, Suite
29623185 KRG Houston Sawyer Heights, LLC                     1100                                                         Indianapolis               IN   46204
                                                             c/o Kite Realty Group, 30 South Meridian Street, Suite
29623186 KRG King's Grant, LLC                               1100                                                         Indianapolis               IN   46204
                                                             c/o Kite Realty Group, 30 South Meridian Street, Suite
29623187 KRG Pelham Manor, LLC                               1100                                                         Indianapolis               IN   46204
29623188 KRG Pipeline Pointe LP                              c/o Kite Realty Group, 30 South Meridian Street              Indianapolis               IN   46204
                                                             c/o Kite Realty Group, 30 South Meridian Street, Suite
29623189 KRG Portfolio, LLC                                  1100                                                         Indianapolis               IN   46204
29623190 KRG Sunland, L.P.                                   30 South Meridian, Ste. 1100                                 Indianapolis               IN   46204
29784613 Kronos                                              900 Chelmsford Street                                        Lowell                     MA   01851-
29630246 Kronos Incorporated                                 297 Billerica Road                                           Chelmsford                 MA   01824-
29630246 Kronos Incorporated                                 PO BOX 743208                                                Atlanta                    GA   30374-3208
29649021 KRT Property Holdings LLC                           c/o Brixmor Property Group, 200 Ridge Pike, Suite 100        Conshohocken               PA   19428
         KSF Acquisition Corp dba Slim Fast formerly Hyper
29784618 Network Solutions of Florida LLC                    11780 U.S. Highway One, Suite 400N                           Palm Beach Gardens         FL   33408
29777358 K-Tec Inc., dba Blendtec                            1206 South 1680 West                                         Orem                       UT   84058
29777360 Kuli Kuli, Inc.                                     600 Grand Ave Suite 410B                                     Oakland                    CA   94610
29777361 KutKrew Productions                                 6123 Woodbine St                                             Ridgewood                  NY   11385
29777362 KW ABSC, Inc.                                       18655 Bishop Avenue                                          Carson                     CA   90746
29777363 KXP Advantage Services LLC                          11777 San Vicente Blvd, Suite 747                            Los Angeles                CA   90049
29777364 Kyowa Hakko USA, Inc.                               600 Third Ave.                                               New York                   NY   10016
29649022 L&D Partnership LLC                                 929 Kings Highway East                                       Fairfield                  CT   06825
29777367 L.A. Aloe, LLC                                      80 W Sierra Madre Blvd Suite 364                             Sierra Madre               CA   91024
29649023 L.P. Corporation                                    5613 Lessburg Pike, Suite 40                                 Bailey's Crossroads        VA   22041
29649024 La Gioia Two, LLC                                   3801 PGA Boulevard, Suite 600                                Palm Beach Gardens         FL   33410
29784621 La Quinta Inn & Suites                              350 Lighting Way                                             Secaucus                   NJ   07094-
29605800 LabCorp Employer Services, Inc.                     7221 Lee Deforest Drive, Suite 600                           Columbia                   MD   21046
29604340 LABRADA NUTRITION                                   333 NORTHPARK CENTRAL DRIVE                                  HOUSTON                    TX   77073
29604379 Lafe's Natural Bodycare                             8204 N. Lamar Blvd, Ste B-12                                 Austin                     TX   78753
29649025 Laguna Gateway Phase 2 L.P.                         2020 L Street, 5th Floor                                     Sacramento                 CA   95811
29649027 Lakeland Crossing LLC                               226 San Clemente                                             Santa Barbara              CA   93109
29790860 Lamas Beauty, Inc.                                  6222 Wilshire Boulevard, Suite 501                           Los Angeles                CA   90048
29649028 Lane Investments                                    8104 E Freeport St.                                          Broken Arrow               OK   74014
29784631 LaneLabs - USA, Inc.                                3 North Street                                               Waldwick                   NJ   07463-
29649029 Lansing Square, LLC                                 30600 Northwestern Hwy., Suite 310                           Farmington                 MI   48334
29649030 Larkspur Real Esate Partnership I                   Four Embarcadero Center, Suite 1400                          Almensilla, Andalusia           41111          Spain
29649031 Larrimore Family Partnership LLC                    3951 N Ocean Blvd #603                                       Delray Beach               FL   33483



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29777371 LaserShip, Inc.                                   1912 Woodford Road                                          Vienna                    VA    22182
29777372 Laura's Original Boston Brownies, Inc.            818 Vanderbilt Place                                        San Diego                 CA    92110
29777373 Laurel Lakes, LLC                                 2800 Quarry LakeDrive, Suite 340                            Baltimore                 MD 21209
                                                           Mid-America Real Estate - Wisconsin LLC, 600 N
29623191 Layton Partners, LLC                              Plankinton Avenue, Suite 301                                Milwaukee                 WI   53203
29623192 LBI Georgia Properties, LLC                       7 Penny Lane                                                Woodbridge                CT   06525
29623193 LC Real Estate, LLC                               6601 Centerville Business Parkway, Suite 150                Dayton                    OH   45459
29777377 LDI                                               50 Jericho Quadrangle                                       Jericho                   NY   11753
29777378 LDI Color Toolbox                                 50 Jericho Quadrangle                                       Jericho                   NY   11753
29777378 LDI Color Toolbox LLC                             50 Jericho Quadrangle                                       Jericho                   NY   11753
29777379 Leaner Creamer, LLC                               8659 Hayden Place                                           Culver City               CA   90232
29790866 Leap Agents                                       955 Shadeland Ave, Suite 4, 231 Ascot Place                 Burlington                ON   L7T 2M2        Canada
29784636 Left Handed Libra LLC dba Jane Carter Solution    45 South 17th Street                                        East Orange               NJ   07018-
29784639 Legendary Foods, LLC                              10825 Queensland St                                         Los Angeles               CA   90034
29784640 Legion Athletics, Inc.                            1255 Cleveland St, 4th Fl                                   Clearwater                FL   33755
29623194 Lemmon Ave. Retail, LP                            8400 Westchester, Suite 300                                 Dallas                    TX   75225
29623195 Lennox Station Exchange, LLC                      6499 E. Broad St., STE 130                                  Columbus                  OH   43213
29627740 Lenny & Larry's, Inc.                             8803 Amigo Ave                                              Northridge                CA   91324
29777382 Leprino Performance Brands, LLC                   1830 W. 38th Avenue                                         Denver                    CO   80211
29777383 Leslie's Organics, LLC                            298 Miller Ave.                                             Mill Valley               CA   94941
29777384 Lesser Evil LLC                                   83 Newtown Rd, 2nd Floor                                    Danbury                   CT   06810-
29777386 Levlad LLC dba Nature's Gate                      9200 Mason Ave                                              Chatsworth                CA   91311
29777387 Levo Healthcare Consulting, Inc.                  220 W 7TH AVENUE, SUITE 210                                 Tampa                     FL   33602
29777388 Lexmark International, Inc.                       740 W. New Circle Road                                      Lexington                 KY   40511
29784651 Liberty Elevator Corporation                      63 East 24th Street                                         Paterson                  NJ   07514-
29784652 Liberty Mountain Sports, LLC                      9816 S Jordan Gateway (500W)                                Sandy                     UT   84070
29784653 Liberty Mutual Insurance Company                  175 Berkeley Street                                         Boston                    MA   02116-
29790871 Liddell Laboratories Inc                          201 Apple Blvd, PO Box 121                                  Woodbine                  IA   51579
29783758 Lien Nguyen Thi Kim                               Address On File
29784655 Life Boost, LLC                                   455 East Cady Street                                        Northville                MI   48167
29784656 LifeAID Beverage Company, INC                     2833 Mission St                                             Santa Cruz                CA   95060
29777391 Lifefactory, Inc.                                 3 Harbor Drive Suite 215                                    Sausalito                 CA   94965-1491
29777392 Lifespan International dba Xendurance             PO Box 6088                                                 Carefree                  AZ   85377
29777393 Lifetime Brands Inc. Built Division               1000 Stewart Avenue                                         Garden City               NY   11530
29777394 Lifeway Foods Inc.                                6431 W. Oakton St.                                          Morton Grove              IL   60053
29790872 Lifeworks Technology Group, LLC                   1412 Broadway, 7th Floor                                    New York                  NY   10018
29627630 Lily of the Desert                                1887 Geesling Rd                                            Denton                    TX   76208
29627630 Lily of the Desert LLC                            1887 Geesling Rd                                            Denton                    TX   76208
29777398 Linden Construction South Carolina                100 Brigade Street, Suite 100                               Charleston                SC   29403
29623787 LinkedIn Corporation                              62228 COLLECTIONS CENTER DR.                                Chicago                   IL   60693-0622
29790874 Liquid OTC, LLC                                   PO Box 1351, 336 Wolverine Dr                               Walled Lake               MI   48390
29645238 Lisa Chudnofsky                                   Address On File


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29784657 Little Moon Essentials, LLC                             2475 Lincoln Ave/PO BOX 771893                              Steamboat Springs            CO    80487
29784659 Live Intent, Inc.                                       100 Church, Floor 7                                         New York                     NY    10007
29784660 Liveclicker, Inc.                                       560 South Winchester Boulevard, Suite 500                   San Jose                     CA    95128
29784662 Lively Up Your Breath, LLC                              4419 Cochran Street                                         Simi Valley                  CA    93063
29784663 LivePerson, Inc.                                        462 Seventh Avenue, 3rd Floor                               New York                     NY    10018
29784664 LiveRamp, Inc.                                          667 Mission St, 4th Floor                                   San Francisco                CA    94105
29784665 Liverite Products, Inc.                                 15495 Redwill ave, Suite C                                  Tustin                       CA    92780
29784666 LiveWire MC2, LLC                                       1747 Douglass Rd Unit C                                     Anaheim                      CA    92806
29784667 Living Ecology Manufacturing Inc.                       240 Crouse Drive                                            Corona                       CA    92879
29784668 Living Well Innovations, Inc.                           115 Engineers Rd, 2nd Floor                                 Hauppauge                    NY    11788
29783713 Livingston International Inc.                           405 The West Mall                                           Toronto                      ON    M9C 5K7     Canada
29777402 LIVS Products                                           10388 W. State Road 84, Suite 106                           Fort Lauderdale              FL    33324
29790877 LIVS Products, LLC                                      3360 Enterprise Avenue        , 180, NANCY BECTON           Weston                       FL    33331
29623197 Lizben Enterprises, LLC                                 1776 West 7800 South                                        West Jordan                  UT    84088
30202594 LMR II - Palm Pointe LLC                                212 E. 3rd Street, Suite 200                                Cincinnati                   OH    45202
29777406 Loadsmart, Inc.                                         150 N Michigan Ave., 19th Floor                             Chicago                      IL    60601
29623198 Local Sandy IL, LLC                                     777 Brickell Ave., Suite 610                                Miami                        FL    33131
29623199 Local Westgate LLC                                      777 Brickell Ave., Suite 630                                Miami                        FL    33131
29629355 LockNet, LLC                                            800 John C Watts Drive                                      Nicholasville                KY    40356
29777410 Locus Robotics Corp                                     PO Box 735537                                               Chicago                      IL    60673-5537
29777411 Logic Information Systems LLC                           7760 France Avenue South, Suite 640                         Bloomington                  MN 55435
29777411 Logic Information Systems, Inc.                         7760 France Avenue South, Suite 640                         Bloomington                  MN 55435
29777412 Logical Brands, Inc.                                    4900 Centennial Blvd.                                       Nashville                    TN    37209
29784669 LogicSource, Inc.                                       20 Marshall Street                                          Norwalk                      CT    06854-
29790881 Logile, Inc.                                            2600 East Southlake Boulevard, Suite 120                    Southlake                    TX    76092
29784671 LogMeIn, Inc.                                           320 Summer Street                                           Boston                       MA    02210-
29784672 Lonchas Enterprises LLC                                 13135 Danielson St Ste 211                                  Poway                        CA    92064
29784673 London Import S.A.                                      PO BOX 731178                                               DALLAS                       TX    75373-1178
29784674 Lonza Consumer Health Inc.                              5451 Industrial Way                                         Benicia                      CA    94510
29776562 Lonza Ltd                                               Muenchensteinerstrasse 38                                   Basel                              4002        Switzerland
29790882 Lord Jameson                                            Address On File
29783714 Lorna Vanderhaeghe Health Solutions, Inc.               106A 3430 Brighton Avenue                                   Burnaby                      BC   V5A 3H4     Canada
29784676 los productos                                           19 W. 44th St. Suite 811                                    New York                     NY   10036
29784677 Lotus Brands, Inc.                                      1100 E. Lotus Dr. Bldg #3                                   Silver Lake                  WI   53170
         Louis Treiger Trustee of Samuel J Gree Grandson TRust
29623200 #1UTA dated 12/11/87                                    6100 57th Ave. S                                            Seattle                      WA   98118
29604490 Love You Foods, LLC                                     300 W Morgan Street, Suite 1510                             Durham                       NC   27701
29604473 LoveBug Nutrition, Inc.                                 115 East 34th Street, Suite 1506                            New York                     NY   10156
                                                                 c/o Regency Centers Corporation, One Independent
29649032 Lower Nazareth Commons, LP                              Drive, Suite 114                                            Jacksonville                 FL   32202
29777414 Loyalty 360, Inc.                                       PO BOX 54407                                                Cincinnati                   OH   45254



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29629365 LPK Brands, Inc.                                   19 Garfield Place, 8th Floor                               Cincinnati                 OH    45202
29649033 LPN Properties LLC                                 5000 E. Grand River                                        Howell                     MI    48843
29649034 LSREF6 Legacy LLC                                  6688 N. Central Expressway, Suite 1600                     Dallas                     TX    75206
29777420 Lumina Health Products Inc.                        3693 Walden Pond Drive                                     Sarasota                   FL    34240
29777421 Lumos Inc.                                         7 South 1550 West #600                                     Lindon                     UT    84042
29777422 Luna Pharmaceuticals, Inc.                         244 Weybosset Street, 2nd Floor, Suite 3                   Providence                 RI    02903-
29777423 Lunada Biomedical                                  6733 S. Sepulveda Blvd # 115                               Los Angeles                CA    90045
29649036 M&J Wilkow Properties, LLC                         20 South Clark Street, Suite 3000                          Chicago                    IL    60603
29627831 M2 Ingredients, Inc                                5931 Priestly Drive                                        Carlsbad                   CA    92008
                                                            Agent for Macerich Lakewood LP, 401 Wilshire
29649038 Macerich Lakewood, LP                              Boulevard, Suite 700                                       Santa Monica               CA   90401
29899087 MacroLife Naturals, Inc                            8477 Steller Drive                                         Culver City                CA   90232
29790887 Macy's China Limited                               2nd Floor, LiFung Tower, 868 Cheung Sha Wan Road           Kowloon                         94107          China
29649039 Mad River Development LLC                          240 Paramus Road, P.O. Box 707                             Ridgewood                  NJ   07450
29777428 Madaen Natural Products Inc.                       23811 Chagrin Blvd, Suite #10                              Beachwood                  OH   44122
29777429 Madhava Natural Sweeteners                         14300 E. 1-25 Frontage Rd                                  Longmont                   CO   80504
29790890 Maggie McIntosh                                    Address On File
29777433 Magnificent Seven LLC                              2671 Fort Trenholm Rd                                      Johns Island               SC   29455
29649040 Magnolia Enterprises, LLC                          6847 83rd Ave SE                                           Mercer Island              WA   98040
29649041 Malloy Properties Partnership No. 2                3 Wood Hill Drive                                          Redwood City               CA   94061
29790891 Mamma Chia LLC                                     5205 Avenida Encinas, Suite E                              Carlsbad                   CA   92008
29784700 MAN Sports                                         PO Box 871202                                              Mesquite                   TX   75187
29784701 Management Resource Systems                        1907 Baker Road                                            High Point                 NC   27263
29790892 Manhattan Associates                               2300 Windy Ridge Parkway, 10th Floor                       Atlanta                    GA   30339
30284599 Manhattan Associates, Inc.                         2300 Windy Ridge Parkway, 10th Floor                       Atlanta                    GA   30339
29790893 Manitoba Harvest                                   Address On File
29627830 Manuka Health New Zealand Ltd                      66 Weona Court                                             Te Awamutu                      3800           New Zealand
29784706 Manuka Lab North America, Inc                      859 East Sepulveda Blvd                                    Carson                     CA   90745
29777435 MapQuest.com, Inc.                                 1730 Blake Street                                          Denver                     CO   80202
29792633 Marine Nutriceutical Corporation                   794 SUNRISE BLVD                                           MOUNT BETHEL               PA   18343
29776568 Marine Stewardship Council International Limited   Marine House, 1 Snow Hill                                  London                          EC1A 2DH       United Kingdom
29777439 Mark IV Operations, Inc.                           82 John Miller Way                                         Kearny                     NJ   07032-
29777443 Mark IV Transportation & Logistics, Inc.           720 SOUTH FRONT STREET                                     Elizabeth                  NJ   07202-
29649042 Mark Leevan Glendale LLC                           9454 Wilshire Boulevard, Suite 6000                        Beverly Hills              CA   90212
29623201 Market Place at Darien, LLC                        c/o Mid-America Asset Management Inc., 9th Floor           Villa Park                 IL   60181
29790895 MarkIV Transportation and Logistics                720 SOUTH FRONT STREET                                     Elizabeth                  NJ   07202-
29790896 Marlin Lesher                                      Address On File
29784708 Marriott Hotel Services, Inc.                      11730 Preston Road                                         Dallas                     TX   75230
29784709 Mars Botanical                                     20425 Seneca Meadows Parkway                               Germantown                 MD   20876
29784713 Mass Probiotics, Inc.                              1397 Charles Street                                        Boston                     MA   02114-
29784714 Mastek Inc.                                        15601 Dallas Pkwy, Suite 250                               Addison                    TX   75254
29627723 Master Supplements, Inc.                           PO Box 240 1600 Arboretum BLVD , 202                       Victoria                   MN   55386


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29784716 Match.com Events LLC                                    8750 N. Central Expressway, Suite 1400                        Dallas                    TX    75231
29784717 Mate Revolution Inc.                                    PO Box 1192                                                   Ashland                   OR    97520
29627580 Matrix Absence Management, Inc.                         PO Box 953217                                                 Saint Louis               MO 63195
29784719 Matrix Health Products                                  9700 NE 126 Ave.                                              Vancouver                 WA 98682
29777446 Matrix Healthwerks Inc.                                 P.O. Box 2051                                                 San Marcos                CA    92079
29777447 Matthews Automation Solutions                           W229 N2510 Duplainville Road                                  Waukesha                  WI    53186
29777447 Matthews Automation Solutions DBA Lightning Pick        W229 N2510 Duplainville Road                                  Waukesha                  WI    53186
29777448 Matthews Automation Systems                             N114 W18770 Clinton Drive                                     Germantown                WI    53022

29777449 Matthews International Corporation dba Lightning Pick   N114 W18770 Clinton Dr.                                       Germantown                WI   53022
29777450 Matthews International DBA Lightning Pick               N114 W18770 Clinton Drive                                     Germantown                WI   53022
29777450 Matthews International DBA Lightning Pick               W229 N2510 Duplainville Road                                  Waukesha                  WI   53186
29777452 MAVEA LLC                                               675 Tollgate Road Suite G                                     Elgin                     IL   60123
29790899 Maverick Brands, LLC                                    2400 Wyandotte Street, Suite B103                             Mountain View             CA   94043
29784721 Maximum International                                   500 NE 25th St #10                                            Pompano Beach             FL   33064
29784722 Mayer Laboratories, Inc.                                1950 Addison Street, Suite #101                               Berkeley                  CA   94704
29784723 Maypro Industries LLC                                   2975 Westchester Avenue                                       Purchase                  NY   10577
29623203 Maywood Mart TEI Equities                               55 Fifth Avenue                                               New York City             NY   10003
29623204 MBB Gateway Associates                                  Pomegranate RE, 33 Rock Hill Road                             Ardmore                   PA   19003
29784728 mbg                                                     13297 SCRUB JAY COURT                                         Port Charlotte            FL   33953
29784731 McCrane Inc, DBA Harbinger                              801 Chadbourne Rd, Suite 103                                  Fairfield                 CA   94534
29777457 Mckinsey & Company, Inc. United States                  55 East 52nd Street                                           New York                  NY   10022
29777458 McMurry/TMG, LLC                                        228 E. 45th Street                                            New York                  NY   10017
29777460 MD Science Lab LLC                                      2131 Blount Road                                              Pompano Beach             FL   33069
29623205 MD2 Algonquin, LLC                                      c/o Tiffany Earl Williams, 417 1st Ave SE                     Cedar Rapids              IA   52401
29777462 ME Moringa LLC                                          15 Braemer Road                                               East Setauket             NY   11733
29777464 Meadowlands Fire Protection                             348 New County Road                                           Secaucus                  NJ   07094-
29777464 Meadowlands Fire Protection Corp.                       348 New County Road                                           Secaucus                  NJ   07094-
29623206 Mears Oak Investors LLC & Mears Oak                     412 Oakmears Crescent, Suite 102                              Virginia Beach            VA   23462
29777466 Media Brokers International                             555 North Point Center East, Suite 700                        Alpharetta                GA   30022
29790904 Media Brokers International, Inc.                       555 North Point Center East, Suite 700                        Alpharetta                GA   30022
29784733 MediaNug, LLC                                           545 Cypress Ave                                               Hermosa Beach             CA   90254
29784734 Mediaplanet Publishing House, Inc.                      350 7TH AVENUE, 18TH FLOOR                                    New York                  NY   10001
29790906 Medical Research Institute (MRI)                        444 De Haro                , Suite 209                        San Francisco             CA   94107
29627645 MediNatura, Inc.                                        10421 Research Road SE                                        Albuquerque               NM   87123
29784737 Meditrend, Inc. DBA Professional Formulations           4820 Eubank Blvd NE                                           Albuquerque               NM   87111
29784738 Medport LLC                                             23 Acorn Street                                               Providence                RI   02903-
29784740 Melaleuca, Inc.                                         3910 South Yellowstone Highway                                Idaho Falls               ID   83402
29784743 Memphis Light, Gas and Water Division                   PO BOX 2440                                                   SPOKANE                   WA   99210-2440
29784744 Mendias & Milton, LLC d/b/a My Fit Foods                5000 Plaza on the Lake, Suite 380                             Austin                    TX   78746
29784745 MerchSource, LLC                                        15 Cushing                                                    Irvine                    CA   92618
29777468 Mercola.com Health Resources LLC                        3200 West Higgins Road                                        Hoffman Estates           IL   60169


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29623207 Meridian Place, LLC                             C/O NEIL WALTER CO, PO BOX 2181                             Tacoma                     WA 98401
29783716 Merrithew International Inc.                    2200 Yonge Street, Suite 500                                Toronto                    ON    M4S 2C6     Canada
29623208 Meshanticut Properties, Inc.                    1414 Atwood Ave.                                            Johnston                   RI    02919
29604495 METACAN, INC.                                   708 Gravenstein Hwy North Suite 188                         Sebastopol                 CA    95472
29777473 Metropolitan Trucking Inc.                      6675 Low Street                                             Bloomsburg                 PA    17815
29777475 MHP, LLC d/b/a MuscleMeds                       21 Dwight Place                                             Fairfield                  NJ    07004-
29777477 Michael's Health Products                       6003 Randolph Blvd                                          San Antonio                TX    78233
29792506 Micro Strategies                                PO BOX 409671                                               Atlanta                    GA    30384
29784751 Microsoft Corporation                           P.O. BOX 842103                                             DALLAS                     TX    75284-2103
30282382 MicroStrategy Services Corporation              PO BOX 409671                                               Atlanta                    GA    30384
29784756 Midas                                           2450 VILLAGE COMMONS DRIVE                                  ERIE                       PA    16506
29623209 Mid-Atlantic-Lynchburg LLC                      13900 Eastbluff Road                                        Midlothian                 VA    23112
29605944 Military Makeover, LLC                          3860 N. Powerline Road                                      Deerfield Beach            FL    33073
29777482 Millennium Coupon Redemption Services, Inc.     50 Mount Prospect Avenue, Suite 204                         Clifton                    NJ    07013-
29777483 Millennium Sport Technologies                   P.O. BOX 1137, 303 W. COLVILLE                              CHEWELAH                   WA 99109
29777485 mindbodygreen                                   2980 McFarlane Rd                                           Miami                      FL    33133
29777485 mindbodygreen, LLC                              2980 McFarlane Rd                                           Miami                      FL    33133
29790908 Minerva Research Labs Ltd.                      9465 Wilshire Blvd           , Suite 300                    BEVERLY HILLS              CA    90210
29777487 Minisoft, Inc.                                  1024 First Street                                           Snohomish                  WA 98290
29777489 MiTAC Digital Corp                              471 El Camino Real                                          Santa Clara                CA    95050
29784759 Mitsubishi Electric Power Products, Inc.        547 Keystone Drive, Suite 300                               Warrendale                 PA    15086
29649043 MJF/Highland RE Holding Company, LLC            1622 Willow Road, Suite 201                                 Winnetka                   IL    60093
29784762 MJM Sourcing, LLC                               1137 Conveyor Lane #102                                     Dallas                     TX    75247
29649044 MK Kapolei Common, LLC                          MMI Realty Services Inc., 4211 Waialae Ave., Ste. 33        Honolulu                   HI    96816
                                                         c/o McNaughton Inc., 1288 Ala Moana Boulevard, Suite
29649045 MK Kona Commons LLC                             208                                                         Honolulu                   HI   96814
29649046 MKPAC, LLC                                      2500 Westmont Circle                                        Sterling Heights           MI   48310
                                                         c/o MetLife Investment Management LLC, 601 South
29649047 MLM Chino Property, LLC                         Figueroa, Suite 2900                                        Los Angeles                CA   90071
29649048 ML-MJW Port Chester SC Owner LLC                20 South Clark Street, Suite 3000                           Chicago                    IL   60603

29649049 MLO Great South Bay LLC                         c/o Olshan Properties, 600 Madison Avenue, 14th Floor New York City                    NY   10022
                                                         c/o Horizon Properties as agent, 18610 NW 87th Avenue,
29649050 MMG Plantation CP, LLC                          Suite 204                                              Hialeah                         FL   33015
                                                         c/o Horizon Properties as agent, 18610 NW 87th Avenue,
29649051 MMG Plantation Square, LLC                      Suite 204                                              Hialeah                         FL   33015
29777493 Modern Products, Inc.                           6425 W. Executive Dr.                                  Mequon                          WI   53092
                                                         10151 DEERWOOD PARK BLVD, BUILDING 200, SUITE
29790913 Modis, Inc.                                     400                                                    Jacksonville                    FL   32256
29790914 Mohammed F Alhokair & Co.                       PO Box 1360                                            Riyadh                               11321       Saudi Arabia




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                                                                MONOPOLI MUSIC GROUP LLC, 42 MOUNTAINVIEW
29777497 Monopoli Music Group LLC                               DRIVE                                                      Clifton                     NJ   07013-
29604533 Monster Energy Company                                 1 Monster Way                                              CORONA                      CA   92879
29649052 Montgomery EastChase, LLC                              c/o 5Rivers CRE LLC, 945 Heights Blvd                      Houston                     TX   77008
29649053 Montgomery Trading LLC                                 12 East 46th St - Suite 301 D                              New York City               NY   10017
29649054 Moore Properties Capital Blvd LLC                      8001 Skyecroft Commons Drive                               Waxhaw                      NC   28173
29785652 Morgan Li, LLC                                         383 E 16th St.                                             Chicago Heights             IL   60411
29623210 Mori Burlington LLC                                    16 Nolen Circle                                            Voorhees Township           NJ   08043
29785654 Morningstar Minerals                                   22 Rd 3957                                                 FARMINGTON                  NM   87401
29790916 Moroccan Magic LLC                                     33 Thompson Lane                                           MILTON                      MA   02186-
29785656 Mosaic ATM, Inc. DBA Mosaic Data Science               540 For Evans Road, NE Ste. 300                            Leesburg                    VA   20176
29623211 Mosaic Reisterstown Road Owner LLC                     c/o MFI Inc., 2800 Quarry Lake Drive, Suite 340            Baltimore                   MD   21209
29785658 Motherlove Herbal Company                              1420 Riverside Avenue           , 114                      FORT COLLINS                CO   80524
29785659 Mount Franklin Nutritionals LLC                        2720 Southgate Drive                                       SUMTER                      SC   29154
29777503 Mountain High Organics, Inc., d/b/a Beveri Nutrition   9 South Main Street, P.O. Box 1450                         New Milford                 CT   06776-
29777505 Movable, Inc.                                          5 Bryant Park (1065 6th Avenue), 9th Floor                 New York                    NY   10018
29784776 MRM                                                    2665 Vista Pacific Dr.                                     Oceanside                   CA   92056
29627951 MRO MaryRuth, LLC                                      1171 S. Robertson Blvd #148                                Los Angeles                 CA   90035
29784778 MS Packaging and Supply Corp.                          50 Rocky Point Yaphank Road, Suite A                       Rocky Point                 NY   11778
29623212 MSG94, II,LLC                                          32680 Northwestern Highway                                 Farmington                  MI   48334
29784782 Muhammad Kamran Awan                                   Address On File
29784783 MullenLowe U.S., Inc.                                  40 Broad Street                                            Boston                      MA   02109-
29623213 Mundy Street Square, L.P.                              1140 Route 315, Suite 201                                  Wilkes-Barre                PA   18702
29777515 MUNTECH PRODUCTS, INC                                  1010 OBICI INDUSTRIAL BLVD.                                SUFFOLK                     VA   23434
29619742 Muriel Gonzalez                                        Address On File
29623214 Musca Properties LLC                                   1300 E. 9th St.                                            Cleveland                   OH   44114
29777517 Muscle Elements Inc.                                   6500 West Rogers Cir, Suite 5000                           Boca Raton                  FL   33487
29777518 Muscle Foods USA                                       701 Hudson Ave.                                            SCRANTON                    PA   18504
29627717 Muscle Warfare, Inc.                                   3133 Fortune Way Ste 15                                    Wellington                  FL   33414
29790921 MusclePharm Corp                                       4721 Ironton St.            , Building A                   DENVER                      CO   80237
29777521 Mushroom Wisdom, Inc.                                  1 Madison Street, Bldg. F-6                                East Rutherford             NJ   07073-
29783717 My Matcha Life Products Inc                            108-1857 West 4th Avenue                                   Vancouver                   BC   V6J 1M4        Canada
29784785 MyChelle Dermaceuticals LLC                            1301 Courtesy Rd                                           Louisville                  CO   50027
29784786 N & B, LLC                                             5681 E 56th Ave                                            BIRMINGHAM                  AL   35202
29623215 N & P Realty Associates, LLC                           P.O. Box 590291                                            Newton Centre               MA   02459
29623216 N & R PASTOR, L.L.C.                                   2617 Beacon Hill                                           Auburn Hills                MI   48326
29784792 NAC Marketing Company, LLC                             95 Executive Dr., Suite 14                                 Edgewood                    NY   11717
                                                                c/o Centrecorp Management Services LLLP, 12761
29623217 NADG/SG Riverdale Village LP                           Riverdale Blvd., Suite 104                                 Minneapolis                 MN   55448
29645250 Nadina Guglielmetti                                    Address On File
29784794 Naked Earth, Inc.                                      PO Box 245                                                 Katonah                     NY   10536



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29627793 Naked Whey, Inc.                                      475 Brickell Ave #5408                                        Miami                      FL    33131
29777523 National Delivery Systems, Inc.                       7021 Columbia Gateway Drive, Suite 420                        Columbia                   MD 21046
29777525 Natren Inc.                                           3105 Willow Lane                                              Westlake Village           CA    91361
29777526 Natrient LLC                                          10624 S. Eastern Ave.         , A-764                         HENDERSON                  NV    89052
29777527 Natrol, Inc.                                          21411 Prairie Street                                          Chatsworth                 CA    91311
29627768 NATULIQUE                                             27 BLAKE AVE.                                                 LYNBROOK                   NY    11563
29777529 Natural Alternatives International, Inc.              PO BOX 149348                                                 Austin                     TX    78714
29777530 NATURAL CHEMISTRY L. P.                               40 RICHARDS AVENUE                                            NORWALK                    CT    06854-
29777531 Natural Dynamix Inc.                                  6351 Chalet Dr                                                Los Angeles                CA    90040
29670086 Natural Factors Nutritional Products Inc.             1111 80th St SW Suite 100                                     Everett                    WA 98203
29777533 Natural Health International                          224 6th Street                                                SAN FRANCISCO              CA    94103
29784797 Natural Health Partners, LLC                          125 SW 3rd Place                                              Cape Coral                 FL    33991
29784798 Natural Motives LLC                                   P.O. Box 5265                                                 Miami                      FL    33256-5265
29784799 Natural Organics, Inc.                                548 Broadhollow Road                                          Melville                   NY    11747
29784800 Natural Path / Silver Wings                           P.O. Box 210469                                               Nashville                  TN    37221
29604304 Natural Sources                                       P.O. Box 4298                                                 SAN CLEMENTE               CA    92674
29784802 Natural Vitality                                      8500 Shoal Creek Blvd., Suite 208                             AUSTIN                     TX    78757
29627686 Natural Vitality #5284                                8500 Shoal Creek Blvd., Suite 208                             AUSTIN                     TX    78757
29627665 Natural-Immunogenics Corp.                            3265 W. McNab Rd.                                             Pompano Beach              FL    33069
29784804 Naturally Uncommon, LLC                               14 Industrial Way Unit A                                      Atkinson                   NH    03811-
29790924 NaturaNectar LLC                                      1560 Sawgrass Coporate Pkwy         , 4th Floor               Sunrise                    FL    33323
29784806 Nature Delivered, Inc.                                36 West 25th Street                                           New York                   NY    10010
29604292 Nature’s Answer                                       75 Commerce Drive                                             Hauppauge                  NY    11788
29784807 Nature's Answer                                       75 Commerce Drive                                             Hauppauge                  NY    11788
29651363 Nature's Fusions LLC                                  1405 W 820 N                                                  Provo                      UT    84601
29784809 Nature's Godfather LLC                                405 Waltham St. #168                                          Lexington                  MA    02421-
29777534 Nature's Sources, LLC                                 5665 W. Howard Street                                         Niles                      IL    60714
29777535 Nature's Stance                                       13135 Danielson St Ste 211                                    Poway                      CA    92064
29777536 Nature's Value, Inc.                                  468 Mill Road                                                 Coram                      NY    11727
29777537 NaturMed Inc.                                         661 E. Howards Rd, Suite C                                    Camp Verde                 AZ    86322
29790925 Navitas LLC                                           9 Pamaron Way               , Suite J                         NOVATO                     CA    94949
29777539 Nawgan Products, LLC                                  300 Hunter Ave. Ste #102                                      St. Louis                  MO 63124
29777540 NBTY                                                  2100 SMITHTOWN AVENUE                                         RONKONKOMA                 NY    11779
29777541 Ndal Manufacturing Industries Inc.                    P.O. Box 2273                                                 Columbus                   GA    31902
29623218 Needham Chestnut Realty, LLC                          1234 Boylston St.                                             Chestnut Hill              MA    02467

29623219 Nella NT, LLC, Tower NT, LLC, Stephen and Anne NT, LLC PO Box 1200                                                  Woodland                   CA   95776
29783718 Nelmar Security Packaging Systems Inc.                 3100 rue des Batisseurs                                      Terrebonne                 QC   J6Y 0A2        Canada
29604396 NeoCell Corporation                                    1301 Sawgrass Corporate Parkway                              FORT LAUDERDALE            FL   33323
29784811 Neopost USA Inc.                                       478 Wheelers Farms Road                                      Milford                    CT   06461-
29784812 Netconcepts, LLC                                       2101 91st Street                                             North Bergen               NJ   07047-
29784814 NetSPI, Inc.                                           800 Washington Avenue North, Suite 670                       Minneapolis                MN   55401


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29784815 Neuliven Health, Inc.                        10171 Pacific Mesa Blvd, St 302                              San Diego                   CA    92121
29784816 Never Too Hungover, LLC                      4085 W. Nevso Drive                                          Las Vegas                   NV    89103
29784817 New Chapter, Inc.                            90 Technology Drive                                          Brattleboro                 VT    05301-
29784820 New Horizons                                 43 WEST 42ND ST.                                             New York                    NY    10036
29604434 New Nordic US Inc.                           1000 N.W. Street, Suite 1200                                 Wilmington                  DE    19801
29649055 New Plan Florida Holdings, LLC               c/o Brixmor Property Group, 200 Ridge Pike, Suite 100        Conshohocken                PA    19428
29649056 New Plan of Arlington Heights, LLC           c/o Brixmor Property Group, 200 Ridge Pike, Suite 100        Conshohocken                PA    19428
29777548 New Wave Enviro Products                     6595 S. Dayton, Suite 1000                                   Denver                      CO    80246
29777550 NEW WHEY NUTRITION, LLC                      5707 DOT COM COURT, SUITE 1079                               OVIEDO                      FL    32765
29777551 New York Bakery of Syracuse Inc              310 Lakeside Road                                            Syracuse                    NY    13209
29777553 Newegg Inc.                                  16839 E. Gale Avenue                                         City of Industry            CA    91745
29677277 Newfoundland and Labrador, LLC               Attn: Lisa Wheeler, 145 Aberdeen Avenue, Unit 1              St John's                   NL    A1A 5P6     Canada
29649057 Newington Corner LLC                         7248 Morgan Road                                             Liverpool                   NY    13088
                                                      c/o Shin Yen Management Inc., 4016 Grand Avenue,
29649058 Newport Property, LLC                        Suite B                                                      Chino                       CA   91710
29784823 Next Gen Health Solutions, LLC               500 Campus Drive Suite 203                                   Morganville                 NJ   07751-
29784824 Next Step Staffing LLC                       725 RIVER ROAD, #200                                         Edgewater                   NJ   07020-
                                                      PO BOX 620
29790928 Nextag                                       270 S. Carter St.                                            Okolona                     MS   38860
29784826 NextFoods, Inc.                              5480 Valmont Suite 250                                       Boulder                     CO   80301
29784827 NGS Global Americas, LLC                     2603 Camino Ramon, Suite 200                                 San Ramon                   CA   94583
29649059 Nicklaus of Florida, Inc.                    4615 Gulf Blvd., Suite 119                                   St. Petersburg              FL   33706
29629537 Nike Communications, Inc.                    75 BROAD STREET, SUITE 815                                   New York                    NY   10004
29784832 Nitro Sports Supplements LLC                 1445 N. Fiesta Blvd, STE #100 , STE # 100                    Gilbert                     AZ   85233
29784833 Nitta Gelatin NA, Inc.                       598 Airport Blvd., Suite 900                                 Morrisville                 NC   27560
                                                      c/o Newmark Merrill Companies Inc., 24025 Park
29649060 NMC Melrose Park, LLC                        Sorrento, Suite 300                                          Calabasas                   CA   91302
29791906 NMHG Financial Services, Inc.                2101 91ª STREET                                              NORTH BERGEN                NJ   07047-
29791906 NMHG Financial Services, Inc.                2101 91st STREET                                             NORTH BERGEN                NJ   07047-
29777559 NNC LLC                                      1 City Blvd, West, Suite 1440                                Orange                      CA   92868
29649061 NNN REIT, Inc.                               450 South Orange Avenue, Suite 900                           Orlando                     FL   32801
29777562 Non-GMO Project                              1155 N State Street, Suite 502                               Bellingham                  WA   98225
29627669 Nordic Naturals                              94 Hangar Way                                                Watsonville                 CA   95076
29777566 Nordic Naturals, Inc.                        94 Hangar Way                                                Watsonville                 CA   95076
29792713 North American Herb & Spice                  13900 W. Polo Trail Drive                                    LAKE FOREST                 IL   60045
29604646 North American Herb & Spice LLC              13900 W. Polo Trail Drive                                    LAKE FOREST                 IL   60045
29649062 North Attleboro Marketplace III, LLC         1414 Atwood Avenue                                           Johnston                    RI   02919
29649063 North Point Village Two, LLC                 2964 Peachtree Road, Suite 380                               Atlanta                     GA   30305
29649064 North San Gabriel, LLC                       80 South Lake Avenue, Suite 550                              Pasadena                    CA   91101
29784839 NorthBound Nutrition, LLC                    2015 S. Morgan St., Ste. 107                                 Granbury                    TX   76048
29649065 Northglenn Plaza LLC                         43 Inverness Drive East                                      Englewood                   CO   80112



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29784845 Northwest Nutritional Foods LLC                        10522 Lake City Way NE, Suite C104                           Seattle                    WA 98125
29777567 NOW Health Group, Inc.                                 244 Knollwood Drive, Suite 300                               Bloomingdale               IL    60108
29777567 NOW Health Group, Inc. dba NOW Foods                   244 Knollwood Drive, Suite 300                               Bloomingdale               IL    60108
                                                                c/o GRACO Real Estate Development Inc., 4010 82nd
29623220 NPC 2015, LLCc/o Graco Real Estate Development, Inc.   Street, Suite 302                                            Lubbock                    TX   79423
29623221 NRF - Pennock LLC                                      c/o Last Mile Investments, 212 E 3rd Street, Suite 200       Cincinnati                 OH   45202
29790934 Nubreed Nutrition                                      28910 Ave Penn              , Suite #213                     VALENCIA                   CA   91355
29777571 NuGo Nutrition                                         520 SECOND STREET                                            OAKMONT                    PA   15139
29777572 Nulab, Inc.                                            2151 Logan Street                                            Clearwater                 FL   33765
29777573 Nuline Nutritionals, LLC                               112 West 34th, 18th Floor                                    New York                   NY   10120
29777574 NuLiv Science USA, Inc.                                255 Paseo Tesoro                                             Walnut                     CA   91789
29777575 Numi Inc. LLC                                          PO Box 20420                                                 Oakland                    CA   94620
29777576 Numina Group Incorporated                              10331 Werch Drive                                            Woodridge                  IL   60517
29777577 NuNaturals Inc                                         2220 W. 2nd Ave              , #1                            EUGENE                     OR   97402
29784847 Nutiva                                                 213 West Cutting Blvd                                        RICHMOND                   CA   94804
29784848 NutraBio Labs, Inc                                     564 Lincoln Boulevard                                        Middlesex                  NJ   08846-
29904292 Nutraceutical Corporation                              1400 Kearns Blvd                                             PARK CITY                  UT   84060
29784850 NutraFusion Nutritionals                               500 Memorial Dr                                              Somerset                   NJ   08873-
29784851 Nutramax Laboratories Consumer Care, Inc.              2208 Lakeside Blvd.                                          Edgewood                   MD   21040
29784852 NutraSky LLC                                           P.O. BOX 6145                                                INDIANAPOLIS               IN   46206-6145
29784853 Nutravail LLC                                          14790 Flint Lee Road                                         Chantilly                  VA   20151
29792738 Nutrawise Corporation                                  9600 Toledo Way                                              IRVINE                     CA   92618
29739925 Nutrex Hawaii, Inc.                                    73-4460 Queen Kaahumanu Hwy #102                             Kailua-Kona                HI   96740
29784856 Nutrex Research, Inc.                                  579 South Econ Circle                                        Oviedo                     FL   32765
29784857 NutriBiotic                                            865 Parallel Dr                                              LAKEPORT                   CA   95453
29784858 Nutriforce Nutrition                                   14620 NW 60 AVENUE                                           MIAMI LAKES                FL   33014
29784859 NutriGold Inc                                          1467 W 105N                                                  OREM                       UT   84057
29790936 Nutrikel, LLC                                          65 Cardinal Drive                                            GLASTONBURY                CT   06033-
29777579 NutriScience Innovations, LLC                          2450 Reservoir Avenue                                        Trumbull                   CT   06611-
29604387 Nutrition 53, Inc.                                     3706 Mt. Diablo Blvd.                                        Lafayette                  CA   94549
29777581 Nutrition Training Systems, LLC d/b/a Muscleology      3901 SW 47 AVE # 409                                         Davie                      FL   33314
29627627 Nutritional Brands                                     1610 W. Whispering Wind Drive                                PHOENIX                    AZ   85085
29777583 Nutritional Supply Corp                                317 Industrial Circle                                        LIBERTY                    TX   77575
29777584 Nutritional Therapeutics, Inc.                         63 Mall Drive, Suite A                                       Commack                    NY   11725
29606019 Nutrivo LLC                                            1785 N. EDGELAWN DRIVE                                       Aurora                     IL   60506
29777586 Nuts 'N More                                           10 Almeida Street                                            East Providence            RI   02914-
29627719 NUUN and CO. Inc.                                      800 Maynard Ave S Suite 102                                  Seattle                    WA   98122
29784860 NuWest Logistics, LLC                                  190 East Main Street                                         Huntington                 NY   11743
29784861 NuZee, Inc.                                            2865 Scott St #101                                           Vista                      CA   92081
29784862 NWC Naturals Pet Products LLC                          27071 Cabot Rd.             , 117                            Laguna Hills               CA   92653
29623222 O.J.B. Investment Group LC                             4905 Del Ray Ave., Suite 200                                 Bethesda                   MD   20814
29623223 O.J.B./AJRE JV, LC                                     4905 Del Ray Ave., Suite 200                                 Bethesda                   MD   20814


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29784870 Oceanblue LLC                                       6501 Congress Ave                                      BOCA RATON                   FL    33487
29623224 Oceanside Associates LLC                            591 Stewart Ave., Suite 100                            Garden City                  NY    11530
29623226 Oglethorpe Associates LLLP                          3300 Cobb Parkway, Suite 120                           Atlanta                      GA    30339
29777593 Oh My Spice, LLC                                    1599 Superior Ave. Unit B-3                            Costa Mesa                   CA    92627
29777595 Ola Loa                                             1555 Burke Ave. Unit K                                 SAN FRANCISCO                CA    94124
29623227 Old Brandon First Colonial Assoc., LLC              1700 Wells Fargo Center, 440 Monticello Ave.           Norfolk                      VA    23510
29623228 Oleinik Property Holding Co., LLC                   PO Box 1568                                            Gillette                     WY    82717
29777598 Oliver Wyman Actuarial Consulting, Inc.             1166 Avenue of the Americas, 28th Floor                New York                     NY    10036-2708
29777599 Olivina Napa Valley LLC                             3343 Aspen Grove Drive, Suite 200                      Franklin                     TN    37067
29627816 Olly Public Benefit Corporation                     1169 Gorgas Ave.            ,A                         SAN FRANCISCO                CA    94129
29784874 Olympian Labs                                       16641 N 91st Street          , Suite 101               SCOTTSDALE                   AZ    85260
29784875 Omega Products, Inc.                                3355 Enterprise Avenue, Suite 160                      Fort Lauderdale              FL    33331
                                                             Cybertech House, Ground Floor, J B Sawant Marg, Wagle
29776554 OmniActive Health Technologies Ltd                  Industrial Estate                                      Thane (West)                 MH   400604         India
29776554 OmniActive Health Technologies Ltd                  Phoenix House, Fifth Floor, 462, S B Marg, Lower Parel Mumbai                            400 013        India
29784876 Omojo Health USA Inc.                               333 North Hill Blvd.                                   Burlington                   WA   98233
29784877 On Shelf Availability Retail Services (OSA)         201 S 19TH ST, SUITE P                                 Rogers                       AR   72758
29623229 One Continental Avenue Corp.                        43-29 Bell Boulevard                                   Queens                       NY   11361
29784880 One Point Logistics, Inc.                           159 4th Avenue North                                   Nashville                    TN   37219
29784884 Only Natural, Inc.                                  31 Saratoga Blvd                                       Island Park                  NY   11558
29784885 Only What You Need, Inc.                            100 Passaic Avenue, Suite 100                          Fairfield                    NJ   07004-
29604429 Onnit Labs                                          4401 Freidrich Lane          , Suite 302               AUSTIN                       TX   78744
29777601 Onnit Labs, LLC                                     4401 Freidrich Lane          , Suite 302               AUSTIN                       TX   78744
29898117 Ontario Refrigeration Service, Inc.                 5824 South 25th Street                                 Phoenix                      AZ   85040
29777603 Oona Health                                         803 WASHINGTON STREET                                  NEW YORK                     NY   10014
29777604 Optimize Hire, LLC                                  7413 Six Forks Road, Ste. 144                          Raleigh                      NC   27615
29629580 Optimizely, Inc.                                    631 Howard Street, Suite 100                           San Francisco                CA   94105
29777606 Optimum Nutrition                                   975 Meridian Lake Drive                                Aurora                       IL   60504
29777607 Option Three Consulting Pvt. Ltd.                   2101 915 St.                                           North Bergen                 NJ   07047-
29777609 Optiv Security Inc.                                 300 Harmon Meadow Blvd                                 Secaucus                     NJ   07094-
29777609 Optiv Security Inc.                                 PO BOX 561618                                          Denver                       CO   80256
29784887 Oracle                                              PO BOX 203448                                          Dallas                       TX   75320-3448
30168095 Oracle America, Inc.                                500 Oracle Parkway                                     Redwood Shores               CA   94065
29784889 Oral Essentials, Inc.                               436 N. Roxbury Drive, Suite #202                       Beverly Hills                CA   90210
29784890 Orange Peel Enterprises, Inc.                       2183 Ponce de Leon Circle                              Vero Beach                   FL   32960
29627808 ORB Life Sciences, LLC                              221 S. Cherokee Street                                 Denver                       CO   80223
29651049 Orchard Hill Park, LLC                              83 Orchard Hill Park Drive                             Leominster                   MA   01453
29784895 OrderGroove, Inc.                                   75 Broad St., 23rd Floor                               New York                     NY   10004
29604414 Oregon's Wild Harvest                               39831 HWY 26                                           Sandy                        OR   97055
29627720 Orgain, Inc.                                        PO Box 4918                                            Irvine                       CA   92616
29777611 Organic Food Bar, Inc.                              209 South Stephanie Street, B235                       Henderson                    NV   89012
29777612 ORGANIC INDIA USA                                   944 PEARL ST                                           BOULDER                      CO   80302


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29777613 Organifi LLC                                    7535 Metropolitan Dr                                          SAN DIEGO                  CA    92108
29777614 Origin Labs                                     946 US RT 2                                                   Wilton                     ME    04294-
29884989 Orkin LLC                                       10813 MIDLOTHIAN TURNPIKE                                     NORTH CHESTERFIELD         VA    23235
29777617 Orkin Pest Control                              10813 MIDLOTHIAN TURNPIKE                                     NORTH CHESTERFIELD         VA    23235
         OU UNION OF ORTHODOX JEWISH CONGREGATIONS OF
29790540 AMERICA                                         11 Broadway                                                   New York                   NY   10004
29651050 Outer Drive 39 Development Co. LLC              One Town Square, Suite #1600                                  Southfield                 MI   48076
29784899 Oxford Valley Road Associates                   PO Box 935775                                                 Atlanta                    GA   30354
29784900 OxyLife Nutritional Supplements Inc.            P.O. Box 6451                                                 Chula Vista                CA   91909
29784901 Pacific Health Labs                             100 Matawan Road Suite 150                                    Matawan                    NJ   07747-
29651051 Pacific National Group, LLC                     2400 South Blvd., Suite 300                                   Charlotte                  NC   28202
29784903 Pacific World Corp.                             25800 Commercentre Drive                                      Lake Forest                CA   92630
29651052 Pacific/DSLA No.2                               One Corporate Plaza, 2nd Floor                                Newport Beach              CA   92660
29651053 Pacific/Youngman-Woodland Hills                 One Corporate Plaza, Second Floor                             Newport Beach              CA   92568
29784906 Pacificore Construction                         18201 MCDURMOTT W STE B                                       Irvine                     CA   92614
                                                         730 BEV ROAD
29790954 Package All Corp                                SUITE 2                                                       Boardman                   OH   44512
29790954 Package All Corporation                         655 Church Street                                             Bayport                    NY   11705
29790955 Packaging Corporation of America                PO BOX 12406                                                  Newark                     NJ   07101-3506
29651054 PAD4 PAD6 VV LLC                                6305 Gayton Place                                             Malibu                     CA   90265
29776529 Paleo Ethics Inc.                               3318 Second Street                                            Cornwall                   ON   KWH658         Canada
29776529 PaleoEthics Inc.                                3318 Second Street                                            Cornwall                   ON   KG#658         Canada
29651055 Palm Beach Outlets I, LLC                       c/o New England Development, 75 Park Plaza                    Boston                     MA   02116
                                                         c/o Acadia Realty Trust, 411 Theodore Fremd Avenue,
29651056 Palm Coast Landing Owner LLC                    Suite 300                                                     New York City              NY   10580
29651057 Palm Springs Mile Associates, LTD.              419 West 49th Street, Suite 300                               Hialeah                    FL   33012
29777627 Pantera LLC                                     PO BOX 26657                                                  Scottsdale                 AZ   85255
29777629 Panthera Pharmaceuticals                        11 A Lincoln Street                                           COPIAGUE                   NY   11726
29604530 Papa & Barkley Essentials, LLC                  303 S Broadway, Suite 200-320                                 Denver                     CO   80209
         Papou Varvavas Anastasia Realty Trust u/a dated
29623230 September 23, 2020                              Address On File
29784912 Paracelsus Labs Inc.                            PO Box 7277                                                   Boulder                    CO   80306
29784913 Paradise Herbs & Essentials                     19051 Goldenwest St.          , 104-306                       HUNTINGTON BEACH           CA   92648
29784916 Paramount Beauty Distributing Associates Inc.   41 Mercedes Way Unit 34                                       Edgewood                   NY   11717
29784918 Parfums de Coeur, Ltd.                          6 High Ridge Park Floor C2                                    Stamford                   CT   06902-
29784921 Park Place Technologies                         C/O SSG MANAGEMENT LLC, 204 N HOWARD                          TAMPA                      FL   33606
30345489 Park V Partners, LLC                            6995 Union Park Center, Suite 440                             Midvale                    UT   84047

29623231 Parker Place Group, LLC                            c/o Knorr Management Inc., 5525 Rebecca Way, Suite A Corning                          CA   96021
29623232 Parkridge Center Retail, LLC                       c/o Willard Retail, 4800 Hampden Lane                Bethesda                         MD   20814
29623233 PARM Golf Center, LLC                              c/o Caton Commercial, 1296 Rickert Drive, Suite 200  Naperville                       IL   60540



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29777634 Partnership Staffing Incorporated                         PO BOX 823461                                                Philadelphia               PA    19182-3461
29623234 Pasadena Hastings Center                                  15250 Ventura Blvd., Suite 1010                              Sherman Oaks               CA    91403
29777638 PAUL Naturals Pet Product                                 27011 Cabot Rd # 117                                         Laguna Hills               CA    92683
29777639 Pauling Labs Inc                                          4550 Birch-bay Lynden Road      , PMB 1188                   BLAINE                     WA 98230
29784928 Paychex of New York LLC                                   GENERAL POST OFFICE, PO BOX 29769                            New York                   NY    10087-9769
29784931 PayFlex Systems USA, Inc.                                 10802 Farnam Drive, Suite 100                                Omaha                      NE    68154
29784932 Payment Processing Services, LLC                          236 Carmichael Way, Suite 300                                Chesapeake                 VA    23322
29784933 Paymentech, LLC                                           14221 Dallas Parkway                                         Dallas                     TX    75254
29784933 Paymentech, LLC                                           4 Northeastern Boulevard                                     Salem                      NH    03079-
29784933 Paymentech, LLC                                           8181 Communications Pkwy                                     Plano                      TX    75024
         Paymentech, LLC for itself and on behalf of JPMorgan
29784936 Chase Bank, N.A.                                          8181 Communications Pkwy                                     Plano                      TX   75024
29776530 PayPal CA Limited                                         Brunswick House, 44 Chipman Hill Suite 1000                  Saint John                 NB   E2L 2A9        Canada
29777644 PayPal, Inc.                                              eBay Park North, 2211 North First Street                     San Jose                   CA   35131
         PC San Ysidro PB, LLC, PC International PB, LLC, and PC   c/o Pacific Castle Management Inc., 2601 Main Street,
29623235 Iagio PB, LLC                                             Suite # 900                                                  Irvine                     CA   92614
29623236 PCCP/LDC Pearl Kai LLC                                    98-199 Kamehameha Hwy., Suite H-14                           Aiea                       HI   96701
         Peabody Center LLC, Chase Decatur LLC, and London         c/o Chase Properties Ltd., 3333 Richmond Road Suite
29623237 Development Ltd.                                          320, Suite 320                                               Beachwood                  OH   44122
29777652 Peaceful Mountain, Inc.                                   201 Apple Blvd                                               Woodbine                   IA   51579
                                                                   5995 Wilcox Place
29790965 Pear                                                      Suite A                                                      Dublin                     OH   43016
29777654 Pear Therapeutics                                         1000 W. Maude Ave                                            Sunnyvale                  CA   94085
29784937 Pear Therapeutics, Inc.                                   55 Temple Place, 3rd Floor                                   Boston                     MA   02111-
                                                                   c/o Bamboo Property Management, 9500 Front Street
29623238 Pearl Street Retail, T.I.C.                               South, Suite 200                                             Lakewood                   WA   98499
29784939 Peico, Inc.                                               16366 COLLECTION CENTER DRVIE                                Chicago                    IL   60693
29784940 Pelco, Inc.                                               16366 COLLECTION CENTER DRVIE                                Chicago                    IL   60693
29784941 PENformance                                               905 Shotgun Rd                                               Sunrise                    FL   33326
29784942 Penta Water LLC                                           1601 E. Steel Road                                           COLTON                     CA   92324
29784944 Perceptyx, Inc.                                           28765 Single Oak Dr #250                                     Temecula                   CA   92590
29784945 Perfect Shaker Inc.                                       369 Lang Blvd                                                Grand Island               NY   14072
29784946 Perficient                                                BOX 207094                                                   Dallas                     TX   75320-7094
29784947 Perficient, Inc.                                          520 Maryville Centre Drive, Suite 400                        St. Louis                  MO   63141
29784947 Perficient, Inc.                                          555 Maryville University Dr., Suite 600                      St. Louis                  MO   63141
29784949 Performance Brands                                        905 SHOTGUN RD.                                              FORT LAUDERDALE            FL   33326
29627827 PERFORMIX, LLC                                            221 South Cherokee Street                                    Denver                     CO   80223
29792523 Personify Health, Inc.                                    DEPT 3310, PO BOX 123310                                     Dallas                     TX   75312-3310
29792523 Personify Health, Inc. fka Virgin Pulse, Inc.             DEPT 3310, PO BOX 123310                                     Dallas                     TX   75312-3310
29777657 Pervine Foods, LLC                                        111 Terence Drive                                            Pittsburgh                 PA   15236
29623239 Peters Development, LLC                                   c/o Dan Hill, 645 N. Main Street                             High Point                 NC   27260



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29649066 PHD @ Western, LLC                                    14768 Enclave Lakes Drive                                    Delray Beach                FL    33484
29776532 PhD Nutrition Inc                                     19100 Airport Way #105                                       Pitt Meadows                BC    V3Y0E2      Canada
29777667 Phi Drinks, Inc.                                      1855 Industrial St. #110                                     Los Angeles                 CA    90021
29777668 Philips Lighting North America Corporation            200 Franklin Square Drive                                    Somerset                    NJ    08873-
29649067 Phoenicia Development, LLC                            3700 34th Street, Ste 300                                    Orlando                     FL    32805
29777671 Phoenix Fence Company                                 PO BOX 21183                                                 Phoenix                     AZ    85036-1183
29790969 Phoenix Formulations, LLC                             4551 West 21st Street, Suite 101                             Tempe                       AZ    85282
29777674 PHYLE INVENTORY CONTROL SPECIALISTS                   4150 GRANGE HALL RD.                                         Holly                       MI    48442
29776533 Physical Enterprises, Inc.                            2101 91st Street                                             North Bergen                NJ    07047-
29776533 Physical Enterprises, Inc.                            302-2930 Arbutus St.                                         Vancouver                   BC    V6J 3Y9     Canada
29606085 PIER 1 SERVICES COMPANY                               100 PIER 1 PLACE                                             Fort Worth                  TX    76102
29649068 PinckDenny LLC                                        9924 Sorrel Avenue                                           Potomac                     MD 20854
29784963 Pines International, Inc.                             1992 East 1400 Road                                          Lawrence                    KS    66044
29606089 Pinterest, Inc.                                       808 Brannan Street                                           San Francisco               CA    94103
29790970 PiperWai LLC                                          1430 Walnut St.            , 200                             PHILADELPHIA                PA    19102
29784966 Pitney Bowes Inc.                                     3001 Summer Street                                           Stamford                    CT    06926-
29776534 Pivotree Inc.                                         6300 Northam Drive                                           Mississauga                 ON    L4V 1H7     Canada
29649069 PJS HOLDINGS LLC                                      8 Greenfield Road                                            Syosset                     NY    11791
29784969 PJUR GROUP USA, LLC                                   1680 Michigan Ave Str. 920                                   Miami Beach                 FL    33139
29649070 PK I LA Verne Town Center LP                          500 North Broadway, Suite 201                                Jericho                     NY    11753
                                                               c/o Kimco Realty Corporation, 500 North Broadway,
29649071 PK II EL Camino North LP                              Suite 201                                                    Jericho                     NY   11753
                                                               c/o Kimco Realty Corporation, 500 North Broadway,
29649072 PL Dulles LLC                                         Suite 201                                                    Jericho                     NY   11753
29790972 Plant People, Inc.                                    49 Elizabeth St, 3rd floor                                   New York                    NY   10013
29777679 Plantlife Natural Body Care                           961 Calle Negocio                                            SAN CLEMENTE                CA   92673
29777680 Plantlife, Inc.                                       1030 Calle Recodo                                            San Clemente                CA   92673
29649073 Platzer Family Limited Partnership                    218 East Park Avenue, # 527                                  Long Beach                  NY   11561
29777683 Playmaker Nutrition                                   369 South Fair Oks Ave.                                      PASADENA                    CA   91105

29649074 Plaza K Shopping Center, L.L.C.                       c/o The Azarian Group L.L.C., 6 Prospect Street, Suite 2A    Midland Park                NJ   07432
29649075 Plaza on Manhattan Associates, LLC                    2555 Severn Ave, Suite200                                    Metairie                    LA   70002
29784977 PLH Products, Inc.                                    6655 Knott Avenue                                            Buena Park                  CA   90620
29784978 PLT Health Solutions-Laila Nutraceuticals LLC         119 Headquarters Plaza                                       Morristown                  NJ   07960-
29784979 Plum Tree, Inc.                                       325 W. Huron St., Suite 215                                  Chicago                     IL   60654
                                                               c/o Pine Tree Commercial Realty LLC, 814 Commerce
29649077 PMAT Orland, L.L.C.                                   Drive, Suite 300                                             Oak Brook                   IL   60523
29606095 PMX Agency LLC                                        P.O. BOX #735131                                             Chicago                     IL   60673
29784983 PMX Agency LLC dba ForwardPMX                         P.O. BOX #735131                                             Chicago                     IL   60673
29784984 PNC Bank National Association                         ATTN: IBM CORPORATION, 500 FIRST AVENUE                      Pittsburgh                  PA   15219
29777691 Polar Electro Inc.                                    1111 Marcus Ave., Suite M15                                  Lake Success                NY   11042



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29790975 Polar Fusion LLC                               10605 SE 240th St             , #400                        KENT                      WA 98031
29777693 Polyphenolics                                  12667 Road 24                                               Madera                    CA    93637
29606098 Pomeroy Technologies, LLC                      Mitsubishi / Pomeroy, PO Box 7410512                        Chicago                   IL    60674-0231
29777694 Ponder Jet Inc                                 3325 NW 70th Avenue                                         Miami                     FL    33122
29790976 PopTime LLC                                    200 Clifton Boulevard           ,1                          CLIFTON                   NJ    07011-
29784992 Potomac Environmental, Inc.                    PO Box 1836                                                 Stafford                  VA    22555-1836
29623240 Poughkeepsie Plaza LLC                         275 N. Franklin Turnpike                                    Ramsey                    NJ    07446
29790977 POWDER JET INC                                 1800 North Bayshore Drive          , 1504                   MIAMI                     FL    33132
29623241 Powell-Five Corners Associates, L.L.C.         2625 Northup Way                                            Bellevue                  WA 98004
29623242 Powell-Maple Valley LLC                        2625 Northup Way                                            Bellevue                  WA 98004
29784997 POWERFUL MEN LLC                               429 Lenox Av                                                MIAMI BEACH               FL    33139
29777700 PowerReviews, Inc                              440 North Wells Street, Suite 720                           Chicago                   IL    60654
29623243 PP Gaston Mall LLC                             1422 Burtonwood Dr. Suite 200                               Gastonia                  NC    28054
29777703 Practica                                       2800 Patterson Ave                                          Richland                  VA    23221
29776535 Prana Biovegan Corp.                           1440 Jules Poitras                                          Quebec                    QC    H4N 1X7     Canada
29776536 Prana Biovegan Inc                             1440 Jules Poitras                                          Saint-Laurent             QC    H4N 1X7     Canada
29777708 Pratt (Allentown Corrugating), LLC             3535 Piedmont Road, Building 14, Suite 440                  Atlanta                   GA    30305
29790979 Preet Kamal                                    Address On File
29623244 PREF Pasadena Collection, LLC                  4370 La Jolla Village Drive, Suite 640                      San Diego                 CA   92122
29785000 Preferred Placement                            P.O Box 743176                                              Los Angeles               CA   90074-3176
29785001 Preferred Placement, Inc.                      200 Concord Plaza Dr Ste 240                                San Antonio               TX   78216-6943
29785002 Pregis                                         29690 NETWORK PLACE                                         Chicago                   IL   60673
29785004 Premier Nutrition                              6215 El Camino Real, Ste 101                                Carlsbad                  CA   92009
29604356 Premier Nutrition Company, LLC                 1222 67th Street, Suite 210                                 Emeryville                CA   94608
29785006 Premium Entertainment                          36 ALIZE DRIVE                                              KINNELON                  NJ   07405-
29785007 Presidio Brands, Inc.                          500 Tamal Plaza, Suite 505                                  Corte Madera              CA   94925
29623245 Presidio Towne Crossing LP                     16000 Dallas Parkway, Suite 300                             Dallas                    TX   75248
29777711 Prevention Magazine                            300 West 57th Street                                        New York                  NY   10019
29777712 Prevention Pharmaceuticals Inc.                142 Temple Street, Suite 205                                New Haven                 CT   06510-
29777713 PRGX USA, Inc.                                 PO BOX 116501                                               Atlanta                   GA   30368
29777714 PRI, LLC                                       210 Park Ave Ste 2175                                       Oklahoma City             OK   73102-5629
29604472 Primal Nutrition, Inc                          1631 S Rose Ave                                             Oxnard                    CA   93033
29623246 Prime 86 Holdings LLC                          7916 5th Avenue                                             Brooklyn                  NY   11209
29777717 Prime Nutrition                                1120 Holland Drive, #19                                     Boca Raton                FL   33428
29790984 Prime Retail Services                          3617-SOUTHLAND DRIVE, SUITE A                               Flowery Branch            GA   30542
                                                        c/o Federal Realty Investment Trust, 909 Rose Avenue,
29623247 Prime/FRIT Mission Hills, LLC                  Suite #200                                                  Rockville                 MD   20852
29776552 Primex ehf                                     Óskarsgata 7                                                Siglufjörour                   580          Iceland
29776537 Primus Health Inc.                             3456 rue Des Castors                                        Laval                     QC   H7P 5W8      Canada
29777721 Prince of Peace Ent., Inc.                     3536 Arden Road                                             Hayward                   CA   94545
29785013 Prinova Solutions LLC                          315 E. Fullerton Ave.                                       Carol Stream              IL   60188
29604395 Pristine Bay LLC DBA VIANDA                    9898 Windisch Road                                          West Chester              OH   45069


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29785016 PRO Bottle LLC                                   4942 Dawn Avenue                , Suite 222                   EAST LANSING               MI    48823
29785017 PROBAR, LLC.                                     4752 W. California Ave.                                       Salt Lake City             UT    84104
                                                          185 NW Spanish River Blvd
29790986 Prodege                                          Suite 100                                                     Boca Raton                 FL   33431-4230
29785019 Professional Supplements                         3665 East Bay Dr. Building 204 , 155                          LARGO                      FL   33771
29790988 ProFormance Foods LLC                            44 Dobbin St              , First Floor                       BROOKLYN                   NY   11222
29785021 PROformance Vend USA INC                         PO BOX 6188                                                   Phoenix                    AZ   85005
29785022 Project Healthy Living Inc DBA ALOHA             0 Exchange Place                                              NEW YORK                   NY   10005
29785023 Project X Represents                             PO Box 870                                                    Old Forge                  NY   13420
29785025 Prolab Nutrition, Inc.                           6 Dinglebrook Road                                            Brookfield                 CT   06804-
29790989 Promax Nutrition Corp                            100 Bayview Circle           , 200                            NEWPORT BEACH              CA   92660
29777723 PromoLeaf                                        PO Box 681465                                                 Park City                  UT   84068
29777724 Pronatura Inc.                                   2474 E. Oakton St.                                            Arlington Heights          IL   60005
29777724 Pronatura Inc.                                   2474 East Oakton Street                                       Arlington Heights          IL   60005
29777726 Propello Life, LLC                               7611 Coventry Woods Drive                                     Dublin                     OH   43017
29777727 ProTec Laboratory, Inc.                          4300 FM 2225                                                  Quitman                    TX   75783
29777729 Protein Brothers, LLC (dba Stryve Foods)         500 W. University Dr., Suite 108                              Mckinney                   TX   75069
29627809 Protexin, Inc.                                   1833 NW 79th AVE                                              Doral                      FL   33126
29777731 Protiviti Inc.                                   888 7th Ave - 13th Floor                                      New York                   NY   10019
29627783 Protos Foods, Inc.                               449 Glenmeade Road                                            Greensburg                 PA   15601
29785026 Proud Source Water Inc.                          307 Miners Way                                                MACKAY                     ID   83251
29623248 Providence Holdings, LLC                         6500 Utah Ave NW                                              Washington                 DC   20015
29785028 Proximus Consulting Group, LLC                   111 Windsor Way                                               Franklin                   TN   37069
29785047 Puerto Rico Telephone Company                    PO Box 360998                                                 San Juan                   PR   00936-
29785048 Puerto Rico Telephone Company, Inc.              P.O. Box 71304                                                San Juan                   PR   00939-
29785048 Puerto Rico Telephone Company, Inc.              PO Box 360998                                                 San Juan                   PR   00936-
29785049 Pukka Herbs Ltd                                  71 McMurray Road                , 104                         PITTSBURGH                 PA   15241
29628036 Pure Encapsulations, LLC                         490 Boston Post Road                                          Sudbury                    MA   01776-
29777744 Pure Essence Labs, Inc.                          P.O. Box 95397                                                Las Vegas                  NV   89193
29790993 Pure Health Inc.                                 229 Calle Duarte Suite 3A, Second Floor                       San Juan                   PR   00917-
29790994 Pure Inventions                                  64 B Grant Street                                             LITTLE SILVER              NJ   07739-
29777747 Pure Inventions LLC                              64 B Grant Street                                             LITTLE SILVER              NJ   07739-
29777748 Pure Solutions INC                               13620 Wright Circle                                           Tampa                      FL   33626
29777749 PureFit Inc.                                     2 Avellino                                                    Irvine                     CA   92620
29777750 Puremedy, LLC                                    1925 Angus Ave, Unit D                                        Simi Valley                CA   93063
29777751 PureRED | Ferrara                                301 College Road East                                         Princeton                  NJ   08540-
29777752 Pvolve LLC                                       415 West Broadway                                             NEW YORK                   NY   10012
29777753 Pyure Brands LLC                                 2277 Trade Cebter Way STE 101                                 NAPLES                     FL   34109
29785051 QNT INTERNATIONAL, Inc.                          82 Virginia Avenue                                            Dobbs Ferry                NY   10522
29785052 QOL Labs, LLC                                    2975 Westchester Avenue, Suite G-01                           Purchase                   NY   10577
29785053 Quadient, Inc.                                   478 Wheelers Farms Road                                       Milford                    CT   06461-
29785055 Quaker Sales & Distribution                      300 Harmon Meadow Blvd.                                       Secaucus                   NJ   07094-


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29604479 Qualitas Health, Inc.                                 1800 West Loop South                                         Houston                   TX    77027
29627792 Quality Pasta Company                                 100 Chamber Plaza                                            CHARLEROI                 PA    15022
29785059 Quantum, Inc.                                         754 Washington Street                                        Eugene                    OR    97401
29785060 QueBIT Consulting LLC                                 P.O. BOX 713                                                 Katonah                   NY    10536
29623249 Queen Bee Properties, LLC                             41 W. Highway 14 #394                                        Spearfish                 SD    57783
29606119 Quest Diagnostics Clinical Laboratories, Inc.         PO BOX 740709                                                Atlanta                   GA    30374-0709
29785062 Quest Diagnostics Health & Wellness LLC               PO BOX 740709                                                Atlanta                   GA    30374-0709
29904794 Quest Nutrition, LLC                                  4712 Admiralty Way, Suite 670                                Marina del Rey            CA    90292
29904794 Quest Nutrition, LLC                                  777 S. Aviation Dr.                                          El Segundo                CA    90245
29777756 Quick Response Home Services                          2404 W. PHELPS RD, SUITE A-2                                 Phoenix                   AZ    85023
29777758 Quincy Bioscience Manufacturing Inc.                  301 S. Westfield Road, Suite 200                             Madison                   WI    53717
29649078 R & R Real Properties, Inc.                           1801 Avenue of the Stars #900                                Los Angeles               CA    90067
29791000 R. R. Donnelley & Sons Company                        P.O. BOX 13654                                               Newark                    NJ    07188-0001
29777764 RADIUS Corporation                                    207 Railroad Street                                          KUTZTOWN                  PA    19530
29649079 RAHI, LLC                                             3256 Westview Dr                                             Northbrook                IL    60062
29604287 Rainbow Light Nutritional Systems                     100 Avenue Tea                                               SANTA CRUZ                CA    95060
29785065 Rainbow Research Corp                                 170 Wilbur Place                                             Bohemia                   NY    11716
29785066 Rainforest Distribution Corp                          360-30 13th St                                               ASTORIA                   NY    11106
29649080 Rainier Triangle II, LLC                              23707 SE 221ST St                                            Maple Valley              WA 98038
29649081 RAJDC NC Properties, LLC                              2719 Graves Drive, Suite 21                                  Goldsboro                 NC    27534
29791002 Rakuten Card Linked Offer Network, Inc.               800 Concar Drive, Suite 175                                  San Mateo                 CA    94402
29649082 Ramsey Holdings, LLC                                  644 Pascack Road                                             Washington Township       NJ    07676

         Rancho Dos Hermanos, LLC, as to an undivided          Desert Delite Citrus, LLC as to an undivided 11.8500%
29649083 88.1500% tenants in common interest and               tenants in common interest, 2655 First Street, Suite 245     Simi Valley               CA   93065
29785073 Randal Optimal Nutrients LLC                          P.O Box 7328                                                 SANTA ROSA                CA   95407
29791004 Rangle.io Inc.                                        18 York Street, 5th Floor                                    Toronto                   ON   M5J 2T8        Canada
29785075 Rapid Restoration, LLC                                1900 County Rd C West                                        Roseville                 MN   55113
29777767 RARI Nutrition LLC                                    3410 Davie Rd. Suite 405                                     FORT LAUDERDALE           FL   33314
29777768 Raw Elements LLC                                      201 Jefferson Ave.            , 4A                           MIAMI BEACH               FL   33139
29604428 Raw Essentials Living Foods, LLC                      2934 1/2 N Beverly Glen Cir #176                             Bel Air                   CA   90077
29604578 Raw Sport Supplement Company                          760 NW Enterprise Dr.                                        Port St. Lucie            FL   34985
29669998 Raw Sport Supplement Company LLC                      760 NW Enterprise Dr.                                        Port St. Lucie            FL   34985
29777770 RAYMEX DISTRIBUTION, INC.                             8206 KILLAM INDUSTRIAL BLVD                                  LAREDO                    TX   78045
29791909 Raymond                                               22 S. Canal St.                                              Greene                    NY   13778
29777771 Raymond Handling Solutions, Inc.                      725 FAIRFIELD AVENUE                                         Kenilworth                NJ   07033-
29965543 Raymond Leasing Corporation                           22 S. Canal St.                                              Greene                    NY   13778
30202971 RCA Novak                                             5020 Westridge Drive                                         Fort Collins              CO   80526
30202971 RCA Novak, LLC                                        5020 Westridge Drive                                         Fort Collins              CO   80526
29791007 RCBA Nutraceuticals LLC                               635 Century Point             , 111                          LAKE MARY                 FL   32746
29791007 RCBA Nutraceuticals, LLC                              2041 High Ridge Rd                                           Boynton Beach             FL   33426



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                                                          c/o RCG-Ventures LLC., 3060 Peachtree Road NW, Suite
29649084 RCG-PSC Camp Creek Owner, LLC                    400                                                         Atlanta                    GA   30305
29649085 RE Plus SP LLC                                   c/o Wafra Inc., 345 Park Avenue, 41st Floor                 New York City              NY   10154
29785079 Ready Roast Nut Company, LLC                     2805 Falcon Drive                                           Madera                     CA   93637
29792589 Real Asset Management Inc.                       309 Court Avenue, Suite 244                                 Des Moines                 IA   50309
29791008 REAL GOOD FOODS COMPANY LLC                      6316 Tapanga Canyon Blvd           , 2140                   WOODLAND HILLS             CA   91367
29630169 Rebel Logistics Service LLC                      7105 Virginia Rd, Suite 3                                   Crystal Lake               IL   60014
29785083 Reckitt Benckiser                                399 INTERPACE PKWY                                          PARSIPPANY                 NJ   07054-
29785084 Recruiting Research, LLC                         420 Canterbury Lake                                         Milton                     GA   30004
29785085 Recycline, Inc.                                  657 Main Street                                             Waltham                    MA   02451-
29649086 Redbarry LLC                                     605 W 47th St., Suite 200                                   Kansas City                MO   64112
29777780 REDCON1 LLC                                      701 Park of Commerce            , 100                       BOCA RATON                 FL   33487
29777780 Redcon1, LLC.                                    701 Park of Commerce Blvd., Suite 101                       Boca Raton                 FL   33487
29777782 Redd Remedies, Inc.                              211 S. Quincy Ave.                                          Bradley                    IL   60915
29606137 Reddit, Inc.                                     PO Box 736984                                               Dallas                     TX   75373-6984
29604471 Redefine Nutrition d.b.a FINAFLEX                1190 Tidwell Road Ste 304                                   Alpharetta                 GA   30004
29777785 REDEFINE NUTRITION LLC dba FINAFLEX              3615 Francis Cir           , 100                            ALPHARETTA                 GA   30004
29777785 REDEFINE NUTRITION LLC DBA FINAFLEX              3615 FRANCIS CIR STE 101                                    ALPHARETTA                 GA   30004
29649087 Redlands Joint Venture LLC                       13191 Crossroads Parkway North, 6th Floor                   City of Industry           CA   91796
29777787 Redmond Trading Company, dba Redmond Life        475 West 910 South                                          Heber City                 UT   84032
29776539 reebee Inc.                                      305 King St W Suite 902                                     Kitchener                  ON   N2G 1B9        Canada
                                                          c/o Regency Centers Corporation, One Independent
30202972 Regency Centers Corporation                      Drive, Suite 114                                            Jacksonville               FL   32202
29649088 Regency Centers Corporation                      One Independent Drive, Suite 114                            Jacksonville               FL   32202
29623250 Rego Park II Borrower LLC                        210 Route 4 East                                            Paramus                    NJ   07652
29623251 REI Asheville Rentas, LLC                        9553 Harding Avenue, #307                                   Miami Beach                FL   33154
29623252 Reliance Elm Holdings LLC                        120 Marvelle Road                                           Fayetteville               NY   13066
29785095 Reliance Standard Life Insurance Company         1700 Market Street, Suite 1200                              Philadelphia               PA   19103-3938
29785095 Reliance Standard Life Insurance Company         PO BOX 3124                                                 SOUTHEASTERN               PA   19398-3124
29785097 Renew Life Formulas, Inc.                        198 Alt. 19 South                                           Palm Harbor                FL   34683
29785098 Residence Inn Secaucus Hotel                     PO BOX 49745                                                Athens                     GA   30604
29785099 Resonant Analytics                               5 VAUGHN DR, SUITE 306                                      Princeton                  NJ   08540-
29629696 Resonant Analytics LLC                           5 VAUGHN DR, SUITE 306                                      Princeton                  NJ   08540-
29785100 Resource Management Group                        PO BOX 616                                                  West Frankfort             IL   62896
                                                          C/O BGBC PARTNERS LLP, 135 N Pennsylvania Street,
29606145 Retail Logistics Excellence - RELEX Oy           SUITE 2600                                                  Indianapolis               IN   46204
                                                          C/O BGBC PARTNERS LLP, 135 N Pennsylvania Street,
29606145 Retail Logistics Excellence – RELEX Oy           SUITE 2600                                                  Indianapolis               IN   46204
29777791 Retail Next                                      300 Harmon Meadow Blvd                                      Secaucus                   NJ   07094-
29777792 Retail Services WIS Corporation                  PO BOX 200081                                               DALLAS                     TX   75320-0081
30183356 RetailNext, Inc.                                 60 S. Market St Suite 310                                   San Jose                   CA   95113



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30183356 RetailNext, Inc.                                     60 S. Market St. 10th FI                                      San Jose                      CA    95113
29777797 Return Path, Inc.                                    3 Park Avenue, 41st Floor                                     New York                      NY    10016
29777798 Revionics, Inc.                                      2998 Douglas Blvd, Suite 350                                  Roseville                     CA    95661
29791020 Revival Labs                                         4255 CAMPUS DR.                , BOX 4324                     IRVINE                        CA    92616
29785101 Revolution Tea LLC                                   5080 N. 40th Street          , 375                            PHOENIX                       AZ    85018
29791022 Revolutionary Technology Nutrition                   30 Nixon Lane                                                 EDISON                        NJ    08837-
29785103 Rexall Sundown                                       2100 SMITHTOWN ROAD                                           RONKONKOMA                    NY    11779
29785105 RGH Enterprises, LLC                                 1810 Summit Commerce Park                                     Twinsburg                     OH    44087
29624222 RGIS, LLC                                            2000 East Taylor Road                                         Auburn Hills                  MI    48326
29785108 Rhinomed Inc                                         1311 Vine Street                                              Cincinnati                    OH    45202
29623253 Riceland Owner LLC                                   4601 Garth Road, Suite 101                                    Baytown                       TX    77521
29676895 RidgeCrest Herbals, Inc.                             3683 West 2270 South, Suite #A                                Salt Lake City                UT    84120-2306
29623254 Riley Holdings, Ltd.                                 1246 Rt. 20 East                                              Norwalk                       OH    44857
29777802 RioSoft Holdings, Inc.                               9255 Towne Centre Drive, Suite 750                            San Diego                     CA    92121
29777803 Rise Bar                                             16752 Millikan                                                Irvine                        CA    92606
29627697 Rishi Tea                                            185 S. 33rd Court                                             MILWAUKEE                     WI    53208
29777805 Risk Logic Inc.                                      48 Dimmig Road                                                Upper Saddle River            NJ    07458-
29777806 Riskified Inc.                                       220 5th Avenue, 2nd Floor                                     New York                      NY    10001
29623255 Ritchie Interchange LLC                              One South Street, Suite 2800                                  Baltimore                     MD 21202
29777808 River Drive Construction Co. Inc.                    200 Riverfront Boulevard                                      Elmwood Park                  NJ    07407-
29623256 River Oaks El Mercado, LLC                           5678 N. Mesa                                                  El Paso                       TX    79912
29623257 Riverchase CC, LP and Mont Belvieu Properties, LLC   945 Heights Blvd.                                             Houston                       TX    77008
29623258 Riverdale Square, LLC                                61 West Palisade Avenue                                       Englewood                     NJ    07631
29623259 Rivers Edge RBG, LLC                                 1598 Imperial Center, Suite 2001                              West Plains                   MO 65775
29785116 Riverside Logistics, Inc.                            5160 Commerce Road                                            Richmond                      VA    23234
29649089 RJ Two Notch LLC                                     215-15 Northern Boulevard, Suite 301                          Queens                        NY    11361
29649090 RJFP LLC                                             635 W. 7th Street, Suite 310                                  Cincinnati                    OH    45203
29649091 RJS Marine Inc.                                      c/o The Woodmont Company, 2100 W. 7th Street                  Fort Worth                    TX    76107
29649092 RJSJ LLC                                             PO Box 235965                                                 Encinitas                     CA    92023
                                                              c/o Regency Centers Corporation, One Independent
29649093 RK Black Rock II, LLC                                Drive                                                         Jacksonville                  FL   32202
29649094 Roanoke Venture II, LLC                              2870 Peachtree Road NW, #889                                  Atlanta                       GA   30305
29777813 Robert Half International Inc.                       101 Hudson Street Suite 2102                                  Jersey City                   NJ   07032-
29649095 Rockfirm, LLC                                        3100 West End Avenue, Suite 1070                              Nashville                     TN   37203
                                                              C/O JRJ PROPERTIES LLC, 6671 MACARTHUR
29649096 ROGER E HERST                                        BOULEVARD                                                     Bethesda                      MD   20816
29777817 Roland Inc.                                          3400 West Olympic Blvd                                        Los Angeles                   CA   90019
29777818 Roland Products, Inc.                                3400 West Olympic Blvd                                        Los Angeles                   CA   90019
         Roman PBS Acquisition Co LLC, D/B/A Paperless
29777819 Business Systems                                     3131 Elliott Ave, Suite 450                                   Seattle                       WA   98121
29649097 Romney Petroleum Inc                                 901 Kossuth St                                                Lafayette                     IN   47905



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         Rookwood Exchange Operating LLC c/o Jeffrey R.
29649098 Anderson Real Estate, Inc.                       3825 Edwards Road                                       Cincinnati                  OH   45209
29785127 Rooney CV, Inc.                                  34199A Road 144                                         Visalia                     CA   93292
                                                          c/o Acadia Realty Trust, 639 W. Diversey Parkway, Suite
29649099 Roosevelt Galleria LLC                           202                                                     Chicago                     IL   60614
                                                          c/o Tanurb Developments Inc., 128A Sterling Road, Suite
29623260 Rosedale Commons LP                              203                                                     Toronto                     ON   M6R 2B7        Canada
29623261 Roseville Village L.L.C.                         4198 Orchard Lake Road, Suite 250                       Orchard Lake Village        MI   48323
29623262 Roslyn Farm Corporation                          P.O. Box 727                                            Colonial Heights            VA   23834
29623263 Rowen Burlington OpCo, LLC                       c/o WestCom Properties Inc., 3130 Howe Place, 101       Bellingham                  WA   98226
29623264 RREEF AMERICA REIT II CORP. HH                   3340 Peachtree Road NE, Suite 250                       Atlanta                     GA   30326
29785136 RSJ Ventures LLC                                 PO Box 110871                                           NAPLES                      FL   34108
29785137 RSP Nutrition                                    4953 SW 71 Pl.                                          Miami                       FL   33155
29785138 RTi Research                                     3500 Lenox Road NE Suite 1500                           Atlanta                     GA   30326
29791033 Runa LLC                                         315 Flatbush Ave            , # 431                     BROOKLYN                    NY   11217
29777826 Rushmore Superfoods, LLC                         33971 Selva Road, Suite 240                             Dana Point                  CA   92629
29777827 Russell Acoustics, LLC                           170 Kinnelon Road, Suite 19M                            Kinnelon                    NJ   07405-
29777829 Ryan Law, LLP                                    PO BOX 1939                                             Lowell                      AR   72745
29619857 Ryan Maietta                                     Address On File
29623265 S and V, LLC,                                    450 Main Street, Suite 200                              Pleasanton                  CA   94566
29623266 SAB Investments LLC                              PO Box 194                                              Carmel                      IN   46082
29785141 Saba Software, Inc.                              2400 Bridge Parkway, Redwood Shores                     Redwood City                CA   94065
29623267 Saber Riverhead58, LLC                           c/o Saber Real Estate North LLC, 2453 Route 6           Brewster                    NY   10509
29785143 Sabona of London Unlimited, Inc.                 609 Davis Blvd.                                         Sikeston                    MO   63801
29785144 SafeSourcing Inc.                                28150 North Alma School Parkway, Suite 103/283          Scottsdale                  AZ   85262
29783723 SAGE Engineering Services Ltd.                   1200 SPEERS ROAD                                        OAKVILLE                    ON   L6L2X4         Canada
29783724 Sahah Naturals Inc.                              2244 46th Avenue                                        Lachine                     QC   H8T 2P3        Canada
29791037 Sahale Snacks, Inc.                              3411 S. 120 Place, STE 100                              Seattle                     WA   98168
29785150 Sambazon, Inc.                                   1160 Calle Cordillera                                   San Clemente                CA   92673
29623268 Samson Development Company, L.P.                 636 Old York Road, 2nd Floor                            Jenkintown                  PA   19046
29777833 Samson Distributing, Inc.                        2309 A Street                                           Santa Maria                 CA   93455
29777835 Sancilio & Company, Inc.                         3874 Fiscal Ct., Suite 200                              Riviera Beach               FL   33404
29649101 Sang Rim Hwang & Chang Sook Hwang                1212 V St NW                                            Auburn                      WA   98001
29777838 Santa Barbara Essential Foods LLC                233 E. Gutierrez Street                                 Santa Barbara               CA   93101
29649102 Santa Rita GRF2, LLC                             973 Lomas Santa Fe Drive                                Solana Beach                CA   92075
29649103 Santikos Legacy, LLC                             4630 North Loop 1604 W., Suite 501                      San Antonio                 TX   78249
29777842 Sanz Branz, LLC                                  83 Dumbarton Dr.                                        Delmar                      NY   12054
29649104 Sauer Properties Inc.                            2000 West Broad Street                                  Richmond                    VA   23220

29649105 Saugus Hillside Realty                           c/o The Gutierrez Company, 200 Summit Drive, Suite 400 Burlington                   MA   01803
29785152 Savesta LifeSciences Inc.                        9582 Topanga Canyon Blvd                               Chatsworth                   CA   91311



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29649106 Sayville Plaza Development LLC                      500 Old Country Road, Suite 200                               Garden City                NY    11530
29785158 Scales Industrial Technologies, Inc.                185 Lackawanna Avenue                                         West Paterson              NJ    07424-
29649107 SCC Nassau Park Pavilion NJ LLC                     3300 Enterprise Parkway                                       Beachwood                  OH    44122
29791042 Schaefer Systems International, Inc.                10125 Westlake Dr., PO Box 7009                               Charlotte                  NC    28273
29785161 Schmidt's Deodorant                                 5527 SE 71ST Ave                                              Portland                   OR    97206
29785163 Schreiber Translations, Inc.                        51 Monroe Street, Suite 101                                   Rockville                  MD 20850
29777846 Schwabe                                             825 Challenger Drive                                          Green Bay                  WI    54311
29777846 Schwabe North America                               825 Challenger Drive                                          Green Bay                  WI    54311
29777847 Schwabe North America, Inc.                         9672 Sweetleaf St                                             Orlando                    FL    32827-6804
29777849 Scitec USA Inc.                                     17470 N. Pacesetter Way                                       Scottsdale                 AZ    85255
29777850 Scivation, Inc.                                     1448 Industry Drive                                           Burlington                 NC    27215
29777851 Scotlynn                                            15671 San Carlos Blvd                                         Fort Myers                 FL    33908
29777852 Scott Budd and Associates                           PO BOX 460664                                                 CENTENNIAL                 CO    80015
29645304 Scott Devlin                                        Address On File
29791043 ScoutRFP, Inc.                                      318 Brannan Street, 1st Floor                                 San Francisco              CA   94107
29649108 SDBUCKS, LLC                                        1901 Avenue of the Stars, Suite 630                           Easley                     SC   29640
29785166 SDC Nutrition Inc.                                  170 Industry Drive                                            Pittsburgh                 PA   15275
29649109 Sea Island-Staples LTD                              900 Isom Road, Suite 200                                      San Antonio                TX   78216
29649110 Seafield Capital Partners II, LLC                   1345 Ranch Road                                               Encinitas                  CA   92024
         Secure Talent, Inc. dba Eastridge Workforce
29785171 Management                                          PO Box 512220                                                 Los Angeles                CA   90051-0220
29785173 Securitas Security Services USA, Inc.               20465 State Highway 249 Suite 400                             Houston                    TX   77070
29649111 SED Development LLC                                 Eagle Ranch Center, 500 4th Street NW, Suite 200              Albuquerque                NM   87102
29785176 See.Spark.Go                                        815 N. CRAIG PL                                               Addison                    IL   60101
                                                             c/o Selig Enterprises Inc., 1100 Spring Street N.W., Suite
29623269 SEI Buckhead Square One, LLC                        550                                                           Atlanta                    GA   30309
29777857 SEI, Inc.                                           6499 S. Kings Ranch Rd. #6-80                                 Gold Canyon                AZ   85118
29777858 Seitenbacher America, LLC                           11505 Perpetual Drive                                         Odessa                     FL   33556
29791047 Select Staffing                                     999 NORTH PLAZA DRIVE, SUITE200                               Schaumburg                 IL   60173
29627693 Sencha Naturals                                     1101 Monterey Pass Rd                                         Monterey Park              CA   91754
29777862 Sensible Organics Inc.                              3740 W. 4th Avenue                                            Beaver Falls               PA   15010
29783725 Sequel Naturals Inc.                                33-1833 Coast Meridian Road                                   Port Coquitlam             BC   V3C6G5         Canada
29777864 Set and Service Resources, LLC                      2101 91st Street                                              North Bergen               NJ   07047-
29623270 Setter Partners, LLC                                244 W 39th St., 4th Fl.                                       New York City              NY   10018
29785177 Seven Oaks Ranch Inc                                2568 Channel Drive                                            VENTURA                    CA   93003
29623271 SGH & Associates                                    4267 Marina City Drive, #100 W                                Marina del Rey             CA   90292
29785182 SHANGHAI TONGHAO INDUSTRY LTD                       PO BOX 935723                                                 Atlanta                    GA   31193-5723
                                                             Shop #12, Mezzanine Floor, Sabkha Street, Al Owais
29791050 Shark Food Supplements Trading LLC                  Tower                                                         Deira, Dubai                    28394          United Arab Emirates
29791051 Shaw Industries, Inc.                               MAIL DROP - 999, PO BOX 630862                                CINCINNATI                 OH   45263-0862
29604435 Shea Terra Organics                                 101 E Executive Drive                                         Sterling                   VA   20166



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 ADRID                             NAME                                              ADDRESS                                              CITY        STATE POSTAL CODE   COUNTRY
29785188 Sheer Strength Labs, LLC                           7509 Manchaca St, Suite 201                                 Austin                        TX    78754
29777867 SheerID, Inc.                                      2451 Willamette Street                                      Eugene                        OR    97405
29623272 Shelby Boulevard Fiftynine LLC                     300 Park Street, Suite 410                                  Birmingham                    MI    48009
29623273 Shelbyville Road Plaza LLC                         c/o Hagan Properties Inc., 12911 Reamers Road               Louisville                    KY    40245
29623274 Sher Lane LLC                                      4957 Lakemont Blvd. SE, #C4-11                              Bellevue                      WA 98006
29777871 Sheraton Lincoln Harbor Hotel                      ATT WENDY GONZALEZ, 500 HARBOR BLVD                         WEEHAWKEN                     NJ    07086-
29777874 SHI                                                PO Box 952121                                               Dallas                        TX    75395
29629802 SHI International Corp                             PO Box 952121                                               Dallas                        TX    75395
29629802 SHI International Corp.                            290 Davidson Avenue                                         Somerset                      NJ    08873-
29777877 SHIBARI WANDS                                      28348 Constellation Road, #850                              Valencia                      CA    91355
29777878 Shikai Products                                    PO BOX 2866                                                 SANTA ROSA                    CA    95405
29785190 Shine Engineering, P.A.                            6 Renshaw Drive                                             Montville                     NJ    07045-
29623275 Shirazee, LLC Parviz and Maudie Samiee, Trustees   2418 13th Street SE                                         Salem                         OR    97302
29785194 Shire City Herbals Inc.                            15 Commercial Street                                        Pittsfield                    MA    01201-
29785195 ShopperTrak RCT Corporation                        233 South Wacker, Suite 4100                                Chicago                       IL    60606
29623276 Shoppes at Tower Place LLC                         2530 Scottsville Rd., Suite 21                              Bowling Green                 KY    42104
29623277 Shops at St. Johns LLC                             225 W. Washington Street                                    Indianapolis                  IN    46204
29623278 Shore Creek, LLC                                   21650 Burbank Blvd # 110                                    Los Angeles                   CA    91367
29777881 Shoreline Fruit LLC                                10850 E Traverse Hwy.                                       Traverse City                 MI    49685
29777882 Shoutlet, Inc.                                     One Erdman Place, Suite 102                                 Madison                       WI    53717
29777883 Shred-it USA ELC                                   5780 S. 40th Street, Suite 1                                Phoenix                       AZ    85040
29777884 Shred-it USA LLC                                   5780 S. 40th Street, Suite 1                                Phoenix                       AZ    85040
29777887 SI03, Inc.                                         P.O. Box 1715                                               Cape Girardeau                MO 63702
29649112 Siblings Enterprises Ltd.                          49 Ocean Drive                                              Jupiter                       FL    33469
29777889 Sibu, LLC                                          1098 S Union Avenue                                         Midvale                       UT    84047
29785201 Siddha Flower Essences, LLC                        21225 Pacific Coast Hwy, Suite B                            Malibu                        CA    90265
30227697 Sidecar Interactive, Inc.                          114 South 13th Street, 3rd Floor                            Philadelphia                  PA    19107

29649113 Siegen Lane Properties LLC                         c/o Olshan Properties, 600 Madison Avenue, 14th Floor       New York City                 NY   10022
                                                            c/o Laurich Properties Inc., 10655 Park Run Drive, SU
         Siena II Holdings LP                                                                                           Las Vegas                     NV   89144
29606249                                                    160
29785206 Sierra Sage Herbs                                  PO BOX 435                                                  Lyons                         CO   80540
29785207 Sierra Sage Herbs LLC                              PO Box 439                                                  LYONS                         CO   80540
29785209 Silicon Valley Pricing, LLC                        119 El Altillo                                              Los Gatos                     CA   95032
29649115 Silverman Properties LP                            PO Box 50378                                                Nashville                     TN   37205
29785213 Similasan Corp.                                    1745 Shea Center Dr. Suite 380                              Highlands Ranch               CO   80129
29777891 Simple Mills Inc                                   444 N Wells St            , 203                             CHICAGO                       IL   60654
29777892 Simply 7 Snacks                                    11300 S. Sam Houston Pkwy W.                                HOUSTON                       TX   77031
29777893 Simply Gum                                         270 Lafayette Suite 1301                                    New York                      NY   10012
29791059 Simply Solutions LLC                               2949 Venture Drive            , Suite 170                   Janesville                    WI   53546
29777895 Since Cite LLC                                     2101 hongleaf To                                            BLAC                          NJ   35243



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29777896 Sinclair Broadcast Group, Inc.               10706 Beaver Dam Road                                       Cockeysville               MD 21030
29777897 Sinclair Institute                           402 Millstone Drive                                         HILLSBOROUGH               NC    27278
29777899 Single Touch Interactive, Inc.               1200 Wright Ave                                             Richmond                   CA    94804
29777900 Sinister Labs LLC                            275 Commerce St, Suite 100                                  Southlake                  TX    76092
29649116 SIPOC Associates TIC                         7978 Cooper Creek Boulevard, Suite # 100                    Bradenton                  FL    34201
29785215 Sipp Eco Beverage Company                    PO Box 159                                                  Uwchland                   PA    19480
29604485 Six Foods LLC                                1885 Mission Street                                         SAN FRANCISCO              CA    94103
29785221 Skinnygirl Nutritional Concepts LLC          221 South Cherokee St.                                      Denver                     CO    80223
29785223 Skoop, LLC                                   2438 30th Street                                            Boulder                    CO    80301
29649117 SKY BOYNTON HOLDINGS LLC                     763 Raleigh Street                                          Woodmere                   NY    11598
29777902 Slickdeals, LLC                              6010 S. Durango Dr., Suite 200                              Las Vegas                  NV    89113
29777904 SLIQUID, LLC                                 2544 IRVING BLVD.                                           DALLAS                     TX    75207
29649118 SLJ Realty LLC                               1385 Broadway, Suite 1407                                   New York City              NY    10018
29777908 Small World Trading Co.                      15 A Koch Road                                              Corte Madera               CA    94925
29649119 Smart Growth-Spartanburg, LLC                c/o Rimrock Companies, 343 NW Cole Terrace, Ste 201         Lake City                  FL    32055
29777910 Smart Wear Group LLC                         1705 Singleton Ave                                          Austin                     TX    78702
29777911 SmartBargains, Inc.                          20 Channel Center - 3rd Floor                               Boston                     MA    02210-
29785227 Smartgroup M. Nilsson AB                     Skrapan 1890                                                Vasteras                         72210       Sweden
29627757 SmartyPants, Inc.                            827 Marco Place                                             Venice                     CA    90291
29785229 Smash My Trash                               925 W. 127th Ste 100                                        Avondale                   AZ    85323
29785230 SmashMallow, LLC                             153 W Napa Street                                           Sonoma                     CA    95476
29791062 Smith Arnold Partners                        3 LANDMARK SQUARE, SUITE 520                                Stamford                   CT    06901-
29791063 Smitty Bee Honey                             208 Main Ave, PO219                                         Defiance                   IA    51527
29791063 Smitty Bee Honey                             208 Main St.                                                Defiance                   IA    51527
29785235 SNAC System, Inc.                            1551 INDUSTRIAL RD.                                         SAN CARLOS                 CA    94070
29785236 Sneakers Plus                                318 HIGHWAY 202 NORTH                                       Flemington                 NJ    08822-
29785237 SNI LLC                                      220 Smith St.                                               FARMINGDALE                NY    11735
29650103 Snowflake Inc.                               450 Concar Drive                                            San Mateo                  CA    94402
29785239 SO Ten. LLC                                  5129 SUNSET RIDGE LN                                        LIBERTY TWP                OH    45011
29777912 SoapBox Soaps                                226 N Adams Street, Floor 2                                 Rockville                  MD 20850
29606264 Social Edge Consulting, LLC                  300 Harmon Meadow Blvd                                      Secaucus                   NJ    07094-
29606264 Social Edge Consulting, LLC                  7 Stark Drive                                               Robbinsville               NJ    08691-
29777918 SOFAR Americas, Inc.                         141 H Street, STE A                                         Petaluma                   CA    94952
29649120 Somerset Shoppes Fla LLC                     8903 Glades Road, Unit A-14                                 Boca Raton                 FL    33434
29777921 Somersets USA, LLC                           65 Pleasant Street                                          Cohasset                   MA    02025-
29777922 SORA Laboratories, LLC                       15366 U.S. Highway 160                                      Forsyth                    MO 65653
29777923 SOTRu.LLC                                    697 N. Denver Ave                                           Loveland                   CO    80537
29649121 South Merrick Road Corp.                     12-A Filmore Place                                          Freeport                   NY    11520
29785241 South Pacific Elixirs, LLC.                  7559 Woodshire Cove                                         Scottsdale                 AZ    85258
                                                      c/o Namdar Realty Group, 150 Great Neck Road, Suite
29649122 South Park Mall Realty LLC                   304                                                         New York City              NY   11021



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                                                             c/o National Realty & Development Corp., 225 Liberty
29623279 South Plainfield Properties, L.P.                   Street, 31st Floor                                          New York City              NY   10281
29623280 South Shore Mall Realty LLC                         150 Great Neck Road, Suite 304                              New York City              NY   10021
29623281 Southpark Retail LLC                                c/o Carnegie Companies, 6190 Cochran Rd, Suite A            Solon                      OH   44139
29785249 Southport Services Group, LLC                       20098 ASHBROOK PLACE, SUITE 220                             Ashburn                    VA   20147
                                                             c/o Baker and Lassiter, 3350 Riverwood Parkway, Suite
30202825 SP EAST, LLLP                                       1800                                                        Atlanta                    GA   30339
29630289 Spacee, Inc.                                        3752 ARAPAHO RD                                             Addison                    TX   75001
29777925 Spark:red, Inc.                                     11241 Willows Rd. N.E., Suite 220                           Redmond                    WA   98052
29777926 Sparklehearts LLC                                   16364 UNDERHILL LANE                                        HUNTINGTON BEACH           CA   92647
29623282 Sparrow Ridge Properties, LLC                       1835 Knapp Drive                                            Crest Hill                 IL   60403
29777928 Sparta Nutrition LLC                                25 Pier Ln W                                                FAIRFIELD                  NJ   07004-
29777929 Spartan Brands, Inc.                                451 Park Avenue South Fifth Floor                           New York                   NY   10016
29777932 Spencer Stuart                                      353 N. CLARK, SUITE 2400                                    Chicago                    IL   60654
         Spencer Technologies, Inc. d/b/a Certified Retail
29777933 Solutions                                           One Quality Way                                       Dover                            NH   03820-
29777934 SPI West Port, Inc                                  377 Swift Ave                                         South San Francisco              CA   94080
29785252 Spiceologist, Inc.                                  125 S. Cowley St.                                     Spokane                          WA   99202
29783726 SpiderTech Inc.                                     115 Riesston Road                                     Toronto                          ON   M1F 4W9        Canada
29791071 SPINS LLC                                           222 W HUBBARD STREET, SUITE 300                       Chicago                          IL   60654
29785255 Sport Specifics, Inc.                               168 Solon Road                                        Chagrin Falls                    OH   44022
29785257 Sports Nutrition International                      10100 NW 116th Way Suite #10                          Medley                           FL   33178
29785257 Sports Nutrition International                      1401 BUCHANAN RD                                      Evansville                       IN   47720
29792737 Sports Research Corporation                         784 W. Channel St.                                    SAN PEDRO                        CA   90731
29785259 Spray Innovations, LLC                              39 Long View Road                                     Trabuco Canyon                   CA   92679
29623283 Spring Mall Square LLC                              c/o Fried Companies Inc., 5924 Fried Farm Road        Crozet                           VA   22932
29623284 Spring Ridge LP                                     217 W. Springville Road                               Boiling Springs                  PA   17007
                                                             c/o Thompson Thrift Development Inc., 901 Wabash Ave.
29623285 Springdale Pointe LLC                               Suite 300                                             Terre Haute                      IN   47807
29623286 Springinvest LLC                                    c/o Eurinvest, 407 Lincoln Road, Suite 8              Miami Beach                      FL   33139
29785264 Sprocket Staffing Services                          35 Colby Avenue                                       Manasquan                        NJ   08736-
29777935 Sprout a Revolution, Inc.                           386 Troutman Street, 2R                               Brooklyn                         NY   11237
29777936 Sprout Social, Inc.                                 131 S. Dearborn Street, Suite 700                     Chicago                          IL   60603
29625598 SPS Commerce                                        500 Harmon Meadow Blvd                                Secaucus                         NJ   07094-
29629843 SPS Commerce, Inc.                                  500 Harmon Meadow Blvd                                Secaucus                         NJ   07094-
29777941 Squarebar                                           2420 Central Avenue, #3                               Alameda                          CA   94501
29777942 Squatty Potty, LLC                                  1664 S. Dixie Drive, Ste F102                         Saint George                     UT   84770
29623287 SRK Lady Lake 21 SPE, LLC                           4053 Maple Road, Suite 200                            Buffalo                          NY   14226
29623288 SSK Investments, Inc.                               1600 Executive Parkway, Suite 110                     Eugene                           OR   97401




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         SSS Eldridge Marketplace, LLC, SSS Eldridge Town Center
         LLC, SSS Eldridge Square Investors LLC, SKJ Eldridge
29649123 Square LLC, Peach Eldridge LLC                          c/o Wu Properties Inc., 3657 Briarpark Drive, Suite 188       Houston                    TX   77042
29785270 St. Louis Cardinals, LLC                                1 Timber Valley Cove                                          Little Rock                AR   72204
29785271 ST. TROPICA Inc.                                        5348 Vegas Drive Suite 1487                                   Las Vegas                  NV   89108
29649124 Stafford Park Commercial IILLC                          500 Barnegat Boulevard North, Building 100                    Barnegat Township          NJ   08005
29649125 STAG Industrial Holdings, LLC                           c/o STAG Avondale, One Federal Street, 23rd floor             Boston                     MA   02110
29649127 Stanley J. Kozicki dba SK Holdings - Wilmington, L.L.C. 31104 Mills Chase Drive                                       Lewes                      DE   19958
29777946 Star Industries, LLC d/b/a STAR Building Services       167 Avenue at the Common                                      Shrewsbury                 NJ   07702-
29777947 Star Nutrition Inc dba Incrediwear                      3120 Thorntree drive                                          Chico                      CA   95973
29777948 StarChem Labs                                           2035 New Highway                                              Farmingdale                NY   11735
29777949 Starco Impex, Inc.                                      2710 S. 11th Street                                           Beaumont                   TX   77701
29649128 Starjack Investments L.L.C.                             1349 S. Rochester Road, Suite 210                             Rochester                  MI   48307

29649129 Staten Island Richmond Avenue, LLC                       Attn: Legal Department, 7248 Morgan Road, PO Box 220 Liverpool                          NY   13088
29791079 Stavitsky & Associates LLC                               350 PASSAIC AVENUE                                   Fairfield                          NJ   07004-
29777954 SteadFast Digital LLC                                    48 MOLLY PITCHER DRIVE                               MANALAPAN                          NJ   07726-
29777956 Stearns Product Inc. dba Derma E                         2130 Ward Ave                                        Simi Valley                        CA   93065
29785277 Stepan Specialty Products LLC                            100 West Hunter Avenue                               Maywood                            NJ   07607-
29785278 Stephanie Valente                                        Address On File
29785279 Sterling Infosystems, Inc.                               NEWARK POST OFFICE, PO BOX 35626                     Newark                             NJ   07193-5626
29785280 Sterling Technology                                      NEWARK POST OFFICE, PO BOX 35626                     Newark                             NJ   07193-5626
29785281 Steven Di Salvatore                                      Address On File
29649130 Stevenson Investors, LLC                                 2187 Newcastle Ave, Suite 202                        Cardiff-by-the-Sea                 CA   92007
29606319 STIBO Systems                                            3200 WINDY HILL RD SE SUITE 1200W                    Atlanta                            GA   30339
29791085 STICKY BE APPARELS                                       1112 Montana Ave            , 371                    Santa Monica                       CA   90403
29649131 Stony Brook Realty, LLC                                  3201 N Federal Highway, # 301                        Fort Lauderdale                    FL   33306
29785289 Stored Value Solutions, a division of Comdata Inc.       101 Bullitt Lane, Suite 305                          Louisville                         KY   40222
         Strategic Cost Control, Inc., d/b/a Corporate Cost
29777958 Control, an Experian company                             475 Anton Boulevard                                          Costa Mesa                 CA   92626
29777963 Strategic Products Group, Inc.                           450 Van Pelt Lane                                            Pensacola                  FL   32505
29777964 StrategIQ Commerce LLC                                   217 N JEFFERSON STREET, 3RD FLOOR                            Chicago                    IL   60661
29777965 Stretch Wrap Systems Inc.                                65 ABERDEEN ROAD                                             York                       PA   17406
29777966 Structural Plastics Corporation                          3401 Chief Dr                                                Holly                      MI   48442
29777967 Suddath Relocation Systems of New York, Inc.             20 Hanes Drive                                               Wayne                      NJ   07470-
29783753 Sudic AS Tassone Enterprises                             Runebergsgatan 8                                             Stockholm                       11345          Sweden
29783755 Sudio AB                                                 Runebergsgatan 6                                             Stockholm                       11345          Sweden
29783756 Sudio AB Tassone Enterprises                             Runebergsgatan 6, 1250 Arroyo Way #320                       Stockholm                       11345          Sweden
29785291 Suki Inc.                                                99 Industrial Dr.                                            Northampton                MA   01060-
29791089 Suluta Corp                                              56 E PINE STREET, SUITE 301                                  Orlando                    FL   32801
29785293 Suluta Corp DBA AffiliateManager.com                     1126 Wilde Drive                                             Celebration                FL   34747



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29785293 Suluta Corp DBA AffiliateManager.com               2101 91st Street                                            North Bergen               NJ    07047-
29791090 Sun Brothers dba Sunwarrior                        2250 N. Coral Canyon Blvd, Ste. 100                         Washington                 UT    84780
29785295 Sun Brothers, LLC                                  2250 N. Coral Canyon Blvd, Ste. 100                         Washington                 UT    84780
29785296 Sun Chlorella USA                                  3305 Kashiwa Street                                         Torrance                   CA    90505
                                                            C/O COLLIERS INTERNATIONAL, 2550 WEST TYVOLA
29785297 Sun Life Assurance Company of Canada               ROAD, SUITE 300                                             Charlotte                  NC   28277
29785301 Sundesa, LLC                                       284 South 700 West                                          Pleasant Grove             UT   84062
29649133 SunflowerMetro, LLC                                3191-D Airport Loop Dr.                                     Costa Mesa                 CA   92626
29777969 Sunfood Corporation                                1830 GILLESPIE WAY             , 101                        EL CAJON                   CA   92020
29777970 Sunfoods Superfoods                                1830 Gillespie Way, Suite 101                               El Cajon                   CA   92020
                                                            c/o Gatski Commercial Real Estate Services, 4755 Dean
30202849 Sunset Plaza, LLC & Sunset Collection, LLC         Martin Drive                                                Las Vegas                  NV   89103
29777974 Sunshine State Trading Company, Inc.               6643 NE 25 AVE                                              Portland                   OR   97211
29777975 Sunsweet Growers                                   901 North Walton Avenue                                     YUBA CITY                  CA   95993
29901589 Sunwarrior Ventures LLC                            2250 N. Coral Canyon Blvd, Ste. 100                         Washington                 UT   84780
29777977 Super Nutrition                                    1925 Brush St.                                              Oakland                    CA   94612
29791093 Superior Building Group                            2350 SOUTH 7TH STREET, SUITE 200                            Saint Louis                MO   63104
29785303 Supplement Safety Solutions, LLC                   5312 Thompson Farm                                          Bedford                    MA   01730-
29785305 SupplyOne                                          90 Packaging Drive, P.O. Box 126                            Weyers Cave                VA   24486
29791094 SupplyOne Weyers Cave, Inc.                        90 Packaging Drive, PO Box 126                              Weyers Cave                VA   24486
29785308 SureSource LLC                                     20 Constitution Blvd South                                  Shelton                    CT   06484-
29623290 Surprise TC II Holdings LLC                        2415 E. Camelback Road, Suite 100                           Phoenix                    AZ   85016
29785312 Surya Nature                                       1327 Second Avenue                                          New Hyde Park              NY   11040
29785313 Sutherland Products, Inc.                          203 N 1st Ave.                                              Mayodan                    NC   27027
29785314 Suuna Life Inc DBA Extreme Health USA              1249 Boulevard Way                                          Walnut Creek               CA   94595
29623291 SVAP II Park North, LLC                            302 Datura Street, Suite 100                                West Palm Beach            FL   33401
                                                            c/o American Realty Advisors LLC, 515 South Flower
29623292 SVF Riva Annapolis, LLC                            Street                                                      Los Angeles                CA   90071
29791097 Swan De La Rosa                                    Address On File
29623293 Swanblossom Investment Limited Partnership         1335 Canton Road Suite D                                    Marietta                   GA   30066
29777984 Sweet Harvest Foods Company                        15100 Business Parkway                                      Rosemount                  MN   55068
29777986 Sweet Tree Holdings 1, LLC                         One Sweet Tree Lane                                         Island Pond                VT   05846-
29791098 sweetriot                                          131 Varick St.            , 930                             NEW YORK                   NY   10013
29777989 Swift Transportation Services, LLC                 2200 South 75th Avenue                                      Phoenix                    AZ   85043
29785660 SWISSE WELLNESS INC                                1735 W Diveresy Pkwy                                        CHICAGO                    IL   60622
29785661 Switchbacks Entertainment                          11 W. Cimarron St.                                          Colorado Springs           CO   80900
29785662 SWNS Media Group                                   1111 Sixth Ave #300                                         San Diego                  CA   92101
29785663 Swoffle, LLC                                       252 Shadyside Ave                                           Concord                    MA   01742-
29785664 Swole Sports Nutrition, LLC                        4100 N Powerline RD Suite Z-3                               Pompano Beach              FL   33073
29623294 SY WALDORF INVESTMENTS LC                          1115 Broadway, 12th Floor                                   New York City              NY   10010
29627826 Sylvan Bio, Inc.                                   90 Glade Drive                                              Kittanning                 PA   16201



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29785668 Symantec                                         1621 N Kent St, #706                                    Arlington                   VA    22209
29623295 T Palmdale Mkt CA, LLC                           c/o AZT Corporation, 16600 Dallas Parkway, Suite 300    Dallas                      TX    75248
29777993 T.E. Neesby, Inc.                                9909 N. Meridian Ave.                                   Fresno                      CA    93720
29777994 T2M Consulting Services, Inc                     399 Campus Drive, Suite 150                             Somerset                    NJ    08873-
29623297 Tabib Kashi Partnership                          574 West Lancaster Avenue                               Bryn Mawr                   PA    19010
29627646 Tahiti Naturel USA                               24 Commerce Rd               , UNIT 24F                 FAIRFIELD                   NJ    07004-
29777998 TAISTech Corporation                             14841 Dallas Parkway, Suite 494                         Dallas                      TX    75254
29791104 TAISTech LLC                                     15601 DALLAS PKWY, SUITE 250                            Addison                     TX    75001
29778000 Taiyo International, Inc.                        5960 Golden Hills Drive                                 Minneapolis                 MN 55416
29785315 Takeya USA Corporation                           5301 GRANT AVENUE                , SUITE 400            CLEVELAND                   OH    44125
29785317 Talaria Digital                                  12400 ALCANZA DR                                        Austin                      TX    78739
                                                          C/O PARAGON MGMT GRP LLC
                                                          276 POST ROAD WEST
29785318 Talent Hub 360 LLC                               SUITE 201                                               Westport                    CT   06880-
29785320 Talon Professional Services                      PO BOX 6030                                             Carol Stream                IL   60197
29791106 Tango Analytics, LLC                             6225 N State Hwy. 161, Suite 300                        Irving                      TX   75038
29785322 TapFwd, Inc.                                     PO BOX 909                                              Cherryville                 NC   28021
                                                          c/o Jeffrey Taratoot, 2472 Jett Ferry Road, Suite 400 -
29623298 Tara Acworth Holdings, LLC                       133                                                     Atlanta                     GA   30338
29785326 Tax Compliance, Inc.                             300 Harmon Meadow Blvd.                                 Secaucus                    NJ   07094-
29785326 Tax Compliance, Inc.                             502 CHURCHMANS ROAD                                     New Castle                  DE   19720
29791108 Tax Matrix Technologies, LLC                     1011 Mumma Road, Suite 101                              Wormleysburg                PA   17043
29791109 TaxStream, LLC                                   95 River Street, Suite 5C                               Hoboken                     NJ   07030-
29778002 Taylor C. Wallace of Think Healthy Group         Address On File
29778006 TBK Bank, SSB d/b/a TriumphPay                   12700 Park Central Drive, Suite 1700                    Dallas                      TX   75251
                                                          c/o Newport Capital Partners, 353 North Clark Street,
29649134 TCB-Elston, LC                                   Suite 3625                                              Chicago                     IL   60654
29778009 Tea Forte, Inc.                                  23 Bradford Street                                      Concord                     MA   01742-
29778010 TEA TREE THERAPY, INC                            6019 OLIVAS PARK DR, # E                                VENTURA                     CA   93003
29785328 Teikametrics, LLC                                280 Summer St, 9th Floor                                Boston                      MA   02210-
                                                          Attn: Thomas Abernathy, 2055 North Brown Road, Suite
30202867 Telvita, LLC                                     225                                                     Lawrenceville               GA   30043
                                                          2701 DALLAS PARKWAY
29791112 Temberton Analytics, Inc.                        SUITE 550                                               Plano                       TX   75093
29649135 TEMK Investments- Visalia 1 LLC                  1265 Martin Ave.                                        San Jose                    CA   95126
30202869 TEN THOUSAND OLDE U.S. 20, LLC,                  1428 Albon Rd                                           Holland                     OH   43528
29785337 TENGA USA, Inc.                                  2807 Oregon Court Unit D-6                              Torrance                    CA   90503
29645384 Teresa Orth                                      Address On File
29785339 Terra Kai Organics                               3312 157th PL SE                                        BOTHELL                     WA   98012
29778012 Terravate Beauty                                 2361 Rosecrans Ave, Suite 150                           El Segundo                  CA   90245
29778015 The American National Red Cross                  431 18TH Street NW                                      Washington                  DC   20006



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29649136 The Atlantic Building LLC                        2320 N. Atlantic, Suite 100                                 Spokane                     WA 99205
29778017 The Birds Nest Corp                              9855 Business Way                                           Manassas                    VA    20110
29778019 The Bramton Company, LLC                         P. O. Box 655450                                            Dallas                      TX    75265-5450
29778020 The Carlson Group, Inc.                          350 E 22nd Street                                           Lombard                     IL    60148
29778021 The Chill Group, Inc.                            11825 Major Street Suite 106                                Culver City                 CA    90230
29627835 The Clorox Sales Company                         1221 Broadway                                               OAKLAND                     CA    94612
29606359 The Color Run, LLC                               1957 South 4800 West                                        Salt Lake City              UT    84104
29649137 The Commons at Willowbroook Inc.                 5910 N. Central Expressway, Suite 1200                      Dallas                      TX    75206
29785343 The Cookie Department, Inc.                      710 Channing Way                                            Berkeley                    CA    94710
29649138 The Crossings at Hobart I LLC                    c/o Schottenstein Property Group, 1798 Frebis Avenue        Columbus                    OH    43206
29785345 The Curiosity Compass                            PO Box 630491                                               CINCINNATI                  OH    45263-0491
29785346 The Die Shop                                     7302 ADAMS STREET                                           Paramount                   CA    90723
29785347 The Educe Group, Inc.                            7201 Wisconsin Avenue, Suite 630                            Bethesda                    MD 20814
29785348 The Execu|Search Group, LLC                      114 NORTH BROAD STREET                                      Salem                       VA    24153
29649139 The Fountains at Farah, LP                       8235 Douglas Ave., Suite 900                                El Paso                     TX    79901
29785351 The Gap-US, LLC                                  411 Theodore Fremd Avenue, Suite 230                        Rye                         NY    10580
29783730 The Good Fats Co. LTD                            8 Market Street, Suite 600                                  Toronto                     ON    M5E 1M6     Canada
                                                          6155 Huntley Rd
29791116 The Goodkind Group, LLC                          Suite F                                                     Columbus                    OH   43229
29778024 The Hain Celestial Group                         58 South Service Road, Suite 250                            Melville                    NY   11747
29778025 The Herbalist Inc.                               2106 NE 65th ST                                             Seattle                     WA   98115
29778026 The Hershey Co.                                  117 West Napa St. Site                                      Sonoma                      CA   95476
29778029 The Himalaya Drug Company                        1101 Gillingham Ln.                                         Sugar Land                  TX   77478
29778030 The Himalayan Drug Company                       1101 Gillingham Lane                                        Sugar Land                  TX   77478
29778031 The Honest Company                               2700 Pennsylvania Avenue, Suite 1200                        Santa Monica                CA   90404
29778032 The Hygenic Corporation                          1245 Home Ave                                               AKRON                       OH   44310
29778033 The Isopure Company LLC                          195 Engineers Road                                          Hauppauge                   NY   11788
29791117 The John Maxwell Company                         2170 Satellite Boulevard, Suite 195                         Duluth                      GA   30097
29785356 The Midas Exchange, Inc.                         825 Seventh Avenue                                          New York                    NY   10019
29785357 The Natural Citizen, LLC                         1108 Lavaca St, Suite 110-186                               Austin                      TX   78701
29785358 The New Primal, LLC                              100 Bucksley Lane, Unit 102                                 Daniel Island               SC   29492
29785359 The Nielsen Company (US), LLC                    85 Broad Street                                             New York                    NY   10004
29785360 The Non-GMO Project                              1155 N State Street, Suite 502                              Bellingham                  WA   98225
29785360 The Non-GMO Project                              PO Box 5606                                                 Bellingham                  WA   98227
29785362 The Numina Group                                 P.O. Box 490                                                Fayetteville                TN   37334
29785363 The Partnering Group                             8170 Corporate Park Drive, Suite 310                        Cincinnati                  OH   45242
29791120 The Partnering Group, Inc.                       8170 Corporate Park Drive, Suite 310                        Cincinnati                  OH   45242
29649140 The Philipose Group of Connecticut , LLC         1768 Chaladay Lane                                          East Meadow                 NY   11554
29649141 The Pines Center, LLC                            553 East Main Street                                        Bowling Green               KY   42101
29778034 The Procter & Gamble Distributing LLC            2 P&G Plaza                                                 Cincinnati                  OH   45202
29783731 The PUR Company                                  23 Kodiak Crescent                                          North York                  ON   M3J3E5      Canada
29649142 The Quarry Center, LP                            307 Fellowship Road, Suite 300                              Mount Laurel                NJ   08054


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29778036 The Real Good Foods Company, LLC                  6316 Tapanga Canyon Blvd           , 2140                    WOODLAND HILLS            CA    91367
29649143 The Rosemyr Corporation                           231 South Garnett Street                                     Henderson                 NC    27536
29649144 The Shoppes at North Brunswick, L.L.C.            c/o The Azarian Group L.L.C, 6 Prospect Street, Suite 2      Midland Park              NJ    07432
29649145 The Shoppes at Raceway, LLC                       ATTN PATTY SCOTT, PO Box 933                                 Evansville                IN    47706
29623299 The Shubert Organization, Inc.                    234 West 44th Street                                         New York City             NY    10036
29785367 The Tea Spot, Inc.                                4699 Nautilus Ct S., Ste. 403                                Boulder                   CO    80301
29785368 The Terracon Group                                5601 S.W. 8th Street                                         Miami                     FL    33134
29785370 The Ultimate Life                                 P.O. Box 4308                                                Santa Barbara             CA    93140
29785372 The Uplifters' Prima, PBC                         2633 Lincoln Blvd, #224                                      Santa Monica              CA    90048
29606699 The Weeks-Lerman Group, LLC                       300 Harmon Meadow Blvd                                       Secaucus                  NJ    07094-
29623300 The Whalen Corp.                                  1213 Keith Road                                              Wake Forest               NC    27587
29783732 The Winning Combination USA Inc.                  Unit #6 - 1099 Wilkes Ave.                                   Winnipeg                  MB    R3P 2S2     Canada
29785376 The Wiseman Group                                 2164 ASHTON AVE                                              Menlo Park                CA    94025
29785377 Theo Chocolate, Inc.                              3400 Phinney Avenue N                                        Seattle                   WA 98103
29778046 ThinkFun, Inc.                                    1321 Cameron Street                                          Alexandria                VA    22314
29778047 ThinkOperations, LLC                              3112 Windsor Rd A342                                         Austin                    TX    78703
29778048 thinkThin LLC                                     12211 W. Washington Blvd, Suite 120                          Los Angeles               CA    90066
29778049 Thirty Three Threads, Inc.                        1330 Park Center Drive                                       Vista                     CA    92081
29645268 Thomas Merrihew                                   Address On File
29778051 Thompson Brands LLC                               80 South Vine Street                                         Meriden                   CT   06451-
29791123 ThreeJerks LLC                                    300 Heron Drive                                              SWEDESBORO                NJ   08085-
29778053 Threshold Enterprises LTD                         P.O Box 775191                                               CHICAGO                   IL   60677-5191
29623301 Thrift-Cascade Investment LLC                     808 SW Alder Street, Suite 200                               Portland                  OR   97205
29778055 Thunderbird Energetica, LLC                       PO BOX 684581                                                Austin                    TX   78768
29785381 Tiesta Tea Company                                730 N.Fanklin Street          , 620                          CHICAGO                   IL   60654
29645293 Tim Metzgar                                       Address On File
29623302 Times Plaza Development L.P.                      562 State Street                                             Brooklyn                  NY   11217
29623303 Timlin Properties, LLC                            6632 Telegraph Road, Suite 320                               Bloomfield Hills          MI   48301
29791127 Timmons Group                                     1001 Boulders Parkway, Suite 300                             Richmond                  VA   23225
29623304 TKG Paxton Towne Center Development, L.P.         215 N. Stadium Boulevard, Suite 201                          Columbia                  MO   65203
29785390 TMK II Limited Partnership                        2711 Lemon Tree Lane                                         Charlotte                 NC   28211
29623306 TMO Lincolnwood AM, LLC                           C/o Prodigy Real Estate Group, 223 W. Jackson Blvd.          Chicago                   IL   60606
29603082 T-Mobile USA, Inc.                                12920 SE 38th Street                                         Bellevue                  WA   98006
29778057 To Go Brands                                      65 East Ave 3rd floor                                        Norwalk                   CT   92121
29791129 To-Go Ware                                        743 Addison Street, Suite A                                  Berkeley                  CA   94710
29623307 Toma Investments, LLC                             11801 Larkins                                                Brighton                  MI   48114
29778062 Tomar Industries, Inc.                            300 Commerce Dr.                                             Freehold                  NJ   07728-
29778063 Tommie Copper, Inc.                               74 South Moger Avenue                                        Mount Kisco               NY   10549
29778064 Tom's Of Maine                                    302 Lafayette Center                                         Kennebunk                 ME   04043-
29778065 Tone it Up, Inc.                                  1110 Manhattan Avenue                                        Manhattan Beach           CA   90266
29778066 Top Secret Nutrition, LLC                         11341 Interchange Circle S.                                  Miramar                   FL   33025
29785392 Topical BioMedics, Inc.                           PO Box 494                                                   Rhinebeck                 NY   12572


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29791333 Trace Minerals Opco LLC                                1996 W. 3300 S                                               Ogden                      UT    84401
29785396 Trader Joe's Company                                   PO Box 71770                                                 Chicago                    IL    60694-1770
29785398 Training Mask LLC                                      1140 Plett Rd                                                CADILLAC                   MI    49601
29791130 Trane U.S. Inc.                                        19 Chapin Rd, Building B Suite 200                           Pine Brook                 NJ    07058-

30181887 Trans American Information Systems Inc. d/b/a Mastek   15601 Dallas Pkwy, Suite 250                                 Addison                    TX   75254
29791131 Tranxition Corporation                                 516 SE Morrison St, Suite 242                                Portland                   OR   97214
29778067 Trilliant Food & Nutrition, LLC                        1101 Moasis Drive                                            Little Chute               WI   54140
29778068 Trimr LLC                                              230 South 500 West, Suite 245                                Salt Lake City             UT   84101
29623308 Trindle Run LLC                                        Bennett Williams Realty Inc., 3528 Concord Road              York                       PA   17402
29623309 Trinity Properties, LLC                                PO Box 445                                                   Raymond                    ME   04071
29791133 Triple Leaf Tea, Inc.                                  1564 Rollins Road, Suite 1                                   Burlingame                 CA   94010
29649146 TRM Venture Real Estate, LLC                           2409 West 104th Street                                       Chicago                    IL   60655
29627828 TRP Company, Inc.                                      1575 Delucchi Lane, Suite 115                                Reno                       NV   89502
29778076 TRR Enterprises Inc.                                   14851 South 27th Street                                      Phoenix                    AZ   85048
29778077 Tru Table                                              8954 SE Bridge Road                                          HOBE SOUND                 FL   33455
29778078 TRUDERMA, LLC                                          8840 W. RUSSELL RD. STE. 245                                 LAS VEGAS                  NV   89148
29791135 TRUE NATURE GROUP INC                                  13611 NE 126th Place           , 200                         Kirkland                   WA   98034
29783733 True North Nutrition Limited                           88 East Beaver Creek Road, Building A, Unit 1                Richmond Hill              ON   L4B 4A8        Canada
29785406 Truly Natural Marketing                                90 Main St.                                                  Bradford                   NH   03221-
                                                                c/o Fogelman Investment Company, 744 South White
29649147 Truse Plaza LLCc/o Fogelman Investment Company         Station Road                                                 Memphis                    TN   38117
29649148 Truss Greenwood IN LLC                                 c/o Schottenstein Property Group, 4300 E. Fifth Ave.         Columbus                   OH   43219
29649149 TSO Winchester Station, LP                             1170 Peachtree Street, Suite 2000                            Atlanta                    GA   30309
29783759 Tuan Hoang Anh                                         Address On File
                                                                c/o Pine Tree Commercial Realty LLC, 814 Commerce
29649150 Turkey Creek Holdings, LLC                             Drive, Suite 300                                             Oak Brook                  IL   60523
29649151 Turnersville Landing, LP                               100 Front Street, Suite 506                                  Conshohocken               PA   19428
29649152 Tuskatella LLC                                         P.O. Box 5544                                                Orange                     CA   92863
29649153 TVS & Associates (Charleston), LLC                     1620 Scott Avenue                                            Charlotte                  NC   28203
29649154 Two Nuts LP et al. c/o Midwood                         430 Park Ave., 2nd Floor                                     New York City              NY   10022
29649156 Tyler Broadway/Centennial LP                           2525 McKinnon Street, Suite 710                              Dallas                     TX   75201
29649157 Tyrone Enterprises, LLC                                5576 Bridgetown Road                                         Cincinnati                 OH   45248
29778083 U.S. Bank National Association                         550 South Tryon Street 14th Floor                            Charlotte                  NC   28202
29778084 U.S. Doctors' Clinical                                 15568 Brookhurst Street STE 374                              Westminster                CA   92683
29778085 UAS Laboratories                                       555 N 72nd Avenue                                            WAUSAU                     WI   54401
29792789 Uber Freight US LLC                                    105 S Chestnut St                                            Chicago                    IL   60696
29623310 UE Gateway Center LLC                                  210 Route 4 East                                             Paramus                    NJ   07652
29623311 UE Tonnelle Commons LLC                                210 Route 4 East                                             Paramus                    NJ   07652
29785417 Ultima Health Products, Inc.                           PO Box 444                                                   Southampton                NY   11969
29791140 Ultimate Nutrition, Inc.                               PO BOX 643, 21 Hyde Road                                     Farmington                 CT   06032-



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29785419 Ultimate Superfoods, Inc.                              5455 Endeavour Court                                        Moorpark                   CA    93021
29785420 Ultra Laboratories, Inc.                               20611 Belshaw Ave.                                          Carson                     CA    90746
29785421 Ultralab Nutrition, Inc.                               3100 NW Boca Raton Blvd. #213                               Boca Raton                 FL    33431
29785424 Union of Orthodox Jewish Congregations of America      11 Broadway, 13th Floor                                     New York                   NY    10004
29785426 United Laboratories Manufacturing, LLC                 1541 Champion Drive                                         Carrollton                 TX    75006
29604455 United Natural Foods, Inc.                             313 Iron Horse Way                                          Providence                 RI    02908-
29630045 UNITED PARCEL SERVICE                                  PO BOX 650116                                               DALLAS                     TX    75265-0116
30282137 United Parcel Service, Inc.                            643 W 43rd St.                                              New York                   NY    10036
29627759 UNITREX LTD                                            5060 Taylor Rd.                                             CLEVELAND                  OH    44128
29778091 Universal Biosciences                                  500 Wall Street                                             GLENDALE HEIGHTS           IL    60139
29778092 Universal Nutrition                                    3 Terminal Road                                             New Brunswick              NJ    08901-
29623312 Universal Park                                         5 River Park Place West, Suite 203                          Fresno                     CA    93720
29778094 University of Phoenix, Inc.                            4025 South Riverpoint Parkway                               Phoenix                    AZ    85040
29778097 UpSpring, Ltd.                                         4209 South Industrial Dr. Suite 200                         Austin                     TX    78744
29778100 UPTIME Energy, Inc.                                    7930 Alabama Ave                                            Canoga Park                CA    91304
29785430 UR Energy, Inc.                                        210 Clay Avenue, Suite 380                                  Lyndhurst                  NJ    07071-
29623313 Urban Edge Properties LP                               210 Route 4 East                                            Paramus                    NJ    07652
29785432 Urban Moonshine, Inc.                                  1 Mill Street Suite 110                                     Burlington                 VT    05401-
29785435 USA Truck, Inc.                                        3200 Industrial Park Rd.                                    Van Buren                  AR    72956
29623314 USPG PORTFOLIO FIVE LLC                                PO BOX 64-3906                                              Cincinnati                 OH    45264
29785437 USPlabs, LLC                                           10761 King William Drive                                    Dallas                     TX    75220
29785441 Utrition, LLC                                          247 State Route 12                                          Flemington                 NJ    08822-
29785442 V.S. Royal Jelly/Honey Farm Inc                        2774 N 4351 Road                                            Sheridan                   IL    60551
                                                                VA T 12266 Jefferson, LLC, as to an undivided 48.87%
                                                                interest, and VA FT 12266 Jefferson, LLC, as to an
         VA C 12266 Jefferson, LLC, as to an undivided 30.96%   undivided 20.17% interest, Virginia Management Entity
29623315 interest                                               LLC as Managing Agent, 4910 W. 1st Street                   Los Angeles                CA   90004
29623316 VAA Improvements, LLC                                  565 Taxter Road                                             Elmsford                   NY   10523
29778103 Val Vasilet Vital Products LLC                         515 27th St E. Suite 7                                      Bradenton                  FL   34208
29778106 Valassis Direct Mail, Inc                              PO Box 7678                                                 San Francisco              CA   94120
29778106 Valassis Direct Mail, Inc.                             PO BOX 200324                                               Dallas                     TX   75320-0324
30202915 VALLEY STREAM GREEN ACRES                              2034 Green Acres Mall                                       Valley Stream              NY   11581
29623317 Vann Drive Partners                                    1001 Greystone Square                                       Jackson                    TN   38305
29778110 Vantage One Tax Solutions, Inc.                        6310 LBJ Freeway, Ste. 208                                  Dallas                     TX   75240
29785444 Vaswani Inc                                            75 CARTER DRIVE                                             Edison                     NJ   08817-
29623318 VBNET Investments I, LLC                               33478 US Highway 19 North                                   Palm Harbor                FL   34684
29785448 VDF FutureCeuticals, Inc.                              2692 N. State Rt. 1-17                                      Momence                    IL   60954
29785448 VDF FutureCeuticals, Inc.                              300 Harmon Meadow Blvd.                                     Secaucus                   NJ   07094-
29785453 Vector Security, Inc.                                  2000 Ericsson Drive                                         Warrendale                 PA   15086
29623319 VEI Manager LLC                                        605 South Eden Street, Suite 250                            Baltimore                  MD   21231




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                                                                 c/o Robertson Properties Group, 120 North Robertson
29649158 Ventura Gateway LLC                                     Boulevard, 3rd Floor                                  Los Angeles                               CA   90048
29778115 Vera Roasting Company, Inc.                             75 Congress St, STE L05                               Portsmouth                                NH   03801-
                                                                 VEREIT c/o Realty Income Corporation, 11995 El Camino
29649160 VEREIT Real Estate, L.P.                                Real                                                  San Diego                                 CA   92130
29627794 Veriditas by Pranarom                                   2301 Nevada Ave N                                     MINNEAPOLIS                               MN   55427
29606709 Veritiv Operating Company                               PO BOX 57006                                          Los Angeles                               CA   90074-7006
29791151 VerMints Inc.                                           106 Finnell Drive, Unit 19                            Weymouth                                  MA   02188-
29778121 VERO BEACH GRAND OAKS 2 LLC                             500 Skokie Blvd                                       Northbrook                                IL   60062
29785456 Vertex, Inc.                                            1041 Old Cassatt Road                                 Berwyn                                    PA   19312
29791153 Vestiage, Inc.                                          2901 W. Coast Highway, Suite 200                      Newport Beach                             CA   92663
29649161 VF9 MATT2 LLC                                           2330 Ponce de Leon Blvd.                              Miami                                     FL   33134
29785460 VH Nutrition                                            51 Zaca Lane               , Suite 90                 SAN LUIS OBISPO                           CA   93401
29791154 VH Nutrition LLC                                        51 Zaca Lane Suite 90                                 San Luis Obispo                           CA   93401
29604313 Vibrant Health                                          1 Waterview Dr               , 103                    SHELTON                                   CT   06484-
29649162 Victory Village, LLC                                    GD Commercial Real Estate Inc., 1381 McCarthy Blvd    Milpitas                                  CA   95035
29897778 Vida Lifescience, LLC                                   16691 Noyes Avenue                                    Irvine                                    CA   92606
29791158 Vigor S.A.                                              Teodoro S. Mongelos 3373                              Asuncion                                       1228           Paraguay
                                                                 c/o Neyer Management, 3927 Brotherton Road, Suite
29649163 Village at the Mall Holdings LLC                        200                                                   Cincinnati                                OH   45209
29791159 Viobin U.S.A. div of McShares, Inc.                     P.O. Box 1460                                         Salina                                    KS   67402-1460
29627541 Virgin Pulse, Inc.                                      139 Newbury Street                                    Framingham                                MA   01701-
29649164 Virginia Center Virginia Associates, L.L.C.             1620 Scott Avenue                                     Charlotte                                 NC   28203
29902225 Vital Amine Inc.                                        1431 Pacific Hwy Suite 4                              San Diego                                 CA   92101
29791162 Vital Pharmaceuticals, Inc.                             1600 North Park Drive                                 Weston                                    FL   33326
29627781 Vital Planet, LLC                                       133 Candy Ln.                                         Palm Harbor                               FL   34683
29778132 Vital Proteins LLC                                      939 W Fulton Market                                   CHICAGO                                   IL   60607
29791164 Vitalah LLC                                             111 Jennings Dr                                       WATSONVILLE                               CA   95076
29778134 Vitalize Labs LLC DBA EBOOST                            560 Broadway Ste 606                                  New York                                  NY   10012
29785468 Vitamin and Supplement Wholesalers Inc.                 3600 W. Commercial Blvd                               Fort Lauderdale                           FL   33309
29785468 Vitamin and Supplement Wholesalers, Inc.                3600 West Commercial Blvd.                            Fort Lauderdale                           FL   33309
29785470 Vitamin Friends, LLC                                    5300 Beethoven Street                                 Los Angeles                               CA   90066
29627795 Vitamin Science, Inc.                                   755 Park Avenue, Suite 100                            Huntington                                NY   11743
29627430 Vitamin Shoppe Florida, LLC (f/k/a FDC Vitamins, LLC)   300 Harmon Meadow Blvd                                Secaucus                                  NJ   07094-
29785473 Vitamin Shoppe Industries Inc.                          2101 91st Street                                      North Bergen                              NJ   07047-
29785474 Vitamin Well USA LLC                                    3865 Grand View Blvd                                  Los Angeles                               CA   90066
                                                                 Corregimiento de BELLA VISTA, Urbanization MARBELLA,
29791169 Vitaminas Y Suplementos, S.A.                           Edificio TORRE MMG, Apartamento 16                    Provincia de PANAMA, Distrito de PANAMA        Calle 53       Panama
         Vitaminas Y Suplementos, S.A. for the Republic of       Corregimiento de BELLA VISTA, Urbanization MARBELLA,
29776561 Panama                                                  Edificio TORRE MMG, Apartamento 16                    Provincia de PANAMA, Distrito de PANAMA        Calle 53       Panama
29785475 Vitamins International Inc.                             6721 Discovery Blvd                                   Mableton                                  GA   30126



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29791171 Vitanica                                               PO Box 1299                                                  TUALATIN                    OR    97062

29776542 Vitapath Canada Limited                                100 King Street West, Suite 6100, 1 First: Canadian Place Toronto                        ON   M5X 1B8        Canada
29791173 VitaPath, Inc.                                         2101 91st Street                                          North Bergen                   NJ   07047-
29791174 Vitargo Global Sciences, LLC                           32565 B Golden Lantern St PMB 232                         Dana Point                     CA   92629
29783740 Vitasalud                                              Avenida Nuñez De Caceres Esq. Sarasota, Bella Vista       Santo Domingo                                      Dominican Republic
29776543 VIVO BRAND MANAGEMENT INC.                             830 Campbell, Unit 2                                      Cornwall                       ON   K6H 6L7        Canada
29791176 Volo Vitamins LLC                                      229 East 85th Street, #1614                               New York                       NY   10028-1614
29791177 VORESNOLD ENTERPRISES LTD                              23 Janis Way                                              SCOTTS VALLEY                  CA   95066
29791178 Voss Production AS                                     236 W 30th st, FL 12                                      NEW YORK                       NY   10001
29791179 VS Camelback LLC                                       1101-3557 Sawmill Crescent                                Vancouver                      BC   V5SOE2         Canada
30345485 VS Tempe, LLC                                          1101-3557 Sawmill Crescent                                Vancouver                      BC   V5S0E2         Canada
29625055 VSC Fire & Security, Inc.                              10343-B KINGS ACRES ROAD                                  Ashland                        VA   23005
29791180 VSC Holdings, Inc.                                     10516 Route 116, Suite 200                                Hinesburg                      VT   05461-
29778140 W.B. Mason                                             300 Harmon Meadow Blvd                                    Secaucus                       NJ   07094-
                                                                Lockbox 735178
29778140 W.B. Mason                                             PO Box 735178                                             Chicago                        IL   60673-5178
29791183 W.S. Badger Co., Inc.                                  768 Route 10                                              Gilsum                         NH   03448-
29791184 Wakunaga of America Co., Ltd.                          23501 Madero                                              Mission Viejo                  CA   92691
29630328 Walker-Clay, Inc.                                      211 Station Street                                        Hanson                         MA   02341-
29785482 Wal-Mart.com USA, LLC                                  850 Cherry Avenue                                         San Bruno                      CA   94066
29785482 Wal-Mart.com USA, LLC                                  850 Cherry Avenue                                         San Fruno                      CA   94066
         Walt Whitman Road, LLC sucessor in interest to Gerald
29649165 Kessler                                                 C/o Natural Organics Inc., 548 Broadhollow Road             New York City               NY   11747
29649166 WAOP LLC                                                721 Boardman-Poland Road                                    Youngstown                  OH   44512
29785486 Warehouse Solutions Inc. d/b/a Intelligent Audit        10025 BUNKUM ROAD                                           Fairview Heights            IL   62208
29785486 Warehouse Solutions Inc. d/b/a Intelligent Audit        365 West Passaic Street, Suite 455                          Rochelle Park               NJ   07662-
29740051 Warren Laboratories LLC                                 1656 IH 35 S                                                Abbott                      TX   76621
29649167 Watchung UE LLC                                         210 Route 4 East                                            Paramus                     NJ   07652
29778147 Watkins Incorporated                                    150 LIBERTY STREET                                          WINONA                      MN   55987
29791190 Wave Naturals Pet Products                              Cabot Rd - 117                                              Laguna Hills                CA   91653
         WBR 27810 Chagrin II, LLC, WRB 27810 Chagrin III, LLC &
29649168 RRR Ohio, LLC                                           2400 Chagrn Blvd., Suite 100                                Chagrin Falls               OH   44022
29623320 WCS PROPERTIES BUSINESS TRUST                           c/o Greenberg Gibbons, 3904 Boston St., Suite 402           Baltimore                   MD   21224
29623321 WDG Dallas, LLC and JSE Dallas, LLC                     c/o Weitzman, 3102 Maple Avenue, Suite 500                  Dallas                      TX   75201
29791192 WEBER LOGISTICS, LLC                                    13265 Valley Blvd.                                          Fontana                     CA   92335
29623322 Webster Bank                                            145 Bank Street                                             Waterbury                   CT   06702
29785494 Wedderspoon Organic                                     334 Central Ave                                             MALVERN                     PA   19355
                                                                 c/o Kimco Realty Corporation, 500 North Broadway,
29623323 Weingarten Northcross JV                                Suite 201                                                   Jericho                     NY   11753
29785500 Wellements LLC                                          8901 E. Pima Center Parkway, Suite 215                      Scottsdale                  AZ   85258



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29791194 Wellgenix, LLC                                     118 W. Julie Dr                                            Tempe                      AZ    85283
                                                            c/o Carlyle Management Corp, 5355 Town Center Road,
29623324 Welling Realty, LLC                                Suite 430                                                  Boca Raton                 FL   33486
29778158 Wellington Foods, Inc.                             1930 California Avenue                                     Corona                     CA   92881
29623325 Wells Property Number Five, LLC                    PO Box 30067                                               Charlotte                  NC   28230
29791195 Wess Hottenstein                                   Address On File
29791195 Wess Hottenstein                                   Address On File
29778166 Westech Recyclers                                  220 S. 9th St. Suite 400B                                  Phoenix                    AZ   85034
29623326 Westgate Marketplace Developers, LLC               7725 W. Reno Ave., Suite 398                               Oklahoma City              OK   73127
29623327 Wetmore Plaza Shops, LLC                           6298 E. Grant Road, Suite 100                              Tucson                     AZ   85712
29623328 Wheatland Family Trust                             Address On File
29785508 White Cloud Nutrition LLC                          PMB 2599                                                   CASTRO VALLEY              CA   94546
29791202 White Egret                                        950 West Kershaw              ,D                           OGDEN                      UT   84401
29623329 Whitestone REIT                                    c/o Whitestone REIT, 2600 South Gessner Rd                 Houston                    TX   77063
29791203 Wholesome Sweeteners, Inc.                         8016 Highway 90A                                           Sugar Land                 TX   77478
29791204 Wibbitz Inc.                                       85 Broad St., Flr. 17                                      New York                   NY   10002
29649169 Wig Properties, LLC-LKPL                           4811 - 134th Place Southeast                               Bellevue                   WA   98006
29791205 Wild Squirrel LLC dba/Wild Friends Foods           22265 SW Taylors Drive                                     Tualatin                   OR   97062
29791206 Wiley's Finest LLC                                 PO Box 1665                                                Coshocton                  OH   43812
29649170 William J. Swanson Trustee of the                  PO Box 5129                                                Ketchum                    ID   83340
29649171 Wilshire Yale Enterprises c/o The Eberly Company   8383 Wilshire Blvd. Suite 906                              Beverly Hills              CA   90211
29649172 Wilson Amcap II, LLC                               c/o AmCap Inc., 333 Ludlow Street, 8th Floor               Stamford                   CT   06902
29791207 Windecker Contruction LLC                          2101 91st Street                                           North Bergen               NJ   07047-
29785516 Windecker LLC                                      39-30 Sycamore Drive                                       Fairlawn                   NJ   07410-
29791208 Windmill Health Products                           6 Henderson Drive                                          West Caldwell              NJ   07006-
                                                            c/o McCrea Property Group, 9102 N Meridian Street,
29649173 Windsong Indianapolis, LLC                         Suite 230                                                  Indianapolis               IN   46260
29791209 Windsor Marketing Group, Inc.                      100 Marketing Drive                                        Suffield                   CT   06078-
29649174 Winston I & II, LLC                                P.O. Box 20429                                             Winston-Salem              NC   27120
29649175 Wiregrass HoldCo, LLC                              c/o TriGate Capital, 1717 Main Street, Suite 2600          Dallas                     TX   75201
                                                            1605 John Street
29785524 Wisconsin Specialty Protein, LLC                   Suite 201A                                                 Fort Lee                   NJ   07024-
29785525 Wisdom Natural Brands                              1203 W. SanPedro Street                                    GILBERT                    AZ   85233
29791212 WishGarden Herbs, Inc.                             3100 Carbon Pl. #103                                       Boulder                    CO   80301
29649176 Wishire Plaza Limited Partnership                  3333 Richmond Road, Suite 320                              Beachwood                  OH   44122
29649177 WLM-CB LLC                                         370 E. Rowland Avenue                                      Covina                     CA   91723
29778181 Wochit, Inc.                                       12 East 33rd Street, 4th Floor                             New York                   NY   10016
29778183 WOMEN'S BEST USA, LLC                              215 S. Monroe Street, Suite 200                            Tallahassee                FL   32301
29649178 Wood Fayette Center, LLC                           321 Henry Street                                           Lexington                  KY   40508
29778185 Woodbolt Distribution, LLC.                        715 N. Main Street                                         Bryan                      TX   77803
29791216 Woods Bagot                                        Address On File



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                                                                           Affected Contract Counterarties Service List
                                                                                    Served via first class mail

 ADRID                                     NAME                                 ADDRESS                                                   CITY   STATE POSTAL CODE   COUNTRY
                                                        200 % N. SCOTTSPACE RD, SCOTTSDALE SEVILLE SUITE
29778187 World Nutrition Inc                            103K                                                        SCOTTSDALE                   AZ   85253
29778188 World Sports Expo                              1920 Booth Circle, Suite 100                                Longwood                     FL   32750

29778189 World Triathlon Corporation                    3407 W. DR. MARTIN LUTHER KING JR. BLVD, SUITE 100          Tampa                        FL   33607
29791220 WorldWide/Pure Protein                         241 Bellwood Drive                                          West Mifflin                 PA   15122
29623330 WPG Wolf Ranch, LLC                            c/o wpg, 4900 East Dublin Granville Road, 4th Floor         Westerville                  OH   43081
                                                        c/o Kimco Realty Corporation, 500 North Broadway,
29623331 WRI Trautmann, LP                              Suite 201                                                   Jericho                      NY   11753
29604547 WW International, Inc.                         675 Avenue of the Americas                                  New York                     NY   10023
                                                        c/o Stonewood Investments, 18484 Preston Road, Suite
29623333 Wyndham Southlake Retail, LLC                  208                                                         Dallas                       TX   75252
29785538 Xlear Inc.                                     723 S. Auto Mall Drive, PO BOX 1421                         American Fork                UT   84003
29791222 XPO Logistics, LLC                             13777 Ballantyne Corporate PL, Suite 400                    Charlotte                    NC   28277
29791223 XTREME BEAUTY INTERNATIONAL                    15400 NW 34 AVENUE                                          MIAMI GARDENS                FL   33054
29778191 Yerba Prima Inc                                740 Jefferson Avenue                                        Ashland                      OR   97520
29778192 YES 18 INC                                     655 4THE 2ND FLOOR                                          SAN FRANSVERS                CA   94107
29791226 Yes To Inc.                                    655 Fourth Street Second Floor                              San Francisco                CA   94107
29791227 YogaRat                                        2703 Pico Blvd                                              Santa Monica                 CA   90405
                                                        c/o ACF Property Management Inc., 12411 Ventura
29623334 Yosemite Park Shopping Center 05 A LLC         Boulevard                                                   Studio City                  CA   91604
29791228 You Fresh Natural Vending, LLC                 3240 Corporate Way                                          Miramar                      FL   33025
29778198 YouBar Inc                                     597 Monterey Pass Rd                                        Monterey Park                CA   91754
29778199 YUP Brands LLC                                 3960 Howard Hughes Pkwy Suite 500                           Las Vegas                    NV   89169
29604451 Zarbee's Naturals                              11650 South State Street #101                               Draper                       UT   84020
29791231 Zeavision                                      680-F Crown Industrial Court                                Chesterfield                 MO   63005
29791232 Zeb Jafri                                      Address On File
29623335 ZEG Ventures, LLC                              3331 Severn Ave., Suite 200                                 Metairie                     LA   70002
29791234 Zeikos                                         86 Northfield Ave.                                          EDISON                       NJ   08837-
29791236 Zenrin USA, Inc.                               1350 Bayshore Highway, Suite 580                            Burlingame                   CA   94010
29791236 Zenrin USA, Inc.                               851 Traeger Avenue Suite 210                                San Bruno                    CA   94066
29791237 Zhena's Gypsy Tea                              6041 Triangle Dr.                                           Commerce                     CA   90040
29785550 Zhou, Inc.                                     1777 Sun Peak Drive                                         Park City                    UT   84098
29791239 Zing Anything LLC                              1760 Wadsworth Rd                                           Akron                        OH   44320
29785552 Zint LLC                                       334 County Route 49                                         MIDDLETOWN                   NY   10940
29791241 Zionhealth Incorporated                        430 E Grand Avenue                                          South San Francisco          CA   94080
29785554 Zipfizz Corporation                            18303 Bothell-Everett Hwy, Suite 140                        Mill Creek                   WA   98012
29791243 ZOA Energy LLC                                 5301 Wisconsin Ave. NW Suite 570                            WASHINGTON                   DC   20015
29627388 Zoho Corporation                               4141 HACIENDA DRIVE                                         Pleasanton                   CA   94588-8519
29778209 ZoomInfo                                       275 Wyman St.                                               Waltham                      MA   02451-
29778210 Zorb Naturals, LLC dba HCP Formulas            2700 N. 3rd St. Suite 2014                                  Phoenix                      AZ   85004



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                                                                           Affected Contract Counterarties Service List
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 ADRID                                     NAME                                  ADDRESS                                            CITY        STATE POSTAL CODE   COUNTRY
29791246 Zulily, LLC                                    2601 Elliott Ave, Suite 200                                 Seattle                     WA 98121
29791246 Zulily, LLC                                    2601 Elliott Avenue                                         Seattle                     WA 98121




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